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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 99                                 SAN FERNANDO VALLEY DIVISION

10
10    In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                          Jointly administered with:
11
11    ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
      corporation1,
12
12
                                                          Chapter 11 Cases
13
13             Debtor and Debtor in Possession.
      ____________________________________
14
14    In re:                                              FINAL APPLICATION OF LEVENE,
                                                          NEALE, BENDER, YOO & BRILL L.L.P.
15
15    ICPW Liquidation Corporation, a Nevada              FOR APPROVAL     OF FEES     AND
      corporation2,                                       REIMBURSEMENT    OF   EXPENSES;
16
16                                                        DECLARATION OF RON BENDER, ESQ.

17
17             Debtor and Debtor in Possession.
      ____________________________________
18
18
           Affects both Debtors                           DATE:     May 1, 2018
19
19
                                                          TIME:     2:30 p.m.
20      Affects ICPW Liquidation Corporation, a           PLACE:    Courtroom “303”
20
      California corporation only                                   21041 Burbank Blvd.
21
21                                                                  Woodland Hills, CA
        Affects ICPW Liquidation Corporation, a
22
22    Nevada corporation only
23
23
24
24
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

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 1           LEVENE, NEALE, BENDER, YOO & BRILL L.L.P. (“LNBYB”), bankruptcy counsel to
 2    ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad Performance
 3
      Wear Corporation, a California corporation (“ICPW California”), and ICPW Liquidation
 4
      Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a
 5
      Nevada corporation (“ICPW Nevada” and collectively with ICPW California, the “Debtors”),
 6

 7    hereby respectfully submits its Final Application for Approval of Fees and Reimbursement of

 8    Expenses (the “Application”) for services rendered and expenses incurred during the period of

 9    November 21, 2017 (the date after the period covered by LNBYB’s first interim fee application)
10
      through May 1, 2018 (the “Covered Period”). Any opposition or responsive paper must be filed and
11
      served at least fourteen (14) days prior to the hearing on this Application in the form required by
12
      Local Bankruptcy Rule 9013-1(f).
13
                                                      I.
14

15                                   INTRODUCTORY STATEMENT

16           In order to efficiently manage these chapter 11 cases, at the outset of these cases, the
17    Debtors filed and obtained orders of the Court jointly administering these chapter 11 cases.
18
      Consistent with the terms of LNBYB’s employment application which was approved by the
19
      Court, LNBYB billed all of its time in its representation of the Debtors to one collective billing
20
      number. These bankruptcy cases have for all practical purposes been operated on a consolidated
21

22    basis. There was one management team and one board of directors for both Debtors. There was

23    one Creditors Committee and one Equity Committee. The consummated sale of the Debtors’

24    assets in these cases did not allocate the purchase price among the two estates (recognizing that
25    all or the vast majority of the assets that were sold were owned by the California entity/operating
26
      business). Moreover, it is now clear that all unsecured creditors of both Debtors have already
27

28

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 1    been, of will be, paid in full out of the sale proceeds and that there will be a very sizeable
 2    distribution to shareholders.
 3
                                                        II.
 4
                                                    SUMMARY
 5

 6
          Name of applicant                                 LNBYB
 7
          Name of client(s)                                 ICPW Liquidation Corporation, a California
 8                                                          corporation3 and ICPW Liquidation
                                                            Corporation, a Nevada corporation4 (the
 9
                                                            “Debtors”)
10        Time period covered by this application           Start: November 21, 2017
                                                            End: May 1, 2018
11
          Total compensation sought this period             $332,819.50
12

13        Total expenses sought this period                 $25,587.69

14        Petition date                                     The Debtors commenced their chapter 11
                                                            bankruptcy cases with the filing of voluntary
15                                                          petitions under chapter 11 of the Bankruptcy
                                                            Code on September 8, 2017
16
          Retention date                                    September 8, 2017
17
          Date of entry of order approving employment  October 19, 2017 (as docket number 120) with
18                                                     employment effective as of September 8, 2017
          Total compensation approved by interim order $531,944.50 pursuant to the first interim fee
19        to date                                      application order entered as docket number
20                                                     337
          Total expenses approved by interim order to  $39,376.99 pursuant to the first interim fee
21        date                                         application order entered as docket number
                                                       337
22        Total allowed compensation paid to date      $531,944.50 pursuant to the first interim fee
                                                       application order entered as docket number
23
                                                       337
24        Total allowed expenses paid to date          $39,376.99 pursuant to the first interim fee
                                                       application order entered as docket number
25                                                     337
          Blended rate in this application for all     $592.21
26

27
      3
          Formerly known as Ironclad Performance Wear Corporation, a California corporation.
28    4
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

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 1        attorneys
 2        Blended rate in this application for all                $550.30
 3        timekeepers

 4        Compensation sought in this application                 N/A
          already paid pursuant to a monthly
 5        compensation order but not yet allowed
 6
          Expenses sought in this application already             N/A
 7        paid pursuant to a monthly compensation
          order but not yet allowed
 8
          Number of professionals included in this                3 attorneys and 4 paralegals
 9        application
10

11
                                                            III.
12
                              FEES AND EXPENSES INCURRED AND NOTICE
13

14    A.        REQUEST         FOR       ALLOWANCE                AND      PAYMENT           OF      FEES       AND

15              REIMBURSEMENT OF EXPENSES

16              During the Covered Period, LNBYB incurred fees in the amount of $332,819.505 and
17
      expenses in the amount of $25,587.696 for total fees and expenses in the amount of $358.407.19.
18
      No portion of this amount has been paid by the Debtors.                      Accordingly, by way of this
19
      Application, LNBYB is seeking the Court’s approval and payment of the foregoing fees and
20
      expenses in the total amount of $358,407.19.
21

22    ///

23    ///
24

25    5
         This figure includes an estimated three hours of time on May 1, 2018 incurred by LNBYB for appearing at the
      final fee hearing and preparing a global order for all professionals granting their final fees and expenses.
26    6
        This figure $1,547.76 of expenses which were incurred by LNBYB during the first interim fee application period
27    but were not included as part of LNBYB’s first interim fee application because, as explained by LNBYB in its first
      interim fee application, there is a time gap between when LNBYB actually incurs an expense and when that expenses
28    materializes and is entered into LNBYB’s billing system.


                                                              3
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 1    B.      PROPER NOTICE
 2            LNBYB has served notice of this Application and the amount of fees and expenses sought
 3
      herein upon the Trustee of the Trust Agreement, all creditors,7 all shareholders, the Office of the
 4
      United States Trustee, and all parties who have requested special notice.
 5
                                                            IV.
 6

 7                     STATEMENT OF FACTS AND RELEVANT INFORMATION

 8    A.      Description and History of the Debtors’ Business and the Debtors’ Sale Process

 9            which Led to the Filing of the Debtors’ Chapter 11 Cases.
10
              On the Petition Date of September 8, 2017, the Debtors each filed a Voluntary Petition
11
      under chapter 11 of the Bankruptcy Code. Since the Petition Date, the Debtors have operated
12
      their business and managed their affairs as debtors in possession pursuant to §§ 1107 and 1108 of
13
      the Bankruptcy Code. With the Court’s approval, the Debtors’ two chapter 11 Cases are being
14

15    jointly administered. Other than owning all of the shares in the California entity, the Nevada

16    entity had no business.        All operations of the Debtors effectively functioned through the
17    California entity.
18
              Until the consummated sale of substantially all of their assets (discussed in detail below),
19
      the Debtors were a leading, technology-focused developer and manufacturer of high-performance
20
      task-specific gloves and apparel for the “industrial athlete” in a variety of end markets, including
21
      construction, manufacturing, oil and gas (“O&G”), automotive, the sporting goods, military,
22

23    police, fire, and first-responder. The Debtors’ business was headquartered in Farmers Branch,

24    Texas. ICPW Nevada is publicly-traded with its common stock quoted on the OTC Markets
25    under the symbol “ICPW”. As of December 29, 2017, ICPW Nevada had 85,646,354 shares of
26

27    7
        All creditors means all creditors who are scheduled by the Debtors as being owed money and/or who have filed a
28    timely proof of claim.


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 1    common stock, par value $0.001 per share, issued and outstanding. As of August 30, 2017, the
 2    Debtors had approximately 41 full time employees, with 9 of these employees working overseas.
 3
      The Debtors effectively terminated all of their employees upon the closing of the Debtors’ recent
 4
      sale of its business and nearly all of the Debtors’ former employees were hired by the buyer.
 5
      From the Petition Date through the closing of the sale of the Debtors’ business, there were five
 6

 7    members of the Debtors’ board of directors (the “Board”) (consisting of Ben Padnos, David

 8    Jacobs, Emmett Murphy, Robert Steckler and Mike DiGregorio). Following the closing of the

 9    sale of the Debtors’ business, three of those members voluntarily resigned from the Board leaving
10
      only Ben Padnos and Mike DiGregorio as continuously serving Board members.               L. Geoffrey
11
      Greulich (the Debtors’ Chief Executive Officer) and Matthew Pliskin (the Debtors’ Chief
12
      Financial Officer) served as the Debtors’ senior management during the entire duration of the
13
      Cases. All of the Debtors’ remaining Board members and senior management resigned from their
14

15    positions with the Debtors effective as of February 28, 2018, which was the effective of the

16    confirmed Plan in these Cases.

17           The Ironclad business was founded in 1998 by Ed Jaeger. Mr. Jaeger was inspired to
18
      build gloves that offered protection and performance without sacrificing one for the other. From
19
      the beginning, the Debtors built gloves using materials that offered excellent fit to make them an
20
      extension of the hand and to make jobs easier for the “industrial athlete”. By 2006, the Debtors
21
      offered 35 different task-specific glove types for people wearing gloves as part of their daily jobs.
22

23           In 2008, the Debtors launched the KONG (King of Oil ‘N’ Gas) line to address the high

24    number of hand injuries in the O&G field. By 2010, the KONG line was comprised of 46
25    different gloves. Additionally, the Debtors expanded their presence in the retail and non-
26
      professional markets with the launch of the EXO brand in June 2015. EXO offered lower cost
27

28

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 1    gloves for automotive, DIY, and outdoor sporting applications. The Debtors offered 30 different
 2    EXO glove types.
 3
             The Debtors’ task-specific technical glove products were specially designed for individual
 4
      user groups. The Debtors offered over 160 distinct types of gloves for a variety of markets,
 5
      including industrial, construction, DIY, carpentry, machining, package handling, plumbing,
 6

 7    welding, roofing, O&G, mechanics, hunting, and gardening. Products came in a multitude of

 8    colors and catered to the specific demands and requirements of the users based on ease of motion,

 9    grip, water and chemical resistance, visibility, and protection from abrasions, cuts, flames,
10
      impacts, temperature, and vibration. Since inception, the Debtors employed an internal research
11
      and development (“R&D”) department responsible for identifying and creating new products and
12
      applications, and improving and enhancing existing products. The Debtors continually evaluated
13
      new base materials for gloves, and grip was another key area of focus for R&D. The Debtors
14

15    often partnered with industry-leading organizations to develop new products. The Debtors had 13

16    U.S. patents issued and 11 foreign patents, as well as five pending U.S. patent applications and

17    several pending foreign patent applications. The Debtors also used trademarks to strengthen and
18
      protect their recognizable brand names. The Debtors owned 52 registered U.S. trademarks, 39
19
      registered international trademarks, and 13 and 43 trademarks pending in the U.S. and
20
      internationally, respectively.
21
             The Debtors sold their product through approximately 10,000 outlets for professional
22

23    tradesmen as well as “Big Box”, hardware, auto parts, and sporting goods retailers. The sales

24    force was organized by 3 business segments: Industrial, Retail, and International. Glove products
25    were manufactured by multiple suppliers operating in China, Bangladesh, Cambodia, Vietnam
26
      and Indonesia.
27

28

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 1    B.     Events Leading To The Filing Of The Debtors’ Chapter 11 Bankruptcies And The
 2    Debtors’ Chapter 11 Goals.
 3
             Despite the development and success of the Debtors’ products over the years, the Debtors’
 4
      revenue and cash flow from operations became insufficient beginning in mid-2013 to support
 5
      their business operations as well as their continued growth. There were many reasons for this
 6

 7    including heavy competition, loss of a major international distributor, incomplete and/or

 8    ineffective expansion and distribution of all of their product lines and development of new

 9    customers, and higher than anticipated administrative production, manufacturing and warehousing
10
      costs. In addition, it was discovered in early-2017 that under then management, the Debtors had
11
      failed to provide materially complete and accurate financial statements as required under their
12
      loan documents to their primary secured lender for the fiscal years ended December 31, 2015 and
13
      2016, and for the fiscal quarters ended March 31, June 30, September 30, 2016 and March 31,
14

15    2017. These same financial irregularities were also publicly filed and disclosed through the

16    Company’s SEC and other public filings. The Plan Proponents understand that an investigation

17    of the foregoing may now be underway by federal authorities. As a result of this discovery, the
18
      Debtors’ then chief executive officer and other officers voluntarily resigned, and L. Geoffrey
19
      Greulich was employed as the Debtors’ new chief executive officer effective July 6, 2017. Prior
20
      to assuming this position, Mr. Greulich had no prior connection or relationship with the Debtors
21
      as an insider, equity holder or otherwise. As a Senior Advisor, Operations at Corridor Capital,
22

23    LLC, where he leads operations through portfolio engagement as well as conducting due

24    diligence, Mr. Greulich was highly qualified to serve as the Debtors’ new chief executive officer,
25    and, as indicated below, did and is continuing to do an extraordinary job for the Debtors during
26
      their Cases.
27

28

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 1           The Debtors filed the Cases to consummate a sale of substantially all of their assets
 2    (excluding cash, causes of action and other assets) for the most money possible. Just prior to their
 3
      chapter 11 bankruptcy filings, the Debtors entered into an asset purchase agreement (the “Radians
 4
      APA”) with the Debtors’ then pre-petition secured creditor, Radians Wareham Holdings, Inc.
 5
      (“Radians”), for a cash purchase price of $20 million or $15 million, subject to an overbid
 6

 7    process. Radians’ agreement to pay a cash purchase price of either $20 million or $15 million

 8    was dependent upon whether the Debtors would be able to obtain the consent of a key customer to

 9    extending the term of their contract with the Debtors. The Debtors were able to obtain that
10
      consent prior to the auction, which resulted in the Radians’ purchase price being $20 million.
11
      Radians had acquired the Debtors’ secured bank debt several months before the Petition Date.
12
      The Plan Proponents believe that Radians did this with the goal of acquiring the Debtors’ business
13
      – either consensually or through a hostile manner.
14

15           The Debtors’ business was actively marketed for sale for a number of months prior to the

16    Debtors’ bankruptcy filings by the Debtors’ financial advisor/investment banker – Craig Hallum

17    Capital Group LLC (“C-H”). Prospective buyers were provided with the opportunity to purchase
18
      assets or equity. While a number of prospective buyers expressed pre-petition interest in possibly
19
      purchasing the Debtors’ assets or stock, the Debtors ran out of time to continue with their pre-
20
      bankruptcy marketing process because (i) the Debtors were out of funds, (ii) the Debtors could
21
      not continue to operate without both access to their own cash receipts as well as receipt of
22

23    additional financing, and (iii) Radians (which as described above was also the Debtors’ secured

24    creditor having purchased the Debtors’ pre-bankruptcy secured bank debt) had exercised its
25    secured creditor rights and was sweeping all of the Debtors’ cash on a daily basis and was no
26
      longer willing to continue to forbear or advance additional needed financing to the Debtors absent
27

28

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 1    a global resolution with the Debtors which was accomplished with the Radians APA and the DIP
 2    financing agreement the Debtors entered into with Radians (discussed more below).
 3
             The purchase offer provided to the Debtors by Radians was determined by the Board to be
 4
      the best offer the Debtors had received by the Petition Date, and Radians was ready to proceed
 5
      with its purchase and lend the Debtors sufficient funds to enable the Debtors to operate their
 6

 7    business through a bankruptcy auction to take place in late October, 2017, with a sale closing to

 8    occur shortly thereafter. Consistent with the Bankruptcy Code, Radians permitted the Debtors to

 9    proceed with a robust post-bankruptcy marketing and overbid process (and corresponding auction
10
      – defined below as the “Auction”) to insure that the highest and best price was paid for the
11
      Debtors’ assets. Given the breadth of the Debtors’ pre-bankruptcy marketing process and the fact
12
      that C-H, the Debtors’ pre-bankruptcy investment banker/financial advisor (who was already very
13
      familiar with the various likely prospective overbidders) would be serving as the Debtors’ post-
14

15    bankruptcy investment banker/financial advisor and leading the overbid sale process, and the fact

16    that the likely overbidders were already deep into the due diligence process, the Debtors were

17    confident that providing prospective overbidders with approximately six weeks to decide whether
18
      to participate in the Auction was a sufficient amount of time for the Debtors to achieve the highest
19
      and best price for their assets. Also, and very importantly, if not for the recent closing of the
20
      Debtors’ sale of their assets, the Debtors’ believe that their liquidity needs would have expanded
21
      significantly during the last two months of the year, consistent with the Company’s normal
22

23    business cycle. If the Debtors had continued to operate their business through the end of the year

24    or significantly beyond October 31, 2017, the Debtors’ borrowing needs likely would have
25    increased significantly. Even if the Debtors were able to obtain the necessary post-petition
26
      financing (which was not at all clear), any such additional borrowing (and the costs of such
27
      additional borrowing) would have reduced the ultimate recovery for the Debtors’ Shareholders on
28

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 1    a dollar-for-dollar basis. It was for these reasons that it was very important that the Debtors were
 2    able to implement their proposed sale timeline.
 3
      C.     The Asset Sale Process.
 4
             At a continued hearing held on September 25, 2017, the Court granted the Debtors’ bid
 5
      procedures motion by order entered on September 28, 2017 as Docket Number 71 (the “Bidding
 6

 7    Procedures Order”). The Bidding Procedures Order was approved by the Debtors, Radians, the

 8    Official Committee of Unsecured Creditors (the “OCUC”) and the OCEH. Both the OCUC and

 9    the OCEH hired counsel and a financial advisor (although both the Debtors and the OCEH
10
      opposed the employment of a financial advisor to the OCUC since creditors were being paid in
11
      full). The Bidding Procedures Order explained to prospective overbidders how a prospective
12
      overbidder became qualified to participate in the Auction and how the Auction would proceed in
13
      the event that there was one or more qualified overbidders. In addition, C-H had established an
14

15    extensive data room for prospective overbidders to obtain diligence information, and the Debtors’

16    senior management had made themselves available to meet with prospective overbidders and
17    provide management presentations.       To assist in the overbid process, the Debtors’ counsel
18
      prepared an asset purchase agreement template for prospective overbidders to use if they wanted,
19
      and delivered that template to C-H to distribute to prospective overbidders.
20
      D.     The Radians APA.
21

22           The Radians APA was the result of extensive pre-bankruptcy negotiations and

23    documentation between the Debtors and Radians. Under the Radians APA, Radians had agreed

24    to purchase the vast majority of the Debtors’ assets for the cash purchase price of $20 million or
25    $15 million, depending upon whether the Debtors would be able to obtain the consent of a key
26
      customer to extending the term of their contract with the Debtors. As indicated above, the
27
      Debtors were able to obtain that consent prior to the auction, which resulted in the Radians’
28

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 1    purchase price being $20 million. Radians provided the Debtors with a $1 million deposit which
 2    was held in a trust account by LNBYB. At the time of the Debtors’ bankruptcy filings, Radians’
 3
      outstanding secured debt was in the amount of approximately $3.5 million.             The Debtors
 4
      borrowed a total of $1.1 million post-petition from Radians in accordance with the terms of the
 5
      Final DIP Order (defined below). Radians agreed to make a severance payment to each of the
 6

 7    Debtors’ employees who were not offered employment by Radians, other than the Debtors’

 8    officers and any employee subject to an employee retention agreement, at comparable terms to

 9    their then employment with the Debtors, with each such severance payment to be consistent with
10
      the most generous current severance policy of Radians for similarly situated employees. Radians
11
      was provided with the right to designate which of the Debtors’ executory contracts and unexpired
12
      leases that it wished to assume with the payment of all related cure amounts to be the
13
      responsibility of Radians.
14

15    E.      The Final DIP and Cash Collateral Order.

16           On October 6, 2017, as docket number 87, the Court entered the Final Order: (I)
17    Authorizing The Debtors To (A) Obtain Postpetition Financing Pursuant To 11 U.S.C. §§ 105,
18
      361, 362 And 364, And (B) Utilize Cash Collateral Pursuant To 11 U.S.C. §§ 361, 362, 363 And
19
      364; (II) Granting Adequate Protection Pursuant To 11 U.S.C. §§ 361, 362, 363 And 364; And
20
      (III) Granting Related Relief (the “Final DIP Order”). The Debtors had obtained interim use of
21

22    cash collateral and DIP financing on an emergency basis pending entry of the Final DIP Order

23    pursuant to an order entered on September 13, 2017 as docket number 31, and then further interim

24    use pursuant to a second order entered on September 27, 2017 as docket number 70. The Final
25    DIP Order as well as the preceding interim cash collateral/dip financing orders were critical to the
26
      Debtors’ ability to continue to operate their business post-bankruptcy and to have the necessary
27
      funding to do so. An important component to the Final DIP Order negotiated between the OCUC
28

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 1    and the OCEH, on the one hand, and Radians, on the other hand, is the “Challenge Rights of
 2    Official Committee of Unsecured Creditors and the Official Committee of Equity Security
 3
      Holders” (the “Challenge Rights”). Per the terms of the Final DIP Order, the parties agreed that
 4
      on or before the date that is sixty days from the date of entry of the Final DIP Order (i.e.,
 5
      December 5, 2017 – the “Lookback Period”), the OCUC and the OCEH had standing individually
 6

 7    and on behalf of the Estates to object to, challenge, or seek to avoid the amount, validity, or

 8    enforceability of Radians’ pre-bankruptcy secured debt (or any portion thereof) or any of the liens

 9    and security interests created under the Radians’ pre-bankruptcy secured debt and to bring any
10
      other claim that they have against Radians, individually or on behalf of the Estates (separately and
11
      collectively, a “Challenge”). If no such action, objection or other Challenge was commenced by
12
      either the OCUC or the OCEH within the Lookback Period, then the Radians’ pre-bankruptcy
13
      secured debt would be deemed and adjudicated finally and indefeasibly as valid and enforceable,
14

15    the liens and security interests created under the Radians’ pre-bankruptcy secured debt would be

16    deemed and adjudicated finally and indefeasibly as valid, enforceable and perfected liens and
17    security interests in that collateral, and any affirmative claim(s) or cause(s) of action of any kind
18
      against Radians with respect to the Radians’ pre-bankruptcy secured debt, or otherwise, and the
19
      liens and security interests securing the Radians’ pre-bankruptcy secured debt, or any payment
20
      received by Radians would be forever barred. As provided in the Final DIP Order, the Debtors
21

22    had waived and released, and were forever barred from asserting, any right to object to, challenge

23    or seek to avoid, the amount, validity, or enforceability of the Radians’ pre-bankruptcy secured

24    debt or the liens and security interests in the collateral securing the Radians’ pre-bankruptcy
25    secured debt. Except as otherwise may have been determined by the Court in the proceedings
26
      referenced above, and subject to further order of the Court, in the event any payment made to, or
27
      other amount or value received by Radians from or for the account of any of the Debtors is
28

                                                       12
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 1    avoided, rescinded, set aside or must otherwise be returned or repaid by Radians, whether in the
 2    Cases or any other proceedings, the indebtedness repaid shall be allowed as a claim in accordance
 3
      with existing law. Any of Radians’ claims, liens, rights, and remedies under the Radians loan
 4
      documents which survive such action shall be reinstated and fully preserved. As explained
 5
      below, in accordance with the Sale Order, the full amount of the Radians’ secured debt plus the
 6

 7    $500,000 breakup fee owing to Radians under the Radians APA has already been paid in full. Since it

 8    is now clear that all Allowed Claims will be paid in full, it is only the Shareholders that would be

 9    affected by any recovery obtained from Radians. As a result, the OCEH has exercised its Challenge
10
      Rights by suing Radians and that litigation is ongoing.
11
      F.     The Auction and the Sale Closing.
12
             Pursuant to the Bidding Procedures Order, the Auction was scheduled to be held before
13
      the Court on October 30, 2017, at 10:00 a.m. Approximately 20 prospective overbidders signed
14

15    NDA’s and accessed the data room. Many of them spent extensive time in the data room and

16    with C-H and the Debtors’ management team. The Debtors’ management team provided multiple
17    management presentations to prospective overbidders. Prior to the Auction, the Debtors filed a
18
      declaration of Steve Rickman of C-H, who is the Managing Director of Investment Banking
19
      Mergers and Acquisitions at C-H and who served as the lead professional at C-H providing
20
      services on this engagement, in which Mr. Rickman declared that he believed that serious
21

22    prospective overbidders were well informed as to the overbid opportunity and the impending

23    Auction process, and that he was not aware of any serious prospective overbidder who did not

24    comply with the requirements to be eligible to participate in the Auction because they did not
25    have access to sufficient information or required additional time.
26
             In order to become qualified to participate in the Auction, prospective overbidders were
27
      required to do each of the following three things: (1) deliver a $1 million deposit to a segregated
28

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 1    trust account maintained by LNBYB which would be non-refundable if the prospective
 2    overbidder was the winning bidder at the Auction; (2) deliver a redlined version of the Radians
 3
      APA showing the prospective overbidder’s proposed changes to the Radians APA; and (3) be
 4
      determined to be financially qualified by C-H to fund the transaction without any further
 5
      financing or due diligence contingency. Two prospective overbidders satisfied all three
 6

 7    requirements, consisting of Brighton-Best International, Inc. (“BBI”) and Protective Industrial

 8    Products, Inc. (“PIP”). This sale process was an extremely fluid process as there were a number

 9    of constantly moving parts.
10
             As a result, between Radians (as the stalking horse bidder) and BBI and PIP (as
11
      prospective overbidders), there were three qualified bidders at the Auction. The Auction was an
12
      extraordinary success. Through great efforts by Mr. Greulich and LNBYB, the Debtors were able
13
      to satisfy the condition referenced in the side letter filed under seal which required Radians to
14

15    commence the Auction with an opening bid of $20 million instead of $15 million. Thus, before

16    any overbid was even submitted, the sale price had already increased by $5 million. After very
17    robust bidding by BBI and PIP (Radians never submitted any overbid beyond its initial $20
18
      million opening bid), BBI was determined to be the winning bidder at the Auction with a
19
      purchase price of $25,250,000, and PIP consented to be a backup bidder with a backup purchase
20
      price of $25,000,000. The final form of the sale order and the final form of the APA with BBI
21

22    were heavily negotiated and agreed to by the Debtors, BBI, the OCUC and the OCEH, and the

23    Court entered the final form of the sale order on November 3, 2017, as docket number 177 (the

24    “Sale Order”), after conducting two follow-up hearings on the Sale Order on November 1, 2017,
25    and then again on November 3, 2017.
26
             The sale to BBI closed on November 14, 2017 (the “Sale Closing”). In connection with
27
      the Sale Closing, after taking into account various deposits and pro rations, BBI wire transferred a
28

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 1    Sale Closing payment of $25,328,919, which is in addition to the $1,000,000 deposit that BBI had
 2    provided to the Debtors in advance of the Auction (the “BBI Deposit”) and is inclusive of the
 3
      $820,000 “Supplemental Payment” which, pursuant to the Sale Order, is to be maintained by
 4
      LNBYB (the “Escrow Agent”) at First Republic Bank in a segregated trust account separate from
 5
      the balance of the sale proceeds pending further order of the Court. In connection with the Sale
 6

 7    Closing, a payment in the amount of $180,000 was made to Grainger to compensate Grainger for

 8    what all of the parties agreed was the minimum amount owing to Grainger. The $820,000

 9    Supplemental Payment from BBI was designed to provide a source of funding of any further
10
      payment that may be owing to Grainger as a result of the Debtors’ rejection of their two supplier
11
      agreements with the Grainger entities (Grainger Global Sourcing a division of Grainger
12
      International, Inc. (“GGS”) and W.W. Grainger, Inc. (“Grainger”)). BBI had the opportunity to
13
      take an assignment of the Debtors’ supplier agreements with GGS and Grainger, but BBI decided
14

15    that it did not want to do so, and the Sale Order provides for the Debtors’ supplier agreements

16    with GGS and Grainger to be rejected upon further order of the Court (with the Debtors and BBI
17    to work together in an effort to minimize any rejection damage claim in favor of GGS and
18
      Grainger). The agreement was that in the event that GGS and Grainger ended up with allowed
19
      rejection damage claims in excess of the $180,000 that was paid to the Grainger entities in
20
      connection with the Sale Closing but not more than $1 million, the excess would be paid to the
21

22    Grainger entities out of the $820,000 Supplemental Payment with any remaining balance to be

23    returned to BBI. In the event that GGS and Grainger ended up with allowed rejection damage

24    claims in excess of $1 million, the entire $820,000 Supplemental Payment would be paid to the
25    Grainger entities, and the Debtors would be liable for any amount owing to the Grainger entities
26
      in excess of $1 million. The Debtors spent months working with GGS, Grainger and BBI in an
27
      effort to help facilitate an agreement but to no avail. As a result, the Debtors filed a motion with
28

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 1    the Court to reject the Debtors’ supplier agreements with GGS and Grainger. Prior to the hearing
 2    on the Debtors’ rejection motion, GGS, Grainger and BBI reached an agreement on how to
 3
      proceed which was done with two settlement stipulations which were approved by the Court.
 4
      Those settlement stipulations, among other things, resolved the issue of any further claims by
 5
      GGS and Grainger since their claim amounts were fixed in the stipulations. The entire $820,000
 6

 7    Supplemental Payment has now been distributed to GGS, Grainger and BBI in accordance with

 8    the Court approved stipulations.

 9            After adding in the BBI Deposit and deducting the Supplemental Payment, a total of
10
      $25,511,469 of sale proceeds was deposited into the segregated trust account (the “Trust Account”)
11
      maintained by the Escrow Agent. In accordance with the Sale Order, all of the following “Designated
12
      Cure Amounts” were paid by the Escrow Agent out of the Trust Account concurrently with the Sale
13
      Closing:
14

15            Nantong Changbang Gloves Co. - $1,228,307.56

16            Woneel Midas Leathers - $785,358.50
17            Mercindo Global Manufaktur - $444,674.64
18
              Marusan – Mimasu Tshusho Co. Ltd. - $382,811.28
19
              Grainger - $180,000.00
20
              Advantage Media Services - $178,522.75
21

22            PT JJ Gloves Indo - $162,917.76

23            PT Sport Glove Indonesia - $144,238.66

24            Windspeed Sports Shanghai Co., Ltd. - $152,830.458
25            Ka Hung Glove Industrial Co. Ltd. - $38,934.90
26

27    8
       This figure was $144,198.43 in the Sale Order but was increased to $152,830.45 pursuant to an order of the
28    Court entered on November 13, 2017, as Docket Number 207.


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 1           Synetra - $37,972.33
 2           AML United Limited - $28,330.56
 3
             1920 Hutton Court - $13,257.09
 4
             PT Seok HWA Indonesia - $13,174.86
 5
             Design Gallery (Pvt.) Ltd. - $12,801.60
 6

 7           Desun Garments, Ltd. - $7,691.75

 8           Konica Minolta - $1,152.31

 9           Pitney Bowes - $452.99
10
             Also in accordance with the Sale Order, the Escrow Agent paid out of the Trust Account to
11
      Radians the full amount of Radians’ outstanding debt plus a breakup fee of $500,000 and an early
12
      termination fee of $120,000, which amounted to a total payment of $5,343,988.19.
13
             After taking into account all of the foregoing, the final initial remaining balance in the
14

15    Trust Account following the Sale Closing was $16,354,050.82.            The professional fees and

16    expenses that were allowed by the Court pursuant to the order entered on December 13, 2017 as
17    Docket Number 337 were paid out of the Trust Account, reducing the balance in the Trust
18
      Account of $14,776,072.73.
19
             In accordance with an order of the Court entered on December 14, 2017, as Docket
20
      Number 345 pursuant to which the Court granted the Debtors’ motion for authority to pay the
21

22    Debtors’ undisputed pre-petition claims pursuant to an established protocol, the Debtors and the

23    OCEH jointly filed a notice with the Court indicating their intent to pay all remaining undisputed

24    claims with post-petition interest through the date of payment, and their intent to pay post-petition
25    interest to all of the creditors who were paid the Designated Cure Amounts in connection with the
26

27

28

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 1    Sale Closing as itemized immediately above.9                All of these payments, which totaled
 2    approximately $318,995.20, were paid out of the Trust Account on or about December 22, 2017.
 3
      The Debtors and the OCEH also reached settlement agreements with a number of disputed claim
 4
      holders, which previously disputed claims have since been paid with the consent of the formerly
 5
      disputed creditors in accordance with the Court approved protocol. After payment of all of the
 6

 7    foregoing creditors, the current balance in the Trust Account as of April 3, 2018 is approximately

 8    $13,826,855 (the “Remaining Estate Funds”). The Remaining Estate Funds will continue to be

 9    maintained in the Trust Account by LNBYB, as Escrow Agent, pending further order of the Court. All
10
      of the Remaining Estate Funds are unencumbered.
11
      G.      Significant Events Which Have Occurred During the Bankruptcy Cases.
12
              The following is a list of many of the significant events which have occurred during the
13
      Cases beyond that set forth above:
14

15            1.      Formation of the Official Committee of Unsecured Creditors (the “OCUC”).

16            The United States Trustee (the “UST”) formed the OCUC at the very outset of the Cases
17    to represent the interests of general unsecured creditors. The OCUC was composed of the
18
      following three members: Resources Global Professionals, Winspeed Sports (Shanghai) Co., Ltd.
19
      and PT Sports Glove Indonesia. As indicated above, both Windspeed Sports Shanghai Co., Ltd.
20
      and PT Sport Glove Indonesia were paid in full (without post-petition interest) in connection with the
21

22    Sale Closing, leaving Resources Global Professionals as the sole remaining member of the OCUC.

23    The Debtors subsequently paid post-petition interest to both Windspeed Sports Shanghai Co., Ltd. and

24    PT Sport Glove Indonesia, and the Debtors paid the full claim of Resources Global Professionals with
25

26    9
        The Debtors also paid interest to and the undisputed portion of the claims of the seven claimants whose
27    claims the Debtors have objected to with the interest paid to that portion of the disputed claim that the
      Debtors have not objected to so that the Debtors will have paid all post-petition interest through December
28    22, 2017 in the event the Debtors prevail on all seven claims objections.


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 1    post-petition interest. All three members of the OCUC have therefore been paid in full with post-
 2    petition interest. The Debtors requested the UST to disband the OCUC, which occurred shortly prior
 3
      to confirmation of the Plan. The OCUC employed Brown Rudnick LLP as its counsel, and the OCUC
 4
      employed Province, Inc. as its financial advisor.
 5
              2.      Formation of the Official Committee of Equity Security Holders (the
 6

 7    “OCEH”).

 8            Also at the very outset of the Cases, the UST formed the OCEH to represent the interests

 9    of the equity holders of ICPW Nevada (i.e., the “Shareholders”). The OCEH was composed of
10
      the following three members: Scott Jarus, Ron Chez and Patrick O'Brien. The OCEH employed
11
      Dentons US LLP as its general and bankruptcy counsel, and the OCEH employed Michael D.
12
      Schwarzmann as its financial advisor. The OCEH subsequently employed Solomon & Cramer LLP
13
      as its special litigation counsel. The OCEH was disbanded upon the Plan effective date of
14

15    February 28, 2018, and the three members of the OCEH are serving as the three initial members

16    of the Trust Board.
17            3.      Operational Issues.
18
                      i.      Use of Cash Collateral and Post-Petition Borrowing.
19
              In order for the Debtors to continue to operate their business and manage the Estates
20
      through the Auction process and Sale Closing, the Debtors had to be able to use their cash and
21

22    post-petition operating revenue, and the Debtors had to be able to borrow a sufficient amount of

23    additional money to fund their projected post-petition cash flow shortfalls. As explained above,

24    Radians was the Debtors’ secured creditor at the time of the Debtors’ bankruptcy filings.
25    Concurrently with entering into the Radians APA with the Debtors’ just prior to the Debtors’
26
      bankruptcy filings, Radians entered into a cash collateral/dip financing agreement with the
27
      Debtors pursuant to which Radians consented to the Debtors’ use of cash collateral, and Radians
28

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 1    agreed to lend the Debtors up to $1.5 million of post-petition financing. The Debtors ultimately
 2    borrowed only $1.1 million post-petition from Radians. The entire Radians secured debt was paid
 3
      in full in connection with the Sale Closing.
 4
                      ii.    Emergency Motion to Jointly Administer the Debtors’ chapter 11
 5
      Cases.
 6

 7             At the commencement of the Cases, the Debtors filed emergency motions for authority to

 8    jointly administer the Cases. On September 12, 2017, the Court granted the Debtors’ emergency

 9    joint administration motions pursuant to docket number 7 in the Nevada case and docket number
10
      25 in the California case.
11
                      iii.   Emergency Motion to Pay the Debtors’ Pre-Petition Priority Wages
12
      and Related Employee Expenses.
13
               At the commencement of the Cases, the Debtors filed an emergency motion for authority
14

15    to pay the Debtors’ pre-petition priority wages and related benefits in the ordinary course of

16    business to avoid the disruption to the Debtors’ business from failing to do so. The Court granted
17    the Debtors’ emergency wage motion pursuant to an ordered entered on September 13, 2017 as
18
      docket number 29.
19
                      iv.    Emergency Motion to Provide Adequate Assurance of Payment to the
20
      Debtor’s Utilities.
21

22             At the commencement of the Cases, the Debtors filed an emergency motion for an order

23    authorizing the Debtors to provide adequate assurance of future payment to certain utility

24    companies pursuant to § 366(c) of the Bankruptcy Code.          The Court granted the Debtors’
25    emergency utilities motion pursuant to an ordered entered on September 13, 2017 as docket
26
      number 30.
27

28

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 1                   v.      Emergency Motion to Maintain Cash Management Systems.
 2           At the commencement of the Cases, the Debtors filed an emergency motion for authority
 3
      to maintain their cash management systems, which was imperative to avoid significant disruption
 4
      to the Debtors’ business operations.         The Court granted the Debtors’ emergency cash
 5
      management systems motion pursuant to an ordered entered on September 14, 2017 as docket
 6

 7    number 36.

 8                   vi.     Pre-Petition Claims Bar Date & Other Bar Dates.

 9           The Court established, among other things, a claims bar date of October 20, 2017, as the
10
      last day for creditors to file pre-petition claims against the Debtors, pursuant to an ordered entered
11
      on September 14, 2017, as docket number 37 (the “Bar Date Order”). The Bar Date Order further
12
      provides that for claims of “governmental units,” as that term is defined in 11 U.S.C. § 101(27),
13
      proofs of claim are timely filed: (a) before 180 days after the date of the order for relief in the
14

15    Cases, or (b) October 20, 2017, whichever is later.            The Debtors served notice of an

16    administrative claims bar date of March 19, 2018.
17                   vii.    Motion to Honor Pre-Petition and Post-Petition Employee Bonus
18
      Incentive Agreements.
19
             Both prior to the commencement of the Cases and following the commencement of the
20
      Cases, the Debtors negotiated various performance based bonus programs and targets with their
21

22    key employees because their performance with the business and cooperation with the sale process

23    were going to be crucial towards the successful consummation of the sale of the business to BBI

24    and effectuate a smooth transaction of the business to BBI. Pursuant to an order entered on
25    November 17, 2017, as docket number 224, the Court authorized the Debtors to pay a total of
26
      $457,500 of employee bonuses on account of pre-bankruptcy employee bonus agreements, and
27
      the Court authorized the Debtors to pay a total of $52,500 of employee bonuses on account of
28

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 1    post-bankruptcy employee bonus agreements for a total amount of employee bonuses of
 2    $510,000, all of which were paid in connection with the Sale Closing.
 3
                    viii.   Debtors’ Name Change Following the Sale Closing.
 4
             As part of the Debtors’ sale agreement with BBI, the Debtors were required to effectuate a
 5
      name change following the Sale Closing. Pursuant to an order entered on November 15, 2017, as
 6

 7    docket number 218, the Court authorized the Debtors to effectuate a change of their corporate

 8    name to ICPW Liquidation Corporation without further action by the Board or Shareholders.

 9           4.     Administrative Matters.
10
             The Debtors were required to address the various administrative matters attendant to the
11
      commencement of the Cases, which required an extensive amount of work by the Debtors’
12
      employees and management and their bankruptcy counsel, LNBYB. These matters included the
13
      preparation of the Debtors’ Schedules of Assets and Liabilities and Statement of Financial Affairs
14

15    and the UST compliance package. The Debtors have subsequently filed a number of amendments

16    to their bankruptcy schedules. The Debtors have made every effort to comply with their duties
17    under 11 U.S.C. §§ 521, 1106 and 1107 and all applicable UST guidelines, including the filing of
18
      the Debtors’ monthly operating reports. The Debtors attended their initial interview with the UST
19
      and the meeting of creditors required under 11 U.S.C. § 341(a).
20
             5.     Employment of Professionals.
21

22           A total of nine professionals have been employed in the Cases.          The Debtors have

23    employed four professionals: LNBYB as their bankruptcy counsel; Stubbs Alderton & Markiles,

24    LLP as their special corporate and securities, special trademark, and special litigation counsel;
25    Craig Hallum Capital Group LLC as their financial advisor; and BPE&H An Accountancy
26
      Corporation as the Debtors’ certified public accountant to, among other things, (i) analyze the
27
      2015 federal and state tax returns and determine whether they need to be amended, (ii) prepare
28

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 1    and file the Debtors’ 2016 federal and state tax returns, (iii) prepare an estimate of whether any
 2    taxes are owing in 2017 resulting from the Debtors’ asset sale to BBI and, if so, how much.10 The
 3
      OCEH has employed three professionals: Dentons US LLP as its bankruptcy counsel; Michael D.
 4
      Schwarzmann as its financial advisor; and Solomon & Cramer LLP as special litigation counsel to
 5
      handle certain litigation matters for the OCEH prior to the Effective Date. The Trustee has
 6

 7    employ Dentons US LLP as its general counsel and Solomon & Cramer LLP to handle certain

 8    litigation for the Trust after the Effective Date. The OCUC has employed two professionals:

 9    Brown Rudnick LLP as its bankruptcy counsel and Province, Inc. as its financial advisor.
10
              The Debtors requested the law firm of Skadden, Arps, Slate, Meagher & Flom LLP
11
      (“Skadden”) to provide certain post-petition legal services to the Debtors and/or the independent
12
      board of directors of the Debtors which served as Skadden’s pre-petition client. As of the date of
13
      the Plan, the Debtors had not yet filed an application to employ Skadden with the Court due to
14

15    various disagreements which were since resolved. In late December, 2017, the Debtors, the

16    OCEH and Skadden entered into an agreement pursuant to which Skadden was paid the full
17    amount of its pre-petition claim in the amount of $342,141.79, and the parties all agreed that
18
      Skadden shall have an allowed post-petition administrative claim against the Debtors’ estates in
19
      the fixed amount of $107,858.21 related to post-petition legal fees incurred by Skadden on behalf
20
      of the Debtors, which, subject to the approval of the Court, shall be paid in full, and the parties all
21

22    agreed to work in good faith to determine the optimal manner in which to obtain a Court order

23    authorizing the Debtors to pay this fixed amount of $107,858.21 to Skadden. The Debtors filed

24    an application to employ Skadden and to pay Skadden this fixed agreed upon post-petition legal
25

26

27    10
        The Trust will have the responsibility of preparing the 2017 and 2018 tax returns for the Debtors as well
28    as any tax returns that the Trust itself may be required to file.


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 1    fees claim of $107,858.21. The hearing on that employment application will be held on May 1,
 2    2018 – concurrently with the hearing on the final fee applications.
 3
             6.      Executory Contracts and Unexpired Leases.
 4
             In connection with the Sale Closing, BBI had the right to designate which executory
 5
      contracts and which unexpired leases that BBI desired to take an assignment of, and all of those
 6

 7    designated executory contracts and unexpired leases were deemed assumed by the Debtors and

 8    assigned to BBI effective as of the Sale Closing. Pursuant to the Sale Order, all of the Debtors’

 9    executory contracts and unexpired leases that were not assumed and assigned to BBI were
10
      deemed rejected as of the Sale Closing, with the exception of the two supplier agreements with
11
      GGS and Grainger whose rejection can happen only following the entry of an order of the Court
12
      approving such rejection. As indicated above, the Debtors initially filed a motion to reject the
13
      two supplier agreements with GGS and Grainger, which appeared to have prompted a resolution
14

15    by the parties, which resolution manifested itself in two assumption and assignment stipulations

16    (with agreed upon cure amounts), which were approved by the Court. This was very valuable as
17    it saved these estates the fees and risks that would have been associated with having to litigate the
18
      GGS and Grainger damage claims resulting from a rejection of the two supplier agreements with
19
      GGS and Grainger which were somewhat complex.
20
             7.      The OCEH’s Objection to the Radians’ Claims and Lawsuit Against Radians.
21

22           On December 5, 2017, the OCEH completed its Challenge analysis and timely filed an

23    objection to Radians’ claim and a lawsuit against Radians for (1) Duress, (2) Breach of the

24    Covenant of Good Faith and Fair Dealing, (3) Unjust Enrichment, and (4) avoidance and recovery
25    of property transfer (the “Radians Claim Objection and Lawsuit”).
26
      ///
27
      ///
28

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 1           8.     The Confimed Plan.
 2           The Debtors and the OCEH worked completely in concert to bring these Cases to a swift
 3
      conclusion in the most efficient manner. On January 10, 2018, at the joint request of the Debtors
 4
      and the OCEH, the Court entered an order as Docket Number 373 in which the Court agreed that
 5
      the Debtors and the OCEH could proceed to confirmation of their Joint Plan without the need for
 6

 7    a separate disclosure statement hearing and without the need to solicit any votes from any

 8    creditors or shareholders on the theory that they are both unimpaired by the Joint Plan. The Court

 9    scheduled the confirmation hearing to be held on February 12, 2018, and approved the
10
      dissemination of a comprehensive joint notice by the Debtors and the OCEH to be served on all
11
      creditors and shareholders. That notice was filed as Docket Number 384. On January 22, 2018,
12
      as Docket Number 408, the Debtors and the OCEH filed a comprehensive motion with the Court
13
      in support of confirmation of their Joint Plan together with supportive declarations.        Two
14

15    objections were filed to confirmation of the Joint Plan – one by Radians and one by disputed

16    creditors Cordes and Aisenberg. The fundamental basis of their objections was the same, which
17    was that they objected to the distribution of any of the Remaining Estate Funds to shareholders
18
      until their disputed claims were liquidated. On February 9, 2018, as Docket Number 438, the
19
      Debtors and the OCEH filed a further revised version of the Joint Plan in which they attempted to
20
      resolve the objections to confirmation by Radians and Cordes/Aisenberg, and the Debtors and the
21

22    OCEH filed as Docket Number 439 and supplement to their plan confirmation motion.

23    Ultimately, after extensive oral argument, the Court confirmed the Joint Plan by order entered on

24    February 13, 2018 as Docket Number 442.          As part of the confirmation order, the Court
25    established a process for the Court to conduct claim estimation hearings to determine what
26
      portion of the Remaining Estate Funds, if any, needs to be reserved for the potential benefit of
27
      Radians and Cordes/Aisenberg (in the event they are successful with their pending litigation)
28

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 1    before any funds can be distributed to the Debtors’ shareholders. The deadline for any party to
 2    file an appeal of the confirmation order passed with no appeal having been filed, and the effective
 3
      date of the confirmed Joint Plan occurred on February 28, 2018 (the “Effective Date”).
 4
             9.      The Trust.
 5
             Consistent with the terms of the confirmed Joint Plan, a Trust was created upon the
 6

 7    Effective Date which took title to the estates’ assets. Pursuant to an order entered on February 15,

 8    2018 as Docket Number 446, the Court approved (i) Mathew Pliskin (the Debtors’ former Chief

 9    Financial Officer) to serve as the Trustee; (ii) the terms of Mr. Pliskin’s compensation; (iii) the
10
      employment agreement between the Trust and the Trustee; and (iv) the compensation to be paid
11
      by the Trust to the Trust Board Members.
12
      H.     Retention and Date of the Entry of the Order Approving the Debtors’ Employment
13
             of LNBYB.
14

15           The Debtors retained LNBYB to serve as their bankruptcy counsel with such employment

16    to be effective as of the Petition Date. The Court approved the Debtors’ employment of LNBYB
17    pursuant to an order entered on October 19, 2017 as docket number 120.
18
      I.     Fees and Expenses Previously Requested.
19
             Pursuant to an order entered on December 13, 2017 as Docket Number 337, the Court
20
      awarded LNBYB interim fees of $531,944.50 and interim expenses of $39,376.99 for total
21

22    interim fees and expenses of $571,321.49 incurred during the period of September 8, 2017

23    through November 20, 2017. The Debtors paid this sum to LNBYB.

24    J.     Brief Narrative Statement of Services Rendered, Time Expended, and Fee Charged.
25           When recording its time, LNBYB places all time entries for fees into one of fifteen billing
26
      categories. These categories consist of (1) Asset Analysis and Recovery, (2) Asset Disposition,
27
      (3) Business Operations, (4) Case Administration, (5) Claims Administration and Objections, (6)
28

                                                      26
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 1    Employee Benefits/Pensions, (7) Fee/Employment Applications, (8) Fee/Employment Objections,
 2    (9) Financing, (10) Relief from Stay, (11) Meetings of Creditors, (12) Plan and Disclosure
 3
      Statement, (20) Other Litigation, (92) Preference Analysis, and (99) Miscellaneous. Inevitably,
 4
      certain time entries do not fit neatly into any one category while other time entries cross over into
 5
      more than one category. LNBYB does its best to place time entries into categories which
 6

 7    accurately reflect the work performed. However, it is inevitable that there will be some time

 8    entries that have been placed into the incorrect category or where various time entries dealing

 9    with the same subject matter have been placed into multiple categories. References below made
10
      to the “Covered Period” shall mean the period of November 21, 2017 through May 1, 2018.
11
             1.      Asset Analysis and Recovery (01).
12
             During the Covered Period, LNBYB billed 15.5 hours and incurred $9,222.50 of fees in
13
      this category. From the outset of these cases, LNBYB has been working with the Debtors and the
14

15    OCEH in an effort to analyze, evaluate and maximize any recovery from potential assets.

16    LNBYB participated in numerous phone calls with representatives of the Debtors and counsel to
17    the OCEH in this regard dealing with a multitude of issues.
18
             2.      Asset Disposition (02).
19
             During the Covered Period, LNBYB billed 11.3 hours and incurred $6,241.50 of fees in
20
      this category. The Debtors’ sale process was clearly the most important part of these bankruptcy
21

22    cases since selling the Debtors’ business/assets for the most money possible was the primary

23    purpose of these bankruptcy cases. As described above, the sale process was an enormous

24    success and has provided the Debtors with the ability to pay all creditors in full and make a
25    sizeable distribution to shareholders. During the Covered Period, LNBYB handled a number of
26
      post-Sale Closing matters, primarily in terms of preparing and serving contract rejection notices,
27
      notices of assumed contracts, the motion to reject the executory contracts with the Grainger
28

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 1    entities as described above, and the motion to assume and assign the executory contracts with the
 2    Grainger entities after the Debtors’ rejection motion prompted the Grainger entities and BBI into
 3
      resolving their differences.
 4
             3.      Business Operations (03).
 5
             During the Covered Period, LNBYB billed 18.9 hours and incurred $11,198.00 of fees in
 6

 7    this category related to various business operational issues, including some contract issues, insider

 8    compensation issues, preparation of drafts of rejection stipulations with the Grainger entities;

 9    preparation of the assumption stipulations with the Grainger entities and BBI, and preparation of
10
      the Trustee Services Agreement for the Trustee.
11
             4.      Case Administration (04).
12
             During the Covered Period, LNBYB billed 50.1 hours and incurred $21,989 of fees in this
13
      category dealing with a number of case administration matters. LNBYB worked with the Debtors
14

15    to change their corporate names as the sale to BBI required. LNBYB worked with the OCEH on

16    a number of case administrative matters to prepare for the transition to the Trust. LNBYB
17    prepared all status reports required by the Court. LNBYB amended the Debtors’ bankruptcy
18
      schedules as requested by the Debtors. LNBYB analyzed and commented upon the Services
19
      Agreement the OCEH wanted to enter into with KCC. LNBYB prepared a motion for authority
20
      to pay certain administrative expenses from the Escrow Account. LNBYB worked with the
21

22    appropriate parties to update the shareholders service list. LNBYB assisted the Debtors in the

23    preparation of their required Monthly Operating Reports, and LNBYB worked with the Debtors

24    and with SAM in the preparation of Form 8-K filings with the SEC. LNBYB worked with the
25    OCEH in the preparation of the Trust Agreement.
26
             5.      Claims Administration and Objections (05).
27
             During the Covered Period, LNBYB billed 87.3 hours and incurred $46,174.00 of fees in
28

                                                       28
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 1    this category dealing with various claims issues and analyses. LNBYB prepared the notice of
 2    rejected executory contracts and provided those counter-parties to executory contracts a bar date
 3
      to file any rejection damage claims. LNBYB filed and successfully prosecuted a number of
 4
      objections to claims. LNBYB played an integral role in negotiating a resolution of the dispute
 5
      between SAM and the OCEH resolving the objection the OCEH had to the amount of SAM’s pre-
 6

 7    petition claim in the process saving these estates what could have been substantial legal fees in

 8    the OCEH litigating that matter and creating the awkward situation of the OCEH suing the

 9    Debtors’ special corporate and securities counsel. LNBYB drafted the settlement stipulation
10
      between the parties.    LNBYB researched the issue of payment of post-petition interest to
11
      unsecured creditors in a solvent case where the vast majority of the creditors were paid at the Sale
12
      Closing as described above and had not requested any post-petition interest. In the end, all
13
      creditors were paid post-petition interest through the date of payment of their claims. LNBYB
14

15    appeared at a hearing held on December 12, 2017 at which the Court granted the Debtors’ claims

16    protocol motion authorizing the Debtors to pay the undisputed pre-petition claims of creditors,
17    and LNBYB prepared the claims protocol order. LNBYB drafted the settlement stipulation
18
      reached between the Debtors, the OCEH and Skadden, and LNBYB prepared the notice of the
19
      settlement which facilitated the payment to Skadden. LNBYB prepared the administrative claims
20
      bar date notice. LNBYB created and maintained a master claims chart throughout these Cases and
21

22    constantly updated and amended the claims chart as facts developments unfolded.

23           6.      Employee Benefits/Pensions (06).

24           During the Covered Period, LNBYB did not incur any fees in this category.
25           7.      Fee/Employment Applications (07).
26
             During the Covered Period, LNBYB billed 81.8 hours and incurred $42,706.50 of fees in
27
      this category. LNBYB assisted SAM to prepare its first interim fee application and its final fee
28

                                                      29
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 1    application. LNBYB assisted Craig Hallum Capital Group LLC to prepare its first and final fee
 2    application. LNBYB prepared the notice of the first interim fee applications for all professionals.
 3
      LNBYB analyzed all of the first interim fee applications that were filed and advised the Debtors
 4
      of the same. LNBYB assisted the Debtors to negotiate the terms of employment of their new
 5
      accountant, BPEH, and LNBYB prepared the Debtors’ application to employ BPEH. LNBYB
 6

 7    appeared at the first interim fee hearing held on December 12, 2017, and LNBYB prepared the

 8    first interim fee order for all professionals. LNBYB prepared this Application, and the final fee

 9    notice for all professionals. LNBYB prepared the stipulation between Skadden, the OCEH and
10
      the Debtors to resolve the payment of the previously agreed upon post-petition claim of Skadden,
11
      and LNBYB researched the issue of whether it was possible to make this post-petition claim to
12
      Skadden without Skadden’s employment by the Debtors ever being formally approved by the
13
      Court. In the end, all of the parties agreed that the Debtors would file an application to employ
14

15    Skadden which will be heard by the Court concurrently with the final fee applications. LNBYB

16    assisted Skadden to prepare its final fee application. LNBYB included three hours of billed time
17    as an estimate for LNBYB to appear at the final fee hearing and then to prepare the final fee order
18
      for all of the professionals employed in these Cases.
19
             8.      Fee/Employment Objections (08).
20
             During the Covered Period, LNBYB billed 19.3 hours and incurred $11,351.50 of fees in
21

22    this category primarily dealing with the joint efforts by the Debtors and the OCEH to object to the

23    OCUC’s employment of its financial advisor (Province) and then to the final fee application of

24    the OCUC’s financial advisor. The Debtors instructed LNBYB to do this because the Debtors
25    believe that this was a pay-in-full chapter 11 bankruptcy case for all creditors from the outset, and
26
      that, as a result, there was no need for the OCUC to hire a financial advisor and that the real
27
      parties who would be bearing that cost would be the shareholders. LNBYB analyzed the final fee
28

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 1    application filed by Province, and LNBYB worked closely with counsel to the OCEH to file a
 2    joint objection to Province’s final fee application along with supportive declarations. LNBYB
 3
      appeared at the hearing on the objection held on December 12, 2017 at which the Court ordered
 4
      further briefing. The Debtors, the OCEH and Province ultimately reached a settlement of the
 5
      dispute which resulted in a substantial reduction of the amount of final fees that were paid to
 6

 7    Province.

 8           9.      Financing (09).

 9           During the Covered Period, LNBYB billed .2 hours and incurred $119 of fees in this
10
      category addressing the Radians’ pay off amount at the Sale Closing.
11
             10.     Relief from Stay (10).
12
             During the Covered Period, LNBYB billed 9.5 hours and incurred $5,408.50 of fees in
13
      this category dealing with various relief from stay issues, primarily having to do with the claims
14

15    dispute with Cordes and Aisenberg and the Debtors’ D&O insurance policy, including appearing

16    at the Cordes and Aisenberg relief from stay hearing held on February 27, 2018.
17           11.     Meetings of Creditors (11).
18
             During the Covered Period, LNBYB billed 1.1 hours and incurred $654.50 of fees in this
19
      category primarily involving the Debtors’ efforts to disband the OCUC since all three members of
20
      the OCUC had already been paid in full. The UST ultimately disbanded the OCUC shortly prior
21

22    to the Plan confirmation hearing.

23           12.     Plan and Disclosure Statement (12).

24           During the period covered by this Application, LNBYB billed 295.7 hours and incurred
25    $169,569.00 of fees in this category. The Debtors and the OCEH agreed that they would file and
26
      attempt to confirm a joint plan as soon as possible and seek to bring these chapter 11 bankruptcy
27
      cases to a swift conclusion to enable the remaining allowed claims to be paid in full and for the
28

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 1    remaining funds in these estates to be distributed to shareholders. LNBYB took the laboring oar
 2    in this entire process working very closely with counsel to the OCEH the entire time. The process
 3
      began with the preparation of a draft joint disclosure statement in late November, 2017. After
 4
      researching the issue and concluding that both the creditors and the shareholders of these estates
 5
      were unimpaired, the Debtors and the OCEH jointly decided to request the Court to authorize
 6

 7    them to proceed directly to plan confirmation without the need for approval of any disclosure

 8    statement and without the need to solicit the votes of any creditors or shareholders. LNBYB and

 9    counsel to the OCEH prepared a joint motion requesting the Court to waive the need to have a
10
      disclosure statement. LNBYB and counsel to the OCEH then converted the joint disclosure
11
      statement into a comprehensive Joint Plan as the sole document to use to proceed to confirmation.
12
      LNBYB and counsel to the OCEH also worked closely in the preparation of the Trust Agreement
13
      and Trustee Services Agreement that were necessary and critical components to the Joint Plan.
14

15    LNBYB and counsel to the OCEH worked closely in the preparation of the plan confirmation

16    motion. LNBYB and the OCEH prepared modified versions of the Joint Plan to address the
17    issues raised by the SEC and the UST to their satisfaction avoiding any objections to confirmation
18
      from either the SEC or the UST. LNBYB analyzed the issue of third-party releases which was a
19
      key issue raised by the SEC and the UST. As indicated above, on January 10, 2018, the Court
20
      entered an order as Docket Number 373 in which the Court agreed that the Debtors and the
21

22    OCEH could proceed to confirmation of their Joint Plan without the need for a separate disclosure

23    statement hearing and without the need to solicit any votes from any creditors or shareholders on

24    the theory that they are both unimpaired by the Joint Plan. The Court scheduled the confirmation
25    hearing to be held on February 12, 2018, and approved the dissemination of a comprehensive
26
      joint notice by the Debtors and the OCEH to be served on all creditors and shareholders. LNBYB
27
      and counsel to the OCEH prepared that comprehensive joint notice which was filed as Docket
28

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 1    Number 384. On January 22, 2018, as Docket Number 408, the Debtors and counsel to the
 2    OCEH filed their comprehensive motion with the Court in support of confirmation of their Joint
 3
      Plan together with supportive declarations. Also on January 22, 2018, LNBYB and counsel to the
 4
      OCHE filed their joint motion for approval of the Trust, the Trustee Services Agreement and the
 5
      compensation to be paid to the Trust Board Members. LNBYB analyzed the two objections that
 6

 7    were filed to confirmation of the Joint Plan – one by Radians and one by disputed creditors

 8    Cordes and Aisenberg. The fundamental basis of their objections was the same, which was that

 9    they objected to the distribution of any of the Remaining Estate Funds to shareholders until their
10
      disputed claims were liquidated. On February 9, 2018, as Docket Number 438, the Debtors and
11
      the OCEH filed a further revised version of the Joint Plan prepared by LNBYB and counsel to the
12
      OCEH (and a related supplement to their plan confirmation motion) in which they attempted to
13
      resolve the objections to confirmation by Radians and Cordes/Aisenberg, and the Debtors and the
14

15    OCEH filed as Docket Number 439 and supplement to their plan confirmation motion. LNBYB

16    and counsel to the OCEH attempted to negotiate mutually acceptable resolutions of their plan
17    objections but those efforts did not result in any resolution. LNBYB researched the issue of
18
      whether it was possible to set aside a fixed amount of money to be used to satisfy a disputed
19
      creditor’s claim (here for Radians and Cordes/Aisenberg) and still deem those creditors
20
      unimpaired. Ultimately, after extensive oral argument, the Court confirmed the Joint Plan by
21

22    order entered on February 13, 2018 as Docket Number 442 after conducting lengthy hearings on

23    February 12, 2018 and February 13, 2018 – both attended by LNBYB. LNBYB took the laboring

24    oar in the preparation of the confirmation order. As part of the confirmation order, the Court
25    established a process for the Court to conduct claim estimation hearings to determine what
26
      portion of the Remaining Estate Funds, if any, needs to be reserved for the potential benefit of
27
      Radians and Cordes/Aisenberg (in the event they are successful with their pending litigation)
28

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 1    before any funds can be distributed to the Debtors’ shareholders. The deadline for any party to
 2    file an appeal of the confirmation order passed with no appeal having been filed, and the effective
 3
      date of the confirmed Joint Plan occurred on February 28, 2018 (the “Effective Date”).
 4
             13.     Other Litigation (20).
 5
             During the Covered Period, LNBYB billed 5.7 hours and incurred $3,187.50 of fees in
 6

 7    this category dealing with various litigation matters and assisting the Debtors to analyze their

 8    outstanding litigation matters, including LNBYB’s efforts to assign the standing to pursue the

 9    pending litigation against Cordes/Aisenberg to the OCEH. LNBYB appeared at the hearing held
10
      on February 12, 2018 on Radians’ motion to seek to dismiss the OCEH’s lawsuit.
11
             14.     Miscellaneous (99).
12
             During the Covered Period, LNBYB billed 8.4 hours and incurred $4,998.00 of fees in
13
      this category dealing with various miscellaneous matters, primarily with working with the
14

15    Debtors to make sure trading of the Debtors’ stock was halted so that people did not purchase

16    stock after the Record Date which would be worthless to the buyers and addressing the Debtors’
17    various stock option issues.
18
      K.     Detailed Listing of All Time Spent By the Professional on the Matter for Which
19
             Compensation is Sought.
20
             Attached as Exhibit “1” to the annexed Declaration of Ron Bender, Esq. is a detailed
21

22    listing of all time that LNBYB spent during the Covered Period for which LNBYB seeks

23    compensation, including the date LNBYB rendered the service, a description of the service, the

24    amount of time spent and a designation of the person who rendered the service for the period of
25    time for the Covered Period. Also included in Exhibit “1” is a summary of the hours and fees
26
      charged by each of LNBYB’s attorneys that performed services for the Debtors. Also included in
27
      Exhibit “1” is a breakdown of time entries into the activity codes maintained by LNBYB.
28

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 1    L.     Detailed Listing of Expenses By Category.
 2           Attached hereto as Exhibit “2” is a summary listing by category and an itemization of all
 3
      expenses that LNBYB advanced on behalf of the Debtors during these Cases. These include
 4
      LNBYB’s expenses incurred in photocopying, making long distance telephone calls, telecopying,
 5
      mailing, and hiring messenger services.          LNBYB generally handles regular and routine
 6

 7    photocopying in-house for which LNBYB charges clients twenty cents per page. While LNBYB

 8    believes that this is less than LNBYB’s actual expenses incurred with regard to the photocopying

 9    machines, supplies and labor associated with providing photocopying services, this charge reflects
10
      the photocopying charge recommended by the UST in the Central District of California.
11
      LNBYB’s photocopy machines automatically record the number of copies made when the person
12
      that is photocopying enters the client’s account number into a device attached to the photocopy
13
      machine. Whenever feasible, LNBYB sends large copying projects to outside copy services that
14

15    charge bulk rates for photocopying. In such instances, LNBYB charges clients the same amount

16    that LNBYB pays the outside service.
17           LNBYB charges clients $1.00 per page for sending telecopies and $.20 per page for
18
      receiving telecopies which LNBYB believes is less than LNBYB’s actual expenses incurred with
19
      regard to telecopying but again is a decision by LNBYB to comply with the standards set forth by
20
      the UST in the Central District of California.
21

22           All expenses that LNBYB advanced on behalf of the Debtors were necessarily incurred

23    and are properly charged as administrative expenses of the Debtors’ chapter 11 estates.

24           When LNBYB uses Lexis and Westlaw, the user inputs the client account number or case
25    name for the research to be performed. Each month, LNBYB receives a Lexis and Westlaw
26
      invoice which reflects both an aggregate total of charges incurred by LNBYB for the month, as
27
      well as a break out of the specific charges incurred on behalf of each client (identified by name or
28

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 1    client account number). The amount(s) reflected on the monthly invoice is then entered by
 2    LNBYB staff to the appropriate client account number as identified on the invoice. There is no
 3
      profit or other additional charge added to the amount reflected in the Lexis and Westlaw invoice.
 4
      M.     Description of Professional Education and Experience.
 5
             LNBYB is currently comprised of twenty-three lawyers.              LNBYB is comprised of
 6

 7    attorneys who specialize in and limit their practice to matters of insolvency, reorganization and

 8    bankruptcy law, and commercial litigation matters, and is well qualified to represent the Debtors.

 9    All attorneys comprising or associated with LNBYB are admitted to practice law in the California
10
      courts and in the United States District Court for the Central District of California. Attached
11
      hereto as Exhibit “3” is a copy of LNBYB’s firm resume and the resumes of its professionals and
12
      paraprofessionals. Attached hereto as Exhibit “4” is a listing of the current hourly billing rates for
13
      each of LNBYB’s professionals and paraprofessionals.
14

15    N.     Source and Amount of Cash Available to Pay LNBYB’s Allowed Fees and Expenses.

16           As indicated above, there is a current remaining balance in the Trust Account of
17    $13,826,855.02 (the “Remaining Estate Funds”) which are continuing to be maintained in the Trust
18
      Account by LNBYB pending further order of the Court. All of the Remaining Estate Funds are
19
      unencumbered and are available to be used to pay the allowed fees and expenses of LNBYB and the
20
      other professionals employed in these cases.
21

22                                                     V.

23                                          STANDARD OF LAW

24           Prior to the enactment of the Bankruptcy Code, the rule with respect to compensation
25    requests in the Ninth Circuit was that the Bankruptcy Court should award attorneys’ fees in
26
      accordance with a “strict rule of economy test.” In re THC Financial Corp., 659 F.2d 951, 955
27
      n.2 (9th Cir.1981), cert. denied, 456 U.S. 977 (1982). This is no longer the law. The legislative
28

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 1    history to section 330 of the Bankruptcy Code indicates that Congress was primarily concerned
 2    with protecting the public interest in the smooth, efficient operation of the bankruptcy system by
 3
      encouraging competent bankruptcy specialists to remain in the field. First National Bank of
 4
      Chicago v. Committee of Creditors Holding Unsecured Claims (In re Powerline Oil Co.), 71 B.R.
 5
      767, 770 (Bankr. 9th Cir. 1986); In re Baldwin-United Corp., 79 B.R. 321, 346 (Bankr.S.D.Ohio
 6

 7    1987). Toward this end, Congress specifically disavowed notions of economy of administration,

 8    and provided that compensation in bankruptcy case should be comparable to what is charged in

 9    nonbankruptcy matters. Id. at 346.
10
             Under the lodestar approach, the Court is to determine the number of hours reasonably
11
      expended in an attorney’s representation of a debtor and multiply such number by a reasonable
12
      hourly rate for the services performed. See Delaware Valley Citizens’ Council for Clear Air, 478
13
      U.S. at 565; In re Powerline Oil Co., 71 B.R. at 770. A reasonable hourly rate is presumptively
14

15    the rate the marketplace pays for the services rendered. Missouri v. Jenkins by Agyei, 491 U.S.

16    274, 109 S.Ct. 2463, 2469 (1989); Burgess v. Klenske (In re Manoa Finance Co., Inc.) 853 F.2d
17    687, 691 (9th Cir.1988). Recognizing that the determination of an appropriate “market rate” for
18
      the services of a lawyer is inherently difficult, the Supreme Court stated:
19
                     Market prices of commodities and most services are determined
20                   by supply and demand. In this traditional sense there is no such
                     thing as a prevailing market rate for the service of lawyers in a
21                   particular community. The type of services rendered by lawyers,
22                   as well as its experience, skill, and reputation, varies extensively --
                     even within a law firm. Accordingly, the hourly rates of lawyers
23                   in private practice also vary widely. The fees charged often are
                     based on the product of hours devoted to the representation
24                   multiplied by the lawyer’s customary rate.
25    Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984). The Supreme Court has stated that a reasonable
26
      attorney’s fee “means a fee that would have been deemed reasonable if billed to affluent plaintiffs
27
      by its own attorneys.” Missouri v. Jenkins by Agyei, 109 S.Ct. at 2470 (quoting City of Riverside
28

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 1    v. Rivera, 477 U.S. 561, 591 (1986) (Rehnquist, J. dissenting)). Accordingly, a reasonable hourly
 2    rate is the hourly amount to which attorneys in the area with comparable skill, experience and
 3
      reputation typically would be entitled as compensation. Blum v. Stenson, 465 U.S. at 895 n.11.
 4
             LNBYB respectfully submits that the hourly rates for its attorneys and paraprofessionals
 5
      and the total amount of fees and expenses incurred are reasonable and appropriate in the relevant
 6

 7    community and in view of the circumstances of, and extraordinarily successful results achieved

 8    by LNBYB in, these complicated, difficult, large and intensive chapter 11 cases. While virtually

 9    all large law firms with bankruptcy/insolvency departments and many of the high level
10
      bankruptcy/insolvency boutique law firms in both California and around the Country have
11
      significantly increased their billing rates over these recent years, even to the point of where hourly
12
      billings rates have nearly doubled since just a relative short time ago, LNBYB has intentionally
13
      kept its high end billing rates unchanged or virtually unchanged for many years. LNBYB’s
14

15    average hourly lawyer billing rate is significantly lower than the hourly rates charged by other

16    comparably large, Los Angeles based bankruptcy boutiques, and by the large law firms in Los
17    Angeles with bankruptcy departments that have the size and experience of LNBYB. The seven
18
      senior partners at LNBYB, which includes Ron Bender who served as lead counsel in these Cases
19
      for LNBYB (and has been a managing partner of LNBYB for 23 years and has represented
20
      hundreds of chapter 11 debtors), have an hourly billing rate of $595, which has been the same for
21

22    many years. This rate is significantly lower than the hourly rates charged by other comparably

23    large, Los Angeles based bankruptcy/insolvency boutiques, and by the large law firms in Los

24    Angeles with bankruptcy departments that have the size, skill and experience of LNBYB. Indeed,
25    an hourly billing rate of $595 is in many instances less than half of what many colleagues in Los
26
      Angeles and around the Country with Mr. Bender’s resume and experience charge. LNBYB has
27
      done this intentionally to be considered a top talent bankruptcy/insolvency boutique firm where
28

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 1    clients get the best legal representation possible at affordable prices. In addition to the fact that
 2    LNBYB’s hourly rates are imminently reasonable given the talent and experience of its lawyers,
 3
      LNBYB makes every effort to handle its bankruptcy cases in the most efficient manner possible
 4
      because hourly billing rates do not mean anything if a law firm overstaffs a bankruptcy case. In
 5
      these cases, despite the intensity and sheer volume of work needed and needed in an
 6

 7    extraordinarily tight time frame, LNBYB essentially staffed these cases with only three lawyers

 8    who with rare exception handled the entire Cases, and LNBYB made every effort to avoid

 9    duplication of efforts.
10
             In addition to the foregoing, LNBYB respectfully submits that it played a crucial role in
11
      the extraordinary success of these Cases. Pre-petition, LNBYB played an instrumental role in
12
      persuading Radians at times not to sweep the Debtors’ cash and at other times when Radians
13
      insisted on sweeping the Debtors’ cash persuading Radians to advance back to the Debtors a
14

15    sufficient amount of money to enable the Debtors to operate their business and avoid irreparable

16    harm while the Debtors and Radians negotiated the terms of a sale agreement and overbid process
17    and the terms of a cash collateral and dip financing agreement with extremely reasonable terms
18
      (far less expensive money than any traditional dip lender would have charged). LNBYB served
19
      as the point in the negotiations and drafting of both the Radians APA and the cash collateral/dip
20
      financing agreement. Of particular note was persuading Radians to agree that it would not be able
21

22    to use its $500,000 break-up fee as a permanent bidding benefit in an auction process which may

23    have caused prospective overbidders not to participate in the Auction given the huge bidding

24    advantage that would have given Radians. Instead, Radians agreed to a “matching right” which
25    was the subject of some debate in Court but both PIP and BBI advised LNBYB that they viewed
26
      Radians “matching right” as irrelevant to their willingness to participate in the Auction. For all of
27
      the reasons explained above, LNBYB also played a pivotal role in the negotiation and drafting of
28

                                                       39
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 1    the two settlement stipulations with the two Grainger entities which caused Radians to be required
 2    to start the Auction with an opening bid of $20 million instead of $15 million, and, of course, the
 3
      Auction ended with a purchase price of $25.25 million, which was significantly higher than any
 4
      binding offer the Debtors received pre-petition. So while Radians (and the Debtors’ own need for
 5
      financing) ultimately caused the Debtors’ chapter 11 bankruptcy filings, the chapter 11
 6

 7    bankruptcy filings and the ultimate Auction proved to be a great success.

 8            LNBYB was tasked with (i) setting up these chapter 11 bankruptcy cases with a locked in

 9    stalking horse bid in hand with Radians and a cash collateral/dip financing agreement in hand; (ii)
10
      assisting the Debtors to manage their chapter 11 bankruptcy estates; (iii) facilitating the sale and
11
      Auction process designed to obtain the highest and best price possible for the Debtors’ assets; and
12
      (iv) to close the sale to the winning bidder at the Auction. LNBYB achieved all of this in
13
      virtually record time with an extraordinary result for creditors and shareholders. Because the
14

15    Debtors had very limited access to funds at the time of their bankruptcy filings (in part because of

16    the daily sweeping of funds by Radians), LNBYB agreed to file the Debtors’ chapter 11 cases
17    with no remaining pre-petition retainer and to waive all of LNBYB’s outstanding fees and
18
      expenses incurred pre-petition in excess of the $60,000 retainer paid to LNBYB by the Debtors.
19
      LNBYB did all of this because of its confidence in the Debtors and itself and in order to assist the
20
      Debtors in their time of need and not to impose an additional financial burden on the Debtors
21

22    when the Debtors had limited funds. LNBYB therefore incurred all of the risk of not being paid,

23    and LNBYB never sought to be paid any fees/expenses in these Cases until the Debtors’ asset sale

24    consummated. LNBYB also never requested at the outset and is not requesting now any bonus to
25    offset that risk – despite the extraordinary results achieved in these Cases which LNBYB submits
26
      it played a key role in.
27
              The Debtors selected LNBYB as their bankruptcy counsel because of the Debtors’
28

                                                      40
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 1    confidence in LNBYB’s ability to successfully deal with the many complex and difficult issues
 2    related to the Debtors’ financial and business affairs and to assist the Debtors to maximize the
 3
      value of their assets and bankruptcy estates and recovery for creditors in an efficient and effective
 4
      manner. LNBYB made every effort to administer these highly intensive Cases in as efficient
 5
      manner as possible and to avoid duplication of efforts by LNBYB’s lawyers.                  LNBYB
 6

 7    respectfully submits that the foregoing establishes that LNBYB’s requested fees and expenses are

 8    reasonable and appropriate and should be approved by the Court.

 9                                                    VII.
10
                                               CONCLUSION
11
             WHEREFORE, LNBYB respectfully requests that this Court enter an order:
12
             1.      approving on a final basis fees in the amount of $332,819.50 and expenses of
13
      $25,587.69 for total fees and expenses in the amount of $358,407.19 incurred during the Covered
14

15    Period of November 21, 2017 through May 1, 2018, and authorizing LNBYB to be paid this sum of

16    $358,407.19 from the Remaining Estate Funds;
17           2.      approving on a final basis all fees and expenses that the Court previously awarded to
18
      LNBYB on an interim basis; and
19
             3.      granting such other and further relief as the Court deems just and proper.
20
      Dated: April 3, 2018                           LEVENE, NEALE, BENDER, YOO & BRILL
21                                                   L.L.P.
22

23                                                   By:___/s/ Ron Bender                      ____
                                                           RON BENDER
24                                                         MONICA Y. KIM
                                                           KRIKOR J. MESHEFEJIAN
25                                                         LEVENE, NEALE, BENDER, YOO
26                                                         & BRILL L.L.P.
                                                           Attorneys for Chapter 11 Debtors and
27                                                         Debtors in Possession

28

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 1                             DECLARATION OF RON BENDER, ESQ.
 2           I, Ron Bender, hereby declare as follows:
 3
             1.     I have personal knowledge of the facts set forth below, and, if called to testify,
 4
      would and could competently testify thereto.
 5
             2.     I am a managing partner of the law firm of Levene, Neale, Bender, Yoo & Brill
 6

 7    L.L.P. (“LNBYB”), bankruptcy counsel to ICPW Liquidation Corporation, a California

 8    corporation, formerly known as Ironclad Performance Wear Corporation, a California corporation

 9    (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation, formerly known
10
      as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW Nevada” and
11
      collectively with ICPW California, the “Debtors”).
12
             3.     I make this Declaration in support of LNBYB’s Final Application for Approval of
13
      Fees and Reimbursement of Expenses (the “Application”) for services rendered and expenses
14

15    incurred for the period of November 21, 2017 through May 1, 2018 (the “Covered Period”).

16           4.     I am an attorney licensed to practice law in the State of California, and in the
17    United States District Court and the Bankruptcy Court for the Central District of California,
18
      among other courts. I have represented hundreds of debtors in chapter 11. I am familiar with
19
      Local Bankruptcy Rule 2016-1. I prepared the Application.
20
             5.     To the best of my knowledge, information and belief, all of the matters stated in
21

22    the Application are true and correct, and the Application complies with all applicable statutes,

23    rules, regulations and procedures, including Local Bankruptcy Rule 2016-1.

24           6.     The amounts requested in the Application for compensation of fees and
25    reimbursement of expenses incurred are based on LNBYB’s business records, which are kept and
26
      maintained by LNBYB in the ordinary course of LNBYB’s business.
27

28

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 1             7.     All expenses for outside services such as photocopying services, messenger and
 2    express mail services, postage and research services (Lexis and Westlaw) for which LNBYB
 3
      requests reimbursement are the actual expenses incurred by LNBYB for such services, and
 4
      LNBYB does not seek any additional amounts or profits with respect thereto.
 5
               8.     Attached hereto as Exhibit “1” is a detailed listing of all time entries for services
 6

 7    performed, a summary of services performed, and specific descriptions of services performed,

 8    during the Covered Period.

 9             9.     Attached hereto as Exhibit “2” is a detailed listing of all expenses incurred by
10
      LNBYB during the Covered Period (recognizing that there are at times delays between the date
11
      that expenses are incurred by LNBYB and when they are entered into LNBYB’s billing system so
12
      that additional expenses incurred during the Covered Period may not be contained in Exhibit “2”
13
      and will appear in the next fee application filed by LNBYB).
14

15             10.    Attached hereto as Exhibit “3” is a copy of LNBYB’s firm resume and the

16    resumes of its professionals and paraprofessionals.
17             11.    Attached hereto as Exhibit “4” is a listing of the hourly billing rates of LNBYB’s
18
      professionals and paraprofessionals.
19
               12.    LNBYB is holding as Escrow Agent the sum of $13,826,855.02 in a segregated
20
      trust account at First Republic Bank which constitute the “Remaining Estate Funds” as defined
21

22    above.

23             I declare under penalty of perjury under the laws of the United States of America that the

24    foregoing is true and correct.
25             Executed this 3rd day of April, 2018, at Los Angeles, California.
26

27                                                                /s/ Ron Bender
                                                              RON BENDER, ESQ.
28

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                    EXHIBIT "1"
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                          FEE APPLICATION

Ironclad Performance Wear
                                                                  4/3/2018
Geoff Greulich, President
15260 Ventura Blvd., 20th Floor
Sherman Oaks, CA 91403
Ironclad Performance Wear                             RB
OUR FILE #: 8300
PROFESSIONAL SERVICE RENDERED           11/21/2017     THROUGH       5/1/2018

  TOTAL PROFESSIONAL HOURS              604.8         FEES           $332,819.50
                COSTS

             CONFERENCE CALL CHARGES                       643.86
             REPRODUCTION COSTS                         11,648.00
             FEDERAL EXPRESS                               826.56
             FILING FEE                                      62.00
             MESSENGER SERVICE                             465.00
             MISCELLANEOUS                                 138.35
             Overnight Delivery                            273.25
             POSTAGE                                     3,032.36
             ATTORNEY SERVICE COSTS                      2,367.80
             TELEPHONIC COURT APPEARANCE                   117.50
             WESTLAW RESEARCH                            4,516.05
                                         TOTAL COSTS                  $24,090.73

CURRENT PERIOD TOTAL PROFESSIONAL FEES AND COSTS                     $356,910.23
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     01   -   ASSET ANALYSIS AND RECOVERY

 11/21/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: D&O POLICY



    2110165      RB                               595.00               $59.50                  0.1

 11/21/2017 TELEPHONE CONFERENCE WITH MATT RE: DIP CASH ON HAND AND EXPECTED EXPENSE
            PAYMENT; PREP OF RELATED EMAIL EXCHANGE WITH TANIA

    2110168      RB                               595.00              $238.00                  0.4

 11/21/2017 ANALYSIS OF FURTHER REVISED VERSION OF STIP TO ASSIGN STANDING TO PURSUE
            CORDES AND AISENBERG AND MULTIPLE RELATED EMAILS

    2110173      RB                               595.00              $119.00                  0.2

 11/21/2017 ANALYSIS OF MOTION TO APPROVE ASSIGNMET OF STANDING OF LLITIGATION RIGHTS TO
            EQUITY COMMITTEE AND RELATED EMAIL EXCHANGE

    2110177      RB                               595.00              $119.00                  0.2

 11/21/2017 ANALYSIS OF FURTHER CHANGES TO COMMON INTEREST AGREEMENT WITH EQUITY
            COMMITTEE AND MULTIPLE RELATED EMAILS; CONF WITH TANIA

    2110183      RB                               595.00              $178.50                  0.3

 11/22/2017 PREPARATION OF MULTPLE EMAIL EXCHANGE RE: COMMON INTEREST AGREEMENT; CONF
            WITH TANIA; ANALYSIS OF FURTHER REVISED AGREEMENT

    2110201      RB                               595.00              $238.00                  0.4

 11/22/2017 ANALYSIS OF FINAL VERSION OF COMMON INTEREST AGREEMENT AND SKADDEN
            PRESENTATION TO BOARD AND TO SEC AND SAM REPORT

    2110211      RB                               595.00              $476.00                  0.8

 11/22/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: COMMON INTEREST AGREEMENT AND
            SKADDEN REPORTS; CONF WITH TANIA

    2110212      RB                               595.00              $119.00                  0.2

 11/23/2017 PREPARATION OF EMAIL TO CLIENT RE: COMMON INTEREST AGREEMENT WITH EQUITY
            COMMITTEE

    2110244      RB                               595.00               $59.50                  0.1

 11/26/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: FRB TRUST AMOUNT INTEREST RATE



    2110303      RB                               595.00               $59.50                  0.1

 11/27/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA AND FRB RE: TRUST ACCOUNT INTEREST
            RATE; CONF WITH FRB

    2112682      RB                               595.00              $238.00                  0.4
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                                                                To Date            5/1/2018
 11/28/2017 ANALYSIS OF GRAINGER REBATE APPLICATIONS AND DETAILED ANALYSIS FROM CLIENT; CONF
            WITH CLIENT

    2112716   RB                                   595.00              $178.50                 0.3

 11/28/2017 ANALYSIS OF BECK EMAIL RE: D&O INSURANCE AND CORDES AND AISENBERG CLAIMS



    2112719   RB                                   595.00               $59.50                 0.1

 11/30/2017 TELEPHONE CONFERENCE WITH TANIA RE: CASE PLANNING AND REVIEW AND ANALYSIS



    2112783   RB                                   595.00              $178.50                 0.3

 11/30/2017 TELEPHONE CONFERENCE WITH MATT RE: TAX RETURNS AND TAX ANALYSIS AND NEED TO
            EMPLOY ACCOUNTANT

    2112785   RB                                   595.00              $178.50                 0.3

 11/30/2017 TELEPHONE CONFERENCE WITH MATT RE: CASE REVIEW AND PLANNING



    2112793   RB                                   595.00              $119.00                 0.2

 11/30/2017 ANALYSIS OF MULTIPLE EMAILS RE: CORDES AND AISENBERG AND D&O INSURANCE ISSUES
            AND REVIEW

    2112796   RB                                   595.00               $59.50                 0.1

  12/1/2017 PREPARATION OF LENGTHY MEMO TO TANIA AND JARUS IN RESPONSE TO THEIR INQUIRY
            ABOUT THE INTEREST ATE BEING PAID BY FRB ON TRUST ACCOUNT FUNDS

    2114889   RB                                   595.00              $119.00                 0.2

  12/5/2017 ANALYSIS OF PROPOSED STIPULATION RELATING TO D&O INSURANCE POLICIES FOR CORDES
            & AISENBERG AND MULTIPLE RELATED EMAILS

    2115327   RB                                   595.00              $178.50                 0.3

  12/5/2017 ANALYSIS OF MULTIPLE EMAILS RE: GRAINGER DAMAGE CLAIM COMPUTATION



    2115346   RB                                   595.00              $119.00                 0.2

  12/5/2017 TELEPHONE CONFERENCE WITH TANIA RE: HISTORY OF RADIANS ACTIONS AND INTENT OF
            OCEH TO FILE LAWSUIT VS. RADIANS

    2115347   RB                                   595.00              $238.00                 0.4

  12/5/2017 ANALYSIS OF OCEH COMPLAINT VS. RADIANS; CONF WITH CLIENT



    2115348   RB                                   595.00              $297.50                 0.5

  12/5/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: GRAINGER REJECTION CLAIM
            SETTLEMENT; PREP OF REVISED GRAINGER REJECTION STIPULATIONS

    2115351   RB                                   595.00              $833.00                 1.4
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  12/6/2017 ANALYSIS OF FURTHER REVISED D&O POLICY STIP WITH CORDES & AISENBERG AND
            MULTIPLE RELATED EMAILS

    2115532   RB                                  595.00              $119.00                 0.2

 12/12/2017 APPEARANCE AT HEARING ON MOTION TO UPSTREAM FUNDS TO NEVADA ENTITY



    2116553   RB                                  595.00              $119.00                 0.2

 12/13/2017 PREPARATION OF ORDER GRATING MOTION TO UPSTREAM FUNDS TO NEVADA ENTITY;
            ANALYSIS OF FILE

    2116588   RB                                  595.00             $178.50                  0.3

 12/14/2017 ANALYSIS OF ORDER GRANTING OCEH STANDING TO PURSUE CLAIMS VS. CORDES AND
            AISENBERG AND RELATED EMAILS

    2116628   RB                                  595.00              $59.50                  0.1

 12/15/2017 PREPARATION OF EMAIL EXCHANGE RE: DIP FUNDS FOR TRANSFER TO TRUST



    2119026   RB                                  595.00              $59.50                  0.1

 12/19/2017 ANALYSIS OF COURT ORDER ASSIGNING LITIGATION STANDING TO OCEH



    2119096   RB                                  595.00              $59.50                  0.1

 12/21/2017 PREPARATION OF EMAIL EXCHANGE RE: DIP PROJECTED FUNDS BALANCE AT TIME OF PLAN
            CONFIRMATION

    2119124   RB                                  595.00              $59.50                  0.1

 12/21/2017 TELEPHONE CONFERENCE WITH MARTIN RE: REVIEW OF TAX ANALYSIS FROM SALE AND
            REVIEW OF TAX ANALYSIS

    2119131   RB                                  595.00             $238.00                  0.4

 12/26/2017 ANALYSIS OF BPEH TAX ANALYSIS MEMO FROM MARTIN; CONF WITH CLIENT



    2119224   RB                                  595.00             $178.50                  0.3

 12/27/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SHAREHOLDER ISSUES AND REVIEW



    2119986   RB                                  595.00              $119.00                 0.2

 12/29/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: CASE FUNDING ISSUES AND REVIEW



    2120022   RB                                  595.00              $59.50                  0.1

   1/1/2018 PREPARATION OF SHAREHOLDER PROJECTED DISTRIBUTION AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE; CONF WITH TANIA

    2129143   RB                                  595.00             $297.50                  0.5
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CASE #       8300                                            From Date          11/21/2017
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   1/2/2018 ANALYSIS OF SHAREHOLDER REPORT FROM BJORK OF PACIFIC STOCK TRANSFER COMPANY;
            CONF WITH CLIENT

    2129148   RB                                   595.00             $178.50                 0.3

   1/3/2018 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: TRUST ACCOUNT; CONF WITH MATT



    2129166   RB                                   595.00             $119.00                 0.2

   1/5/2018 PREPARATION OF SHAREHOLDER PROJECTED DISTRIBUTION AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE

    2129207   RB                                   595.00             $238.00                 0.4

  1/11/2018 PREPARATION OF ORDER AUTHORIZING PAYMENTS FROM TRUST ACCOUNT AND RELATED
            EMAIL EXCHANGE; CONF WITH TANIA; ANALYSIS OF FILE

    2129303   RB                                   595.00             $357.00                 0.6

  1/12/2018 PREPARATION OF EX PARTE MOTION FOR APPROVAL OF PAYMENT ORDER FROM TRUST
            ACCOUNT

    2129337   RB                                   595.00             $178.50                 0.3

  1/25/2018 PREPARATION OF EMAIL EXCHANGE RE: FRB TRUST ACCOUNT ISSUES AND REVIEW OF
            CHANGES; CONF WITH FRB

    2130088   RB                                   595.00             $119.00                 0.2

  1/26/2018 ANALYSIS OF EMAILS RE: DOMAIN NAME ISSUES



    2130106   RB                                   595.00              $59.50                 0.1

  1/26/2018 ANALYSIS OF OCEH LAWSUIT VS. CORDES AND AISENBERG; PREP OF RELATED EMAIL
            EXCHANGE; CONF WITH TANIA

    2130109   RB                                   595.00             $238.00                 0.4

  1/29/2018 ANALYSIS OF OPPOSITION TO RADIANS MOTION TO DISMISS COMPLAINT; CONF WITH TANIA



    2130130   RB                                   595.00             $238.00                 0.4

   2/5/2018 CONFERENCE CALL WITH TANIA, MATT AND PAT RE: OVERALL CASE ANALYSIS AND REVIEW;
            FOLLOW UP CALL WITH MATT AND TANIA

    2136477   RB                                   595.00             $714.00                 1.2

  2/14/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH CLIENT RE: DISTRIBUTION TO
            SHAREHOLDERS AND CASE REVIEW; CONF WITH CLIENT

    2137103   RB                                   595.00             $238.00                 0.4

  2/22/2018 ANALYSIS OF AMENDED STIP RE: D&O INSURANCE ISSUES FOR CORDES AND AISENBERG AND
            OTHER RELATED DOCS AND EMAILS

    2137478   RB                                   595.00             $119.00                 0.2
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  2/28/2018 ANALYSIS OF MULTIPLE EMAILS RE: SHAREHOLDER ISSUES AND REVIEW



    2137893       RB                                595.00               $59.50                 0.1

   3/1/2018 ANALYSIS OF EMAIL EXCHANGE RE: TRUST ACCOUNT AND MATT INQUIRIES; ANALYSIS OF
            TRUST ACCOUNT

    2141954       RB                                595.00              $119.00                 0.2

  3/15/2018 PREPARATION OF EMAIL EXCHANGE RE: PAYMENTS TO GRAINGER AND BBI; CALCULATE SAME
            AND FACILITATE SETTLEMENT PAYMENTS; ANALYSIS OF FILE; CONF WITH COUNSEL

    2142069       RB                                595.00             $178.50                  0.3

  3/19/2018 ANALYSIS OF INSURANCE LETTER RE: CORDES AND AISENBERG



    2142208       RB                                595.00               $59.50                 0.1

                                                Total                $9,222.50              15.5
     02   -   ASSET DISPOSITION

 11/21/2017 ANALYSIS OF NOTICE OF SALE AND ACCOUNTING MATTERS RELATED THERETO



    2110084       MYK                               575.00             $230.00                  0.4

 11/25/2017    EMAIL EXCHANGE REGARDING NOTICE OF REJECTION OF CONTRACTS AND DEADLINE TO
               FILE REJECTION CLAIM; ANALYSIS OF SALE ORDER PROVISIONS RE SAME

    2110787       KJM                               535.00             $107.00                  0.2

 11/25/2017 ANALYSIS OF COMMUNICATIONS REGARDING NOTICE ON REJECTED CONTRACTS AND APA
            PROVISIONS

    2110256       MYK                               575.00             $172.50                  0.3

 11/27/2017 PREPARATION OF NOTICE OF ASSUMED CONTRACTS; ANALYSIS OF FILE



    2110479       KJM                               535.00             $642.00                  1.2

 11/27/2017 TELEPHONE CONFERENCE WITH J. KRIEGER RE NOTICE OF ASSUMED CONTRACTS



    2110480       KJM                               535.00             $107.00                  0.2

 11/27/2017 ANALYSIS OF STATUS OF REJECTION NOTICES AND RELATED EMAILS



    2110640       MYK                               575.00              $115.00                 0.2

 11/28/2017 PREPARATION OF EMAIL EXCHANGE WITH SAM RE: SALE ISSUES AND REVIEW



    2112737       RB                                595.00               $59.50                 0.1
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                                                               To Date            5/1/2018
 11/29/2017 ANALYSIS OF HEWLETT PACKARD CONTRACT AND CORRESPONDENCE RE SAME;
            PREPARATION OF CORRESPONDENCE TO M PLISKIN RE SAME

    2111630   KJM                                535.00              $107.00                  0.2

 11/29/2017 ANALYSIS OF HP CONTRACT, REJECTION AND ASSUMPTION AND RELATED EMAILS



    2111544   MYK                                575.00               $115.00                 0.2

  12/1/2017 ANALYSIS OF CORRESPONDENCE RE SALE PROCEEDS AND DEPOSIT OF SAME



    2111955   KJM                                535.00               $53.50                  0.1

  12/4/2017 TELEPHONE CONFERENCE WITH COUNSEL TO HOLDER OF LICENSE REGARDING CASE AND
            LICENSE STATUS AND ISSUES

    2113496   KJM                                535.00               $53.50                  0.1

  12/4/2017 TELEPHONE CONFERENCE WITH CREDITORS ADJUSTMENT BUREAU REGARDING PAYMENT OF
            WINSPEED CURE AMOUNT

    2113497   KJM                                535.00               $53.50                  0.1

  12/4/2017 ANALYSIS OF CORRESPONDENCE REGARDING PAYMENT OF GRAINGER CLAIMS



    2113523   KJM                                535.00               $53.50                  0.1

  12/5/2017 ANALYSIS OF CORRESPONDENCE FROM HEWLETT PACKARD RE CONTRACT STATUS;
            PREPARATION OF CORRESPONDENCE TO M PLISKIN RE SAME

    2113693   KJM                                535.00               $53.50                  0.1

  12/5/2017 ANALYSIS OF HP REGARDING CONTRACT AND SALE



    2113967   MYK                                575.00               $57.50                  0.1

  12/7/2017 ANALYSIS OF CORRESPONDENCE TO BUYER RE HP CONTRACT; ANALYSIS OF RESPONSE
            THERETO

    2114522   KJM                                535.00               $53.50                  0.1

  12/9/2017 ANALYSIS OF CORRESPONDENCE REGARDING HEWLETT PACKARD CONTRACT AND ISSUES
            RE SAME; PREPARATION OF CORRESPONDENCE RE SAME

    2115198   KJM                                535.00              $107.00                  0.2

 12/11/2017 ANALYSIS OF COMMUNICATION REGARDING HP CONTRACT



    2115402   MYK                                575.00               $57.50                  0.1

 12/12/2017 ANALYSIS OF CORRESPONDENCE REGARDING HEWLETT PACKARD CONTRACT ISSUES



    2115832   KJM                                535.00               $53.50                  0.1
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 12/12/2017 ANALYSIS OF HP CONTRACT REJECTION/ASSUMPTION AND RELATED COMMUNICATION



    2115898      MYK                              575.00                $57.50                 0.1

 12/13/2017 ANALYSIS OF CORRESPONDENCE TO ACCOUNTANTS REGARDING TAX ANALYSIS



    2115857      KJM                              535.00                $53.50                 0.1

 12/15/2017 ANALYSIS OF CH REQUEST FOR SIGNED APA AND RELATED EMAILS



    2118040      MYK                              575.00                $57.50                 0.1

 12/23/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING STATUS OF GRAINGER REJECTION
            STIPULATION

    2119259      KJM                              535.00                $53.50                 0.1

 12/24/2017 ANALYSIS OF CORRESPONDENCE AND RELATED INFORMATION REGARDING PRELIMINARY TAX
            ANALYSIS

    2119265      KJM                              535.00                $53.50                 0.1

 12/26/2017 ANALYSIS OF CORRESPONDENCE REGARDING REJECTION OF GRAINGER CONTRACTS



    2119275      KJM                              535.00                $53.50                 0.1

 12/26/2017   EMAIL EXCHANGE REGARDING MOTION TO REJECT GRAINGER CONTRACTS AND ISSUES RE
              SAME

    2119300      KJM                              535.00                $53.50                 0.1

 12/26/2017 ANALYSIS OF PROPOSED GRAINGER STIPULATIONS



    2119302      KJM                              535.00                $53.50                 0.1

 12/27/2017 ANALYSIS OF CORRESPONDENCE FROM J KREIGER REGARDING GRAINGER CONTRACT
            STATUS

    2118726      KJM                              535.00                $53.50                 0.1

 12/27/2017 ANALYSIS OF TAX ANALYSIS MEMO



    2118727      KJM                              535.00                $53.50                 0.1

 12/28/2017 ANALYSIS OF CORRESPONDENCE REGARDING REJECTION OF GRAINGER CONTRACTS;
            PREPARATION OF CORRESPONDENCE RE SAME

    2119111      KJM                              535.00                $53.50                 0.1

 12/28/2017 PREPARATION OF MOTION TO REJECT GRAINGER CONTRACTS



    2119256      KJM                              535.00               $856.00                 1.6
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 12/29/2017 PREPARATION OF MOTION TO REJECT GRIANGER CONTRACTS AND CORRESPONDENCE RE
            SAME

    2119678     KJM                               535.00             $107.00                  0.2

 12/29/2017 ANALYSIS OF MOTION TO REJECT EXECUTORY CONTRACTS



    2119715     MYK                               575.00              $57.50                  0.1

   1/3/2018 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING GRAINGER CONTRACT REJECTION
            ISSUES

    2121683     KJM                               565.00              $113.00                 0.2

   1/4/2018 TELEPHONE CONFERENCE WITH BBI AND GRAINGER RE CONTRACT ASSUMPTION AND
            REJECTION ISSUES

    2120521     KJM                               565.00             $226.00                  0.4

   1/4/2018 ANALYSIS OF SALE ORDER REGARDING GRAINGER CONTRACT



    2120523     KJM                               565.00              $56.50                  0.1

   1/8/2018 ANALYSIS OF CORRESPONDENCE FROM BBI REP REGARDING LIST OF ASSUMED CONTRACTS;
            PREPARATION OF RESPONSE RE SAME

    2121787     KJM                               565.00              $113.00                 0.2

  1/11/2018 ANALYSIS OF CORRESPONDENCE REGARDING MOTION TO REJECT GRAINGER CONTRACTS



    2122058     KJM                               565.00              $56.50                  0.1

  1/12/2018 ANALYSIS OF EMAIL EXCHANGE WITH COUNSEL TO BBI RE GRAINGER CONTRACT STATUS



    2122872     KJM                               565.00              $56.50                  0.1

  1/16/2018 ANALYSIS OF STIPULATIONS REGARDING GRAINGER CONTRACTS



    2122918     KJM                               565.00             $169.50                  0.3

  1/17/2018 ANALYSIS OF EMAIL EXCHANGE REGARDING GRAINGER STIPULATIONS AND MOTION RE
            ASSUMPTION OF GRAINGER CONTRACTS

    2123202     KJM                               565.00              $56.50                  0.1

  1/20/2018   CONFER WITH RB REGARDING MOTION TO ASSUME AND ASSIGN GRAINGER CONTRACTS



    2124102     KJM                               565.00              $56.50                  0.1

  1/22/2018 PREPARATION OF MOTION TO ASSUME AND ASSIGN GRAINGER CONTRACTS AND
            DECLARATION IN SUPPORT

    2123978     KJM                               565.00            $1,073.50                 1.9
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  1/22/2018 PREPARATION OF NOTICE OF HEARING ON MOTION TO ASSUME AND ASSIGN GRAINGER
            CONTRACTS

    2123985      KJM                               565.00               $113.00                 0.2

  1/26/2018 ANALYSIS OF CORRESPONDENCE FROM THIRD PARTY REGARDING PURCHASE OF FORMER
            DOMAIN NAME

    2125548      KJM                               565.00                $56.50                 0.1

  1/30/2018 ANALYSIS OF CORRESPONDENCE REGARDING GRAINGER CONTRACT ASSUMPTION MOTION;
            PREPARATION OF RESPONSE THERETO

    2126229      KJM                               565.00                $56.50                 0.1

  1/31/2018 ANALYSIS OF CORRESPONDENCE FROM BOB NEILSON REGARDING PURCHASE OF A/R



    2126502      KJM                               565.00                $56.50                 0.1

  2/12/2018 ANALYSIS OF PROPOSED ORDER ON MOTION TO ASSUME AND ASSIGN GRAINGER
            CONTRACTS; ANALYSIS OF EMAIL EXCHANGE AND REVISIONS RE SAME

    2130234      KJM                               565.00               $113.00                 0.2

                                                Total                $6,241.50              11.3
     03   -   BUSINESS OPERATIONS

 11/21/2017 ANALYSIS OF MOTIONS TO PAY UNDISPUTED PRE-PETITION CLAIMS



    2110066      MYK                               575.00               $287.50                 0.5

 11/21/2017 ANALYSIS OF INSIDER COMP ISSUES AND REVIW OF RELATED EMAILS; CONF WITH CLIENT



    2110189      RB                                595.00               $178.50                 0.3

 11/25/2017 ANALYSIS OF SALE ORDER TO DETERMINE REQUIRED CONTRACT REJECTION NOTICE FOR
            REJECTED CONTRACTS; PREP OF RELATED EMAIL EXCHANGE; CONF WITH CLIENT

    2110282      RB                                595.00               $297.50                 0.5

 11/27/2017 PREPARATION OF CONTRACT REJECTION NOTICE AND RELATED EMAIL EXCHANGE



    2112688      RB                                595.00               $178.50                 0.3

 11/27/2017 ANALYSIS OF CONTRACT ASSUMPTION NOTICE AND RELATED EMAILS



    2112697      RB                                595.00               $119.00                 0.2

  12/4/2017 ANALYSIS OF GREULICH REVISED INSIDER COMP FORM AND RELATED EMAILS; CONF WITH
            CLIENT

    2114972      RB                                595.00               $119.00                 0.2
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  12/5/2017 ANALYSIS OF HEWLETT PACKARD AGREEMENTS; CONF WITH GEOFF



    2115323   RB                                  595.00              $178.50               0.3

  12/6/2017 PREPARATION OF TWO GRAINGER REJECTION STIPULATIONS AND MULTIPLE RELATED EMAIL
            EXCHANGE

    2115534   RB                                  595.00              $833.00               1.4

  12/7/2017 TELEPHONE CONFERENCE W/ CLIENT GEOFF RE: CONTINUING ROLE IN CHAPTER 11 CASES
            AND OVERALL COMPLIANCE AND REVIEW

    2115710   RB                                  595.00              $238.00               0.4

  12/7/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: HEWLETT PACKARD CONTRACT
            REJECTION ISSUES; CONF WITH MATT

    2115713   RB                                  595.00              $178.50               0.3

  12/8/2017 ANALYSIS OF GLENN EMAIL RE: BBI DECISION TO REJECT HEWLETT PACKARD CONTRACT;
            CONF WITH BBI COUNSEL

    2115749   RB                                  595.00              $178.50               0.3

  12/9/2017 PREPARATION OF EMAIL EXCHANGE RE: HEWLETT PACKARD CONTRACT REJECTION AND
            REJECTION NOTICE

    2116436   RB                                  595.00               $59.50               0.1

 12/10/2017 PREPARATION OF EMAIL EXCHANGE RE: REJECTION OF HEWLETT PACKARD CONTRACT AND
            NOTICE ISSUES

    2116448   RB                                  595.00               $59.50               0.1

 12/11/2017 PREPARATION OF EMAIL TO NICOLE HEAD OF HEWLETT PACKARD RE: REJECTION OF
            CONTRACT

    2116499   RB                                  595.00               $59.50               0.1

 12/20/2017 PREPARATION OF MULTILE FURTHER EMAIL EXCHANGE RE: PAYMENT OF BOARD MEMBERS;
            CONF WITH CLIENT

    2119103   RB                                  595.00              $238.00               0.4

 12/22/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: GRAINGER CONTRACT REJECTION ISSUES
            AND REVIEW

    2119165   RB                                  595.00              $119.00               0.2

 12/22/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: GRAINGER CONTRACT REJECTION ISSUES
            AND REVIEW

    2119166   RB                                  595.00              $119.00               0.2

 12/23/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: GRAINGER CONTRACT REJECTION ISSUES
            AND REVIEW; ANALYSIS OF GRAINGER STIPS

    2119190   RB                                  595.00              $238.00               0.4
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 12/26/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: GRAINGER CONTRACT REJECTION ISSUES
            AND REVIEW

    2119215   RB                                   595.00             $119.00               0.2

 12/28/2017 PREPARATION OF GRAINGER REJECTION MOTION AND RELATED EMAIL EXCHANGE



    2120009   RB                                   595.00             $238.00               0.4

 12/28/2017 ANALYSIS OF INSIDER COMP ISSUES AND RELATED EMAILS; CONF WITH CLIENT



    2120010   RB                                   595.00             $178.50               0.3

   1/3/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: REJECTION OR ASSUMPTION AND
            ASSIGNMENT OF GRAINGER CONTRACTS; CONF WITH GRAINGER COUNSEL AND GEOFF AND
            BBI COUNSEL TO REVIEW
    2129168   RB                                   595.00             $476.00               0.8

   1/4/2018 CONFERENCE CALL WITH BBI AND GRAINGER REPS RE: GRAINGER CONTRACT ISSUES; PREP
            OF RELATED EMAIL EXCHANGE; CONF WITH CLIENT

    2129177   RB                                   595.00             $535.50               0.9

   1/8/2018 ANALYSIS OF TANIA EMAIL RE: TRUST BOARD MEMBERS COMPENSATION; CONF WITH TANIA
            AND CLIENT

    2129245   RB                                   595.00             $297.50               0.5

  1/11/2018 TELEPHONE CONFERENCE WITH KRIEGER RE: GRAINGER CONTRACT ISSUES AND REVIEW;
            ANALYSIS OF RELATED EMAILS; CONF WITH CLIENT

    2129312   RB                                   595.00             $416.50               0.7

  1/11/2018 PREPARATION OF MULTIPLE FURTHER EMAIL EXCHANGE RE: ONGOING GRAINGER DISPUTE;
            CONF WITH CLIENT

    2129330   RB                                   595.00             $119.00               0.2

  1/12/2018 TELEPHONE CONFERENCE WITH KRIEGER RE: GRAINGER CONTRACT STATUS; PREP OF
            RELATED EMAIL EXCHANGE; CONF WITH CLIENT

    2129343   RB                                   595.00             $238.00               0.4

  1/15/2018 ANALYSIS OF DRAFTS OF CONTRACT ASSUMPTION AGREEMENTS WITH GRAINGER; PREP OF
             REVISED VERSIONS AND RELATED EMAIL EXCHANGE; CONF WITH BBI COUNSEL AND CLIENT;
             ANALYSIS OF FILE
     2129356    RB                                 595.00            $1,666.00             2.8

  1/15/2018 PREPARATION OF EMAIL EXCHANGE RE: INSURANCE PAYMENT; CONF WITH MATT



    2129361   RB                                   595.00              $59.50               0.1

  1/17/2018 ANALYSIS OF FURTHER REVISED GRAINGER CONTRACT ASSUMPTION STIPULATIONS; PREP
            OF RELATED EMAIL EXCHANGE; CONF WITH CLIENT

    2129377   RB                                   595.00             $535.50               0.9
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  1/17/2018 ANALYSIS OF EMAILS RE: INSURANCE PAYMENT DISPUTE ISSUES



    2129379   RB                                   595.00                 $59.50              0.1

  1/18/2018 ANALYSIS OF KRIEGER EMAIL RE: GRAINGER STIP ISSUES AND REVIEW; CONF WITH CLIENT



    2129392   RB                                   595.00                $119.00              0.2

  1/19/2018 ANALYSIS OF EMAILS RE: INSURANCE FUNDING ISSUES AND REVIEW



    2129402   RB                                   595.00                 $59.50              0.1

  1/19/2018 ANALYSIS OF KRIEGER EMAIL RE: GRAINGER STIP; CONF WITH CLIENT



    2129414   RB                                   595.00                $119.00              0.2

  1/25/2018 ANALYSIS OF CHECKS IN TRANSIT ISSUES AND RELATED EMAILS; CONF WITH CLIENT



    2130079   RB                                   595.00                $119.00              0.2

  1/25/2018 ANALYSIS OF EMAILS RE: INSURANCE ISSUES AND REVIEW; CONF WITH CLIENT



    2130081   RB                                   595.00                 $59.50              0.1

  1/26/2018 ANALYSIS OF UNCLEARED CHECKS ISSUES AND RELATED EMALS; CONF WITH MATT



    2130110    RB                                  595.00                $119.00              0.2

  1/29/2018 ANALYSIS OF EMAILS RE: INSURANCE PAYMENT ISSUES AND REVIEW



    2130119    RB                                  595.00                 $59.50              0.1

  1/30/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: ASSUMPTION AND ASSIGNMENT OF
            GRAINGER CONTRACTS

    2130133   RB                                   595.00                $119.00              0.2

  1/30/2018 PREPARATION OF EMAIL EXCHANGE RE: 1099'S; CONF WITH MATT



    2130149   RB                                   595.00                $119.00              0.2

 02/12/2018 REVIEW AND UPLOAD ORDER AUTHORIZING DEBTORS TO ASSUME AND ASSIGN EXECUTORY
            CONTRACTS BETWEEN DEBTORS AND GRAINGER.

    2134301   JAB                                  250.00                 $25.00              0.1

  2/12/2018 PREPARATION OF GRAINGER CONTRACTS ASSUMPTION ORDER AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE

    2136546   RB                                   595.00                $416.50              0.7
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  2/12/2018 TELEPHONE CONFERENCE WITH KRIEGER RE: GRAINGER CONTRACTS AND ASSUMPTION
            ORDER; PREP OF EMAIL EXCHANGE WITH HIM; PREP OF FURTHER REVISED GRAINGER
            ASSUMPTION ORDER
    2136551      RB                                 595.00             $476.00               0.8

  2/13/2018 ANALYSIS OF ENTERED ORDER ON MOTION TO ASSUME AND ASSIGN GRAINGER CONTRACTS
            AND CORRESPONDENCE RE SAME

    2130271      KJM                                565.00              $56.50               0.1

  2/13/2018 PREPARATION OF EMAIL EXCHANGE RE: GRAINGER CONTRACT ASSUMPTION ORDER;
            ANALYSIS OF ORDER

    2137077      RB                                 595.00              $59.50               0.1

  2/13/2018 ANALYSIS OF EMAILS RE: CHECKS IN TRANSIT ISSUES



    2137086      RB                                 595.00              $59.50               0.1

  2/14/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUST DISBURSEMENTS; CONF WITH MATT



    2137095      RB                                 595.00             $178.50               0.3

  2/15/2018 PREPARATION OF EMAIL EXCHANGE RE: CHECKS IN TRANSIT; CONF WITH MATT



    2137113      RB                                 595.00              $119.00              0.2

  2/20/2018 PREPARATION OF TRUSTEE SERVICES AGREEMENT AND RELATED EMAIL EXCHANGE;
            ANALYSIS OF COMMENTS; CONF WITH MATT AND TANIA

    2137150      RB                                 595.00             $297.50               0.5

                                                Total               $11,198.00              18.9
     04   -   CASE ADMINISTRATION

 11/21/2017 ANALYSIS OF MOTION TO UPSTREAM FUNDS AND CORRESPONDENCE RE SAME



    2109896      KJM                                535.00              $53.50               0.1

 11/21/2017 PREPARATION OF PLEADING AND FILE MOTION RE UPSTREAM MONIES TO PAY NEVADA ENTITY
            FEES

    2110897      SR                                 250.00             $125.00               0.5

 11/21/2017 PREPARATION OF PLEADING AND FILE MOTION FOR AUTHORITY TO PAY UNDISPUTED CLAIMS



    2110900      SR                                 250.00             $125.00               0.5

 11/21/2017 PREPARATION OF PLEADING AND FILE NOTICE OF NAME CHANGE



    2110901      SR                                 250.00             $100.00               0.4
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 11/21/2017 PREPARATION OF PLEADING AND FILE PROOF OF SERVICE OF ORDER ON BONUS MOTION



    2110902     SR                                   250.00               $75.00               0.3

 11/21/2017 PREPARATION OF PLEADING AND FILE NOTICE OF SALE CLOSING



    2110905     SR                                   250.00               $75.00               0.3

 11/21/2017 PREPARATION OF PLEADING AND FILE STIPULATION BETWEEN DEBTORS AND EQUITY
            COMMITTEE RE STANDING

    2110906     SR                                   250.00               $75.00               0.3

 11/21/2017 PREPARATION OF PLEADING AND FILE MOTION TO CONFER STANDING TO EQUITY COMMITTEE
            RE CORDES AND AISENBERG AND FILE NOTICE OF MOTION

    2110907     SR                                   250.00              $150.00               0.6

 11/22/2017 ANALYSIS OF NOTICE OF CLAIM TRANSFER



    2110775     KJM                                  535.00               $53.50               0.1

 11/22/2017 PREPARATION OF CORRESPONDENCE REGARDING CREDITOR COMMITTEE MEMBERSHIP



    2110781     KJM                                  535.00               $53.50               0.1

 11/23/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS REPORT



    2110783     KJM                                  535.00               $53.50               0.1

 11/25/2017 ANALYSIS OF COMMUNICATIONS REGARDING UPDATE ON COMMON INTEREST AGREEMENT



    2110257     MYK                                  575.00               $115.00              0.2

 11/25/2017 ANALYSIS OF STATUS REPORT DUE ON NOVEMBER 28 AND PREPARATION THEREOF



    2110258     MYK                                  575.00               $115.00              0.2

 11/27/2017   T MOYRON RE PENDING CASE ISSUES



    2110483     KJM                                  535.00               $53.50               0.1

 11/27/2017 ANALYSIS OF CORRESPONDENCE FROM M PLISKIN RE QUARTERLY FEE PAYMENT STATUS;
            PREPARATION OF CORRESPONDENCE RE SAME

    2110549     KJM                                  535.00               $53.50               0.1

 11/27/2017 PREPARATION OF EMAIL EXCHANGE RE: UST FEES ISSUES AND REVIEW



    2112689     RB                                   595.00               $59.50               0.1
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 11/27/2017 PREPARATION OF PLEADING AND FILE CONTRACT AND LEASE REJECTION NOTICE



    2110908   SR                                   250.00              $250.00             1.0

 11/27/2017 PREPARATION OF PLEADING AND FILE CONTRACT AND LEASE ASSUMPTION AND ASSIGNMENT
            NOTICE

    2110909   SR                                   250.00              $375.00             1.5

 11/28/2017 ANALYSIS OF CORDES/AISENBERG OBJECTION TO MOTION TO PAY PRE-PETITION CLAIMS



    2111593   KJM                                  535.00               $53.50             0.1

 11/28/2017 ANALYSIS OF STATUS REPORT



    2111607   KJM                                  535.00               $53.50             0.1

 11/28/2017 ANALYSIS OF OCC JOINDER TO MOTION TO PAY PRE-PETITION CLAIMS



    2111611   KJM                                  535.00               $53.50             0.1

 11/28/2017 PREPARATION OF SECOND STATUS REPORT AND E-FILE; PPO SERVICE LISTS



    2111150   LC                                   250.00              $125.00             0.5

 11/28/2017 ANALYSIS OF STATUS REPORT



    2111136   MYK                                  575.00              $172.50             0.3

 11/28/2017 PREPARATION OF EMAIL EXCHANGE RE: UST QUARTERLY FEES ISSUES AND REVIEW



    2112731   RB                                   595.00               $59.50             0.1

 11/28/2017 PREPARATION OF DEBTORS CASE STATUS REPORT; ANALYSIS OF FILE



    2112738   RB                                   595.00              $833.00             1.4

 11/29/2017 ANALYSIS OF CORRESPONDENCE REGARDING QUARTERLY FEE PAYMENT ISSUES;
            PREPARATION OF CORRESPONDENCE RE SAME

    2111619   KJM                                  535.00               $53.50             0.1

 11/29/2017 PREPARATION OF EMAIL EXCHANGE RE: UST QUARTERLY FEES; CONF WITH MATT



    2112760   RB                                   595.00               $59.50             0.1

 11/30/2017 ANALYSIS OF TEXAS COMPTROLLER REQUEST FOR SPECIAL NOTICE



    2111677   KJM                                  535.00               $53.50             0.1
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  12/1/2017 ANALYSIS OF REQUEST FOR SPECIAL NOTICE FILED BY COUNSEL TO PROVINCE; MOTION TO
            APPEAR PRO HAC VICE FILED BY COUNSEL TO FORMER OFFICERS

    2111969   KJM                                 535.00               $53.50                0.1

  12/1/2017 ANALYSIS OF OCTOBER 2017 MOR



    2112156   KJM                                 535.00               $53.50                0.1

  12/1/2017 ANALYSIS OF COMMUNICATION REGARDING FIRST REPUBLIC BANK



    2112513   MYK                                 575.00               $57.50                0.1

  12/4/2017 PREPARATION OF NOVEMBER 2017 MOR



    2113506   KJM                                 535.00               $53.50                0.1

  12/4/2017 TELEPHONE CONFERENCE WITH M. PLISKIN REGARDING NOVEMBER 2017 MOR AND RELATED
            ISSUES

    2113507   KJM                                 535.00               $53.50                0.1

  12/4/2017 PREPARATION OF UPDATED INSIDER COMPENSATION FORM FOR CEO



    2113508   KJM                                 535.00               $53.50                0.1

  12/5/2017 PREPARATION OF OCTOBER 2017 MOR; PREPARATION OF CORRESPONDENCE TO M PLISKIN
            RE SAME

    2113818   KJM                                 535.00               $53.50                0.1

  12/5/2017 ANALYSIS OF INTERIM CASH MANAGEMENT ORDER; CONFERENCE WITH M PLISKIN RE STATUS
            OF ACCOUNTS AND ISSUES RE SAME

    2113842   KJM                                 535.00              $107.00                0.2

  12/5/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF UST QUARTERLY FEES;
            PREPARATION OF RESPONSE THERETO

    2114117   KJM                                 535.00               $53.50                0.1

  12/5/2017 ANALYSIS OF COMPLAINT FILED BY OCE AGAINST RADIANS AND RELATED EMAILS



    2113969   MYK                                 575.00              $115.00                0.2

  12/5/2017 ANALYSIS OF MUTIPLE EMAILS RE: UST PAYMENT ISSUES AND REVIEW; CONF WITH MATT



    2115349   RB                                  595.00               $59.50                0.1

  12/6/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENTATION REGARDING ADDITIONAL CLAIM
            AMOUNTS

    2114225   KJM                                 535.00               $53.50                0.1
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  12/6/2017 TELEPHONE CONFERENCE WITH ALDERTON REGARDING D&O MATTERS



    2114332      MYK                              575.00                 $57.50             0.1

  12/6/2017 ANALYSIS OF NOR NO. 2 FOR OCTOBER



    2115685      RB                               595.00                 $59.50             0.1

  12/6/2017 PREPARATION OF PLEADING AND FILE MONTHLY OPERATING REPORTS FOR OCTOBER FOR
            BOTH CASES

    2115413      SR                                250.00               $250.00             1.0

  12/7/2017   SET COURT TELEPHONIC APPEARANCES FOR STEVE RICKMAN AND MATTHEW PLISKIN FOR
              12/12 HEARINGS VIA COURTCALL (MULTI CALLS AND EMAILS)

    2114597      LC                               250.00                $100.00             0.4

  12/7/2017 ANALYSIS OF COMMUNICATIONS REGARDING SEC, SAM AND CALL WITH OCE



    2114559      MYK                              575.00                $115.00             0.2

  12/7/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: PLANNING FOR UPCOMING HEARING



    2115709      RB                               595.00                $119.00             0.2

  12/8/2017 PREPARATION OF AMENDED SCHEDULES OF ASSETS AND LIABILITIES; ANALYSIS OF BACK-UP
            DOCUMENTATION IN SUPPORT OF AMENDMENTS; MULTIPLE EMAIL EXCHANGES RE SAME

    2114727      KJM                              535.00                $856.00             1.6

  12/8/2017 PREPARATION OF AMENDED SCHEDULE F AND E-FILE; PPO SERVICE LISTS



    2115030      LC                               250.00                $225.00             0.9

 12/11/2017 ANALYSIS OF CORRESPONDENCE REGARDING STATUS OF MONTHLY OPERATING REPORTS;
            PREPARATION OF RESPONSE THERETO

    2115213      KJM                              535.00                 $53.50             0.1

 12/11/2017   PREPARATION FOR HEARINGS SCHEDULED ON DECEMBER 12, 2017



    2115223      KJM                              535.00                $802.50             1.5

 12/11/2017 ANALYSIS OF JUDGE'S CALENDAR, COURT DOCKET AND FILES RE DECEMBER 12 HEARINGS;
            GATHER MULTIPLE PLEADINGS, ORGANIZE AND PREPARE BINDERS

    2115362      LC                               250.00                $375.00             1.5

 12/11/2017 ANALYSIS OF STIPULATION AND ORDER ON D&O CLAIMS



    2115403      MYK                              575.00                 $57.50             0.1
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 12/11/2017 PREPARATION OF PLEADING AND FILE CONTRACT AND LEASE REJECTION NOTICE RE
            HEWLETT PACKARD CLAIM

    2115414     SR                                 250.00              $125.00              0.5

 12/12/2017 PREPARATION OF NOTICE OF FILING DRAFTS OF JOINT PLAN AND TRUST AGREEMENT; E-FILE;
            PPO EXHIBITS AND SERVICE LISTS

    2115759     LC                                 250.00              $200.00              0.8

 12/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING OUTCOME OF HEARINGS AND NEXT STEPS
            REGARDING PLAN CONFIRMATION PROCESS

    2115862     KJM                                535.00               $53.50              0.1

 12/13/2017 ANALYSIS OF ORDERS ON UPSTREAM MOTION AND MOTION TO PAY CLAIMS



    2115868     KJM                                535.00               $53.50              0.1

 12/13/2017 PREPARATION OF PROPOSED ORDER ON MOTION TO PAY CLAIMS; PREPARATION OF
            CORRESPONDENCE RE SAME; CONFER WITH LAW CLERK RE SAME

    2116042     KJM                                535.00               $53.50              0.1

 12/13/2017 PREPARATION OF TWO ORDERS AND UPLOAD (UPSTREAM MOTION -AND- UNDISPUTED
            CLAIMS MOTION

    2116018     LC                                 250.00              $100.00              0.4

 12/14/2017 PREPARATION OF PROPOSED ORDER ON PRE-PETITION CLAIM PAYMENT PROTOCOL AND
            MULTIPLE EMAIL EXCHANGES RE SAME

    2116381     KJM                                535.00              $107.00              0.2

 12/14/2017 PREPARATION OF CORRESPONDENCE RE UPDATED SHAREHOLDER LIST; ANALYSIS OF
            DOCUMENTATION RE SAME

    2116403     KJM                                535.00               $53.50              0.1

 12/14/2017 TELEPHONE CONFERENCE WITH CREDITOR REGARDING CLAIM IN CASE AND SALE



    2116649     MYK                                575.00              $115.00              0.2

 12/14/2017 ANALYSIS OF RECORD HOLDERS LIST OF SHAREHOLDERS AND RELATED EMAILS



    2116627     RB                                 595.00               $59.50              0.1

 12/14/2017 PREPARATION OF PLEADING AND LODGE ORDER RE MOTION TO CONFER STANDING TO
            EQUITY COMMITTEE RE CORDES AND AISENBERG

    2118190     SR                                 250.00               $25.00              0.1

 12/15/2017   EMAIL EXCHANGE WITH CRAIG-HALLUM REP REGARDING SALE CLOSING DOCUMENTS



    2116740     KJM                                535.00               $53.50              0.1
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CASE #       8300                                              From Date         11/21/2017
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 12/18/2017   FILE WITH OUST AND SERVE NOTICE OF REDUCTION OF INSIDER COMPENSATION RE
              GREULICH

    2118222      SR                                 250.00              $75.00               0.3

 12/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING UST NOTICE OF DELINQUNCY AND ISSUES RE
            SAME

    2117560      KJM                                535.00              $53.50               0.1

 12/19/2017 ANALYSIS OF ORDER REGARDING STANDING ON D&O CLAIMS



    2118019      MYK                                575.00              $57.50               0.1

 12/20/2017 ANALYSIS OF CORRESPONDENCE REGARDING UST QUARTERLY FEE; PREPARATION OF
            CORRESPONDENCE TO UST RE SAME

    2117596      KJM                                535.00              $53.50               0.1

 12/22/2017   CONTINUE PREPARATION OF CHART WITH ADDRESSES FOR CLAIMANTS IN PREPARATION TO
              MAKE PAYMENTS

    2118263      SR                                 250.00             $100.00               0.4

 12/23/2017 ANALYSIS OF PROPOSED CORRESPONDENCE TO UST RE CREDITORS' COMMITTEE AND
            ISSUES RE SAME

    2119261      KJM                                535.00              $53.50               0.1

 12/26/2017 PREPARATION OF CORRESPONDENCE REGARDING SHAREHOLDER LIST UPDATES



    2119279      KJM                                535.00              $53.50               0.1

 12/26/2017 ANALYSIS OF CORRESPONDENCE RE INSIDER COMPENSATION; PREPARATION OF
            CORRESPONDENCE RE SAME

    2119301      KJM                                535.00              $53.50               0.1

 12/27/2017   EMAIL EXCHANGES WITH M PLISKIN AND L WHARTON REGARDING SHAREHOLDER LIST
              UPDATES

    2118696      KJM                                535.00              $53.50               0.1

 12/28/2017 PREPARATION OF CORRESPONDENCE REGARDING INSIDER COMPENSATION REDUCTION



    2119308      KJM                                535.00              $53.50               0.1

 12/29/2017 PREPARATION OF MOTION TO REJECT GRAINGER CONTRACTS AND E-FILE; PPO SERVICE
            LISTS

    2119683      LC                                 250.00             $200.00               0.8

   1/2/2018 ANALYSIS OF UPDATED SHAREHOLDER REPORT



    2120190      KJM                                565.00              $56.50               0.1
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   1/3/2018 ANALYSIS OF CORRESPONDENCE REGARDING TRUST ACCOUNTS AND ANALYSIS OF TRUST
            ACCOUNT STATEMENTS

    2121666     KJM                                565.00                 $56.50              0.1

 01/04/2018 TELEPHONE CONFERENCE WITH INQUIRY FROM CREDITOR REGARDING CASE STATUS AND
            FOLLOW UP

    2120822     MYK                                580.00              $116.00                0.2

   1/8/2018 ANALYSIS OF CORRESPONDENCE REGARDING DISBANDMENT OF CREDITORS' COMMITTEE



    2121814     KJM                                565.00                 $56.50              0.1

   1/8/2018 ANALYSIS OF ORDER APPROVING STIPULATION WITH CHANG BANK



    2121314     MYK                                580.00                 $58.00              0.1

   1/8/2018 PREPARATION OF EMAIL EXCHANGE RE: REQUEST OF UST TO DISBAND OCC



    2129229     RB                                 595.00                 $59.50              0.1

   1/9/2018   EMAIL EXCHANGE WITH M PLISKIN REGARDING SHAREHOLDER LISTS



    2121456     KJM                                565.00                 $56.50              0.1

   1/9/2018 ANALYSIS OF CORRESPONDENCE FROM UST REGARDING CREDITOR COMMITTEE
            DISBANDMENT AND RELATED ISSUES

    2121459     KJM                                565.00                 $56.50              0.1

   1/9/2018 ANALYSIS OF ROSS EMAIL RE: OCC DISBANDMENT ISSUES AND REVIEW; ANALYSIS OF FILE;
            CONF WITH TANIA

    2129257     RB                                 595.00              $119.00                0.2

   1/9/2018 ANALYSIS OF KCC SERVICES AGREEMENT AND RELATED EMAILS; CONF WITH TANIA AND
            CLIENT

    2129264     RB                                 595.00              $416.50                0.7

  1/10/2018 PREPARATION OF MULTIPLE CORRESPONDENCE REGARDING UPDATED RECORD HOLDER
            LIST

    2121837     KJM                                565.00              $169.50                0.3

  1/10/2018 ANALYSIS OF CORRESPONDENCE REGARDING CORPORATE ADDRESS INFORMATION AND LIST
            OF SHAREHOLDERS

    2121842     KJM                                565.00                 $56.50              0.1

  1/10/2018 TELEPHONE CONFERENCE WITH TANIA RE: KCC SERVICES AGREEMENT; CONF WITH MATT



    2129277     RB                                 595.00              $119.00                0.2
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  1/11/2018 ANALYSIS OF UPDATED SHAREHOLDER LIST AND PREPARATION OF CORRRESPONDENCE RE
            SAME

    2122044   KJM                                  565.00              $56.50                0.1

  1/11/2018 ANALYSIS OF ORDER AUTHORIZING PAYMENT OF SERVICE COSTS; PREPARATION OF
            CORRESPONDENCE RE SAME; ATTEND TO LODGEMENT OF ORDER; ANALYSIS OF
            CORRESPONDENCE RE SAME
    2122045   KJM                                  565.00             $113.00                0.2

  1/11/2018 ANALYSIS OF KCC SERVICES AGREEMENT AND CORRESPONDENCE WITH COUNSEL TO
            EQUITY COMMITTEE RE SAME

    2122046   KJM                                  565.00              $56.50                0.1

  1/11/2018 ANALYSIS OF KKC SERVICES AGREEMENT; PREP OF RELATED EMAIL EXCHANGE; CONF WITH
            TANIA; ANALYSIS OF RELATED FEE STRUCTURE

    2129304   RB                                   595.00             $238.00                0.4

  1/11/2018 ANALYSIS OF KCC ISSUES AND REVIEW OF FURTHER EMAILS AND LINK; CONF WITH TANIA



    2129325   RB                                   595.00             $178.50                0.3

  1/12/2018 ANALYSIS OF CORRESPONDENCE REGARDING PLAN WEBSITE



    2122882   KJM                                  565.00              $56.50                0.1

  1/12/2018 ANALYSIS OF BERKOWITZ/ASM REGARDING DOCUMENTS ON CLAIM



    2122840   MYK                                  580.00             $116.00                0.2

  1/12/2018 PREPARATION OF PLEADING FILE EX PARTE MOTION RE ORDER AUTHORIZING PAYMENTS
            FROM TRUST FUNDS AND LODGE ORDER GRANTING EX PARTE MOTION

    2125844   SR                                   250.00             $175.00                0.7

  1/16/2018 ANALYSIS OF UPDATE AS TO COMMUNICATIONS FROM ASM



    2122888   MYK                                  580.00              $58.00                0.1

  1/17/2018 PREPARATION OF NOVEMBER 2017 MONTHLY OPERATING REPORTS



    2123174   KJM                                  565.00             $113.00                0.2

  1/17/2018 ANALYSIS OF CORRESPONDENCE FROM UST REGARDING MONTHLY OPERATING REPORT;
            PREPARATION OF CORRESPONDENCE RE SAME

    2123285   KJM                                  565.00              $56.50                0.1

  1/17/2018 ANALYSIS OF MONTHLY OPERATING REPORT FOR DECEMBER



    2123408   MYK                                  580.00              $58.00                0.1
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  1/17/2018 ANALYSIS OF MOR'S NO. 3



    2129380     RB                               595.00               $59.50               0.1

  1/17/2018 PREPARATION OF PLEADING FILE NOVEMBER MONTHLY OPERATING REPORTS FOR BOTH
            ENTITIES

    2125848     SR                               250.00              $250.00               1.0

  1/18/2018 ANALYSIS OF CORRESPONDENCE REGARDING NOVEMBER 2017 MONTHLY OPERATING
            REPORTS

    2124258     KJM                              565.00               $56.50               0.1

  1/18/2018 ANALYSIS OF DECLARATION REGARDING EMPLOYMENT APPLICATION FOR SOLOMON



    2123717     MYK                              580.00               $58.00               0.1

  1/19/2018 ANALYSIS OF CORRESPONDENCE AND SPREADHSEET REGARDING UPDATES TO
            SHAREHOLDER LIST; PREPARATION OF CORRESPONDENCE RE SAME

    2125126     KJM                              565.00               $113.00              0.2

  1/19/2018 ANALYSIS OF CORRESPONDENCE FROM UST REGARDING STATUS OF CLAIM PAYMENTS AND
            CORRESPONDENCE FROM UST REGARDING PLAN PROVISIONS

    2125140     KJM                              565.00               $56.50               0.1

  1/19/2018 ANALYSIS OF PAYMENT QUESTION FROM CREDITORS



    2124067     MYK                              580.00               $58.00               0.1

  1/19/2018   UPDATE SHAREHOLDERS SERVICE LIST



    2125842     SR                               250.00              $425.00               1.7

  1/22/2018 ANALYSIS OF CORRESPONDENCE REGARDING SERVICE OF NOTICE OF MOTION TO APPROVE
            TRUST AGREEMENT

    2124239     KJM                              565.00               $56.50               0.1

  1/22/2018 PREPARATION OF MOTION APPROVING AGREEMENT WITH MATTHEW PLISKIN FOR TRUSTEE
            SERVICES; E-FILE; PPO EXHIBITS AND MULTIPLE SERVICE LISTS

    2124444     LC                               250.00              $500.00               2.0

  1/22/2018 PREPARATION OF PLEADING FILE AND SERVE CONTRACT ASSUMPTION MOTION RE GRAINGER
            AND NOTICE OF HEARING ON MOTION

    2125849     SR                               250.00              $300.00               1.2

  1/22/2018 PREPARATION OF PLEADING FILE GGS STIPULATION ON ASSUMPTION AND ASSIGNMENT OF
            SUPPLIER AGREEMENT

    2125850     SR                               250.00              $150.00               0.6
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  1/22/2018 PREPARATION OF PLEADING FILE WW GRAINGER STIPULATION ON ASSUMPTION AND
            ASSIGNMENT OF SUPPLIER AGREEMENT

    2125851     SR                                 250.00              $150.00              0.6

  1/23/2018 TELEPHONE CONFERENCE WITH MATT RE: TRUST ISSUES AND SERVING AS TRUSTEE



    2129492     RB                                 595.00              $178.50              0.3

  1/24/2018   EMAIL EXCHANGE REGARDING MONTHLY OPERATING REPORTS



    2124855     KJM                                565.00               $56.50              0.1

  1/25/2018 ANALYSIS OF MULTIPLE EMAILS RE: 8K REVIEW AND ANALYSIS; CONF WITH CLIENT



    2130074     RB                                 595.00              $178.50              0.3

  1/25/2018 ANALYSIS OF FURTHER REVISED RELEASE RE: STOCK OPTIONS AND TRADING HALT AND
            RELATED EMAILS; CONF WITH CLIENT

    2130078     RB                                 595.00              $238.00              0.4

  1/25/2018 ANALYSIS OF FURTHER REVISED RELEASE RE: STOCK OPTIONS AND RELATED DOCS AND
            EMAILS

    2130093     RB                                 595.00              $119.00              0.2

  1/25/2018 ANALYSIS OF FURTHER REVISED 8-K AND RELATED EMAILS; CONF WITH CLIENT



    2130094     RB                                 595.00              $178.50              0.3

  1/26/2018 ANALYSIS OF EMAIL EXCHANGE REGARDING SHAREHOLDER INFORMATION UPDATES



    2125695     KJM                                565.00               $56.50              0.1

  1/26/2018 ANALYSIS OF COMPLAINT FILED BY EQUITY COMMITTEE



    2126284     MYK                                580.00              $116.00              0.2

  1/26/2018 ANALYSIS OF SUPPLEMENTAL FILED BY AISENBERG/CORDES



    2126285     MYK                                580.00              $116.00              0.2

  1/26/2018 TELEPHONE CONFERENCE WITH CREDITOR REGARDING DOMAIN NAME



    2126286     MYK                                580.00               $58.00              0.1

  1/26/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: 8-K ISSUES AND REVIEW



    2130096     RB                                 595.00              $178.50              0.3
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  1/31/2018 PREPARATION OF MULTIPLE CORRESPONDENCE TO MATT PLISKIN REGARDING CREDITOR
            INFORMATION AND RELATED ISSUES

    2126507    KJM                                   565.00               $56.50             0.1

   2/2/2018 ANALYSIS OF NOTICE OF DISBANDMENT OF CREDITORS' COMMITTEE AND CORRESPONDENCE
            RE SAME

    2130737    KJM                                   565.00               $56.50             0.1

   2/2/2018 ANALYSIS OF NOTICE REGARDING DISBANDMENT OF COMMITTEE



    2127450    MYK                                   580.00               $58.00             0.1

   2/7/2018 ANALYSIS OF UST EMAILS RE: TRUSTEE FEES; PREP OF EMAIL EXCHANGE WITH CLIENT; CONF
            WITH CLIENT

    2136491    RB                                    595.00             $119.00              0.2

  2/10/2018 ANALYSIS OF TANIA EMAIL RE: 8-K ISSUES; CONF WITH TANIA



    2136539    RB                                    595.00            $178.50               0.3

  2/12/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: 8-K ISSUES AND REVIEW; CONF WITH TANIA



    2136547    RB                                    595.00            $178.50               0.3

  2/12/2018 ANALYSIS OF MULTIPLE EMAILS RE: TRUST AND TRUSTEE ISSUES AND REVIEW; CONF WITH
            LOUIE, MATT AND TANIA

    2136557    RB                                    595.00            $238.00               0.4

  2/12/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: RECORD DATE ISSUES FOR
            SHAREHOLDERS

    2136560    RB                                    595.00             $119.00              0.2

  2/13/2018 PREPARATION OF FURTHER EMAIL EXCHANGE RE: RECORD DATE ISSUES AND PLAN; CONF
            WITH MATT

    2137074    RB                                    595.00             $119.00              0.2

  2/14/2018 PREPARATION OF ORDER APPROVING TRUSTEE AND BOARD MEMBER COMPENSATION AND
            RELATED EMAIL EXCHANGE

    2137094    RB                                    595.00            $178.50               0.3

  2/14/2018 ANALYSIS OF PROPOSED 8K AND RELATED EMAILS; PREP OF COMMENTS; CONF WITH LOUIS
            AND CLIENT; ANALYSIS OF MULTIPLE RELATED EMAILS

    2137101    RB                                    595.00            $416.50               0.7

  2/14/2018 ANALYSIS OF FURTHER REVISED 8-K AND MULTIPLE RELATED EMAILS



    2137105    RB                                    595.00            $238.00               0.4
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  2/15/2018 PREPARATION OF ORDER APPROVING TRUSTEE AND BOARD MEMBERS AND UPLOAD



    2130965      LC                                250.00              $50.00               0.2

  2/15/2018 ANALYSIS OF ORDER APPROVING AGREEMENT WITH PLISKIN



    2131384      MYK                               580.00              $58.00               0.1

  2/15/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUSTEE AGREEMENT; CONF WITH MATT



    2137109      RB                                595.00             $178.50               0.3

  2/15/2018 PREPARATION OF TRUSTEE AND BOARD COMPENSATION ORDER AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF ENTERED ORDER

    2137115      RB                                595.00              $119.00              0.2

  2/16/2018 PREPARATION OF NOTICE OF ADMINISTRATIVE CLAIMS BAR DATE AND PLAN EFFECTIVE DATE



    2134876      KJM                               565.00              $113.00              0.2

  2/16/2018   EMAIL EXCHANGES REGARDING SERVICE OF NOTICE OF PLAN EFFECTIVE DATE AND ISSUES
              RE SAME

    2134879      KJM                               565.00              $56.50               0.1

  2/16/2018 PREPARATION OF EMAIL EXCHANGE RE: SHAREHOLDER AND CREDITOR DISTRIBUTIONS;
            CONF WITH MATT

    2137123      RB                                595.00              $119.00              0.2

  2/17/2018 ANALYSIS OF TRUST AGREEMENT AND TERMS AND COMMUNICATIONS THEREON



    2131388      MYK                               580.00             $174.00               0.3

  2/17/2018 PREPARATION OF FURTHER REVISED VERSION OF TRUST AGREEMENT AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA

    2137131      RB                                595.00            $1,130.50              1.9

  2/18/2018 ANALYSIS OF REVISIONS TO EMPLOYMENT AGREEMENT FOR TRUSTEE AND RELATED EMAILS



    2131389      MYK                               580.00              $116.00              0.2

  2/19/2018 ANALYSIS OF COMMUNICATIONS REGARDING CHANGES TO TRUST AGREEMENT REGARDING
            INDEMNIFICATION AND RELATED EMAILS

    2131391      MYK                               580.00             $174.00               0.3

  2/19/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUST AGREEMENT; CONF WITH MATT AND TANIA



    2137135      RB                                595.00             $178.50               0.3
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  2/19/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUSTEE AGREEMENT; CONF WITH MATT; ANALYSIS
            OF PLAN FOR INDEMNITY PROVISIONS

    2137138     RB                                595.00              $357.00               0.6

  2/20/2018 ANALYSIS OF WITHDRAWAL BY OCE TO OPPOSITION OF FORMER SHAREHOLDERS



    2131957     MYK                               580.00               $58.00               0.1

 02/20/2018 ANALYSIS OF COMMUNICATIONS ON TRUSTEE EMPLOYMENT AGREEMENT



    2131962     MYK                               580.00               $58.00               0.1

  2/20/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUST AGREEMENT; CONF WITH MATT AND TANIA



    2137144     RB                                595.00              $119.00               0.2

  2/21/2018   EMAIL EXCHANGES REGARDING QUARTERLY FEE DISCREPANCY AND ISSUES RE SAME



    2132005     KJM                               565.00              $113.00               0.2

  2/21/2018 ANALYSIS OF UST DELINQUENCY EMAIL AND MULTIPLE FOLLOW P EMAILS



    2137222     RB                                595.00               $59.50               0.1

  2/23/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUST AGREEMENT; CONF WITH TANIA



    2137506     RB                                595.00              $119.00               0.2

  2/27/2018   EMAIL EXCHANGE REGARDING MONTHLY REPORTING AND QUARTERLY FEE ISSUES



    2135099     KJM                               565.00               $56.50               0.1

  2/27/2018   EMAIL EXCHANGE REGARDING DISBURSEMENT CALCULATIONS



    2135103     KJM                               565.00               $56.50               0.1

  2/27/2018 ANALYSIS OF MULTIPLE EMAILS RE: UST COMPLIANCE ISSUES AND REVIEW



    2137873     RB                                595.00               $59.50               0.1

  2/27/2018 ANALYSIS OF EMAILS RE: DISBURSEMENTS AND UST FEE ISSUES AND REVIEW



    2137875     RB                                595.00               $59.50               0.1

  2/28/2018 ANALYSIS OF MULTIPLE CORPORATE DISSOLUTION DOCS AND DEREGISTRATION DOCS AND
            RELATED EMAILS

    2137896     RB                                595.00              $476.00               0.8
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CASE #       8300                                              From Date          11/21/2017
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  2/28/2018 PREPARATION OF FINAL VERSIONS OF TRUST AGREEMENT AND AGREEMENT FOR TRUSTEE
            SERVICES FOR SIGNATURE; ANALYSIS OF FILE

    2138427       RB                               595.00              $178.50               0.3

   3/1/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUST AGREEMENT AND AGREEMENT FOR TRUSTEE
            SERVICES

    2141946       RB                               595.00               $59.50               0.1

   3/2/2018 TELEPHONE CONFERENCE WITH COMMUNICATION FROM FOREIGN SHAREHOLDER



    2134188       MYK                              580.00               $58.00               0.1

   3/9/2018 ANALYSIS OF MOR NO. 4



    2141995       RB                               595.00               $59.50               0.1

   3/9/2018 ANALYSIS OF MOR NO. 5



    2141996       RB                               595.00               $59.50               0.1

  3/13/2018 PREPARATION OF EMAIL EXCHANGE RE: BOARD COMPENSATION ISSUES AND REVIEW



    2142028       RB                               595.00               $59.50               0.1

                                                Total               $21,989.00              50.1
     05   -   CLAIMS ADMIN. AND OBJECTIONS

 11/21/2017 ANALYSIS OF CORRESPONDENCE RE MOTION FOR AUTHORITY TO PAY UNDISPUTED CLAIMS



    2109897       KJM                              535.00               $53.50               0.1

 11/21/2017 ANALYSIS OF CORRESPONDENCE FROM EQUITY COMMITTEE REGARDING CLAIM ANALYSIS
            ISSUES AND RELATED CORRESPONDENCE

    2109901       KJM                              535.00               $53.50               0.1

 11/21/2017 ANALYSIS OF CLAIMS CHART FOR PAYMENT TO CREDITORS AND RELATED EMAILS



    2110070       MYK                              575.00              $230.00               0.4

 11/21/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH CLIENT RE: CLAIMS CHART AND CLAIMS
            REVIEW PROCESS; CONF WITH MATT

    2110171       RB                               595.00              $297.50               0.5

 11/22/2017 ANALYSIS OF TRANSFER OF CLAIMS, APPROPRIATE NOTICE



    2110263       MYK                              575.00               $115.00              0.2
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CASE #       8300                                             From Date             11/21/2017
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 11/22/2017 ANALYSIS OF CLAIM TRANSFERS PURCHASED BY CRG FINANCIAL



    2110207      RB                                 595.00                $59.50               0.1

 11/27/2017 PREPARATION OF NOTICE OF REJECTED CONTRACTS AND DEADLINE TO FILE REJECTION
            CLAIMS; ANALYSIS OF FILE

    2110478      KJM                                535.00               $856.00               1.6

 11/27/2017 TELEPHONE CONFERENCE WITH M PLISKIN REGARDING LIST OF REJECTED CONTRACTS



    2110481      KJM                                535.00                $53.50               0.1

 11/27/2017 PREPARATION OF CORRESPONDENCE TO G GREULICH AND M PLISKIN REGARDING LIST OF
            REJECTED CONTRACTS AND NOTICE OF CLAIM BAR DATE

    2110482      KJM                                535.00                $53.50               0.1

 11/27/2017 PREPARATION OF EMAIL EXCHANGE RE: WINDSPEED CURE PAYMENT



    2112687      RB                                 595.00                $59.50               0.1

 11/28/2017 ANALYSIS OF PROOF OF CLAIM FILED BY CA DEPT. OF TAX



    2110806      KJM                                535.00                $53.50               0.1

 11/28/2017 ANALYSIS OF JOINDER BY OCC TO PAY CLAIMS



    2111138      MYK                                575.00                $57.50               0.1

 11/28/2017 ANALYSIS OF OBJECTION BY BECK TO MOTION TO PAY CLAIMS



    2111139      MYK                                575.00                $115.00              0.2

 11/28/2017 ANALYSIS OF CORDES AND AISENBERG OBJECTION TO MOTION TO PAY CLAIMS; CONF WITH
            CLIENT

    2112733      RB                                 595.00                $119.00              0.2

 11/28/2017 ANALYSIS OF OCC JOINDER TO CLAM PAY MOTION



    2112739      RB                                 595.00                $59.50               0.1

 11/29/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING AMERICAN ALTERNATIVE INSURANCE CORP
              PROOF OF CLAIM; ANALYSIS OF CLAIM

    2111643      KJM                                535.00                $53.50               0.1

 11/30/2017 ANALYSIS OF PROOFS OF CLAIM FILED BY TX COMPTROLLER



    2111682      KJM                                535.00                $53.50               0.1
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 11/30/2017 ANALYSIS OF SPECIAL NOTICE REQUEST BY TEXAS COMPRTOLLER OF PUBLIC ACCOUNTS



    2112795      RB                               595.00              $59.50               0.1

  12/1/2017 PREPARATION OF OBJECTION TO CLAIM FILED BY AMERICAN ALTERNATIVE INSURANCE
            CORPORATION

    2111958      KJM                              535.00             $428.00               0.8

  12/1/2017 PREPARATION OF CLAIM ANALYSIS CHART FOR DISCLOSURE STATEMENT AND PLAN; ANALYSIS
            OF FILE

    2113679      KJM                              535.00             $481.50               0.9

  12/4/2017 ANALYSIS OF CORRESPONDENCE RE TRANSFER OF CLAIM PAID AT CLOSING



    2113518      KJM                              535.00              $53.50               0.1

  12/4/2017 ANALYSIS OF CORRESPONDENCE FROM M PLISKIN REGARDING VARIOUS PROOFS OF CLAIM;
            PREPARATION OF RESPONSES THERETO

    2113521      KJM                              535.00              $53.50               0.1

  12/4/2017 PREPARATION OF OBJECTION TO DUPLICATE CLAIMS OF THREE PART ADVISORS



    2113682      KJM                              535.00             $214.00               0.4

  12/4/2017 PREPARATION OF EMAIL EXCHANGE RE: WINDSPEED SALE OF ITS CLAIM



    2114976      RB                               595.00              $59.50               0.1

  12/4/2017 PREPARATION OF EMAIL EXCHANGE RE: GRAINGER PAYMENT ISSUES AND REVIEW



    2114982      RB                               595.00              $59.50               0.1

  12/5/2017 TELEPHONE CONFERENCE WITH M. PLISKIN REGARDING PREPARATION OF CLAIM
            OBJECTIONS; REVIEW OF BASES FOR OBJECTIONS TO CLAIMS

    2113690      KJM                              535.00             $214.00               0.4

  12/5/2017 ANALYSIS OF OBJECTIONABLE CLAIMS AND CORRESPONDENCE REGARDING OBJECTIONABLE
            CLAIM CALCULATIONS

    2113691      KJM                              535.00             $481.50               0.9

  12/5/2017 ANALYSIS OF CORRESPONDENCE FROM S JARUS REGARDING CLAIM OBJECTION ISSUES



    2113692      KJM                              535.00              $53.50               0.1

  12/5/2017   CONFER REGARDING CORDES AISENBERG OBJECTION TO CLAIM PAYMENT MOTION;
              ANALYSIS OF CORRESPONDENCE TO EQUITY COMMITTEE COUNSEL RE SAME

    2113699      KJM                              535.00             $160.50               0.3
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CASE #       8300                                           From Date           11/21/2017
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  12/5/2017 ANALYSIS OF PRE-PETITION SCHEDULED CLAIM DISCREPANCIES AND AMENDED SCHEDULES,
            AND RECONCILIATION OF SAME

    2113813   KJM                                 535.00             $481.50               0.9

  12/5/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENT REGARDING PETE BLOOMER CLAIM



    2113846   KJM                                 535.00              $53.50               0.1

  12/5/2017 PREPARATION OF OBJECTION TO CLAIM FILED BY AMERICAN ALTERNATIVE INSURANCE
            CORPORATION

    2113857   KJM                                 535.00             $107.00               0.2

  12/5/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE AND INFORMATION REGARDING GRAINGER CLAIM
            ISSUES AND SETTLEMENT OF SAME

    2114100   KJM                                 535.00             $107.00               0.2

  12/5/2017 PREPARATION OF EMAIL EXCHANGE RE: WINDSPPED CLAIM



    2114999   RB                                  595.00              $59.50               0.1

  12/5/2017 ANALYSIS OF MULTIPLE EMAIL EXCHANGE BETWEEN MATT AND SCOTT JARUS RE: CLAIMS
            ISSUES AND REVIEW; CONF WITH MATT

    2115326   RB                                  595.00             $297.50               0.5

  12/5/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: CORDES & AISENBERG RESPONSE TO
            CLAIMS PAYMENT MOTION; CONF WITH TANIA

    2115328   RB                                  595.00              $119.00              0.2

  12/5/2017 TELEPHONE CONFERENCE WITH SCOTT AND THEN MATT RE: DISCREPANCY OVER SAM CLAIM;
            ANALYSIS OF FILE

    2115333   RB                                  595.00             $297.50               0.5

  12/5/2017 TELEPHONE CONFERENCE WITH SCOTT AND MATT RE: SAM PRE-PETITION CLAIM
            DISCREPANCY; ANALYSIS OF FILE; PREP OF RELATED EMAIL EXCHANGE

    2115353   RB                                  595.00             $357.00               0.6

  12/5/2017 PREPARATION OF NOTICES OF CLAIM OBJECTIONS



    2115418   SR                                  250.00             $300.00               1.2

  12/6/2017 PREPARATION OF OBJECTION TO THREE PART ADVISORS DUPLICATE CLAIMS



    2114210   KJM                                 535.00             $428.00               0.8

  12/6/2017 PREPARATION OF OBJECTION TO CHANG BANG CLAIMS



    2114211   KJM                                 535.00             $428.00               0.8
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  12/6/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING GRAINGER STIPULATIONS AND
            ISSUES RE SAME

    2114222   KJM                                   535.00              $53.50               0.1

  12/6/2017 TELEPHONE CONFERENCE WITH AMERICAN ALTERNATIVE INSURANCE CO REGARDING
            CONTINGENT CLAIMS

    2114232   KJM                                   535.00             $160.50               0.3

  12/6/2017 TELEPHONE CONFERENCE WITH M PLISKIN REGARDING AMERICAN ALTERNATIVE INSURANCE
            CO CLAIMS

    2114233   KJM                                   535.00              $53.50               0.1

  12/6/2017 TELEPHONE CONFERENCE WITH REPRESENTATIVE OF CRG FINANCIAL RE ASSIGNED CLAIMS
            AND ISSUES RE SAME

    2114244   KJM                                   535.00             $107.00               0.2

  12/6/2017 ANALYSIS OF CRG FINANCIAL CLAIM; EMAIL EXCHANGE WITH M PLISKIN RE SAME



    2114245   KJM                                   535.00              $53.50               0.1

  12/6/2017 PREPARATION OF BEST CASE SCENARIO ANALYSIS OF CLAIM AMOUNTS; ANALYSIS OF FILE



    2114248   KJM                                   535.00             $374.50               0.7

  12/6/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING CLAIM ANALYSIS AND BEST CASE
            SCENARIO ANALYSIS

    2114391   KJM                                   535.00             $107.00               0.2

  12/6/2017 ANALYSIS OF CORRESPONDENCE AND DOCUMENTATION FROM AMERICAN ALTERNATIVE
            INSURANCE CO REGARDING CLAIM ISSUES

    2118065   KJM                                   535.00             $107.00               0.2

  12/6/2017 ANALYSIS OF UPDATED BEST CASE SCENARIO CHART AND RELATED EMAILS



    2114325   MYK                                   575.00             $115.00               0.2

  12/6/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM PRE-PETITION CLAIMS; CONF WITH MATT AND
            SCOTT

    2115535   RB                                    595.00             $178.50               0.3

  12/6/2017 ANALYSIS OF MULTIPLE CLAIM OBJECTIONS



    2115678   RB                                    595.00             $119.00               0.2

  12/6/2017 ANALYSIS OF UPDATED CLAIMS CHART; PREP OF MULTIPLE RELATED EMAIL EXCHANGE



    2115687   RB                                    595.00             $357.00               0.6
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  12/7/2017 PREPARATION OF OBJECTION TO CRG FINANCIAL PROOF OF CLAIM



    2114503     KJM                                535.00              $374.50               0.7

  12/7/2017 ANALYSIS OF NOTICES OF CLAIM ASSIGNMENTS



    2114504     KJM                                535.00              $107.00               0.2

  12/7/2017 PREPARATION OF OBJECTION TO WONEEL PROOF OF CLAIM



    2114505     KJM                                535.00              $321.00               0.6

  12/7/2017 PREPARATION OF OBJECTION TO AMERICAN ALTERNATIVE INSURANCE CO PROOF OF CLAIM



    2114506     KJM                                535.00              $214.00               0.4

  12/7/2017 TELEPHONE CONFERENCE WITH MATT PLISKIN REGARDING CLAIM RECONCILIATION AND
            OBJECTIONS TO CLAIMS

    2114507     KJM                                535.00              $107.00               0.2

  12/7/2017 PREPARATION OF OBJECTION TO CHANG BANG PROOF OF CLAIM



    2114509     KJM                                535.00              $267.50               0.5

  12/7/2017 ANALYSIS OF IPFS AND FEDERAL INSURANCE PROOFS OF CLAIM; PREPARATION OF
            CORRESPONDENCE AND ANALYSIS OF CORRESPONDENCE RE SAME

    2114512     KJM                                535.00              $107.00               0.2

  12/7/2017   EMAIL EXCHANGE WITH M PLISKIN REGARDING FEDEX PROOF OF CLAIM



    2114524     KJM                                535.00               $53.50               0.1

  12/7/2017 ANALYSIS OF PROOF OF CLAIM FILED BY ACCOUNTEMPS; PREPARATION OF
            CORRESPONDENCE RE SAME

    2114525     KJM                                535.00               $53.50               0.1

  12/7/2017 ANALYSIS OF CLAIMS OBJECTIONS



    2115716     RB                                 595.00              $119.00               0.2

  12/7/2017 TELEPHONE CONFERENCE WITH SCOTT AND MATT RE: SAM PRE-PETITION CLAIM



    2115717     RB                                 595.00              $178.50               0.3

  12/7/2017 ANALYSIS OF SAM'S PRE-PETITION BILLINGS; PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH SCOTT AND LOUIS AND MATT

    2115725     RB                                 595.00              $416.50               0.7
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  12/8/2017 REVIEW REVISE AND FINALIZE OBJECTION TO CLAIM (WITH EXHIBIT(S)) AND NOTICE OF
            OBJECTION TO CLAIM; E-FILE (AMERICAN ALTERNATIVE).

    2115033    JAB                                  250.00               $75.00              0.3

  12/8/2017 REVIEW REVISE AND FINALIZE OBJECTION TO CLAIM (WITH EXHIBIT(S)) AND NOTICE OF
            OBJECTION TO CLAIM; E-FILE (CHANG BANG).

    2115036    JAB                                  250.00               $75.00              0.3

  12/8/2017 REVIEW REVISE AND FINALIZE OBJECTION TO CLAIM (WITH EXHIBIT(S)) AND NOTICE OF
            OBJECTION TO CLAIM; E-FILE (CRG FINANCIAL).

    2115037    JAB                                  250.00               $75.00              0.3

  12/8/2017 REVIEW REVISE AND FINALIZE OBJECTION TO CLAIM (WITH EXHIBIT(S)) AND NOTICE OF
            OBJECTION TO CLAIM; E-FILE (FEDERAL INSURANCE COMPANY).

    2115038    JAB                                  250.00               $75.00              0.3

  12/8/2017 REVIEW REVISE AND FINALIZE OBJECTION TO CLAIM (WITH EXHIBIT(S)) AND NOTICE OF
            OBJECTION TO CLAIM; E-FILE (IPFS CORPORATION).

    2115039    JAB                                  250.00               $75.00              0.3

  12/8/2017 REVIEW REVISE AND FINALIZE OBJECTION TO CLAIM (WITH EXHIBIT(S)) AND NOTICE OF
            OBJECTION TO CLAIM; E-FILE (THREE PART ADVISORS).

    2115040    JAB                                  250.00               $75.00              0.3

  12/8/2017 REVIEW REVISE AND FINALIZE OBJECTION TO CLAIM (WITH EXHIBIT(S)) AND NOTICE OF
            OBJECTION TO CLAIM; E-FILE (WONEEL).

    2115042    JAB                                  250.00               $75.00              0.3

  12/8/2017 PREPARATION OF OBJECTIONS TO PROOFS OF CLAIM, DECLARATIONS IN SUPPORT, COMPILE
            EXHIBITS IN SUPPORT; RESEARCH AND PREPARE SERVICE ADDRESS LISTS

    2114747    KJM                                  535.00             $1,979.50             3.7

  12/8/2017 ANALYSIS OF MOTION TO DISALLOW CLAIMS, RELATED NOTICES



    2114857    MYK                                  575.00              $287.50              0.5

  12/8/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM PRE-PETITION CLAIM; CONF WITH SCOTT;
            ANALYSIS OF BK SCHEDULES AMENDMENTS

    2115730    RB                                   595.00              $297.50              0.5

  12/8/2017 ANALYSIS OF CLAIMS OBJECTIONS AND MULTIPLE RELATED EMAILS; CONF WITH CLIENT



    2115744    RB                                   595.00              $238.00              0.4

  12/8/2017 ANALYSIS OF MULTIPLE FURTHER CLAIM OBJECTIONS



    2115748    RB                                   595.00              $119.00              0.2
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  12/9/2017 ANALYSIS OF MULTIPLE EMAILS RE: BLOOM CLAIM DISPUTE



    2116437   RB                                   595.00               $59.50              0.1

 12/10/2017 PREPARATION OF LIST OF CLAIM OBJECTIONS AND FINANCIAL EFFECT OF OBJECTIONS; EMAIL
            EXCHANGE RE SAME

    2115200   KJM                                  535.00              $214.00              0.4

 12/10/2017 ANALYSIS OF CORRESPONDENCE REGARDING STUBBS ALDERTON PROOF OF CLAIM AND
            ISSUES REGARDING SETTLEMENT OF DISPUTES WITH EQUITY COMMITTEE

    2115202   KJM                                  535.00               $53.50              0.1

 12/10/2017 ANALYSIS OF COMMUNICATION REGARDING PRE-PETITION CLAIM OF SAM



    2115006   MYK                                  575.00               $57.50              0.1

 12/10/2017 TELEPHONE CONFERENCE WITH TANIA RE: PLAN ISSUES AND REVIEW



    2116452   RB                                   595.00              $119.00              0.2

 12/10/2017 TELEPHONE CONFERENCE WITH TANIA RE: CLAIMS OBJECTIONS AND REVIEW; PREP OF
            RELATED EMAIL EXCHANGE

    2116453   RB                                   595.00              $178.50              0.3

 12/10/2017 TELEPHONE CONFERENCE WITH SCOTT RE: SAMPRA CLAIM; PREP OF RELATED EMAIL
            EXCHANGE

    2116454   RB                                   595.00              $178.50              0.3

 12/11/2017 PREPARATION OF NOTICE OF DEADLINE TO FILE REJECTION CLAIM RE HEWLETT PACKARD;
            EMAIL EXCHANGE RE SAME

    2115227   KJM                                  535.00              $107.00              0.2

 12/11/2017 RESEARCH REGARDING POST-PETITION INTEREST TO UNSECURED CREDITORS; CONF WITH
            RUSS CLEMENTON AND MARGAUX ROSS OF UST AND TANIA; PREP OF RELATED EMAIL
            EXCHANGE
    2116496   RB                                   595.00              $773.50              1.3

 12/12/2017 TELEPHONE CONFERENCE WITH SCOTT RE: SETTLEMENT DISCUSSIONS WITH OCEH; PREP
            OF EMAIL EXCHANGE

    2116539   RB                                   595.00               $59.50              0.1

 12/12/2017 PREPARATION OF FURTHER UPDATED CLAIMS CHART TO TAKE INTO ACCOUNT THE DEBTORS'
            SEVEN FILED CLAIMS OBJECTIONS; PREP OF MAIL TO TANIA

    2116540   RB                                   595.00              $178.50              0.3

 12/12/2017 ANALYSIS OF NICOLE HAND EMAIL RE: ISSUES RELATING TO REJECTION OF HEWLETT
            PACKARD CONTRACT

    2116547   RB                                   595.00               $59.50              0.1
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 12/12/2017 APPEARANCE AT HEARING ON MOTION TO PAY UNSECURED CREDITORS PER PROPOSED
            PAYMENT AND ALLOWANCE PROTOCOL; ANALYSIS OF FILE IN PREP FOR HEARING

    2116551   RB                                   595.00                 $833.00              1.4

 12/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING PAYMENT OF UNDISPUTED CLAIMS; EMAIL
            EXCHANGE RE SAME

    2116537   KJM                                  535.00                 $107.00              0.2

 12/13/2017 PREPARATION OF ORDER GRATING CLAIMS PROTOCOL MOTION AND MULTIPLE RELATED
            EMAIL EXCHANGE

    2116589   RB                                   595.00                 $357.00              0.6

 12/13/2017 PREPARATION OF MEMO TO CLIENT RE: CLAIMS PROTOCOL AND PAYMENT OF UNDISPUTED
            CLAIMS AND REVIEW OF DISPUTED CLAIMS; ANALYSIS OF FILE; CONF WITH MATT; ANALYSIS
            OF FILE
    2116613   RB                                   595.00                 $476.00              0.8

 12/13/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: INTEREST PAYMENTS TO UNSECURED
            CREDITORS

    2116614   RB                                   595.00                 $119.00              0.2

 12/14/2017 ANALYSIS OF CORRESPONDENCE FROM THREE PART ADVISORS REGARDING CLAIM ISSUES;
            ATTEMPT TO CONTACT REPRESENTATIVE; LEFT VOICE MESSAGE REGARDING CLAIM

    2116397   KJM                                  535.00                  $53.50              0.1

 12/14/2017 ANALYSIS OF CHANGES TO CLAIMS PROTOCOL ORDER AND RELATED EMAILS



    2116618   RB                                   595.00                  $59.50              0.1

 12/14/2017 PREPARATION OF PLEADING AND LODGE ORDER ON MOTION FOR AUTHORITY TO PAY
            UNDISPUTED CLAIMS

    2118189   SR                                   250.00                  $50.00              0.2

 12/15/2017 PREPARATION OF ANALYSIS OF CLAIM PAYMENTS WITH ACCRUED INTEREST AND RESERVES;
            PREP OF CHART

    2116737   KJM                                  535.00             $1,284.00                2.4

 12/15/2017 TELEPHONE CONFERENCE WITH REPRESENTATIVE OF THREE PART ADVISORS REGARDING
            DUPLICATE CLAIMS

    2116741   KJM                                  535.00                  $53.50              0.1

 12/15/2017 ANALYSIS OF AMENDED PROOF OF CLAIM FILED BY CA DEPT. OF TAX



    2116745   KJM                                  535.00                  $53.50              0.1

 12/15/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW AND PREP OF
            REVISED CLAIMS CHART; CONF WITH TANIA

    2119023   RB                                   595.00                 $416.50              0.7
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 12/15/2017 ANALYSIS OF NEWLY FILED TAX CLAIM



    2119024     RB                                   595.00               $59.50               0.1

 12/16/2017 PREPARATION OF CLAIM ANALYSIS, INTEREST CALCULATION AND PAYMENT CHART



    2116851     KJM                                  535.00              $588.50               1.1

 12/16/2017 ANALYSIS OF CORRESPONDENCE REGARDING CLAIM PAYMENT PROTOCOL



    2116852     KJM                                  535.00               $53.50               0.1

 12/16/2017 PREPARATION OF EMAIL EXCHANGE RE: PAYMENT OF UNDISPUTED CLAIMS PER CLAIMS
            PROTOCOL ANALYSIS OF FURTHER UPDATED CLAIMS CHART; CONF WITH CLIENT

    2119030     RB                                   595.00              $297.50               0.5

 12/16/2017 PREPARATION OF EMAIL EXCHANGE RE: IMPACT ON CLAIMS CHART IF DEBTORS PREVAIL ON
            SEVEN CLAIMS OBJECTIONS AND ANALYSIS OF UPDATE OF PROPOSED DISTRIBUTION CHART

    2119032     RB                                   595.00              $178.50               0.3

 12/17/2017 PREPARATION OF FURTHER RELATED EMAIL EXCHANGE RE: UPDATING CLAIMS CHART TO
            TAKE INTO ACCOUNT POST-PETITION INTEREST AND IMPACT OF PENDING CLAIMS
            OBJECTIONS
    2119035     RB                                   595.00              $238.00               0.4

 12/18/2017 ANALYSIS OF CLAIM TRANSFERS



    2119043     RB                                   595.00               $59.50               0.1

 12/19/2017 PREPARATION OF CLAIM PAYMENT CHART WITH INTEREST CALCULATIONS



    2117550     KJM                                  535.00              $642.00               1.2

 12/19/2017   EMAIL EXCHANGE REGARDING TAXING AGENCY CLAIMS AND ISSUES RE SAME



    2117554     KJM                                  535.00               $53.50               0.1

 12/19/2017   EMAIL EXCHANGE WITH T MOYRON REGARDING CLAIM PAYMENT NOTICE AND ISSUES



    2117564     KJM                                  535.00               $53.50               0.1

 12/19/2017 TELEPHONE CONFERENCE WITH T MOYRON REGARDING CLAIM PAYMENT ISSUES AND
            MISCELLANEOUS CASE ISSUES

    2117565     KJM                                  535.00               $53.50               0.1

 12/19/2017 ANALYSIS OF LISA CHANDLER EMAIL RE: OBJECTION TO CLAIM OF IPFS



    2119059     RB                                   595.00               $59.50               0.1
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 12/19/2017 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS PROTOCOL LIST; CONF WITH TANIA



    2119060     RB                                  595.00              $119.00               0.2

 12/19/2017 ANALYSIS OF LISA CHANDLER EMAIL RE: OBJECTION TO CLAIM OF IPFS



    2119079     RB                                  595.00               $59.50               0.1

 12/19/2017 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS PROTOCOL LIST; CONF WITH TANIA



    2119080     RB                                  595.00              $119.00               0.2

 12/19/2017 ANALYSIS OF UPDATED CLAIMS CHART TO INCLUDE INTEREST COMPONENT AND RELATED
            EMAILS

    2119082     RB                                  595.00              $178.50               0.3

 12/19/2017 ANALYSIS OF TANIA EMAIL RE: CLAIMS DISPUTED BY OCEH; CONF WITH TANIA



    2119091     RB                                  595.00              $119.00               0.2

 12/20/2017 PREPARATION OF CLAIM PAYMENT CHECKS; CREATE IMPORTABLE EXCEL SPREADSHEET FOR
            FILEMAKER

    2117626     JK                                  250.00              $150.00               0.6

 12/20/2017 ANALYSIS OF CORRESPONDENCE REGARDING PAYMENT OF CLAIMS AND ISSUES RE
            DIRECTORS' CLAIMS; CONFER WITH BEN PADNOS RE SAME

    2117577     KJM                                 535.00              $160.50               0.3

 12/20/2017 ANALYSIS OF CORRESPONDENCE FROM FEDERAL INSURANCE COMPANY REGARDING CLAIM
            OBJECTION; PREPARATION OF CORRESPONDENCE RE SAME

    2117581     KJM                                 535.00               $53.50               0.1

 12/20/2017 PREPARATION OF NOTICE OF CLAIM ALLOWANCE AND PAYMENT AND EXHIBIT THERETO



    2117583     KJM                                 535.00              $588.50               1.1

 12/20/2017   EMAIL EXCHANGE WITH T MOYRON REGARDING CLAIM ALLOWANCE AND PAYMENT



    2117584     KJM                                 535.00               $53.50               0.1

 12/20/2017 TELEPHONE CONFERENCE WITH TANIA AND THEN BEN RE: SKADDEN CLAIM DISPUTE; PREP
            OF RELATED EMAIL EXCHANGE; ANALYSIS OF BEN'S CORRESPONDENCE WITH SKADDEN

    2119099     RB                                  595.00              $297.50               0.5

 12/20/2017 ANALYSIS OF TANIA EMAIL RE: CLAIMS ALLOWED AND CLAIMS DISPUTED; PREP OF RELATED
            EMAIL EXCHANGE; CONF WITH TANIA, BEN AND GEOFF

    2119100     RB                                  595.00              $297.50               0.5
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 12/20/2017 PREPARATION OF EMAIL EXCHANGE RE: CLAIM DISPUTE WITH CHUBB



    2119101   RB                                   595.00                $59.50             0.1

 12/20/2017 PREPARATION OF NOTICE OF ALLOWANCE AND PAYMENT OF CLAIMS PER CLAIMS PROTOCOL
            ORDER AND ANALYSIS OF RELATED CLAIMS CHART AND MULTIPLE RELATED EMAIL EXCHANGE

    2119102   RB                                   595.00               $238.00             0.4

 12/20/2017 ANALYSIS OF MULTIPLE FURTHER EMAIL EXCHANGE RE: CREDITOR PAYMENT ISSUES AND
            REVIEW

    2119106   RB                                   595.00                $59.50             0.1

 12/21/2017 PREPARATION OF EXCEL SPREADSHEET FOR IMPORTING INTO CHECK WRITING PROGRAM;
            CREATE MAILING LABELS

    2117698   JK                                   250.00               $175.00             0.7

 12/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING IPFS CLAIM OBJECTION AND ISSUES RE SAME;
            PREPARATION OF CORRESPONDENCE RE SAME; CONFER WITH M PLISKIN RE SAME

    2117750   KJM                                  535.00               $107.00             0.2

 12/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING PETE BLOOMER CLAIM AND DISPUTES RE
            SAME

    2117754   KJM                                  535.00                $53.50             0.1

 12/21/2017 PREPARATION OF NOTICE OF CLAIM PAYMENTS; ANALYSIS OF FILE



    2117759   KJM                                  535.00               $160.50             0.3

 12/21/2017 PREPARATION OF CLAIM PAYMENT CHART AND RELATED CALCULATIONS; ANALYSIS OF FILE



    2117760   KJM                                  535.00               $856.00             1.6

 12/21/2017 ANALYSIS OF CORRESPONDENCE FROM CRG FINANCIAL REPRESENTATIVE RE CRG
            FINANCIAL CLAIM OBJECTION; PREPARATION OF RESPONSE THERETO

    2117776   KJM                                  535.00                $53.50             0.1

 12/21/2017 ANALYSIS OF CORRESPONDENCE REGARDING RESOLUTION OF SAM CLAIM AND ISSUES RE
            SAME

    2117820   KJM                                  535.00                $53.50             0.1

 12/21/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: CLAIM DISPUTE WITH IPFS INSURANCE AND
            POSSIBLE RESOLUTION

    2119121   RB                                   595.00               $119.00             0.2

 12/21/2017 ANALYSIS OF UPDATED CLAIMS CHART AND NOTICE; PREP OF RELATED EMAIL EXCHANGE



    2119126   RB                                   595.00               $178.50             0.3
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 12/21/2017 CONFERENCE CALL WITH ANDREW SOLOMON AND TANIA RE: SAM CLAIM DISPUTE AND
            POSSIBLE RESOLUTIONS

    2119127   RB                                  595.00              $238.00                0.4

 12/21/2017 TELEPHONE CONFERENCE WITH SCOTT ALDERTON AND THEN ANDREW SOLOMON AND THEN
            SCOTT AGAIN RE: SETTLEMENT OF SAM CLAIM DISPUTE; ANALYSIS OF ALDERTON EMAIL

    2119128   RB                                  595.00              $357.00                0.6

 12/21/2017 TELEPHONE CONFERENCE WITH ALDERTON RE: FURTHER DISCUSSIONS TO RESOLVE OCEH
            CLAIM DISPUTE WITH SAM; PREP OF MULTIPLE RELATED EMAIL EXCHANGE RE: SETTLEMENT

    2119135   RB                                  595.00              $238.00                0.4

 12/21/2017 PREPARATION OF PLEADING AND FILE NOTICE OF ALLOWANCE AND PAYMENT OF CLAIMS



    2118192   SR                                  250.00              $175.00                0.7

 12/21/2017 PREPARATION OF CHART WITH ADDRESSES FOR CLAIMANTS IN PREPARATION TO MAKE
            PAYMENTS

    2118242   SR                                  250.00              $250.00                1.0

 12/22/2017 ANALYSIS OF PROPOSED STIPULATION RESOLVING SAM CLAIM AND MULTIPLE
            CORRESPONDENCE RE SAME

    2117968   KJM                                 535.00              $107.00                0.2

 12/22/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE RE GRAINGER CLAIM ISSUES; ANALYSIS OF
            GRAINGER STIPULATION AND STATUS OF CONTRACTS

    2117970   KJM                                 535.00              $107.00                0.2

 12/22/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO CHANG BANG GLOVES REGARDING
            CLAIM OBJECTION;VOICE MESSAGE TO COUNSEL RE SAME; CONFERENCE WITH COUNSEL;
            ANALYSIS OF CLAIM OBJECTION
    2117972   KJM                                 535.00              $160.50                0.3

 12/22/2017 PREPARATION OF SAM CLAIM SETTLEMENT STIPULATION AND RELATED EMAIL EXCHANGE;
            ANALYSIS OF CLAIMS PROTOCOL STIP AND ORDER; CONF WITH TANIA

    2119147   RB                                  595.00            $1,368.50                2.3

 12/22/2017 PREPARATION OF EMAIL EXCHANGE RE: GRAINGER STIPULATION AND CLAIM DISPUTE



    2119151   RB                                  595.00              $119.00                0.2

 12/22/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: GRAINGER CLAIM DISPUTE; ANALYSIS OF
            FILE RE: SAME

    2119155   RB                                  595.00              $119.00                0.2

 12/22/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SAM CLAIM SETTLEMENT ISSUES AND
            REVIEW; CONF WITH TANIA

    2119157   RB                                  595.00              $178.50                0.3
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 12/22/2017 ANALYSIS OF MULTIPLE EMAILS RE: CHANG BANK CLAIM DISPUTE AND POSSIBLE RESOLUTION



    2119168    RB                                     595.00            $59.50               0.1

 12/23/2017 ANALYSIS OF REVISED SAM CLAIM STIPULATION AND CORRESPONDENCE RE SAME



    2119260    KJM                                    535.00            $53.50               0.1

 12/23/2017 PREPARATION OF FURTHER REVISED STIPULATION RESOLVING SAM CLAIM DISPUTE AND
            RELATED EMAIL EXCHANGE; CONF WITH TANIA

    2119192    RB                                     595.00           $178.50               0.3

 12/24/2017 PREPARATION OF CLAIM ANALYSIS CHART REFLECTING CLAIM PAYMENTS AND BEST CASE
            ASSUMPTIONS

    2119264    KJM                                    535.00           $749.00               1.4

 12/24/2017 ANALYSIS OF FURTHER UPDATED CLAIMS CHART; PREP OF MULTIPLE RELATED EMAIL
            EXCHANGE

    2119199    RB                                     595.00           $238.00               0.4

 12/26/2017 ANALYSIS OF CORRESPONDENCE REGARDING SAM CLAIM STIPULATION



    2119277    KJM                                    535.00            $53.50               0.1

 12/26/2017 PREPARATION OF CORRESPONDENCE TO EQUITY COMMITTEE REGARDING CHANG BANG
            CLAIM RESOLUTION

    2119285    KJM                                    535.00            $53.50               0.1

 12/26/2017 ANALYSIS OF FURTHER UPDATED CLAIMS CHART AND PREP OF RELATED EMAIL EXCHANGE



    2119216    RB                                     595.00           $178.50               0.3

 12/26/2017 PREPARATION OF EMAIL EXCHANGE RE: SAM PRE-PETITION CLAIM



    2119217    RB                                     595.00            $59.50               0.1

 12/26/2017 ANALYSIS OF EMAILS RE: CLAIMS OBJECTIONS AND POSSIBLE RESOLUTIONS



    2119223    RB                                     595.00            $59.50               0.1

 12/27/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SAM CLAIM SETTLEMENT



    2118695    KJM                                    535.00           $107.00               0.2

 12/27/2017 ANALYSIS OF PROOF OF CLAIM FILED BY FTB



    2118700    KJM                                    535.00            $53.50               0.1
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 12/27/2017 PREPARATION OF SKADDEN CLAIM ALLOWANCE AND PAYMENT NOTICE



    2118720     KJM                               535.00                $267.50               0.5

 12/27/2017   EMAIL EXCHANGE REGARDING RESOLUTION OF CHANG BANG CLAIM OBJECTION



    2118724     KJM                               535.00                 $53.50               0.1

 12/27/2017 ANALYSIS OF PROOFS OF CLAIM AND TRANSFER OF CLAIM ISSUES



    2119068     MYK                               575.00                $115.00               0.2

 12/27/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: CLAIM DISPUTE AND POSSIBLE
            SETTLEMENT OF SAM PRE-PETITION CLAIM; CONF WITH ALDERTON AND TANIA; ANALYSIS OF
            FILE AND PROPOSED CHANGES TO SETTLEMENT STIP
    2119978     RB                                595.00                $297.50               0.5

 12/27/2017 ANALYSIS OF FTB TAX CLAIM



    2119981     RB                                595.00                 $59.50               0.1

 12/27/2017 ANALYSIS OF EMAILS RE: RESOLUTION OF CLAIM DISPUTE WITH CHANG BANG



    2119989     RB                                595.00                 $59.50               0.1

 12/27/2017 PREPARATION OF FURTHER REVISED SAM CLAIM STIP AND RELATED EMAIL EXHANGE



    2119990     RB                                595.00                $119.00               0.2

 12/27/2017 TELEPHONE CONFERENCE WITH TANIA AND THEN WITH VAN RE: SETTLEMENT OF SKADDEN
            CLAIM DISPUTE; PREP OF MULTIPLE RELATED EMAIL EXCHANGE

    2119991     RB                                595.00                $297.50               0.5

 12/27/2017 PREPARATION OF EMAIL EXCHANGE RE: GRAINGER CLAIM DISPUTE



    2119992     RB                                595.00                 $59.50               0.1

 12/27/2017 PREPARATION OF SKADDEN CLAIM SETTLEMENT NOTICE AND RELATED EMAIL EXCHANGE;
            ANALYSIS OF FILE AND CLAIMS PROTOCOL

    2119994     RB                                595.00                $357.00               0.6

 12/28/2017 PREPARATION OF UPDATED CLAIM ANALYSIS CHART



    2119109     KJM                               535.00               $1,123.50              2.1

 12/28/2017 ANALYSIS OF SKADDEN CLAIM PAYMENT NOTICE AND CORRESPONDENCE RE SAME



    2119117     KJM                               535.00                 $53.50               0.1
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 12/28/2017 PREPARATION OF JOINT STIPULATION ALLOWING STUBBS PRE-PETITION CLAIMS AND E-FILE;
            PPO SERVICE LISTS

    2119385     LC                                 250.00              $125.00                 0.5

 12/28/2017 PREPARATION OF JOINT NOTICE REGARDING ALLOWANCE OF SKADDEN'S CLAIM; E-FILE; PPO
            EXHIBIT AND SERVICE LISTS

    2119386     LC                                 250.00              $150.00                 0.6

 12/28/2017 PREPARATION OF SKADDEN CLAIM NOTICE AND RELATED EMAIL EXCHANGE; CONF WITH VAN



    2119999     RB                                 595.00              $119.00                 0.2

 12/28/2017 ANALYSIS OF FURTHER UPDATED CLAIMS CHART; PREP OF RELATED EMAIL EXCHANGE



    2120002     RB                                 595.00              $238.00                 0.4

 12/28/2017 PREPARATION OF EMAIL EXCHANGE RE: PROVINCE FEE AGREEMENT AND PAYMENT



    2120006     RB                                 595.00               $59.50                 0.1

 12/29/2017 PREPARATION OF STIPULATION RESOLVING CHANG BANG CLAIM OBJECTION



    2119677     KJM                                535.00              $481.50                 0.9

 12/29/2017 ANALYSIS OF CHANG BANK CLAIM STIP AND RELATED EMAILS



    2120017     RB                                 595.00               $59.50                 0.1

   1/2/2018 PREPARATION OF CHANG BANG CLAIM STIPULATION; PREPARATION OF CORRESPONDENCE
            RE SAME

    2120201     KJM                                565.00              $226.00                 0.4

   1/2/2018 PREPARATION OF PROPOSED ORDER ON CHANG BANG CLAIM STIPULATION AND
            CORRESPONDENCE RE SAME

    2120204     KJM                                565.00              $113.00                 0.2

   1/2/2018 ANALYSIS OF CHANG BANG CLAIM STIP AND RELATED EMAILS



    2129153     RB                                 595.00               $59.50                 0.1

   1/3/2018   EMAIL EXCHANGE WITH COUNSEL FOR CHANG BANG REGARDING CLAIM STIPULATION



    2121661     KJM                                565.00               $56.50                 0.1

   1/3/2018 PREPARATION OF CORRESPONDENCE TO COUNSEL TO EQUITY COMMITTEE REGARDING
            PROPOSED ORDER APPROVING CHANG BANG CLAIM STIPULATION

    2121713     KJM                                565.00               $56.50                 0.1
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   1/5/2018 PREPARATION OF CHANG BANG CLAIM STIPULATION AND PROPOSED ORDER THEREON



    2121780   KJM                                  565.00               $56.50              0.1

   1/5/2018 ANALYSIS OF STIPULATION REGARDING CHANG BANG CLAIM



    2121014   MYK                                  580.00               $58.00              0.1

   1/5/2018 PREPARATION OF PLEADING FILE STIPULATION RE CHANG BANG CLAIM AND LODGE ORDER
            APPROVING STIPULATION

    2121629   SR                                   250.00              $100.00              0.4

   1/8/2018 ANALYSIS OF MARGAUX EMAIL RE: CASE ISSUES AND REVIEW



    2129233   RB                                   595.00               $59.50              0.1

   1/8/2018 ANALYSIS OF TANIA EMAIL RE: CORDES AND AISENBERG DISPUTE; CONF WITH TANIA



    2129244   RB                                   595.00              $119.00              0.2

   1/9/2018 PREPARATION OF CORRESPONDENCE REGARDING CLAIM OBJECTION STATUS; ANALYSIS OF
            CLAIM OBJECTION REQUESTS

    2121460   KJM                                  565.00               $56.50              0.1

   1/9/2018 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; ANALYSIS OF FILE



    2129259   RB                                   595.00              $119.00              0.2

   1/9/2018 PREPARATION OF EMAIL EXCHANGE RE: CHANG BANG CLAIM SETTLEMENT AND PAYMENT;
            CONF WITH CLIENT

    2129260   RB                                   595.00               $59.50              0.1

   1/9/2018 PREPARATION OF FURTHER UPDATED MASTER CLAIMS CHART AND RELATED EMAILS;
            ANALYSIS OF FILE

    2129265   RB                                   595.00              $238.00              0.4

  1/10/2018 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING AISENBERG AND CORDES CLAIMS
            AND BOOKING OF SAME

    2121839   KJM                                  565.00               $56.50              0.1

  1/10/2018 ANALYSIS OF NOTICE OF WITHDRAWAL OF CLAIM



    2121860   KJM                                  565.00               $56.50              0.1

  1/10/2018 PREPARATION OF PROPOSED ORDER ON OBJECTION TO AMERICAN ALTERNATIVE INSURANCE
            COMPANY PROOF OF CLAIM

    2121868   KJM                                  565.00              $113.00              0.2
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  1/10/2018 PREPARATION OF PROPOSED ORDER ON CRG FINANCIAL CLAIM OBJECTION



    2121871      KJM                               565.00              $56.50                0.1

  1/10/2018 PREPARATION OF PROPOSED ORDER ON FEDERAL INSURANCE COMPANY CLAIM OBJECTION



    2121872      KJM                               565.00              $56.50                0.1

  1/10/2018 PREPARATION OF PROPOSED ORDER ON IPFS CLAIM OBJECTION



    2121874      KJM                               565.00              $56.50                0.1

  1/10/2018 PREPARATION OF PROPOSED ORDER ON WONEEL CLAIM OBJECTION



    2121875      KJM                               565.00              $56.50                0.1

  1/10/2018   EMAIL EXCHANGE WITH M PLISKIN REGARDING AMERICAN ALTERNATIVE INSURANCE CLAIM
              OBJECTION

    2122025      KJM                               565.00              $56.50                0.1

  1/10/2018 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; CONF WITH MATT



    2129269      RB                                595.00             $178.50                0.3

  1/10/2018 PREPARATION OF PLEADING LODGE MULTIPLE ORDERS ON OBJECTIONS TO CLAIMS



    2125843      SR                                250.00             $250.00                1.0

  1/11/2018 ANALYSIS OF CORRESPONDENCE FROM ASM CAPITAL RE PAYMENT OF CLAIM; PREPARATION
            OF CORRESPONDENCE RE SAME

    2122057      KJM                               565.00              $56.50                0.1

  1/11/2018 PREPARATION OF PROPOSED ORDERS ON CLAIM OBJECTION AND PREPARATION OF
            CORRESPONDENCE RE SAME

    2122060      KJM                               565.00             $169.50                0.3

  1/11/2018 ANALYSIS OF DOCUMENTS AND EMAIL FROM ASM REGARDING TRANSFER OF CLAIM



    2122277      MYK                               580.00              $58.00                0.1

  1/11/2018 ANALYSIS OF OUTCOME OF HEARINGS ON CLAIM OBJECTIONS AND RELATED EMAILS



    2122279      MYK                               580.00              $116.00               0.2

  1/11/2018 ANALYSIS OF CLAIMS ISSUES AND REVIEW; CONF WITH MATT



    2129322      RB                                595.00             $238.00                0.4
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  1/12/2018 ANALYSIS OF ENTERED ORDERS ON CLAIM OBJECTIONS



    2122860     KJM                               565.00                 $56.50            0.1

  1/12/2018 ANALYSIS OF ORDERS DISALLOWING CLAIMS PER CLAIM OBJECTIONS



    2122858     MYK                               580.00                $116.00            0.2

  1/12/2018 ANALYSIS OF UPDATED CLAIMS CHART AND FILE



    2129339     RB                                595.00                $238.00            0.4

  1/12/2018 ANALYSIS OF MULTIPLE CLAIMS ORDERS AND CLAIMS ISSUES AND REVIEW



    2129347     RB                                595.00                $238.00            0.4

  1/16/2018   EMAIL EXCHANGES WITH ASM CAPITAL REGARDING WERNER CLAIM



    2122922     KJM                               565.00                 $56.50            0.1

  1/17/2018 ANALYSIS OF CORRESPONDENCE AND DOCUMENTATION REGARDING WERNER LOGISTICS
            CLAIM; EMAIL EXCHANGE WITH M. PLISKIN RE SAME

    2123165     KJM                               565.00                 $56.50            0.1

  1/19/2018 ANALYSIS OF CORRESPONDENCE FROM HEWLETT PACKARD REGARDING CLAIM PAYMENT



    2125131     KJM                               565.00                 $56.50            0.1

  1/21/2018 ANALYSIS OF UPDATED CLAIMS CHART; PREP OF RELATED EMAIL EXCHANGE



    2129419     RB                                595.00                $238.00            0.4

  1/22/2018 PREPARATION OF SECOND NOTICE REGARDING ALLOWANCE AND PAYMENT OF CLAIMS



    2124280     KJM                               565.00                 $56.50            0.1

  1/22/2018 PREPARATION OF UPDATES TO CLAIM ANALYSIS CHART



    2124282     KJM                               565.00                 $56.50            0.1

  1/23/2018 ANALYSIS OF CORRESPONDENCE REGARDING OUTSTANDING CLAIMS AND ISSUES RE SAME



    2124532     KJM                               565.00                 $56.50            0.1

  1/23/2018 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS ISSUES; CONF WITH MATT



    2129467     RB                                595.00                $178.50            0.3
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  1/24/2018 ANALYSIS OF CORRESPONDENCE FROM ASM CAPITAL RE CLAIM PAYMENT ISSUES



    2125180   KJM                                 565.00               $56.50              0.1

  1/25/2018 PREPARATION OF UPDATES TO CLAIM ANALYSIS CHART; PREPARATION OF
            CORRESPONDENCE RE CLAIM STATUS

    2125283   KJM                                 565.00              $226.00              0.4

  1/25/2018 ANALYSIS OF CORRESPONDENCE RE IPFS CORPORATION CLAIM ISSUES



    2125284   KJM                                 565.00               $56.50              0.1

  1/25/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: CLAIMS ISSUES AND REVIEW; ANALYSIS OF
            FILE; CONF WITH TANIA

    2130091   RB                                  595.00              $238.00              0.4

  1/26/2018 PREPARATION OF CORRESPONDENCE REGARDING TRANSACTION LEDGER REGARDING PAID
            CLAIMS; PREPARATION OF CORRESPONDENCE TO M PLISKIN RE SAME

    2125539   KJM                                 565.00               $56.50              0.1

  1/26/2018 ANALYSIS OF REGISTER OF UNCLEARED CREDITOR PAYMENTS; PREPARATION OF
            CORRESPONDENCE RE SAME

    2125696   KJM                                 565.00               $56.50              0.1

  1/29/2018 ANALYSIS OF CORRESPONDENCE REGARDING IPFS CLAIM PAYMENT AND SATISFACTION



    2125973   KJM                                 565.00               $56.50              0.1

  1/29/2018 ANALYSIS OF CORRESPONDENCE REGARDING ASM CAPITAL CLAIM PAYMENT QUERY



    2125977   KJM                                 565.00               $56.50              0.1

  1/30/2018 ANALYSIS OF CORRESPONDENCE FROM HEWLETT PACKARD REGARDING CLAIM PAYMENT;
            PREPARATION OF RESPONSE THERETO

    2126232   KJM                                 565.00               $56.50              0.1

  1/30/2018 PREPARATION OF UPDATES TO CLAIM PAYMENT/ANALYSIS CHART



    2126337   KJM                                 565.00               $56.50              0.1

  1/30/2018 TELEPHONE CONFERENCE WITH CREDITOR REGARDING PAYMENT OF CLAIM



    2126432   MYK                                 580.00               $58.00              0.1

  1/31/2018 PREPARATION OF CORRESPONDENCE TO COUNSEL TO EQUITY COMMITTEE REGARDING
            WERNER LOGISTICS CLAIM

    2126506   KJM                                 565.00               $56.50              0.1
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   2/1/2018 ANALYSIS OF CORRESPONDENCE REGARDING WERNER CAPITAL CLAIM



    2126930   KJM                                  565.00               $56.50             0.1

   2/2/2018 PREPARATION OF UPDATES TO CLAIM ANALYSIS CHART AND CORRESPONDENCE RE SAME



    2130744   KJM                                  565.00              $113.00             0.2

   2/2/2018 PREPARATION OF EMAIL EXCHANGE RE: CLAIMS ISSUES; ANALYSIS OF UPDATED CLAIMS
            CHART; CONF WITH TANIA

    2136456   RB                                   595.00              $297.50             0.5

   2/6/2018 ANALYSIS OF CLAIMS ISSUES AND REVIEW



    2136488   RB                                   595.00              $178.50             0.3

   2/7/2018 ANALYSIS OF AMENDED PROOF OF CLAIM FILED BY PITNEY BOWES



    2130896   KJM                                  565.00               $56.50             0.1

   2/7/2018 PREPARATION OF NOTICE OF PAYMENT OF WERNER CLAIM AND EMAIL EXCHANGE RE SAME



    2130903   KJM                                  565.00              $113.00             0.2

   2/7/2018 ANALYSIS OF CLAIMS ISSUES AND REVIEW AND ANALYSIS OF RELATED EMAILS



    2136490   RB                                   595.00              $178.50             0.3

   2/7/2018 ANALYSIS OF UPDATED CLAIMS CHART AND RELATED EMAILS



    2136494   RB                                   595.00              $178.50             0.3

   2/7/2018 PREPARATION OF EMAIL EXCHANGE RE: CORDES AND AISENBERG CLAIMS; ANALYSIS OF FILE;
            CONF WITH TANIA

    2136498   RB                                   595.00              $238.00             0.4

   2/9/2018 ANALYSIS OF EMAILS RE: PITNEY BOWES CLAIM AND CONTRACT ISSUES



    2136527   RB                                   595.00               $59.50             0.1

   2/9/2018 ANALYSIS OF MULTIPLE CLAIMS ISSUES AND REVIEW



    2136528   RB                                   595.00              $178.50             0.3

   2/9/2018 ANALYSIS OF UPDATED CLAIMS CHART



    2136534   RB                                   595.00              $178.50             0.3
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  2/12/2018 RESEARCH REGARDING DATE OF ENTRY OF ORDER SETTING BAR DATE FOR FILING PROOFS
            OF CLAIM AND THE DATE SET BY SAID ORDER; EMAIL TO COUNSEL RE: SAME.

    2134304      JAB                                250.00               $25.00              0.1

  2/12/2018 ANALYSIS OF AMENDED PROOFS OF CLAIM FILED BY CORDES AND AISENBERG



    2130231      KJM                                565.00               $56.50              0.1

  2/12/2018 ANALYSIS OF AMENDED CLAIMS OF CORDES AND AISENBERG; CONF WITH TANIA



    2136545      RB                                 595.00              $416.50              0.7

  2/13/2018   CONFER WITH S REICHERT RE ASM CAPITAL CLAIM PAYMENT; PREPARATION OF
              CORRESPONDENCE RE SAME

    2130263      KJM                                565.00               $56.50              0.1

  2/15/2018   EMAIL EXCHANGE REGARDING STATUS OF PAYMENT TO WERNER



    2130984      KJM                                565.00               $56.50              0.1

  2/15/2018   EMAIL EXCHANGE REGARDING REISSUANCE OF CHECK TO CREDITOR



    2130985      KJM                                565.00               $56.50              0.1

  2/16/2018 ANALYSIS OF NOTICE OF BAR DATE FOR ADMINISTRATIVE CLAIMS



    2131386      MYK                                580.00               $58.00              0.1

  2/16/2018 PREPARATION OF ADMINISTRATIVE CLAIM BAR DATE NOTICE AND RELATED EMAIL EXCHANGE;
            ANALYSIS OF FILE

    2137122      RB                                 595.00              $357.00              0.6

  2/16/2018 PREPARATION OF PLEADING FILE AND SERVICE NOTICE OF ADMINISTRATIVE CLAIMS BAR
            DATE

    2132704      SR                                 250.00              $250.00              1.0

  3/12/2018 ANALYSIS OF RADIANS CLAIM ESTIMATION MOTION



    2142014      RB                                 595.00              $297.50              0.5

  3/14/2018 TELEPHONE CONFERENCE WITH TANIA RE: CLAIMS ESTIMATION MOTIONS AND CASE REVIEW



    2142057      RB                                 595.00              $178.50              0.3

                                                Total                $46,174.00             87.3
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     07   -   FEE / EMPLOYMENT APPLICATIONS

 11/21/2017 PREPARATION OF NOTICE OF FEE APPLICATIONS



    2109881      KJM                                535.00             $160.50               0.3

 11/21/2017 PREPARATION OF SAM FIRST INTERIM FEE APPLICATION AND EXHIBITS AND DECLARATION IN
            SUPPORT

    2109882      KJM                                535.00            $1,016.50              1.9

 11/21/2017 PREPARATION OF CRAIG-HALLUM FINAL FEE APPLICATION AND EXHIBITS AND DECLARATION
            IN SUPPORT

    2109883      KJM                                535.00             $481.50               0.9

 11/21/2017 ANALYSIS OF CORRESPONDENCE FROM EQUITY COMMITTEE'S COUNSEL REGARDING FEE
            NOTICE AND ISSUES RE SAME; CONFER WITH T MOYRON RE SAME

    2109899      KJM                                535.00              $53.50               0.1

 11/21/2017 ANALYSIS OF BROWN RUDNICK FIRST INTERIM FEE APPLICATION



    2109923      KJM                                535.00             $107.00               0.2

 11/21/2017 ANALYSIS OF PROVINCE FINAL FEE APPLICATION



    2109988      KJM                                535.00             $107.00               0.2

 11/21/2017 PREPARATION OF LNBYB FEE APPLICATION AND E-FILE; REVISE AND PREPARE EXHIBITS AND
            PPO SERVICE LISTS

    2110028      LC                                 250.00             $375.00               1.5

 11/21/2017 ANALYSIS OF FEE APPLICATIONS BY LNBYB



    2110055      MYK                                575.00             $287.50               0.5

 11/21/2017 ANALYSIS OF FEE APPLICATIONS BY SAM AND CRAIG HALLUM



    2110059      MYK                                575.00             $287.50               0.5

 11/21/2017 ANALYSIS OF FEE APPLICATIONS FILED BY COUNSEL AND FINANCIAL ADVISORS TO OCC



    2110062      MYK                                575.00             $345.00               0.6

 11/21/2017 ANALYSIS OF MOTION TO UPSTREAM MONEY TO NEVADA TO PAY FEES



    2110067      MYK                                575.00             $287.50               0.5
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 11/21/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: FEES AND EXPENSES OF OTHER
            PROFESSIONALS FOR INCLUSION INTO GLOBAL FEE NOTICE

    2110166   RB                                   595.00              $238.00             0.4

 11/21/2017 TELEPHONE CONFERENCE WITH SCOTT RE: SAM FEE APP ISSUES AND REVIEW



    2110169   RB                                   595.00               $59.50             0.1

 11/21/2017 PREPARATION OF FURTHER UPDATED FEE NOTICE FOR ALL PROFESSIONALS AND NOTICE OF
            INTENT TO UPSTREAM FUNDS TO NEVADA ENTITY; CONF WITH TANIA

    2110176   RB                                   595.00              $476.00             0.8

 11/21/2017 ANALYSIS OF SAM FEE APP AND MULTIPLE RELATED EMAIL EXCHANGE



    2110178   RB                                   595.00              $119.00             0.2

 11/21/2017 ANALYSIS OF C-H FEE APP AND MULTIPLE RELATED EMAILS



    2110179   RB                                   595.00              $119.00             0.2

 11/21/2017 ANALYSIS OF BROWN RUDNICK FEE APP



    2110184   RB                                   595.00              $119.00             0.2

 11/21/2017 PREPARATION OF PLEADING AND FILE NOTICE ON FIRST INTERIM FEE APPLICATIONS



    2110903   SR                                   250.00              $125.00             0.5

 11/21/2017 PREPARATION OF PLEADING AND FILE FIRST INTERIM FEE APPLICATIONS FOR STUBBS,
            ALDERTON & MARKILES LLP AND CRAIG-HALLUM CAPITAL GROUP LLC

    2110904   SR                                   250.00              $375.00             1.5

 11/22/2017 ANALYSIS OF PROVINCE FEE APPLICATION



    2110764   KJM                                  535.00              $214.00             0.4

 11/22/2017 ANALYSIS OF BROWNE RUDNICK FEE APPLICAITON



    2110765   KJM                                  535.00              $214.00             0.4

 11/22/2017 ANALYSIS OF SCHWARTZMAN FEE APPLICATION



    2110766   KJM                                  535.00              $107.00             0.2

 11/22/2017 ANALYSIS OF DENTONS FEE APPLICATION



    2110767   KJM                                  535.00              $214.00             0.4
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 11/22/2017 ANALYSIS OF COMMUNICATIONS REGARDING FEE APPLICATIONS BY OCC PROFESSIONALS



    2110259      MYK                               575.00             $172.50                0.3

 11/22/2017 ANALYSIS OF FEE APPLICATIONS FILED BY PROFESSIONALS OF OCE AND RELATED
            DISCUSSIONS

    2110260      MYK                               575.00             $460.00                0.8

 11/22/2017 ANALYSIS OF DENTON FEE APP; CONF WITH TANIA; PREP OF MEMO TO CLIENT



    2110209      RB                                595.00             $238.00                0.4

 11/23/2017   EMAIL EXCHANGE REGARDING CRAIG-HALLUM FEE APPLICATION AND REQUEST FOR INTERIM
              PAYMENT

    2110782      KJM                               535.00              $53.50                0.1

 11/23/2017 PREPARATION OF EMAIL EXCHANGE RE: C-H REQUEST TO BE PAID FEES NOW; ANALYSIS OF
            FILE AND C-H EMPLOYMENT ORDER

    2110240      RB                                595.00              $119.00               0.2

 11/28/2017 ANALYSIS OF STIPULATION REGARDING BROWN RUDNICK FEES AND MULTIPLE
            CORRESPONDENCE RE SAME

    2111590      KJM                               535.00              $53.50                0.1

 11/28/2017 PREPARATION OF DECLARATION IN SUPPORT OF JOINDER OBJECTION TO PROVINCE'S FEE
            APPLICATION; E-FILE; PPO EXHIBITS AND SERVICE LISTS

    2111148      LC                                250.00             $250.00                1.0

 11/28/2017 ANALYSIS OF DECLARATION OF OCC COUNSEL REGARDING PROVINCE FEE APPLICATION



    2111127      MYK                               575.00              $115.00               0.2

 11/28/2017 ANALYSIS OF OPPOSITION BY OCE TO PROVINCE FEE APPLICATION, JOINDERS AND RELATED
            DISCUSSIONS AND EMAILS

    2111128      MYK                               575.00             $402.50                0.7

 11/28/2017 ANALYSIS OF OPPOSITION BY OCE TO APPLICATION TO EMPLOY SAM AS CORPORATE
            COUNSEL

    2111129      MYK                               575.00             $172.50                0.3

 11/28/2017 ANALYSIS OF STIPULATION BETWEEN OCE AND BROWN REGARDING FEE APP



    2111135      MYK                               575.00              $115.00               0.2

 11/28/2017 ANALYSIS OF CASTALDI FEE DECLARATION



    2112723      RB                                595.00              $59.50                0.1
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 11/29/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE WITH COUNSEL TO EQUITY COMMITTEE
            REGARDING STATUS OF EMPLOYMENT OF SPECIAL COUNSEL AND RELATED ISSUES

    2111621   KJM                                535.00               $53.50               0.1

 11/29/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SAM FEE APPLICATION



    2111634   KJM                                535.00               $53.50               0.1

 11/29/2017 PREPARATION OF DETAILED CORRESPONDENCE REGARDING STATUS OF PROFESSIONALS'
            FEES AND EXPENSES

    2111635   KJM                                535.00              $107.00               0.2

 11/29/2017 ANALYSIS OF DECLARATION OF CASTALDI REGARDING BROWN RUDNICK FEE APPLICATION



    2111543   MYK                                575.00               $57.50               0.1

 11/29/2017 PREPARATION OF EMAIL EXCHANGE WITH ALDERETON RE: FEE ISSUES AND REVIEW



    2112771   RB                                 595.00               $59.50               0.1

  12/1/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING RETENTION OF ACCOUNTANT



    2111968   KJM                                535.00              $107.00               0.2

  12/1/2017 PREPARATION OF APPPLICATION TO EMPLOY ACCOUNTANT; CONF WITH ACCOUNTANTS AND
            CLIENT

    2112103   KJM                                535.00            $1,551.50               2.9

  12/1/2017 ANALYSIS OF ACCOUNTANT'S ENGAGEMENT AGREEMENT AND MULTIPLE CORRESPONDENCE
            WITH ACCOUNTANTS RE TERMS OF ENGAGEMENT

    2112104   KJM                                535.00              $107.00               0.2

  12/1/2017 TELEPHONE CONFERENCE WITH SCOTT EISNER RE: SCOPE OF ACCOUNTING WORK NEEDED
            AND REQUEST FOR PROPOSAL AND OVERALL CASE REVIEW

    2114887   RB                                 595.00              $357.00               0.6

  12/1/2017 PREPARATION OF EMAIL TO MATT RE: EISNER ACCOUNTING SCOPE AND BUDGET; CONF WITH
            MATT

    2114896   RB                                 595.00              $119.00               0.2

  12/1/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: EISNER BUDGET AND EMPLYMENT APP;
            FURTHER CONF WITH MATT AND EISNER

    2114901   RB                                 595.00              $297.50               0.5

  12/1/2017 ANALYSIS OF EISNER RETENTION AGREEMENT AND EMPLOYMENT APPLICATION AND RELATED
            EMAILS

    2114912   RB                                 595.00              $178.50               0.3
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  12/1/2017 TELEPHONE CONFERENCE WITH TANIA RE: ACCOUNTANT EMPLOYMENT ISSUES AND REVIEW



    2114920   RB                                  595.00              $119.00                0.2

  12/4/2017 ANALYSIS OF CORRESPONDENCE TO G GREULICH REGARDING FEE APPLICATION STATUS AND
            APPROVAL; ANALYSIS OF PROPOSED DECLARATION IN SUPPORT OF FEE APPLICATIONS;
            CORRESPONDENCE REGARDING FEE BUDGETING ISSUES
    2113399    KJM                               535.00              $107.00            0.2

  12/4/2017 PREPARATION OF APPLICATION TO EMPLOY ACCOUNTANT



    2113489   KJM                                 535.00             $107.00                 0.2

  12/4/2017 PREPARATION OF APPLICATION FOR OST RE ACCOUNTANT'S EMPLOYMENT APPLICATION



    2113490   KJM                                 535.00             $107.00                 0.2

  12/4/2017 PREPARATION OF PROPOSED OST RE EMPLOYMENT APPLICATION HEARING



    2113491   KJM                                 535.00              $53.50                 0.1

  12/4/2017 PREPARATION OF DECLARATION IN SUPPORT OF FEE APPLICATIONS AND SERVE AND E-FILE



    2113659   LC                                  250.00             $100.00                 0.4

  12/4/2017 ANALYSIS OF EMPLOYMENT APPLICATION FOR ACCOUNTANT



    2113573   MYK                                 575.00              $115.00                0.2

  12/4/2017 ANALYSIS OF DECLARATION FOR CLIENT TO SUPPORT FEES, ALL RELATED DISCUSSIONS AND
            EMAILS

    2113575   MYK                                 575.00             $172.50                 0.3

  12/4/2017 PREPARATION OF GREULICH DECLARATION IN SUPPORT OF DEBTORS PROFESSIONALS FEE
            APPS AND RELATED EMAIL; ANALYSIS OF FEE APPS

    2114953   RB                                  595.00             $297.50                 0.5

  12/4/2017 ANALYSIS OF BPEH EMPLOYMENT APP; CONF WITH EISNER



    2114958   RB                                  595.00             $238.00                 0.4

  12/4/2017 PREPARATION OF EMAIL EXCHANGE WITH GEOFF RE: TOTAL PROFESSIONAL FEES; CONF
            WITH GEOFF RE: OVERALL CASE REVIEW AND PLANNING

    2114965   RB                                  595.00             $297.50                 0.5

  12/4/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH TANIA RE: DISPUTE OVER EMPLOYMENT
            OF ACCOUNTANT; CONF WITH TANIA

    2114984   RB                                  595.00             $178.50                 0.3
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  12/4/2017 PREPARATION OF PLEADING AND FILE APPLICATION TO EMPLOY BPE&H, APPLICATION FOR
            ORDER SHORTENING TIME, AND LODGE ORDER GRANTING APPLICATION

    2115400   SR                                  250.00              $350.00                1.4

  12/5/2017 PREPARATION OF NOTICE OF HEARING ON APPLICATION TO EMPLOY ACCOUNTANT;
            PREPARATION OF CORRESPONDENCE REGARDING FILING AND SERVICE OF SAME; ANALYSIS
            OF ORDER GRANTING APPLICATION FOR ORDER SHORTENING TIME
    2113696    KJM                                535.00             $107.00            0.2

  12/5/2017 ANALYSIS OF DECLARATION OF CASTALDI FOR HER FIRM FEE APPLICATION



    2113970   MYK                                 575.00               $57.50                0.1

  12/5/2017 ANALYSIS OF REPLY BY PROVINCE AND RELATED MATTERS



    2113971   MYK                                 575.00              $172.50                0.3

  12/5/2017 ANALYSIS OF OST ON BPEH EMPLOYMENT APP



    2115325   RB                                  595.00               $59.50                0.1

  12/5/2017 PREPARATION OF PLEADING AND FILE NOTICE OF HEARING ON APPLICATION TO EMPLOY
            BPE&H; FILE PROOF OF SERVICE RE NOTICE OF HEARING AND ORDER SHORTENING TIME

    2115409   SR                                  250.00              $300.00                1.2

  12/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING EXPANDED SCOPE OF EMPLOYMENT FOR
            ACCOUNTANT

    2114214   KJM                                 535.00               $53.50                0.1

  12/6/2017 TELEPHONE CONFERENCE WITH ACCOUNTANT REPS REGARDING SCOPE OF EMPLOYMENT
            AND ADDITIONAL ASSIGNMENT

    2114215   KJM                                 535.00               $53.50                0.1

  12/6/2017 PREPARATION OF SUPPLEMENT TO ACCOUNTANT'S EMPLOYMENT APPLICATION AND
            DECLARATION IN SUPPORT; PREPARATION OF CORRESPONDENCE RE SAME

    2114216   KJM                                 535.00              $214.00                0.4

  12/6/2017 ANALYSIS OF CORRESPONDENCE REGARDING EXPANDED SCOPE OF RETENTION OF
            ACCOUNTANT AND ISSUES RE SAME

    2114254   KJM                                 535.00               $53.50                0.1

  12/6/2017 ANALYSIS OF OCE EMPLOYMENT OF SPECIAL LITIGATION COUNSEL, DECLARATIONS OF
            JARUS FOR EXISTING PROFESSIONALS, AND RELATED EMAILS

    2114330   MYK                                 575.00              $172.50                0.3

  12/6/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: BPEH EMPLOYMENT ISSUES AND REVIEW



    2115521   RB                                  595.00              $119.00                0.2
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  12/6/2017 ANALYSIS OF JARUS DECLARATION IN SUPPORT OF DENTON FEE APP



    2115529   RB                                  595.00                 $59.50            0.1

  12/6/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: ACCOUNTANT EMPLOYMENT ISSUES; CONF
            WITH TANIA

    2115677   RB                                  595.00             $178.50               0.3

  12/6/2017 ANALYSIS OF SUPPLEMENT TO BPEH EMPLOYMENT APP AND RELATED EMAILS



    2115679   RB                                  595.00             $119.00               0.2

  12/6/2017 ANALYSIS OF ORDER APPROVING BROWN RUDNICK EMPLOYMENT APP



    2115686   RB                                  595.00                 $59.50            0.1

  12/7/2017 TELEPHONE CONFERENCE WITH ACCOUNTANTS REGARDING TERMS OF EMPLOYMENT



    2114491   KJM                                 535.00             $214.00               0.4

  12/7/2017 PREPARATION OF AMENDMENT TO APPLICATION TO EMPLOY ACCOUNTANT



    2114492   KJM                                 535.00             $267.50               0.5

  12/7/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING RETENTION OF ACCOUNTANT AND
            PREPARATION OF CORRESPONDENCE RE SAME

    2114493   KJM                                 535.00             $107.00               0.2

  12/7/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: EMPLOYMENT OF ACCONTANT AND
            RESOLUTION OF DISPUTE WITH UCEH; CONF WITH CLENT AND BPEH ACCOUNTANTS SCOTT
            AND MARTIN
    2115689   RB                                  595.00             $416.50               0.7

  12/7/2017 ANALYSIS OF SUPPLEMENT TO BPEH EMPLOYMENT APP AND MULTIPLE RELATED EMAILS



    2115708   RB                                  595.00             $119.00               0.2

  12/8/2017 PREPARATION OF AMENDMENT TO APPLICATION TO EMPLOY ACCOUNTANT; PREPARATION OF
            MULTIPLE CORRESPONDENCE RE SAME

    2114732   KJM                                 535.00             $107.00               0.2

  12/8/2017 PREPARATION OF AMENDMENT TO ACCOUNTANT'S EMPLOYMENT APP; E-FILE; PPO SERVICE
            LISTS

    2115029   LC                                  250.00             $125.00               0.5

  12/8/2017 ANALYSIS OF SUPPLEMENTAL TO APPLICATION TO EMPLOY CPA



    2114862   MYK                                 575.00                 $57.50            0.1
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 12/11/2017 ANALYSIS OF ENTERED ORDER EMPLOYING SCHWARZMANN



    2115401      MYK                               575.00               $57.50              0.1

 12/11/2017 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: NOVEMBER FEES FOR MOR; CONF WITH
            MATT; PREP OF RELATED EMAIL EXCHANGE

    2116498      RB                                595.00              $119.00              0.2

 12/11/2017 ANALYSIS OF SCHARZMANN EMPLOYMENT ORDER



    2116500      RB                                595.00               $59.50              0.1

 12/12/2017   PREPARATION FOR AND APPEARANCE AT HEARINGS ON FEE APPLICATIONS, MOTION TO
              CONFER STANDING, AND APPLICATION TO EMPLOY ACCOUNTANT

    2115829      KJM                               535.00            $2,942.50              5.5

 12/12/2017 ANALYSIS OF PROPOSED FEE ORDER AND CORRESPONDENCE RE SAME



    2115850      KJM                               535.00               $53.50              0.1

 12/12/2017 APPEARANCE AT HEARING ON MULTIPLE FEE APPLICATIONS; ANALYSIS OF FILE IN PREP FOR
            HEARING

    2116550      RB                                595.00            $1,725.50              2.9

 12/12/2017 PREPARATION OF INTERIM FEE ORDER FOR ALL PROFESSIONALS AND RELATED EMAIL TO
            PROFESSIONALS

    2116560      RB                                595.00              $297.50              0.5

 12/13/2017 PREPARATION OF PROPOSED ORDER ON APPLICATION TO EMPLOY ACCOUNTANT



    2115855      KJM                               535.00              $107.00              0.2

 12/13/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING FEE ORDER AND REVISIONS TO
            SAME

    2115858      KJM                               535.00               $53.50              0.1

 12/13/2017 PREPARATION OF ORDER RE PROFESSIONALS FEE APPLICATIONS AND NOTICE OF
            LODGMENT; E-FILE/UPLOAD; ANALYSIS OF COURT DOCKET

    2116017      LC                                250.00              $200.00              0.8

 12/13/2017 ANALYSIS OF ENTERED FEE APPLICATION ORDERS



    2116211      MYK                               575.00              $115.00              0.2

 12/13/2017 PREPARATION OF EMAIL EXCHANGE WITH SCOTT RE: BPEH EMPLOYMENT AND PRELIMINARY
            TAX ANALYSIS FROM BBI SALE; CONF WITH SCOTT AND MARTIN

    2116586      RB                                595.00              $238.00              0.4
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 12/13/2017 PREPARATION OF FURTHER REVISED FEE ORDER AND RELATED EMAIL EXCHANGE; CONF
            WITH TANIA

    2116587   RB                                  595.00             $238.00               0.4

 12/14/2017 ANALYSIS OF CORRESPONDENCE REGARDING EQUITY COMMITTEE FA FEE PAYMENT



    2116382   KJM                                 535.00              $53.50               0.1

 12/14/2017 ANALYSIS OF BPEH EMPLOYMENT ORDER; PREP OF RELATED EMAIL EXCHANGE



    2116630   RB                                  595.00              $59.50               0.1

 12/18/2017 ANALYSIS OF SOLOMON FEE ESTIMATES FOR PLAN



    2119044   RB                                  595.00              $59.50               0.1

 12/18/2017 ANALYSIS OF CASTALDI EMAIL RE: FEES PROJECTED FOR PLAN



    2119046   RB                                  595.00              $59.50               0.1

 12/19/2017 ANALYSIS OF CORRESPONDENCE REGARDING PAYMENT OF RETAINER TO ACCOUNTANT



    2117553   KJM                                 535.00              $53.50               0.1

 12/19/2017 ANALYSIS OF APPLICATION TO EMPLOY LITIGATION COUNSEL



    2117562   KJM                                 535.00             $107.00               0.2

 12/19/2017 ANALYSIS OF APPLICATION TO EMPLOY SOLOMON & CRANE



    2118023   MYK                                 575.00              $57.50               0.1

 12/19/2017 ANALYSIS OF SCHARTZMAN FEE ESTIMATE FOR MOR AND PLAN



    2119057   RB                                  595.00              $59.50               0.1

 12/19/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: DENTON FEE ESTIMATE; CONF WITH
            TANIA

    2119058   RB                                  595.00              $59.50               0.1

 12/19/2017 ANALYSIS OF SCHWARZMAN FEE ESTIMATE FOR MOR AND PLAN



    2119076   RB                                  595.00              $59.50               0.1

 12/19/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: DENTON FEE ESTIMATE; CONF WITH
            TANIA

    2119077   RB                                  595.00              $59.50               0.1
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 12/19/2017 ANALYSIS OF SOLOMON & CRAMER EMPLOYMENT APP



    2119089   RB                                   595.00                $59.50             0.1

 12/20/2017 ANALYSIS OF STIPULATION BETWEEN OCE AND PROVINCE



    2118004   MYK                                  575.00                $57.50             0.1

 12/21/2017 ANALYSIS OF BPEH INVOICE; PREP OF RELATED EMAIL EXCHANGE



    2119132   RB                                   595.00                $59.50             0.1

 12/24/2017 ANALYSIS OF CORRESPONDENCE TO PROFESSIONALS REGARDING ESTIMATED FEES



    2119266   KJM                                  535.00                $53.50             0.1

 12/28/2017 ANALYSIS OF CORRESPONDENCE REGARDING PROVINCE FEE PAYMENT



    2119319   KJM                                  535.00                $53.50             0.1

 12/28/2017 ANALYSIS OF NOTICE REGARDING ALLOWANCE FOR SKADDEN



    2119707   MYK                                  575.00                $57.50             0.1

 12/28/2017 ANALYSIS OF STIPULATION REGARDING SAM FEE APPLICATION



    2119708   MYK                                  575.00                $57.50             0.1

  1/19/2018 ANALYSIS OF ORDER ENTERED ON EMPLOYMENT OF SOLOMON



    2124070   MYK                                  580.00                $58.00             0.1

  1/19/2018 ANALYSIS OF SOLOMON EMPLOYMENT ORDER



    2129407   RB                                   595.00                $59.50             0.1

   2/8/2018 PREPARATION OF EMAIL EXCHANGE RE: PROFESSIONAL FEES; CONF WITH MATT



    2136510   RB                                   595.00                $119.00            0.2

   2/9/2018 ANALYSIS OF CORRESPONDENCE REGARDING ACCOUNTANT'S FEES; PREPARATION OF
            RESPONSE THERETO

    2131008   KJM                                  565.00                $56.50             0.1

   2/9/2018 ANALYSIS OF BPEH INVOICE AND RELATED EMAIL; CONF WITH MATT



    2136519   RB                                   595.00                $119.00            0.2
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  2/18/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: FINAL FEE APP ISSUES AND REVIEW;
            ANALYSIS OF FILE

    2137133   RB                                   595.00              $178.50               0.3

  2/18/2018 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN POST PETITION FEE ISSUES; CONF WITH
            TANIA; ANALYSIS OF PRIOR CLAIM SETTLEMENT AGREEMENT; CONF WITH VAN

    2137134   RB                                   595.00              $416.50               0.7

  2/19/2018 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING FINAL FEE APPLICATION ISSUES AND
            CASE STATUS

    2134898   KJM                                  565.00              $113.00               0.2

  2/19/2018 ANALYSIS OF CORRESPONDENCE REGARDING SKADDEN FEES AND ISSUES RE SAME



    2134904   KJM                                  565.00               $56.50               0.1

  2/19/2018 TELEPHONE CONFERENCE WITH TANIA AND VAN RE: SKADDEN FEE CLAIM; PREP OF RELATED
            EMAIL EXCHANGE

    2137140   RB                                   595.00              $178.50               0.3

  2/20/2018 TELEPHONE CONFERENCE WITH TANIA RE: FINAL FEE APP ISSUES AND REVIEW



    2137151   RB                                   595.00               $59.50               0.1

  2/23/2018 PREPARATION OF EMAIL EXCHANGE RE: FEES AND SKADDEN FEES ISSUES; CONF WITH TANIA



    2137505   RB                                   595.00              $119.00               0.2

  2/24/2018 PREPARATION OF LNBYB FINAL FEE APPLICATION; ANALYSIS OF FILE FOR PREP OF SAME



    2137905   RB                                   595.00            $1,963.50               3.3

  2/24/2018 PREPARATION OF LNBYB FINAL FEE APPLICATION; ANALYSIS OF FILE TO COMPLETE SAME



    2137906   RB                                   595.00            $1,725.50               2.9

  2/24/2018 PREPARATION OF NOTICE OF FINAL FEE APPLICATIONS AND HEARING FOR ALL
            PROFESSIONALS

    2137907   RB                                   595.00              $416.50               0.7

  2/26/2018 ANALYSIS OF SKADDEN FEE STIPULATION AND CORRESPONDENCE RE SAME



    2135004   KJM                                  565.00               $56.50               0.1

  2/26/2018 RESEARCH REGARDING CASELAW REGARDING REQUIREMENTS OF EMPLOYMENT FOR
            SEEKING FEE ORDERS; PREPARATION OF CORRESPONDENCE/MEMO RE SAME

    2135073   KJM                                  565.00              $339.00               0.6
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  2/26/2018 PREPARATION OF SKADDEN POST-PETITION FEE STIPLULATION AND RELATED EMAIL
             EXCHANGE; ANALYSIS OF FILE; CONF WITH TANIA AND VAN; ANALYSIS OF SAM'S REVISIONSL
             CONF WITH CLIENT
     2137528    RB                                   595.00            $1,547.00              2.6

  2/26/2018 PREPARATION OF EMAIL EXCHANGE WITH OCEH PROFESSIONALS RE: FINAL FEE HEARING
            AND DEADLINES

    2137529    RB                                   595.00                $59.50              0.1

  2/26/2018 RESEARCH REGARDING WHETHER PROFESSIONAL CAN BE COMPENSATED IN 9TH CIRCUIT
            WITHOUT EVER BEING EMPLOYED; ANALYSIS OF CASES; PREP OF RELATED EMAIL EXCHANGE

    2137556    RB                                   595.00             $1,428.00              2.4

  2/27/2018 ANALYSIS OF CORRESPONDENCE REGARDING SKADDEN FEE PAYMENT ISSUES



    2135074    KJM                                  565.00                $56.50              0.1

  2/27/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SKADDEN FEE DISPUTE AND POSSIBLE
            RESOLUTIONS; CONF WITH TANIA AND MATT

    2137835    RB                                   595.00               $238.00              0.4

  2/27/2018 PREPARATION OF FURTHER EMAIL EXCHANGE RE: SKADDEN FEE ISSUES AND POSSIBLE
            RESOLUTION; CONF WITH VAN

    2137871    RB                                   595.00               $238.00              0.4

  2/28/2018 PREPARATION OF APPLICATION TO EMPLOY SKADDEN AND DECLARATION IN SUPPORT;
            NOTICE OF HEARING RE SAME; ANALYSIS OF FILE AND MULTIPLE RELATED
            CORRESPONDENCE
    2135122    KJM                                  565.00             $1,638.50              2.9

  2/28/2018 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SKADDEN EMPLOYMENT
            APPLICATION; PREPARATION OF MULTIPLE RESPONSIVE CORRESPONDENCE RE SAE

    2135146    KJM                                  565.00               $169.50              0.3

 02/28/2018 ANALYSIS OF APPLICATION TO EMPLOY SKADDEN, NOTICE, ERRATA AND RELATED PAPERS



    2133546    MYK                                  580.00               $116.00              0.2

  2/28/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SKADDEN FEE ISSUES AND REVIEW OF
            POSSIBLE RESOLUTIONS

    2137891    RB                                   595.00               $178.50              0.3

  2/28/2018 ANALYSIS OF SKADDEN EMPLOYMENT APP AND PREP OF MULTIPLE RELATED EMAIL
            EXCHANGE

    2137895    RB                                   595.00               $238.00              0.4

  2/28/2018 PREPARATION OF PLEADING FILE APPLICATION TO EMPLOY SKADDEN, NOTICE OF
            APPLICATION, AND ERRATA TO APPLICATION

    2136638    SR                                   250.00               $300.00              1.2
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   3/9/2018 PREPARATION OF EMAIL EXCHANGE WITH MATT RE: FEES AND BUDGET ISSUES AND REVIEW;
            ANALYSIS OF FILE

    2141989      RB                                595.00              $119.00                 0.2

  3/20/2018 ANALYSIS OF CORRESPONDENCE REGARDING FEE APPLICATIONS



    2142557      KJM                               565.00               $56.50                 0.1

  3/27/2018 PREPARATION OF CORRESPONDENCE REGARDING SAM FINAL FEE APPLICATION; ANALYSIS
            OF RESPONSE THERETO

    2141077      KJM                               565.00               $56.50                 0.1

  3/29/2018 ANALYSIS OF BROWN RUDNICK FEE FIGURES FOR FINAL FEE NOTICE AND RELATED EMAILS



    2142321      RB                                595.00               $59.50                 0.1

   4/2/2018 PREPARATION OF SAM FINAL FEE APPLICATION; ANALYSIS OF TIME ENTRIES AND
            COMMUNICATE WITH SAM

    2143438      KJM                               565.00             $1,130.00                2.0

   4/2/2018 PREPARATION OF FINAL FEE APPLICATION FOR SAM FIRM; ANALYSIS OF TIME ENTRIES AND
            COMMUNICATE WITH SAM

    2143440      KJM                               565.00              $847.50                 1.5

   4/3/2018 PREPARATION OF NOTICE OF FINAL FEE APPLICATIONS AND LNBYB FINAL FEE APPLICATION;
            PPO EXHIBITS AND SERVICE LISTS

    2143936      LC                                250.00              $750.00                 3.0

   4/3/2018 PREPARATION OF FINAL FEE NOTICE FOR ALL PROFESSIONALS AND MULTIPLE RELATED EMAIL
            EXCHANGE; CONF WITH TANIA

    2143442      RB                                595.00              $714.00                 1.2

   4/3/2018 PREPARATION OF FINAL FEE APPLICATION FOR LNBYB AND DECLARATION FOR TRUSTEE OF
            TRUST

    2143445      RB                                595.00             $1,071.00                1.8

   5/1/2018 APPEARANCE AT HEARING ON FINAL APPLICATIONS FOR ALL PROFESSIONALS AND
            PREPARATION OF FINAL FEE ORDER FOR ALL PROFESSIONALS

    2143444      RB                                595.00             $1,785.00                3.0

                                               Total               $42,706.50              81.8
     08   -   FEE / EMPLOYMENT OBJECTIONS

 11/21/2017 TELEPHONE CONFERENCE WITH BEN RE: SKADDEN FEES DISPUTE; PREP OF RELATED EMAIL
            EXCHANGE

    2110172      RB                                595.00              $178.50                 0.3
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 11/22/2017 ANALYSIS OF CORRESPONDENCE REGARDING PROVINCE FEE APPLICATION



    2110763   KJM                                  535.00               $53.50              0.1

 11/22/2017 ANALYSIS OF PROVINCE FEE APPLICATION; PREP OF MULTIPLE RELATED EMAIL EXCHANGE
            WITH CLIENT AND TANIA RE: PREP OF OBJECTION

    2110197   RB                                   595.00              $238.00              0.4

 11/26/2017 ANALYSIS OF PROVINCE BILLINGS; PREP OF EMAIL EXCHANGE WITH TANIA; CONF WITH TANIA
            RE: OBJECTION ISSUES AND PLANNING

    2110296   RB                                   595.00              $476.00              0.8

 11/26/2017 ANALYSIS OF EQUITY COMMITTEE OBJECTION TO PROVINCE FEE APPLICATION; PREP OF
            MEMO TO CLIENT

    2110302   RB                                   595.00              $297.50              0.5

 11/27/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING PROVINCE FEE APPLICATION AND
            ISSUES RE SAME

    2110484   KJM                                  535.00               $53.50              0.1

 11/27/2017 ANALYSIS OF OPPOSITION TO PROVINCE FEE APPLICATION AND MULTIPLE
            CORRESPONDENCE AND REVISIONS RE SAME

    2110690   KJM                                  535.00              $107.00              0.2

 11/27/2017 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO EQUITY COMMITTEE TO COUNSEL TO
            CREDITOR COMMITTEE RE OBJECTION TO BROWNE RUDNICK FEE APPLICATION

    2110696   KJM                                  535.00               $53.50              0.1

 11/27/2017 PREPARATION OF OPPOSITION TO PROVINCE FEE APPLICATION; ANALYSIS OF PROVINCE FEE
            APPLICATION; CONF WITH TANIA

    2112675   RB                                   595.00            $1,249.50              2.1

 11/27/2017 PREPARATION OF EMALI EXCHANGE RE: COMMITTEE COUNSEL FEE APP; CONF WITH TANIA



    2112678   RB                                   595.00              $178.50              0.3

 11/27/2017 ANALYSIS OF GEOFF EMAIL RE: PROVINCE FEE APP OBJECTION; PREP OF RESPONSE



    2112679   RB                                   595.00               $59.50              0.1

 11/27/2017 PREPARATION OF FURTHER REVISED OBJECTION TO PROVINCE FEE APP AND RELATED EMAIL
            EXCHANGE

    2112700   RB                                   595.00              $476.00              0.8

 11/27/2017 PREPARATION OF EMAIL EXCHANGE RE: BROWN RUDNICK AGREEMENT TO FEE REDUCTION
            AND CONF WITH TANIA RE: SAME

    2112701   RB                                   595.00              $119.00              0.2
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 11/27/2017 ANALYSIS OF FURTHER REVISED PROVINCE FEE OBJECTION FROM TANIA AND RELATED
            EXHIBITS

    2112702   RB                                   595.00              $416.50               0.7

 11/28/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE AND DOCUMENTS IN CONNECTION WITH
            OBJECTION TO PROVINCE FEE APPLICATION

    2110800   KJM                                  535.00              $107.00               0.2

 11/28/2017 ANALYSIS OF OBJECTION TO STUBBS FEE APP



    2110809   KJM                                  535.00               $53.50               0.1

 11/28/2017 ANALYSIS OF DECLARATION IN SUPPORT OF PROVINCE FEE OBJECTION AND EXHIBITS IN
            SUPPORT; ANALYSIS OF MULTIPLE CORRESPONDENCE RE SAME

    2110812   KJM                                  535.00              $107.00               0.2

 11/28/2017 PREPARATION OF DECLARATION IN SUPPORT OF PROVINCE FEE OBJECTION



    2110826   KJM                                  535.00              $160.50               0.3

 11/28/2017 PREPARATION OF PROVINCE FEE OBJECTION AND MULTIPLE RELATED EMAIL EXCHANGE;
            CONF WITH TANIA

    2112707   RB                                   595.00            $1,071.00               1.8

 11/28/2017 ANALYSIS OF COURT TRANSCRIPT OF PROVINCE EMPLOYMENT APP FOR INCLUSION IN
            PROVINCE FEE OBJECTION; PREP OF QUOTES

    2112708   RB                                   595.00              $297.50               0.5

 11/28/2017 ANALYSIS OF OCEH OBJECTION TO SAM FEE APP; PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH TANIA

    2112717   RB                                   595.00              $119.00               0.2

 11/28/2017 PREPARATION OF RB DECLARATION IN SUPPORT OF PROVINCE FEE OBJECTION; ANALYSIS OF
            TRANSCRIPT FROM PROVINCE EMPLOYMENT HEARING; PREP OF RELATED EMAIL EXCHANGE;
            ANALYSIS OF MULTIPLE EXHIBITS
    2112726    RB                                 595.00             $714.00              1.2

 11/28/2017 ANALYSIS OF BROWN RUDNICK FEE REDUCTION STIP; PREP OF RELATED EMAIL EXCHANGE;
            CONF WITH TANIA

    2112729   RB                                   595.00              $178.50               0.3

 11/28/2017 ANALYSIS OF FINAL VERSION OF PROVINCE FEE OBJECTION; CONF WITH TANIA; PREP OF
            RELATED EMAIL EXCHANGE

    2112735   RB                                   595.00              $119.00               0.2

 11/29/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: SKADDEN EMPLOYMENT DISPUTE



    2112756   RB                                   595.00               $59.50               0.1
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 11/29/2017 PREPARATION OF EMAIL EXCHANGE WITH SAM RE: OCEH FEE OBJECTION AND POSSIBLE
            RESPONSE

    2112766   RB                                   595.00              $59.50               0.1

 11/30/2017 ANALYSIS OF CORRESPONDENCE REGARDING SAM FEE OBJECTION AND ISSUES RE SAME



    2111662   KJM                                  535.00              $53.50               0.1

 11/30/2017 ANALYSIS OF OCEH OBJECTION TO SAM FEE APP; PREP OF RELATED EMAIL EXCHANGE WITH
            SAM

    2112780   RB                                   595.00             $119.00               0.2

  12/1/2017 ANALYSIS OF NOTICE OF ERRATA RE OBJECTION TO PROVINCE FEE APPLICATION



    2112160   KJM                                  535.00              $53.50               0.1

  12/1/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: PROVINCE FEE DISPUTE; CONF WTIH
            TANIA

    2114895   RB                                   595.00             $178.50               0.3

  12/1/2017 ANALYSIS OF RSN FROM SUSAN SEFLINE AS COUNSEL TO PROVINCE; CONF WITH TANIA



    2114897   RB                                   595.00             $119.00               0.2

  12/5/2017 ANALYSIS OF PROVINCE REPLY TO FEE OBJECTIONS AND CASTALDI DECLARATION IN
            SUPPORT

    2114101   KJM                                  535.00             $107.00               0.2

  12/5/2017 ANALYSIS OF PROVINCE REPLY TO FEE APP OBJECTION AND CASTALDI DECLARATION



    2115341   RB                                   595.00             $178.50               0.3

 12/12/2017 APPEARANCE AT HEARING ON OBJECTION TO PROVINCE FEE APPLICATION; ANALYSIS OF FILE
             IN PREP FOR HEARING; CONF WITH TANIA AFTER HEARING TO PLAN FOR POSSIBLE
             SETTLEMENT; CONF WITH CLIENT
     2116554     RB                                  595.00           $1,428.00            2.4

 12/13/2017 TELEPHONE CONFERENCE WITH TANIA RE: PROVINCE FEE DISPUTE SETTLEMENT
            DISCUSSIONS

    2116590   RB                                   595.00              $59.50               0.1

 12/18/2017 ANALYSIS OF PROVINCE BILLING SUMMARIES FOR COURT; CONF WITH TANIA



    2119050   RB                                   595.00             $119.00               0.2

 12/19/2017 TELEPHONE CONFERENCE WITH TANIA RE: POSSIBLE RESOLUTION OF PROVINCE FEE
            DISPUTE

    2119081   RB                                   595.00             $119.00               0.2
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 12/20/2017 ANALYSIS OF PROPOSED STIPULATION RESOLVING PROVINCE CLAIM OBJECTION AND
            CORRESPONDENCE RE SAME

    2117598   KJM                                 535.00             $107.00                0.2

 12/20/2017 ANALYSIS OF PROPOSED ORDER ON PROVINCE FEE STIPULATION; EMAIL EXCHANGE RE
            SAME

    2117716   KJM                                 535.00              $53.50                0.1

 12/20/2017 TELEPHONE CONFERENCE WITH TANIA AND SUSIE RE: PROVINCE FEE REDUCTION
            NEGOTIATIONS; PREP OF RELATED EMAIL EXCHANGE

    2119107   RB                                  595.00             $238.00                0.4

 12/20/2017 ANALYSIS OF STIPULATION RESOLVING PROVINCE FEE DISPUTE; PREP OF CHANGES; CONF
            WITH TANIA; ANALYSIS OF MULTIPLE FURTHER EMAIL EXCHANGE

    2119108   RB                                  595.00             $476.00                0.8

 12/20/2017 TELEPHONE CONFERENCE WITH TANIA RE: SKADDEN FEE DISPUTE ISSUES AND REVIEW



    2119118   RB                                  595.00             $178.50                0.3

 12/21/2017 ANALYSIS OF REVISIONS TO ORDER APPROVING PROVINCE FEE STIPULATION AND
            CORRESPONDENCE RE SAME

    2117749   KJM                                 535.00              $53.50                0.1

 12/21/2017 PREPARATION OF CHANGES TO PROVINCE FEE ORDER AND RELATED EMAIL EXCHANGE



    2119120   RB                                  595.00              $59.50                0.1

 12/21/2017 TELEPHONE CONFERENCE WITH TANIA RE: SKADDEN FEE DISPUTE; PREP OF RELATED EMAIL
            EXCHANGE

    2119125   RB                                  595.00              $119.00               0.2

 12/22/2017 ANALYSIS OF ENTERED ORDER ON PROVINCE FEE STIPULATION; PREPARATION OF
            CORRESPONDENCE RE SAME

    2117995   KJM                                 535.00              $53.50                0.1

 12/22/2017 PREPARATION OF EMAIL EXCHANGE RE: SKADDEN FEE DISPUTE



    2119156   RB                                  595.00              $59.50                0.1

   3/2/2018 ANALYSIS OF EMAILS RE: SKADDEN PAYMENT DISPUTE



    2141958   RB                                  595.00              $59.50                0.1

   3/3/2018 ANALYSIS OF EMAILS RE: SKADDEN EMPLOYMENT DISPUTE; CONF WITH TANIA



    2141964   RB                                  595.00              $119.00               0.2
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  3/14/2018 TELEPHONE CONFERENCE WITH TANIA RE: SKADDEN FEE ISSUES AND REVIEW



    2142056      RB                               595.00              $119.00              0.2

  3/15/2018 ANALYSIS OF OBJECTION TO SKADDEN EMPLOYMENT APP BY CORDES AND AISENBERG



    2142064      RB                               595.00              $119.00              0.2

                                              Total               $11,351.50              19.3
     09   -   FINANCING

 11/21/2017 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: RADIANS PAY OFF AT CLOSING; PROVIDE
            TANIA WITH RADIANS PAY OFF DEMAND AND SALE ORDER

    2110167      RB                               595.00              $119.00              0.2

                                              Total                  $119.00               0.2
     10   -   RELIEF FROM STAY

 11/22/2017 PREPARATION OF SCHEDULING ORDER ON STAY RELIEF MOTION



    2110772      KJM                              535.00              $160.50              0.3

 11/22/2017 ANALYSIS OF CORDES AND AISENBERG SCHEDULED ORDER AND RELATED EMAILS



    2110202      RB                               595.00               $59.50              0.1

 11/25/2017 ANALYSIS OF BECK COMMENTS TO RELIEF FROM STAY SCHEDULING ORDER AND RELATED
            ISSUES; ANALYSIS OF RELATED CORRESPONDENCE

    2110788      KJM                              535.00               $53.50              0.1

 11/25/2017 ANALYSIS OF CORDES AND AISENBERG CHANGES TO RFS ORDER AND RELATED EMAILS AND
            TANIA RESPONSES

    2110284      RB                               595.00              $119.00              0.2

 11/29/2017 ANALYSIS OF RELIEF FROM STAY SCHEDULING ORDER AND CORRESPONDENCE RE SAME;
            PREPARATION OF CORRESPONDENCE IN RESPONSE THERETO

    2111638      KJM                              535.00               $53.50              0.1

 11/29/2017 ANALYSIS OF CORDES AND AISENBERG RFS ORDER REVISED FROM TANIA AND RELATED
            EMAILS

    2112767      RB                               595.00               $59.50              0.1

 11/30/2017 ANALYSIS OF EMAIL EXCHANGE BETWEEN COUNSEL TO EQUITY COMMITTEE AND COUNSEL
            TO FORMER OFFICERS REGARDING STAY RELIEF ISSUES AND D&O INSURANCE POLICY
            ISSUES
    2111668      KJM                              535.00               $53.50              0.1
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  12/6/2017 PREPARATION OF STIPULATION REGARDING D&O POLICY AND FORMER DIRECTORS' CLAIMS
            RE SAME; ANALYSIS OF FILE

    2114224      KJM                               535.00             $374.50               0.7

  12/7/2017 ANALYSIS OF PROPOSED ORDER ON D&O STIPULATON WITH CORDES AND AISENBERG;
            PREPARATION OF CORRESPONDENCE RE STIPULATION

    2114523      KJM                               535.00             $107.00               0.2

  12/7/2017 ANALYSIS OF ORDER ON RELIEF FROM STAY MOTION FOR SHAREHOLDERS, AND STIPULATION
            AND RELATED EMAILS

    2114562      MYK                               575.00              $115.00              0.2

  1/26/2018 ANALYSIS OF SUPPLEMENT TO OPPOSITION TO CORDES AND AISENBERG STAY RELIEF
            MOTION

    2125694      KJM                               565.00              $113.00              0.2

  1/26/2018 ANALYSIS OF SUPPLEMENT TO OPPOSITION TO CORDES AND AISENBERG RFS MOTION AND
            RELATED EMAILS; CONF WITH TANIA

    2130111      RB                                595.00             $178.50               0.3

  2/14/2018   EMAIL EXCHANGE WITH ANDREW SOLOMON REGARDING STAY RELIEF MOTION; ANALYSIS OF
              DRAFT NOTICE OF WITHDRAWAL OF OPPOSITION

    2130596      KJM                               565.00              $113.00              0.2

  2/14/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: CORDES AISENBERG RELIEF FROM STAY
            MOTION AND OCEH REQUEST FOR DEBTOR TO WITHDRAW OBJECTION; CONF WITH TANIA

    2137100      RB                                595.00             $178.50               0.3

  2/15/2018 PREPARATION OF NOTICE OF WITHDRAWAL OF OPPOSITION TO RELIEF FROM STAY MOTION;
            EMAIL EXCHANGE RE SAME

    2130989      KJM                               565.00              $113.00              0.2

  2/15/2018 ANALYSIS OF FURTHER REVISED WITHDRAWAL OF RFS OPPOSITION AND RELATED EMAILS
            AND DOCS

    2137111      RB                                595.00             $178.50               0.3

  2/19/2018 ANALYSIS OF REVISED RFS STIP WITH CORDES AISENBERG AND MULTIPLE RELATED EMAIL
            EXCHANGE

    2137136      RB                                595.00             $178.50               0.3

  2/20/2018 PREPARATION OF NOTICE OF WITHDRAWAL OF OPPOSITION TO RFS MOTION



    2131552      KJM                               565.00              $113.00              0.2

  2/20/2018 ANALYSIS OF WITHDRAWAL OF OBJECTION TO CORDES AISENBERG RFS MOTION AND
            RELATED EMAILS

    2137146      RB                                595.00              $119.00              0.2
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  2/21/2018 ANALYSIS OF CORRESPONDENCE REGARDING WITHDRAWAL OF OPPOSITION TO RFS MOTION



    2131930      KJM                               565.00              $56.50                0.1

  2/21/2018 ANALYSIS OF CORDES/AISENBERG WITHDRAWAL OF RELIEF FROM STAY MOTION



    2132006      KJM                               565.00             $169.50                0.3

  2/21/2018 ANALYSIS OF FURTHER EMAIL EXCHANGE RE: WITHDRAWAL OF OBJECTION TO CORDES
            AISENBERG RFS MTN

    2137212      RB                                595.00              $59.50                0.1

  2/21/2018 ANALYSIS OF CORDES AISENBERG PARTIAL WITHDRAWAL OF RFS MOTION AND RELATED
            DOCS

    2137231      RB                                595.00             $178.50                0.3

  2/23/2018 ANALYSIS OF CORRESPONDENCE REGARDING AMENDED STAY RELIEF STIPULATION WITH
            FORMER OFFICERS

    2134983      KJM                               565.00              $56.50                0.1

  2/23/2018 ANALYSIS OF MULTIPLE EMAILS RE: CORDES AISENBERG STIP ISSUES AND REVIEW



    2137496      RB                                595.00              $59.50                0.1

  2/24/2018 ANALYSIS OF DRAFT RESPONSE RE ARBITRATION ISSUES AND CORRESPONDENCE RE SAME



    2134993      KJM                               565.00              $113.00               0.2

  2/24/2018 ANALYSIS OF RESPONSE TO CORDES AISENBERG PARTIAL WITHDRAWAL AND RELATED
            EMAILS

    2137515      RB                                595.00              $59.50                0.1

  2/26/2018   EMAIL EXCHANGE WITH S BECK REGARDING RELIEF FROM STAY MOTION



    2135011      KJM                               565.00              $56.50                0.1

  2/26/2018 ANALYSIS OF STATEMENT OF RESPONSE TO FORMER OFFICERS RE STAY RELIEF AND
            ARBITRATION

    2135016      KJM                               565.00              $56.50                0.1

  2/26/2018   EMAIL EXCHANGE WITH COUNSEL TO EQUITY COMMITTEE REGARDING AMENDED RELIEF
              FROM STAY STIPULATION WITH FORMER OFFICERS

    2135042      KJM                               565.00              $56.50                0.1

  2/26/2018 ANALYSIS OF RELIEF FROM STAY PLEADINGS FILE IN PREPARATION FOR HEARING ON STAY
            RELIEF MOTION

    2135052      KJM                               565.00             $169.50                0.3
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  2/26/2018 PREPARATION OF EMAIL EXCHANGE RE: CORDES AISENBERG RFS DISPUTE



    2137531      RB                                  595.00              $59.50                 0.1

  2/26/2018 ANALYSIS OF OCEH STATEMENT ON CORDES AISENBERG RSF ISSUESS



    2137534      RB                                  595.00              $59.50                 0.1

  2/27/2018    PREPARE FOR AND APPEAR AT HEARING ON RELIEF FROM STAY MOTION; ANALYSIS OF FILE



    2133251      KJM                                 565.00            $1,412.50                2.5

  2/27/2018 PREPARATION OF AMENDED JOINT STIPULATION WITH CORDES/AISENBERG RE INSURANCE
            PROCEEDS; PREPARATION OF CORRESPONDENCE RE SAME

    2133254      KJM                                 565.00              $113.00                0.2

  2/27/2018 ANALYSIS OF CORDES AISENBERG REVISED STIP AND RELATED EMAILS



    2137852      RB                                  595.00              $59.50                 0.1

  2/28/2018    EMAIL EXCHANGE REGARDING STIPULATION WITH FORMER OFFICERS



    2135135      KJM                                 565.00              $56.50                 0.1

  2/28/2018 ANALYSIS OF CORDES AISENBERG STIP AND RELATED EMAILS



    2137892      RB                                  595.00              $59.50                 0.1

   3/2/2018 ANALYSIS OF DRAFT MEDIATION ORDER RE CLAIMS AGAINST FORMER OFFICERS



    2136086      KJM                                 565.00              $56.50                 0.1

                                                 Total                $5,408.50              9.5
     11   -   MEETINGS OF CREDITORS

 12/23/2017 PREPARATION OF DRAFT EMAIL TO UST RE: DISBANDING CREDITORS COMMITTEE; ANALYSIS
            OF FILE

    2119193      RB                                  595.00             $178.50                 0.3

  1/19/2018 ANALYSIS OF ROSS EMAIL RE: OCC ISSUES; CONF WITH TANIA



    2129412      RB                                  595.00              $119.00                0.2

  1/25/2018 PREPARATION OF EMAIL EXCHANGE WITH UST RE: CLAIMS STATUS AND REQUEST TO
            DISBAND CREDITORS COMMITTEE; ANALYSIS OF CLAIMS FILE

    2130090      RB                                  595.00             $178.50                 0.3
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   2/2/2018 ANALYSIS OF NOTICE OF DISBANDMENT OF UCC; PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH TANIA AND CLIENT

    2136449      RB                                595.00             $178.50                0.3

                                              Total                  $654.50                1.1
    `12   -   PLAN AND DISCLOSURE STATEMENT

 11/22/2017 PREPARATION OF JOINT DISCLOSURE STATEMENT; ANALYSIS OF FILE



    2110215      RB                                595.00            $1,666.00               2.8

 11/23/2017 PREPARATION OF JOINT DISCLOSURE STATEMENT; ANALYSIS OF FILE IIN PREP FOR SAME



    2110246      RB                                595.00            $2,082.50               3.5

 11/24/2017 PREPARATION OF DISCLOSURE STATEMENT; ANALYSIS OF FILE



    2110278      RB                                595.00            $1,666.00               2.8

 11/25/2017 ANALYSIS OF CORRESPONDENCE REGARDING PLAN CONFIRMATION REQUIREMENTS WHERE
            NO CLASS IS IMPAIRED; PREPARATION OF CORRESPONDENCE RE SAME

    2110789      KJM                               535.00                 $53.50             0.1

 11/25/2017 PREPARATION OF JOINT DISCLOSURE STATEMENT; ANALYSIS OF FILE; ANALYSIS OF
            PROPOSED TREATMENT OPTIONS OF SHAREHOLDERS; PREP OF EMAIL TO SAM AND TANIA

    2110287      RB                                595.00            $2,677.50               4.5

 11/26/2017 RESEARCH REGARDING CASELAW REGARDING IMPAIRMENT OF INTEREST HOLDERS AND
            ISSUES RE SAME; PREPARATION OF RESEARCH CORRESPONDENCE RE SAME

    2110790      KJM                               535.00            $1,498.00               2.8

 11/26/2017 PREPARATION OF DISCLOSURE STATEMENT; ANALYSIS OF FILE AND TREATMENT OF
            SHAREHOLDERS; RESEARCH SAME; PREP OF MULTIPLE RELATED EMAIL EXCHANGE; CONF
            WITH TANIA
    2110290      RB                                595.00            $3,867.50               6.5

 11/27/2017 ANALYSIS OF BERGENDAHL EMAIL RE: SHAREHOLDERS ISSUES AND PLAN TREATMENT; PREP
            OF RESPONSE

    2112690      RB                                595.00                 $59.50             0.1

 11/29/2017 PREPARATION OF EMAIL EXCHANGE WITH SHAREHOLDER RE: PLAN STATUS



    2112752      RB                                595.00                 $59.50             0.1

 11/30/2017 ANALYSIS OF PLAN MEMORANDUM RE SHAREHOLDER TREATMENT AND CONSENT TO PLAN



    2111674      KJM                               535.00             $107.00                0.2
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 11/30/2017 ANALYSIS OF COMMUNICATIONS REGARDING PLAN MEMO



    2111847   MYK                                   575.00            $172.50                 0.3

 11/30/2017 PREPARATION OF PLAN MEMO TO DEBTOR AND OCEH AND PREP OF RELATED EMAIL
            EXCHANGE; RESEARCH SHAREHOLDER IMPAIRMENT ISSUES AND REVIEW; ANALYSIS OF
            RELEVANT CASES
    2112794   RB                                    595.00           $1,606.50                2.7

 11/30/2017 PREPARATION OF DISCLOSURE STATEMENT IN SUPPORT OF JOINT PLAN; ANALYSIS OF FILE;
            CONF WITH MATT

    2112802   RB                                    595.00           $1,666.00                2.8

  12/1/2017 ANALYSIS OF CORRESPONDENCE REGARDING PLAN VOTING ISSUES



    2111956   KJM                                   535.00                $53.50              0.1

  12/1/2017 ANALYSIS OF COMMUNICATIONS REGARDING PLAN AND JOINT DEFENSE AND RELATED
            EMAILS THEREON

    2112515   MYK                                   575.00            $230.00                 0.4

  12/1/2017 PREPARATION OF JOINT DISCLOSURE STATEMENT AND RELATED EMAIL EXCHANGE



    2114893   RB                                    595.00            $892.50                 1.5

  12/1/2017 PREPARATION OF JOINT DISCLOSURE STATEMENT; ANALYSIS OF FILE



    2114918   RB                                    595.00            $476.00                 0.8

  12/1/2017 TELEPHONE CONFERENCE WITH TANIA RE: PLAN ISSUES AND REVIEW



    2114919   RB                                    595.00            $119.00                 0.2

  12/2/2017 PREPARATION OF PLAN OF REORGANIZATION



    2113385   KJM                                   535.00            $963.00                 1.8

  12/2/2017 RESEARCH REGARDING CASELAW REGARDING WAIVER OF REQUIREMENT TO OBTAIN
            DISCLOSURE STATEMENT APPROVAL; PREPARATION OF CORRESPONDENCE RE SAME

    2113390   KJM                                   535.00           $1,444.50                2.7

  12/2/2017 ANALYSIS OF EMAIL EXCHANGE WITH COUNSEL TO EQUITY COMMITTEE REGARDING PLAN
            CONFIRMATION PROCESS

    2113392   KJM                                   535.00                $53.50              0.1

  12/2/2017 ANALYSIS OF PLAN, DISCLOSURE STATEMENT, RELATED RESEARCH AND STRATGY AND
            COMMUNICATIONS THEREON

    2112806   MYK                                   575.00            $345.00                 0.6
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  12/2/2017 RESEARCH REGARDING ABILITY TO SKIP DISCLOSURE STATEMENT STAGE AND HEAD
            DIRECTLY TO PLAN CONFIRMATION IF THERE ARE NO IMPAIRED CLASSES

    2114924   RB                                   595.00            $1,666.00              2.8

  12/2/2017 PREPARATION OF FINAL VERSION OF JOINT DISCLOSURE STATEMENT; ANALYSIS OF FILE



    2114931   RB                                   595.00            $1,071.00              1.8

  12/2/2017 PREPARATION OF EMAIL EXCHANGE WITH SAM AND TANIA RE: PLAN ISSUES AND POSSIBLE
            SKIPPING OF DISCLOSURE STATEMENT STAGE

    2114934   RB                                   595.00              $119.00              0.2

  12/2/2017 PREPARATION OF TRUST AGREEMENT FOR BENEFIT OF SHAREHOLDERS; ANALYSIS OF FILE
            AND PLAN

    2114942   RB                                   595.00            $1,666.00              2.8

  12/3/2017 PREPARATION OF TRUST AGREEMENT; ANALYSIS OF FILE



    2114951   RB                                   595.00            $1,011.50              1.7

  12/4/2017 ANALYSIS OF CORRESPONDENCE TO BOARD MEMBERS AND EQUITY COMMITTEE MEMBERS
            REGARDING PLAN OF REORGANIZATION AND ISSUES RE SAME

    2113511   KJM                                  535.00              $53.50               0.1

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    2113661   LC                                   250.00             $250.00               1.0

  12/4/2017 ANALYSIS OF WHARTON REGARDING PLAN DOCUMENT



    2113583   MYK                                  575.00              $57.50               0.1

  12/4/2017 ANALYSIS OF PLAN, TRUST AGREEMENT, CLAIMS ANALYSIS



    2113585   MYK                                  575.00             $460.00               0.8

  12/4/2017 PREPARATION OF JOINT PLAN OF REORGANIZATION AND TRUSTT AGREEMENT AND EMAIL TO
            DEBTORS AND OCEH

    2114974   RB                                   595.00            $2,558.50              4.3

  12/4/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH TANIA RE: PLAN STRUCTURES AND
            REVIEW

    2114991   RB                                   595.00             $178.50               0.3

  12/5/2017 TELEPHONE CONFERENCE WITH DEBTORS' REPRESENTATIVES REGARDING PLAN AND
            RELATED CASE ISSUES

    2113688   KJM                                  535.00             $321.00               0.6
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    2113976   MYK                                  575.00              $172.50               0.3

  12/5/2017 CONFERENCE CALL WITH GEOFF, MATT AND OTHERS TO REVIEW DEMAND OF OCEH TO TAKE
            OVER THE CASE UNDER THE PLAN; CONF WITH TANIA AFTERWARDS

    2115001   RB                                   595.00              $476.00               0.8

  12/6/2017 ANALYSIS OF REVISIONS TO JOINT PLAN AND CORRESPONDENCE RE SAME



    2114217   KJM                                  535.00              $107.00               0.2

  12/6/2017 PREPARATION OF REVISED VERSION OF JOINT PLAN AS DESIRED BY OCEH AND RELATED
            EMAIL EXCHANGE

    2115522   RB                                   595.00            $1,963.50               3.3

  12/6/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH CLIENT RE: REVISED PLAN ISSUES AND
            REVIEW

    2115531   RB                                   595.00              $178.50               0.3

  12/7/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE WITH COUNSEL TO EQUITY COMMITTEE
            REGARDING PLAN CONFIRMATION SCHEDULING AND RELATED ISSUES

    2114495   KJM                                  535.00               $53.50               0.1

  12/7/2017 PREPARATION OF EMAIL EXCHANGE RE: TIMING OF FILING PLAN AND MOTION FOR
            CONFIRMATION

    2115691   RB                                   595.00              $119.00               0.2

  12/8/2017 ANALYSIS OF CORRESPONDENCE REGARDING PLAN TERMS AND TRUST AGREEMENT TERMS



    2114728   KJM                                  535.00               $53.50               0.1

  12/8/2017 PREPARATION OF EMAIL EXCHANGE RE: PLAN ISSUES; CONF WITH TANIA; ANALYSIS OF
            REVISED PLAN FROM OCEH

    2115735   RB                                   595.00              $476.00               0.8

  12/8/2017 PREPARATION OF EMAIL EXCHANGE WITH MICHAEL BOARD MEMBER RE: PLAN ISSUES AND
            REVIEW

    2115736   RB                                   595.00               $59.50               0.1

  12/9/2017 ANALYSIS OF EQUITY COMMITTEE COMMENTS TO PLAN AND MULTIPLE CORRESPONDENCE
            RE SAME

    2115196   KJM                                  535.00              $107.00               0.2

  12/9/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING SHARE TRADING STOPPAGE DATE
            AND ISSUES RE SAME

    2115197   KJM                                  535.00               $53.50               0.1
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            REVIEW; CONF WITH TANIA

    2116434   RB                                  595.00             $297.50               0.5

  12/9/2017 CONFERENCE CALL WITH SCOTT AND LOUIS RE: DEALING WITH STOCK TRADING HALTING
            ISSUES AND NOTICING SHAREHOLDERS

    2116435   RB                                  595.00             $297.50               0.5

  12/9/2017 ANALYSIS OF LOUIS INSERT LANGUAGE FOR PLAN AND STOCK BALLOTING; PREP OF
            FURTHER REVISED JOINT PLAN

    2116445   RB                                  595.00             $476.00               0.8

 12/10/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING TRUST AGREEMENT AND INCLUSION
            OF TERMS IN PLAN

    2115203   KJM                                 535.00              $53.50               0.1

 12/10/2017 PREPARATION OF FURTHER REVISED JOINT PLAN AND RELATED EMAIL EXCHANGE



    2116456   RB                                  595.00            $1,725.50              2.9

 12/10/2017 CONFERENCE CALL WITH LOUIS AND SCOTT RE: REVIEW OF REVISED PLAN AND STOCK
            HOLDERS ISSUES

    2116457   RB                                  595.00             $238.00               0.4

 12/10/2017 ANALYSIS OF TANIA CHANGES TO TRUST AGREEMENT; CONF WITH TANIA



    2116458   RB                                  595.00             $238.00               0.4

 12/10/2017 PREPARATION OF FURTHER REVISED TRUST AGREEMENT AND RELATED EMAIL EXCHANGE;
            CONF WITH TANIA

    2116460   RB                                  595.00            $1,666.00              2.8

 12/11/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING JOINT PLAN AND ISSUES RE SAME



    2115209   KJM                                 535.00             $107.00               0.2

 12/11/2017 RESEARCH REGARDING CASELAW REGARDING POST-PETITION INTEREST IN SOLVENT
            ESTATE; PREPARATION OF CORRESPONDENCE RE SAME

    2115210   KJM                                 535.00            $1,230.50              2.3

 12/11/2017 ANALYSIS OF NOTICE OF DRAFT PLAN AND CORRESPONDENCE RE SAME



    2115211   KJM                                 535.00              $53.50               0.1

 12/11/2017 ANALYSIS OF PROPOSED REVISIONS TO JOINT PLAN



    2115803   KJM                                 535.00              $53.50               0.1
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    2115363   LC                                   250.00              $250.00               1.0

 12/11/2017 ANALYSIS OF REVISED PLAN AND TRUST AGREEMENT AND RELATED EMAILS



    2115406   MYK                                  575.00              $172.50               0.3

 12/11/2017 PREPARATION OF EMAIL EXCHANGE WITH CLIENT RE: PLAN AND CASE REVIEW



    2116481   RB                                   595.00               $59.50               0.1

 12/11/2017 PREPARATION OF NOTICE OF FILING INITIAL DRAFTS OF PLAN AND TRUST AGREEMENT AND
            RELATED EMAIL EXCHANGE; ANALYSIS OF OCEH COMMENTS; PREP OF FINAL DRAFT; CONF
            WITH TANIA
    2116482   RB                                   595.00             $1,547.00              2.6

 12/11/2017 ANALYSIS OF FURTHER REVISED PLAN FROM TANIA; PREP OF RELATED EMAIL EXCHANGE;
            CONF WITH TANIA

    2116503   RB                                   595.00              $476.00               0.8

 12/11/2017 ANALYSIS OF TANIA REVISED TRUST AGREEMENT; PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH TANIA

    2116506   RB                                   595.00              $357.00               0.6

 12/11/2017 TELEPHONE CONFERENCE WITH LOUIS AND SCOTT RE: SEC AND STOCK HALT TRADING
            CHANGES BY OCEH; ANALYSIS OF REVISIONS FROM LOUIS

    2116509   RB                                   595.00              $178.50               0.3

 12/11/2017 PREPARATION OF FURTHER REVISED VERSION OF JOINT PLAN; ANALYSIS OF FILE AND
            CHANGES FROM OCEH

    2116510   RB                                   595.00             $1,368.50              2.3

 12/12/2017 TELEPHONE CONFERENCE WITH EQUITY COMMITTEE COUNSEL AND CO-COUNSEL
            REGARDING JOINT PLAN ISSUES

    2115824   KJM                                  535.00              $321.00               0.6

 12/12/2017 PREPARATION OF JOINT PLAN AND NOTICE OF FILING DRAFT JOINT PLAN



    2115830   KJM                                  535.00              $321.00               0.6

 12/12/2017 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING JOINT PLAN TERMS AND REVISIONS



    2115831   KJM                                  535.00               $53.50               0.1

 12/12/2017 ANALYSIS OF COMMUNICATIONS AS TO PLAN AND TRUST AGREEMENT



    2115899   MYK                                  575.00              $115.00               0.2
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 12/12/2017 PREPARATION OF FURTHER REVISED PLAN AND TRUST AGREEMENT AND NOTICE AND EMAIL
            EXCHANGE WITH TANIA; CONF WITH TANIA

    2116541      RB                               595.00            $2,261.00              3.8

 12/12/2017 CONFERENCE CALL WITH LOUIS, SCOTT, TANIA AND CLAUDE RE: REVIEW OF STOCK HALTING
            MATTERS AND OPTIONS AND POST-PETITION INTEREST TO CREDITORS

    2116549      RB                               595.00              $238.00              0.4

 12/13/2017 ANALYSIS OF CORRESPONDENCE REGARDING MOTION TO WAIVE DISCLOSURE STATEMENT
            APPROVAL REQUIREMENT; CONFER WITH T MOYRON RE SAME

    2115863      KJM                              535.00               $53.50              0.1

 12/13/2017   CONFER WITH T MYORON REGARDING MOTION TO WAIVE DISCLOSURE STATEMENT
              REQUIREMENT

    2116531      KJM                              535.00              $107.00              0.2

 12/13/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: JOINT PLAN AND DISCLOSURE STATEMENT
            AND RELATED MOTION; CONF WITH TANIA

    2116591      RB                               595.00              $297.50              0.5

 12/13/2017 PREPARATION OF JOINT PLAN AND DISCLOSURE STATEMENT AND RELATED EMAIL EXCHANGE



    2116592      RB                               595.00              $952.00              1.6

 12/13/2017 PREPARATION OF EMAIL EXCHANGE WITH CLIENT RE: OUTCOME OF MULTIPLE HEARINGS
            INCLDING JOINT PLAN ISSUES AND REVIEW

    2116593      RB                               595.00              $119.00              0.2

 12/13/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH TANIA RE: JOINT PLAN AND DISCLOSURE
            STATEMENT PROCESS AND REVIEW; CONF WITH TANIA

    2116611      RB                               595.00              $297.50              0.5

 12/14/2017 TELEPHONE CONFERENCE WITH COUNSEL TO EQUITY COMMITTEE REGARDING MOTION TO
            WAIVE DISCLOSURE STATEMENT REQUIREMENT

    2116395      KJM                              535.00               $53.50              0.1

 12/14/2017   CONFER WITH RB RE MOTION TO WAIVE DISCLOSURE STATEMENT REQUIREMENT



    2116396      KJM                              535.00               $53.50              0.1

 12/14/2017 ANALYSIS OF MOTION REGARDING WAIVER OF DISCLOSURE STATEMENT REQUIREMENTS



    2116707      KJM                              535.00              $160.50              0.3

 12/15/2017 PREPARATION OF MOTION REGARDING WAIVER OF DISCLOSURE STATEMENT REQUIREMENTS



    2116711      KJM                              535.00              $856.00              1.6
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 12/15/2017 TELEPHONE CONFERENCE WITH COUNSEL TO EQUITY COMMITTEE REGARDING MOTION TO
            WAIVE DISCLOSURE STATEMENT REQUIREMENTS AND RELATED ISSUES

    2116712      KJM                               535.00                $53.50            0.1

 12/15/2017   EMAIL EXCHANGES WITH EQUITY COMMITTEE COUNSEL REGARDING DISCLOSURE
              STATEMENT WAIVER ISSUES

    2116713      KJM                               535.00               $107.00            0.2

 12/15/2017 RESEARCH REGARDING STATUTES AND CASELAW REGARDING REQUIREMENT TO FILE
            DISCLOSURE STATEMENT

    2116746      KJM                               535.00               $909.50            1.7

 12/15/2017 ANALYSIS OF PROJECTED DISTRIBUTIONS WORKSHEET AND CORRESPONDENCE RE SAME



    2116849      KJM                               535.00                $53.50            0.1

 12/15/2017 ANALYSIS OF MOTION REGARDING DISCLOSURE STATEMENT AND RELATED MATTERS



    2118047      MYK                               575.00               $115.00            0.2

 12/15/2017 ANALYSIS OF INITIAL DRAFT MOTION FROM TANIA REQUESTING AUTHORITY NOT TO HAVE ANY
             DISCLOSURE STATEMENT OR PLAN VOTING; PREP OF MULTIPLE RELATED EMAIL EXCHANGE;
             RESEARCH CASE LAW; CONF WITH SAM AND TANIA
     2119014    RB                                  595.00           $1,428.00             2.4

 12/15/2017 PREPARATION OF FURTHER REVISED MOTION CONFIRMING THAT NO SEPARATE DISCLOSURE
             STATEMENT IS REQUIRED OR PERMITTING JOINT PLAN AND DISCLOSURE STATEMENT AND
             CONFIRMING THAT NO PLAN VOTING IS REQUIRED AND RELATED EMAIL EXCHANGE; CONF
     2119022    RB                                  595.00            $1,249.50          2.1

 12/15/2017 PREPARATION OF EMAIL TO ALL PROFESSIONALS REQUESTING FINAL FEE FIGURES FOR
            PLAN; ANALYSIS OF FILE RE: SAME

    2119025      RB                                595.00               $119.00            0.2

 12/15/2017 PREPARATION OF PLAN CONFIRMATION MOTION AND PROJECTED DISTRIBUTION TO
            SHAREHOLDERS

    2119028      RB                                595.00            $1,725.50             2.9

 12/15/2017 PREPARATION OF PLEADING AND FILE AND SERVE MOTION TO PROCEED TO PLAN
            CONFIRMATION

    2118191      SR                                250.00               $250.00            1.0

 12/16/2017 PREPARATION OF PLAN CONFIRMATION MOTION; ANALYSIS OF FILE



    2119034      RB                                595.00            $1,428.00             2.4

 12/17/2017 PREPARATION OF CLAIM ANALYSIS, INTEREST CALCULATION AND PAYMENT CHART



    2116853      KJM                               535.00               $214.00            0.4
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 12/17/2017 PREPARATION OF PLAN CONFIRMATION MOTION; ANALYSIS OF FILE



    2119036    RB                                   595.00             $1,130.50              1.9

 12/18/2017 ANALYSIS OF PROPOSED SHAREHOLDER DISTRIBUTION PLAN



    2116855    KJM                                  535.00               $53.50               0.1

 12/18/2017 TELEPHONE CONFERENCE WITH EQUITY COMMITTEE COUNSEL REGARDING RECORD DATE
            AND RELATED STOCK ISSUES

    2116923    KJM                                  535.00              $481.50               0.9

 12/18/2017 ANALYSIS OF SHAREHOLDER DISTRIBUTION PLAN FROM CLAUDE MONTGOMERY; PREP OF
            RELATED EMAIL EXCHANGE

    2119040    RB                                   595.00              $178.50               0.3

 12/18/2017 CONFERENCE CALL WITH MULTIPLE DENTON AND SAM LAWYERS TO REVIEW AND PLAN FOR
            HANDLING SHARES AND HALT TRADING UNDER PLAN

    2119045    RB                                   595.00              $476.00               0.8

 12/19/2017 ANALYSIS OF REVISED SHAREHOLDER DISTRIBUTION PLAN



    2117561    KJM                                  535.00               $53.50               0.1

 12/19/2017 ANALYSIS OF SHAREHOLDER DISTRIBUTION OUTLINE FROM CLAUDE AND RELATED EMAILS;
            CONF WITH TANIA

    2119084    RB                                   595.00              $178.50               0.3

 12/19/2017 ANALYSIS OF TANIA EMAIL RE: TAX ISSUES AND REVIEW



    2119094    RB                                   595.00               $59.50               0.1

 12/20/2017 ANALYSIS OF L. WHARTON'S COMMENTS TO SHAREHOLDER DISTRIBUTION PLAN AND
            CORRESPONDENCE RE SAME

    2117719    KJM                                  535.00               $53.50               0.1

 12/20/2017 ANALYSIS OF MULTIPLE EMAILS RE: SHAREHOLDERS ISSUES FOR PLAN



    2119115    RB                                   595.00               $59.50               0.1

 12/20/2017 ANALYSIS OF FURTHER EMAILS FROM DENTON RE: PLAN ISSUES AND REVIEW; CONF WITH
            TANIA

    2119119    RB                                   595.00               $119.00              0.2

 12/21/2017 ANALYSIS OF CORRESPONDENCE FROM SEC RE DRAFT PLAN ISSUES



    2117761    KJM                                  535.00               $53.50               0.1
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    2117987   MYK                                  575.00               $115.00              0.2

 12/21/2017 ANALYSIS OF SEC LETTER RE: PLAN ISSUES AND REVIEW



    2119130   RB                                   595.00               $59.50               0.1

 12/22/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: SHAREHOLDER AND STOCK HALT TRADING
            ISSUES AND REVIEW

    2119164   RB                                   595.00               $119.00              0.2

 12/24/2017 PREPARATION OF EMAIL EXCHANGE AND PLAN ISSUES AND REVIEW; CONF WITH TANIA



    2119201   RB                                   595.00               $119.00              0.2

 12/25/2017 PREPARATION OF PLAN CONFIRMATION MOTION AND MULTIPLE RELATED EMAIL EXCHANGE;
            ANALYSIS OF FILE

    2119210   RB                                   595.00             $1,428.00              2.4

 12/26/2017 ANALYSIS OF CORRESPONDENCE REGARDING RECORD DATE FOR SHAREHOLDERS AND
            ISSUES RE SAME

    2119278   KJM                                  535.00               $53.50               0.1

 12/26/2017 PREPARATION OF PLAN CONFIRMATION MOTION AND MULTIPLE RELATED EMAIL EXCHANGE



    2119214   RB                                   595.00             $1,368.50              2.3

 12/26/2017 PREPARATION OF EMAIL EXCHANGE RE: SHAREHOLDER ISSUES AND REVIEW



    2119221   RB                                   595.00               $59.50               0.1

 12/27/2017 ANALYSIS OF CORRESPONDENCE TO PROFESSIONALS REGARDING FEE ESTIMATES



    2118694   KJM                                  535.00               $53.50               0.1

 12/27/2017 ANALYSIS OF CORRESPONDENCE REGARDING PLAN TERMS RELATED TO SHAREHOLDERS



    2118722   KJM                                  535.00               $53.50               0.1

 12/27/2017 PREPARATION OF EMAIL EXCHANGE RE: PLAN CONFIRMATION MOTION ISSUES AND REVIEW



    2119976   RB                                   595.00               $59.50               0.1

 12/27/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: PLAN ISSUES AND REVIEW



    2119980   RB                                   595.00              $178.50               0.3
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 12/27/2017 PREPARATION OF MULTIPLE FURTHER EMAIL EXCHANGE RE: TREATMENT OF SHAREHOLDERS
            UNDER PLAN

    2119987   RB                                  595.00              $119.00              0.2

 12/28/2017 ANALYSIS OF CORRESPONDENCE REGARDING PLAN AND PLAN CONFIRMATION MOTION
            ISSUES

    2119317   KJM                                 535.00               $53.50              0.1

 12/28/2017 PREPARATION OF EMAIL EXCHANGE RE: STOCK TRADING HALT AND FINRA ISSUES



    2120015   RB                                  595.00              $119.00              0.2

 12/29/2017 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: TREATMENT OF SHAREHOLDERS UNDER
            THE PLAN

    2120020   RB                                  595.00              $119.00              0.2

   1/1/2018 PREPARATION OF COMPREHENSIVE PLAN CONFIRMATION MOTION AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE; CONF WITH TANIA

    2129142   RB                                  595.00            $2,558.50              4.3

   1/2/2018 PREPARATION OF PLAN CONFIRMATION MOTION, DISTRIBUTION ANALYSIS, AND
            CORRESPONDENCE RE SAME

    2120188   KJM                                 565.00            $1,073.50              1.9

   1/2/2018 ANALYSIS OF PLAN REVISIONS AND CORRESPONDENCE RE SAME



    2120189   KJM                                 565.00               $56.50              0.1

   1/2/2018 ANALYSIS OF CORRESPONDENCE REGARDING ISSUES WITH HALTING TRADING



    2120193   KJM                                 565.00               $56.50              0.1

   1/2/2018 PREPARATION OF FURTHER REVISED JOINT PLAN AND RELATED EMAIL EXCHANGE; CONF
            WITH CLIENT AND TANIA; ANALYSIS OF FILE

    2129145   RB                                  595.00            $3,986.50              6.7

   1/2/2018 PREPARATION OF FURTHER EMAIL EXCHANGE RE: PLAN CONFIRMATION MOTION; CONF WITH
            GEOFF AND MATT

    2129146   RB                                  595.00              $178.50              0.3

   1/2/2018 ANALYSIS OF OCEH PROPOSED CHANGES TO PLAN AND RELATED EMAILS; CONF WITH TANIA



    2129159   RB                                  595.00              $357.00              0.6

   1/3/2018 ANALYSIS OF CORRESPONDENCE REGARDING ISSUES WITH TRUST AGREEMENT AND
            REVISIONS TO PLAN AND AGREEMENT RE SAME

    2121660   KJM                                 565.00               $56.50              0.1
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            CORRESPONDENCE RE SAME

    2121687   KJM                                 565.00              $113.00              0.2

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    2120539   LC                                  250.00              $250.00              1.0

   1/3/2018 PREPARATION OF FURTHER REVISED VERSION OF JOINT PLAN AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA; ANALYSIS OF FILE

    2129161   RB                                  595.00             $1,666.00             2.8

   1/3/2018 PREPARATION OF FURTHER REVISED VERSION OF TRUST AGREEMENT AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA; ANALYSIS OF FILE

    2129164   RB                                  595.00             $1,011.50             1.7

   1/3/2018 PREPARATION OF EMAIL EXCHANGE RE: PLAN CONFIRMATION MOTION; CONF WITH GEOFF



    2129169   RB                                  595.00              $119.00              0.2

   1/3/2018 PREPARATION OF FURTHER REVISED VERSION OF PLAN MOTION AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF PLAN; CONF WITH TANIA

    2129171   RB                                  595.00             $1,011.50             1.7

   1/3/2018 CONFERENCE CALL WITH TANIA AND SAM RE: PLAN MOTION AND REVIEW



    2129174   RB                                  595.00              $238.00              0.4

   1/4/2018 ANALYSIS OF EQUITY COMMITTEE COMMENTS TO TRUST AGREEMENT AND
            CORRESPONDENCE RE SAME

    2121735   KJM                                 565.00               $56.50              0.1

   1/4/2018 ANALYSIS OF NOTICE OF SUBMISSION OF PROPOSED PLAN AND CORRESPONDENCE RE SAME



    2121740   KJM                                 565.00               $56.50              0.1

   1/4/2018 ANALYSIS OF PROPOSED PLAN SUMMARY AND CORRESPONDENCE RE SAME



    2121754   KJM                                 565.00              $113.00              0.2

   1/4/2018 ANALYSIS OF TENTATIVE RULING REGARDING PLAN/DISCLOSURE STATEMENT MOTION;
            CONFER WITH RB RE SAME

    2121757   KJM                                 565.00               $56.50              0.1

   1/4/2018 ANALYSIS OF CORRESPONDENCE WITH EQUITY COMMITTEE'S COUNSEL REGARDING
            TENTATIVE RULING ON DISCLOSURE STATEMENT REQUIREMENT WAIVER MOTION

    2121761   KJM                                 565.00               $56.50              0.1
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            EXHIBITS AND SERVICE LISTS

    2120701    LC                                   250.00               $325.00                 1.3

   1/4/2018 ANALYSIS OF REVISED TRUST AGREEMENT AND RELATED EMAILS; CONF WITH TANIA



    2129181    RB                                   595.00               $297.50                 0.5

   1/4/2018 PREPARATION OF NOTICE OF FILING JOINT PLAN AND RELATED EMAIL EXCHANGE; CONF WITH
            TANIA; PREP OF PLAN CHANGES AND TRUST AGREEMENT CHANGES

    2129184    RB                                   595.00               $773.50                 1.3

   1/4/2018 PREPARATION OF PROPOSED PLAN SUMMARY AND NOTICE FOR DISTRIBUTION TO
            SHAREHOLDERS AND RELATED EMAIL EXCHANGE; CONF WITH TANIA; ANALYSIS OF FILE

    2129191    RB                                   595.00             $1,309.00                 2.2

   1/4/2018 ANALYSIS OF COURT TENTATIVE; PREP OF RELATED EMAIL EXCHANGE; CONF WITH TANIA AND
            CLIENT

    2129195    RB                                   595.00               $178.50                 0.3

   1/5/2018 ANALYSIS OF CORRESPONDENCE REGARDING PLAN CONFIRMATION HEARING SCHEDULING
            AND RELATED ISSUES

    2121771    KJM                                  565.00                $56.50                 0.1

   1/5/2018 ANALYSIS OF PROPOSED ORDER ON MOTION TO WAIVE DISCLOSURE REQUIREMENT AND
            CORRESPONDENCE RE SAME; PREPARATION OF CORRESPONDENCE RE SAME

    2121772    KJM                                  565.00               $169.50                 0.3

   1/5/2018 ANALYSIS OF SHAREHOLDER DISTRIBUTION PROJECTION AND CORRESPONDENCE RE SAME



    2121779    KJM                                  565.00                $56.50                 0.1

   1/5/2018 PREPARATION OF ORDER REGARDING OUTCOME OF JANUARY 5 HEARING; FORMAT



    2121032    LC                                   250.00                $50.00                 0.2

   1/5/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: PLAN SUMMARY FOR SHAREHOLDERS;
            CONF WITH TANIA AND SAM

    2129198    RB                                   595.00               $297.50                 0.5

   1/5/2018 PREPARATION OF ORDER REGARDING OUTCOME OF JANUARY 5 WAIVED HEARING AND
            RELATED EMAIL EXCHANGE; ANALYSIS OF DENTON CHANGES; CONF WITH TANIA

    2129199    RB                                   595.00               $476.00                 0.8

   1/5/2018 PREPARATION OF FURTHER REVISED ORDER FROM JAN 5 SCHEDULED HEARING AND
            RELATED EMAIL EXCHANGE; CONF WITH TANIA

    2129205    RB                                   595.00               $178.50                 0.3
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    2121818   KJM                                  565.00               $56.50              0.1

   1/8/2018 ANALYSIS OF SEC LETTER RE: PLAN ISSUES AND RELATED EMAILS; CONF WITH TANIA;
            ANALYSIS OF PLAN; PREP OF RELATED EMAIL EXCHANGE

    2129225   RB                                   595.00              $297.50              0.5

   1/8/2018 PREPARATION OF EMAIL EXCHANGE RE: PLAN AND TRUST AGREEMENT ISSUES AND REVIEW;
            CONF WITH TANIA; ANALYSIS OF PLAN AND TRUST AGREEMENT

    2129230   RB                                   595.00              $297.50              0.5

   1/8/2018 PREPARATION OF FURTHER REVISED PLAN AND TRUST AGREEMENT AND RELATED EMAIL
            EXCHANGE

    2129231   RB                                   595.00             $1,368.50             2.3

   1/8/2018 CONFERENCE CALL WITH TANIA AND SEC COUNSEL RE: PLAN ISSUES AND SEC ISSUES; PREP
            OF RELATED EMAIL EXCHANGE

    2129234   RB                                   595.00              $178.50              0.3

   1/8/2018 ANALYSIS OF DENTON COMMENTS TO NOTICE AND PLAN SUMMARY FOR SHAREHOLDERS;
            ANALYSIS OF FILE

    2129242   RB                                   595.00              $297.50              0.5

   1/8/2018 ANALYSIS OF DENTON COMMENTS TO ORDER FROM JAN 5 HEARING; CONF WITH TANIA



    2129243   RB                                   595.00              $119.00              0.2

   1/8/2018 PREPARATION OF FURTHER REVISED VERSION OF PLAN AND RELATED EMAIL EXCHANGE;
            ANALYSIS OF FILE; CONF WITH TANIA

    2129246   RB                                   595.00             $1,130.50             1.9

   1/9/2018 ANALYSIS OF NOTICE OF HEARING ON PLAN CONFIRMATION; ORDER ON PLAN CONFIRMATION
            HEARING SCHEDULE; MULTIPLE CORRESPONDENCE RE SAME; PREPARATION OF COMMENT
            TO NOTICE OF HEARING
    2121442    KJM                                 565.00             $169.50            0.3

   1/9/2018 ANALYSIS OF CORRESPONDENCE REGARDING FINRA ISSUES



    2121444   KJM                                  565.00               $56.50              0.1

   1/9/2018 ANALYSIS OF CORRESPONDENCE REGARDING SHARE PURCHASE OPTION ISSUES



    2121450   KJM                                  565.00               $56.50              0.1

   1/9/2018 PREPARATION OF UPDATED CLAIM ANALYSIS CHART FOR PLAN/DISCLOSURE STATEMENT;
            ANALYSIS OF FILE

    2121648   KJM                                  565.00              $339.00              0.6
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            FILE/UPLOAD

    2121413   LC                                  250.00              $150.00                0.6

   1/9/2018 ANALYSIS OF EXHIBIT TO DISCLOSURE STATEMENT



    2121554   MYK                                 580.00               $58.00                0.1

   1/9/2018 PREPARATION OF FURTHER REVISED PLAN NOTICE AND SUMMARY AND ORDER FROM JAN 5
            HEARING AND RELATED EMAIL EXCHANGE; CONF WITH TANIA; ANALYSIS OF FILE

    2129248   RB                                  595.00              $892.50                1.5

   1/9/2018 PREPARATION OF EMAIL EXCHANGE RE: PLAN AND ISSUES RELATED TO SEC AND UST: CONF
            WITH TANIA

    2129262   RB                                  595.00              $178.50                0.3

  1/10/2018 TELEPHONE CONFERENCE WITH EQUITY COMMITTEE COUNSEL REGARDING STOCK OPTIONS
            AND RELATED MATTERS

    2121826   KJM                                 565.00              $282.50                0.5

  1/10/2018 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING STOCK OPTIONS



    2121836   KJM                                 565.00               $56.50                0.1

  1/10/2018 ANALYSIS OF CORRESPONDENCE FROM L WHARTON REGARDING RESTRICTED LEGEND ON
            STOCK CERTIFICATES AND IMPORT OF SAME

    2121859   KJM                                 565.00               $56.50                0.1

  1/10/2018 ANALYSIS OF CORRESPONDENCE REGARDING TRANSMITTAL OF PLAN TO SEC AND FINRA



    2121861   KJM                                 565.00               $56.50                0.1

  1/10/2018 ANALYSIS OF ENTERED ORDER ON MOTION TO WAIVE DISCLOSURE STATEMENT
            REQUIREMENT

    2122030   KJM                                 565.00               $56.50                0.1

  1/10/2018 ANALYSIS OF ORDER ON WAIVER OF SEPARATE DISCLOSURE STATEMENT



    2121964   MYK                                 580.00               $58.00                0.1

  1/10/2018 TELEPHONE CONFERENCE WITH TANIA RE: PLAN ISSUES AND REVIEW



    2129276   RB                                  595.00               $119.00               0.2

  1/10/2018 PREPARATION OF FURTHER EMAIL EXCHANGE RE: PLAN ISSUES AND REVIEW OF SEC
            COMMENTS; CONF WITH TANIA

    2129279   RB                                  595.00              $178.50                0.3
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  1/10/2018 ANALYSIS OF ENTERED ORDER FROM JAN 5 SCHEDULED HEARING



    2129280   RB                                  595.00               $59.50               0.1

  1/11/2018 ANALYSIS OF CORRESPONDENCE REGARDING OUTSTANDING PLAN ISSUES



    2122047   KJM                                 565.00               $56.50               0.1

  1/11/2018 ANALYSIS OF CORRESPONDENCE REGARDING SERVICE OF PLAN DOCUMENTS



    2122048   KJM                                 565.00               $56.50               0.1

  1/11/2018 ANALYSIS OF CORRESPONDENCE TO COUNSEL TO SEC REGARDING CHANGES TO PLAN AND
            TRUST AGREEMENT TERMS

    2122049   KJM                                 565.00               $56.50               0.1

  1/11/2018 ANALYSIS OF CORRESPONDENCE REGARDING STOCK OPTIONS AND ISSUES OF IMPAIRMENT



    2122050   KJM                                 565.00               $56.50               0.1

  1/11/2018 ANALYSIS OF STOCK OPTION AGREEMENT



    2122052   KJM                                 565.00              $339.00               0.6

  1/11/2018 ANALYSIS OF PROPOSED PLAN REVISIONS



    2126562   KJM                                 565.00              $113.00               0.2

 01/11/2018 PREPARATION OF STIPULATED ORDER AUTHORIZING LIMITED PAYMENTS FROM TRUST
            ACCOUNT; FORMAT AND UPLOAD

    2122026   LC                                  250.00               $50.00               0.2

  1/11/2018 PREPARATION OF FURTHER REVISED VERSION OF JOINT PLAN AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA

    2129305   RB                                  595.00              $535.50               0.9

  1/11/2018 ANALYSIS OF REVISIONS TO PLAN AND TRUST AGREEMENT TO ACCOMMODATE SEC AND
            RELATED EMAILS; CONF WITH TANIA

    2129307   RB                                  595.00              $238.00               0.4

  1/11/2018 ANALYSIS OF STOCK OPTION ISSUES AND RELATED EMAILS; CONF WITH TANIA



    2129308   RB                                  595.00              $238.00               0.4

  1/11/2018 ANALYSIS OF FURTHER REVISIONS TO PLAN FROM OCEH AND RELATED EMALIS; CONF WITH
            TANIA AND CLIENT

    2129326   RB                                  595.00              $476.00               0.8
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  1/11/2018 ANALYSIS OF FURTHER CHANGES TO PLAN AND RELATED EMAILS; CONF WITH LOUIS



    2129331     RB                                  595.00               $357.00             0.6

  1/12/2018 PREPARATION OF FINAL VERSION OF PLAN AND NOTICE OF PLAN CONFIRMATION HEARING



    2122821     KJM                                 565.00            $1,412.50              2.5

  1/12/2018   ATTEND TO FILING PLAN AND NOTICE AND PREPARATION OF SERVICE LISTS



    2122822     KJM                                 565.00               $226.00             0.4

  1/12/2018 PREPARATION OF EX PARTE MOTION FOR PAYMENT OF SERVICE EXPENSES



    2122823     KJM                                 565.00               $339.00             0.6

  1/12/2018 ANALYSIS OF CORRESPONDENCE REGARDING SEC PROPOSED PLAN REVISIONS



    2122884     KJM                                 565.00                $56.50             0.1

  1/12/2018 ANALYSIS OF CORRESPONDENCE FROM UST REGARDING PROPOSED PLAN REVISIONS



    2122886     KJM                                 565.00                $56.50             0.1

  1/12/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE RE: PLAN AND SEC; CONF WITH TANIA



    2129334     RB                                  595.00               $178.50             0.3

  1/12/2018 ANALYSIS OF KCC NOTICE AND WEBSITE ISSUES; CONF WITH TANIA



    2129335     RB                                  595.00               $119.00             0.2

  1/12/2018 PREPARATION OF NOTICE OF HEARING ON PLAN CONFIRMATION AND PLAN SUMMARY AND
            RELATED EMAIL EXCHANGE; CONF WITH TANIA

    2129336     RB                                  595.00               $476.00             0.8

  1/12/2018 PREPARATION OF FURTHER REVISED VERSION OF JOINT PLAN AND RELATED EMAIL
             EXCHANGE; CONF WITH TANIA; ANALYSIS OF CHANGES FROM OTHERS AND RELATED EMAILS
             AND FILE
     2129338    RB                                  595.00          $1,071.00             1.8

  1/12/2018 ANALYSIS OF FURTHER REVISED VERSION OF TRUST AGREEMENT; PREP FOR FILING; CONF
            WITH TANIA

    2129340     RB                                  595.00               $535.50             0.9

  1/12/2018 ANALYSIS OF SEC COMMENTS TO PLAN AND RELATED EMAILS; CONF WITH TANIA



    2129344     RB                                  595.00               $178.50             0.3
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  1/12/2018 ANALYSIS OF MARGAUX EMAILS RE: PLAN AND UST ISSUES; CONF WITH TANIA



    2129345   RB                                   595.00              $119.00              0.2

  1/12/2018 PREPARATION OF PLEADING FILE AND SERVE NOTICE OF HEARING ON PLAN CONFIRMATION



    2125846   SR                                   250.00              $375.00              1.5

  1/16/2018 ANALYSIS OF CORRESPONDENCE REGARDING PLAN PROVISIONS AND RELEASE ISSUES



    2123054   KJM                                  565.00               $56.50              0.1

  1/16/2018 ANALYSIS OF CORRESPONDENCE REGARDING STOCK OPTION ISSUES



    2123055   KJM                                  565.00               $56.50              0.1

  1/16/2018 ANALYSIS OF THIRD PARTY RELEASE ISSUES AND UST OBJECTION TO PLAN; CONF WITH
            TANIA; RESEARCH SAME

    2129367   RB                                   595.00            $2,142.00              3.6

  1/17/2018 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO EQUITY COMMITTEE REGARDING
            STOCK OPTION ISSUES

    2123062   KJM                                  565.00               $56.50              0.1

  1/18/2018 ANALYSIS OF MULTIPLE CORRESPONDENCE BETWEEN COUNSEL REGARDING FINRA TRADE
            HALT ISSUES

    2123478   KJM                                  565.00               $56.50              0.1

  1/19/2018 TELEPHONE CONFERENCE WITH TANIA RE: PLAN CONFIRMATION ISSUES, PLANNING AND
            REVIEW

    2129408   RB                                   595.00              $178.50              0.3

  1/19/2018 TELEPHONE CONFERENCE WITH GEOFF AND THEN MATT RE: PLAN CONFIRMATION ISSUES



    2129409   RB                                   595.00              $357.00              0.6

  1/19/2018 ANALYSIS OF ROSS EMAIL RE: UST OBJECTION TO PLAN PROVISION; CONF WITH TANIA



    2129413   RB                                   595.00              $119.00              0.2

  1/20/2018 ANALYSIS OF CORRESPONDENCE TO COUNSEL TO EQUITY COMMITTEE REGARDING PLAN
            CONFIRMATION MOTION AND DECLARATION IN SUPPORT; ANALYSIS OF CORRESPONDENCE
            RELATED THERETO
    2124100   KJM                                  565.00               $56.50              0.1

  1/20/2018 PREPARATION OF PLAN CONFIRMATION MOTION AND MEMORANDUM; ANALYSIS OF FILE; PREP
            OF RELATED EMAIL EXCHANGE; CONF WITH TANIA

    2129418   RB                                   595.00            $2,796.50              4.7
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  1/21/2018   EMAIL EXCHANGE REGARDING CLAIM OBJECTION STATUS AND CLAIM ANALYSIS CHART



    2124106     KJM                                565.00               $56.50              0.1

  1/21/2018 ANALYSIS OF JOINT PLAN CONFIRMATION MOTION AND AND EQUITY COMMITTEE COMMENTS
            THERETO

    2124107     KJM                                565.00              $226.00              0.4

  1/21/2018 ANALYSIS OF GREULICH DECLARATION IN SUPPORT OF PLAN CONFIRMATION MOTION



    2124108     KJM                                565.00               $56.50              0.1

  1/21/2018 ANALYSIS OF JARUS DECLARATION IN SUPPORT OF PLAN CONFIRMATION MOTION AND
            EQUITY COMMITTEE COMMENTS THERETO

    2124109     KJM                                565.00               $56.50              0.1

  1/21/2018 ANALYSIS OF MOTION TO APPROVE TRUSTEE FOR POST-CONFIRMATION TRUST



    2124111     KJM                                565.00              $113.00              0.2

  1/21/2018 ANALYSIS OF AGREEMENT FOR TRUSTEE SERVICES



    2124115     KJM                                565.00               $56.50              0.1

  1/21/2018 PREPARATION OF PLAN CONFIRMATION MOTION AND MEMORANDUM AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE

    2129420     RB                                 595.00            $1,428.00              2.4

  1/21/2018 PREPARATION OF GREULICH DECLARATION IN SUPPORT OF PLAN CONFIRMATION; ANALYSIS
            OF FLE; PREP OF EMAIL EXCHANGE

    2129421     RB                                 595.00              $833.00              1.4

  1/21/2018 PREPARATION OF JARUS DECLARATION IN SUPPORT OF PLAN CONFIRMATION; ANALYSIS OF
            FILE; PREP OF EMAIL EXCHANGE

    2129422     RB                                 595.00              $476.00              0.8

  1/21/2018 ANALYSIS OF MOTION TO APPROVE AGREEMENT WITH TRUSTEE AND TRUST BOARD
            MEMBERS COMPENSATION; CONF WITH TANIA

    2129423     RB                                 595.00              $297.50              0.5

  1/21/2018 ANALYSIS OF INITIAL DRAFT OF TRUST AGREEMENT; CONF WITH TANIA



    2129424     RB                                 595.00              $297.50              0.5

  1/21/2018 ANALYSIS OF OCEH REVISIONS TO PLAN CONFIRMATION MOTION AND MEMORANDUM AND
            RELATED EMAILS

    2129425     RB                                 595.00              $297.50              0.5
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  1/22/2018 ANALYSIS OF CORRESPONDENCE REGARDING REVISIONS TO JARUS DECLARATION IN
            SUPPORT OF PLAN CONFIRMATION MOTION

    2124131   KJM                                  565.00               $56.50                 0.1

  1/22/2018 ANALYSIS OF CORRESPONDENCE REGARDING MOTION TO APPOINT POST-CONFIRMATION
            TRUSTEE

    2124133   KJM                                  565.00               $113.00                0.2

  1/22/2018 ANALYSIS OF REVISIONS TO PLAN CONFIRMATION MOTION



    2124137   KJM                                  565.00               $56.50                 0.1

  1/22/2018 ANALYSIS OF REVISIONS TO MOTION TO APPOINT POST-CONFIRMATION TRUSTEE AND
            REVISIONS TO TRUST AGREEMENT

    2124139   KJM                                  565.00               $56.50                 0.1

  1/22/2018 ANALYSIS OF CORRESPONDENCE RELATED TO EMPLOYMENT OF MATT PLISKIN AS POST-
            CONFIRMATION TRUSTEE AND PLEADINGS RE SAME

    2124144   KJM                                  565.00               $113.00                0.2

  1/22/2018 ANALYSIS OF EXHIBITS TO MOTION TO APPROVE TRUST AGREEMENT



    2124154   KJM                                  565.00               $56.50                 0.1

 01/22/2018 PREPARATION OF JOINT PLAN CONFIRMATION MOTION AND RELATED DECLARATIONS; REVISE
            AND E-FILE; PPO TABLE OF CONTENTS AND TABLE OF AUTHORITIES AND SERVICE LISTS

    2123921   LC                                   250.00              $250.00                 1.0

  1/22/2018 ANALYSIS OF MOTION TO CONFIRM PLAN, RELATED DECLARATIONS AND MOTION TO ASSUME
            LEASES AND CONTRACTS AND EMAILS THEREON

    2124783   MYK                                  580.00              $290.00                 0.5

  1/22/2018 ANALYSIS OF TANIA EMAIL RE: JARUS DECLARATION; CONF WITH TANIA; PREP OF REVISED
            DECLARATION

    2129428   RB                                   595.00              $178.50                 0.3

  1/22/2018 PREPARATION OF EMAIL EXCHANGE RE: TRUSTEE AND TRUST BOARD MEMBERS MOTION;
            CONF WITH TANIA

    2129429   RB                                   595.00              $178.50                 0.3

  1/22/2018 ANALYSIS OF FURTHER CHANGES TO PLAN CONFIRMATION MOTION AND MEMORANDUM
            FROM TANIA AND RELATED EMAILS; CONF WITH TANIA

    2129434   RB                                   595.00              $178.50                 0.3

  1/22/2018 PREPARATION OF FURTHER REVISED VERSION OF PLAN CONFIRMATION MOTION AND
            MEMORANDUM AND RELATED EMAIL EXCHANGE; ANALYSIS OF FILE

    2129436   RB                                   595.00             $1,071.00                1.8
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  1/22/2018 ANALYSIS OF FURTHER REVISED MOTION FOR APPROVAL OF TRUSTEE APPOINTMENT AND
            BOARD COMPENSATION AND RELATED EMAILS; CONF WITH TANIA

    2129438   RB                                  595.00             $178.50                0.3

  1/22/2018 TELEPHONE CONFERENCE WITH MATT RE: TRUSTEE AGREEMENT AND RELATED MATTERS
            RELATED TO SERVING AS TRUSTEE AND PLAN CONFIRMATION

    2129439   RB                                  595.00             $297.50                0.5

  1/22/2018 TELEPHONE CONFERENCE WITH GEOFF RE: PLAN REVIEW AND CONFIRMATION ISSUES



    2129440   RB                                  595.00             $238.00                0.4

  1/22/2018 PREPARATION OF REVISED VERSION OF MOTION TO APPROVE TRUSTEE AGREEMENT AND
            TRUST BOARD MEMBERS COMPENSATION AND RELATED EMAIL EXCHANGE; ANALYSIS OF
            FILE; CONF WITH TANIA; ANALYSIS OF DENTON CHANGES
    2129441   RB                                  595.00            $1,606.50               2.7

  1/22/2018 PREPARATION OF EMAIL EXCHANGE WITH GEOFF AND MATT RE: TRUSTEE AND TRUST ISSUES
            AND REVIEW; ANALYSIS OF TRUST AGREEMENT

    2129442   RB                                  595.00             $178.50                0.3

  1/22/2018 ANALYSIS OF FURTHER CHANGES FROM DENTON TO PLAN CONFIRMATION MOTION; PREP OF
            FURTHER REVISED MOTION; CONF WITH TANIA

    2129443   RB                                  595.00             $476.00                0.8

  1/22/2018 PREPARATION OF FURTHER REVISED VERSION OF TRUST AGREEMENT AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA

    2129444   RB                                  595.00             $654.50                1.1

  1/22/2018 PREPARATION OF REVISED VERSION OF TRUSTEE SERVICES AGREEMENT AND RELATED
            EMAIL EXCHANGE; CONFERENCES WITH MATT AND TANIA; ANALYSIS OF JARUS CHANGES

    2129445   RB                                  595.00            $2,023.00               3.4

  1/22/2018 PREPARATION OF FINAL VERSIONS OF TRUST AGREEMENT, TRUSTEE COMPENSATION
            AGREEMENT AND MOTION FOR APPROVAL OF SAME AND OF TRUST BOARD MEMBERS
            COMPENSATION; CONF WITH TANIA AND MATT; PREP FOR FILING
    2129447   RB                                  595.00            $1,666.00               2.8

  1/23/2018 TELEPHONE CONFERENCE WITH TANIA RE: PLAN ISSUES AND REVIEW



    2129494   RB                                  595.00              $119.00               0.2

  1/24/2018 ANALYSIS OF OPTION CANCELLATION NOTICE AND 8K RE SAME; CORRESPONDENCE RE SAME



    2125178   KJM                                 565.00              $113.00               0.2

  1/24/2018 ANALYSIS OF PROPOSED PRESS RELEASE RE JOINT PLAN, OPTION CANCELLATION NOTICE,
            ETC.

    2125179   KJM                                 565.00              $56.50                0.1
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  1/24/2018 TELEPHONE CONFERENCE WITH TANIA RE: PLAN AND IMPLEMENTATION ISSUES; ANALYSIS OF
            EMAILS RE: PAYMENTS TO SHAREHOLDERS

    2130065     RB                                 595.00              $238.00              0.4

  1/25/2018 ANALYSIS OF EQUITY COMMITTEE COMMENTS TO PRESS RELEASE AND CORRESPONDENCE
            RE SAME

    2125280     KJM                                565.00                $56.50             0.1

  1/25/2018 PREPARATION OF CORRESPONDENCE REGARDING NOTICE OF CANCELLATION OF OPTIONS
            AND ISSUES RE SAME

    2125281     KJM                                565.00                $56.50             0.1

  1/25/2018 ANALYSIS OF PRESS RELEASE REVISIONS AND CORRESPONDENCE RE SAME



    2125522     KJM                                565.00                $56.50             0.1

  1/25/2018 ANALYSIS OF CORRESPONDENCE REGARDING UST PLAN OBJECTIONS AND RELATED ISSUES



    2125524     KJM                                565.00                $56.50             0.1

  1/25/2018 ANALYSIS OF SEC CHANGES REQUESTED TO PLAN; CONF WITH TANIA



    2130082     RB                                 595.00              $178.50              0.3

  1/25/2018 PREPARATION OF FURTHER REVISED PLAN TO ACCOMMODATE SEC; CONF WITH TANIA



    2130083     RB                                 595.00              $297.50              0.5

  1/25/2018 ANALYSIS OF UST CHANGES REQUESTED TO PLAN; CONF WITH TANIA



    2130084     RB                                 595.00              $297.50              0.5

  1/25/2018 PREPARATION OF FURTHER REVISED VERSION OF PLAN TO ACCOMMODATE UST; CONF WITH
            TANIA AND ROSS

    2130085     RB                                 595.00              $416.50              0.7

  1/25/2018 ANALYSIS OF FURTHER EMAILS RE: UST PLAN ISSUES; CONF WITH TANIA



    2130092     RB                                 595.00              $119.00              0.2

  1/26/2018   EMAIL EXCHANGE WITH L WHARTON RE 8K FILING AND DOCUMENTATION REGARDING SAME



    2125537     KJM                                565.00                $56.50             0.1

  1/26/2018 ANALYSIS OF CORRESPONDENCE FROM UST RE PLAN OBJECTIONS AND RELATED
            CORRESPONDENCE FROM EQUITY COMMITTEE'S COUNSEL

    2125538     KJM                                565.00                $56.50             0.1
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  1/26/2018 ANALYSIS OF CORRESPONDENCE REGARDING RECORD DATE UNDER PLAN



    2125541   KJM                                  565.00              $56.50                 0.1

  1/26/2018 ANALYSIS OF CORRESPONDENCE REGARDING OPTION CANCELLATION NOTICE ISSUES



    2125698   KJM                                  565.00              $56.50                 0.1

  1/26/2018 PREPARATION OF EMAIL EXCHANGE RE: SEC AND UST ISSUES RE: PLAN; CONF WITH TANIA



    2130097   RB                                   595.00             $178.50                 0.3

  1/26/2018 ANALYSIS OF EMAILS RE: STOCK RECORD DATE FOR DISTRIBUTIONS TO SHAREHOLDERS;
            CONF WITH TANIA

    2130103   RB                                   595.00             $178.50                 0.3

  1/27/2018 PREPARATION OF EMAIL EXCHANGE RE: PLAN ISSUES AND REVIEW; CONF WITH TANIA



    2130114   RB                                   595.00             $119.00                 0.2

  1/28/2018 ANALYSIS OF MULTIPLE CORRESPONDENCE REGARDING REVISIONS TO PLAN IN RESPONSE
            TO UST AND SEC OBJECTIONS

    2126343   KJM                                  565.00             $113.00                 0.2

  1/28/2018 PREPARATION OF FURTHER REVISED PLAN TO ADDRESS SEC CONCERNS AND RELATED
            EMAIL EXCHANGE; CONF WITH TANIA

    2130116   RB                                   595.00             $357.00                 0.6

  1/28/2018 PREPARATION OF EMAIL EXCHANGE RE: UST ISSUES WITH PLAN



    2130118   RB                                   595.00             $119.00                 0.2

  1/29/2018 ANALYSIS OF CORRESPONDENCE TO SEC COUNSEL REGARDING PLAN CHANGES



    2125980   KJM                                  565.00              $56.50                 0.1

  1/29/2018 PREPARATION OF EMAIL EXCHANGE WITH SEC RE: PLAN ISSUES AND REVIEW; CONF WITH
            TANIA

    2130123   RB                                   595.00             $178.50                 0.3

  1/30/2018 ANALYSIS OF DOCUMENTS CORRESPONDENCE TO UST REGARDING DEADLINE TO OPPOSE
            PLAN

    2126327   KJM                                  565.00              $56.50                 0.1

  1/30/2018 PREPARATION OF EMAIL EXCHANGE RE: PLAN ISSUES AND REVIEW; CONF WITH TANIA



    2130146   RB                                   595.00             $178.50                 0.3
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  1/31/2018 ANALYSIS OF PLAN REVISIONS ADDRESSING UST ISSUES AND MULTIPLE CORRESPONDENCE
            RE SAME

    2126914   KJM                                 565.00               $113.00              0.2

  1/31/2018 ANALYSIS OF FURTHER REVISED PLAN FROM TANIA; PREP OF RELATED EMAIL EXCHANGE;
            CONF WITH TANIA

    2130166   RB                                  595.00               $238.00              0.4

   2/1/2018 ANALYSIS OF REVISIONS TO JOINT PLAN AND MULTIPLE CORRESPONDENCE RE SAME



    2126933   KJM                                 565.00               $113.00              0.2

   2/1/2018 ANALYSIS OF CORRESPONDENCE FROM SEC REGARDING PLAN REVISIONS AND ISSUES RE
            SAME

    2126985   KJM                                 565.00                $56.50              0.1

   2/1/2018 PREPARATION OF JOINT PLAN OF REORGANIZATION; PREPARE/UPDATE TABLE OF CONTENTS



    2127135   LC                                  250.00               $175.00              0.7

   2/1/2018 PREPARATION OF FURTHER REVISED VERSIION OF PLAN AND RELATED EMAIL EXCHANGE;
            CONF WITH TANIA AND MARGAUX ROSS OF UST

    2136433   RB                                  595.00               $654.50              1.1

   2/1/2018 PREPARATION OF EMAIL EXCHANGE WITH SEC RE: PLAN ISSUES AND REVIEW; CONF WITH
            TANIA

    2136442   RB                                  595.00               $178.50              0.3

   2/1/2018 PREPARATION OF FURTHER REVISED PLAN TO ADDRESS UST AND SEC ISSUES AND RELATED
            EMAIL EXCHANGE; CONF WITH TANIA

    2136443   RB                                  595.00               $297.50              0.5

   2/2/2018 ANALYSIS OF CORRESPONDENCE REGARDING PLAN UPDATES; ANALYSIS OF REDLINE TO
            PLAN REFLECTING UPDATES

    2130738   KJM                                 565.00                $56.50              0.1

   2/2/2018 TELEPHONE CONFERENCE WITH TANIA RE: PLAN ISSUES AND REVIEW



    2136451   RB                                  595.00               $119.00              0.2

   2/5/2018 ANALYSIS OF CORRESPONDENCE REGARDING PLAN REVISIONS



    2127659   KJM                                 565.00                $56.50              0.1

   2/5/2018 ANALYSIS OF OPPOSITION TO PLAN FILED BY CORDES/AISENBERG



    2127660   KJM                                 565.00               $169.50              0.3
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   2/5/2018 ANALYSIS OF RADIANS PLAN OBJECTION



    2127864   KJM                                  565.00             $113.00               0.2

 02/05/2018 ANALYSIS OF OBJECTIONS TO PLAN CONFIRMATION BY RADIANS AND OTHERS



    2127836   MYK                                  580.00             $232.00               0.4

   2/5/2018 PREPARATION OF EMAIL EXCHANGE WITH CLIENT RE: PLAN CONFIRMATION ISSUES; CONF
            WITH CLIENT

    2136469   RB                                   595.00             $178.50               0.3

   2/5/2018 TELEPHONE CONFERENCE WITH TANIA RE: PLAN AND CONFIRMATION ISSUES



    2136470   RB                                   595.00             $119.00               0.2

   2/5/2018 ANALYSIS OF CORDES AND AISENBERG PLAN CONFIRMATION OBJECTION; CONF WITH TANIA
            AND CLIENT; PREP OF RELATED EMAIL EXCHANGE; CONF WITH CLIENT

    2136471   RB                                   595.00             $892.50               1.5

   2/5/2018 ANALYSIS OF RADIANS OBJECTION TO PLAN CONFIRMATION; CONF WITH TANIA; ANALYSIS OF
            FILE; PREP OF RELATED EMAIL EXCHANGE; CONF WITH CLIENT

    2136478   RB                                   595.00             $892.50               1.5

   2/6/2018 ANALYSIS OF CORRESPONDENCE REGARDING CLAIM ESTIMATION ISSUES



    2127873   KJM                                  565.00              $56.50               0.1

   2/6/2018 ANALYSIS OF CORDES AND AISENBERG PLEADINGS



    2136480   RB                                   595.00             $119.00               0.2

   2/6/2018 PREPARATION OF EMAIL EXCHANGE RE: PLAN CONFIRMATION OBJECTIONS AND POSSIBLE
            RESPONSES; CONF WITH CLIENT AND TANIA

    2136481   RB                                   595.00             $357.00               0.6

   2/7/2018 REVISE JOINT PLAN OF REORGANIZATION TO CONFORM TABLES TO LATEST VERSION'S
            PAGINATION; FORWARD TO COUNSEL.

    2134102   JAB                                  250.00              $50.00               0.2

   2/7/2018 PREPARATION OF UPDATE TABLE OF CONTENTS TO DEBTORS’ AND OFFICIAL COMMITTEE OF
            EQUITY SECURITY HOLDERS’ JOINT PLAN OF LIQUIDATION DATED FEBRUARY 8, 2018

    2128303   JK                                   250.00             $175.00               0.7

   2/7/2018 ANALYSIS OF PLAN REVISIONS AND CORRESPONDENCE RE SAME



    2130889   KJM                                  565.00             $113.00               0.2
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   2/7/2018 PREPARATION OF REVISIONS TO PLAN REGARDING CLAIM PAYMENT HOLDBACKS



    2130891   KJM                                 565.00              $226.00                0.4

   2/7/2018 ANALYSIS OF CASELAW REGARDING IMPAIRMENT OF CLAIMS AND ISSUES RE SAME



    2130894   KJM                                 565.00            $1,582.00                2.8

   2/7/2018 PREPARATION OF FURTHER REVISED PLAN TO ADDRESS PLAN CONFIRMATION OBJECTIONS
            AND RELATED EMAIL EXCHANGE; CONF WITH TANIA; ANALYSIS OF OBJECTIONS; CONF WITH
            CLIENT
    2136493   RB                                  595.00            $1,963.50                3.3

   2/7/2018 PREPARATION OF EMAIL EXCHANGE RE: REPLY TO PLAN CONFIRMATION OBJECTIONS; CONF
            WITH TANIA

    2136496   RB                                  595.00              $178.50                0.3

   2/7/2018 PREPARATION OF FIRST SUPPLEMENT TO PLAN CONFIRMATION MOTION AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE

    2136497   RB                                  595.00            $1,606.50                2.7

   2/7/2018 PREPARATION OF EMAIL EXCHANGE WITH FRANK RE: RADIANS OBJECTION TO PLAN; CONF
            WITH TANIA

    2136499   RB                                  595.00              $178.50                0.3

   2/7/2018 ANALYSIS OF IMPAIRMENT OF SECURED CREDITOR ISSUES; LEGAL RESEARCH RE: SALE;
            CONF WITH TANIA

    2136501   RB                                  595.00            $1,368.50                2.3

   2/8/2018 ANALYSIS OF CASELAW REGARDING TREATMENT OF CLAIMS AND UNIMPAIRMENT ISSUES
            RELATED TO DISPUTED CLAIMS AND ESTABLISHMENT OF CLAIM RESERVES; PREPARATION OF
            CORRESPONDENCE RE SAME
    2130907    KJM                                 565.00           $3,616.00            6.4

   2/8/2018 TELEPHONE CONFERENCE WITH T MOYRON REGARDING UNIMPAIRMENT ISSUES



    2130908   KJM                                 565.00               $56.50                0.1

   2/8/2018 TELEPHONE CONFERENCE WITH RB REGARDING PLAN TERMS AND UNIMPAIRMENT ISSUES



    2130912   KJM                                 565.00               $56.50                0.1

   2/8/2018 ANALYSIS OF CORRESPONDENCE REGARDING FINRA ISSUES AND PLAN OBJECTIONS



    2130925   KJM                                 565.00               $56.50                0.1

   2/8/2018 ANALYSIS OF CORRESPONDENCE REGARDING CORDES/AISENBERG PLAN OBJECTION
            SETTLEMENT PROPOSAL

    2130931   KJM                                 565.00               $56.50                0.1
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   2/8/2018 TELEPHONE CONF. W/ OPP COUNSEL FRANK RE: RADIANS PLAN OBJECTION AND POSSIBLE
            RESOLUTION - MULTIPLE CALLS

    2136504   RB                                  595.00              $476.00                0.8

   2/8/2018 CONFERENCE CALL WITH TANIA AND CLAUDE FOLLOWED BY CALLS WITH TANIA TO REVIEW
            PLAN OBJECTIONS AND STRATEGIZE FOR RESPONDING

    2136505   RB                                  595.00              $476.00                0.8

   2/8/2018 PREPARATION OF EMAIL EXCHANGE WITH LOUIS RE: FINRA, PLAN OBJECTIONS AND PLAN
            CONFIRMATION ISSUES

    2136509   RB                                  595.00              $119.00                0.2

   2/8/2018 TELEPHONE CONFERENCE WITH TANIA RE: FURTHER DISCUSSION RE: RESPONDING TO PLAN
            OBJECTIONS

    2136512   RB                                  595.00              $178.50                0.3

   2/8/2018 RESEARCH REGARDING ABILITY TO CREATE SET ASIDE FUNDS FOR OBJECTING CREDITORS
            AND TREAT THEM AS UNIMPAIRED; ANALYSIS OF CASES

    2136513   RB                                  595.00            $1,428.00                2.4

   2/8/2018 ANALYSIS OF MULTIPLE EMAILS RE: POSSIBLE RESOLUTION OF CORDES AND AISENBERG
            PLAN OBJECTION; ANALYSIS OF FILE; CONF WITH TANIA

    2136514   RB                                  595.00              $238.00                0.4

   2/8/2018 ANALYSIS OF OCEH CHANGES TO REVISED PLAN; PREP OF RELATED EMAIL EXCHANGE; CONF
            WITH TANIA

    2136515   RB                                  595.00              $297.50                0.5

   2/9/2018 REVISE AMENDED JOINT PLAN OF REORGANIZATION, TABLES THERETO, EXHIBITS THERETO;
            E-FILE.

    2129815   JAB                                 250.00              $100.00                0.4

   2/9/2018 REVIEW AND FINALIZE FIRST SUPPLEMENT TO MOTION RE: PLAN CONFIRMATION WITH PLAN
            REDLINE AS EXHIBIT; E-FILE.

    2129816   JAB                                 250.00               $75.00                0.3

   2/9/2018 ANALYSIS OF CORRESPONDENCE FROM COUNSEL TO EQUITY COMMITTEE REGARDING PLAN
            REVISIONS

    2131010   KJM                                 565.00               $56.50                0.1

   2/9/2018 ANALYSIS OF REPLY TO OPPOSITIONS TO PLAN CONFIRMATION; EMAIL EXCHANGES RE SAME



    2131013   KJM                                 565.00              $169.50                0.3

   2/9/2018 ANALYSIS OF CORRESPONDENCE FROM CORPORATE COUNSEL REGARDING POST-
            CONFIRMATION MATTERS

    2131014   KJM                                 565.00               $56.50                0.1
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   2/9/2018 PREPARATION OF UPDATES TO CLAIM ANALYSIS CHART AND REVISED PLAN



    2131015    KJM                                 565.00              $339.00              0.6

   2/9/2018 PREPARATION OF CORRESPONDENCE REGARDING IPFS CLAIMS AND ISSUES RE PRIORITY
            TAX CLAIM DISCLOSURES IN PLAN

    2131016    KJM                                 565.00               $56.50              0.1

   2/9/2018 ANALYSIS OF CORRESPONDENCE WITH COUNSEL TO FORMER OFFICERS RE PLAN
            OBJECTIONS AND SETTLEMENT DIALOGUE

    2131017    KJM                                 565.00               $56.50              0.1

   2/9/2018 ANALYSIS OF FIRST SUPPLEMENT TO PLAN CONFIRMATION MOTION



    2131019    KJM                                 565.00               $56.50              0.1

   2/9/2018 ANALYSIS OF RADIANS' PLAN OBJECTION SETTLEMENT PROPOSAL AND RELATED
            CORRESPONDENCE

    2131020    KJM                                 565.00               $56.50              0.1

   2/9/2018 ANALYSIS OF AMENDED JOINT PLAN, SUPPLEMENTAL, AND REPLY TO OBJECTIONS TO PLAN
            CONFIRMATION

    2129750    MYK                                 580.00              $348.00              0.6

   2/9/2018 PREPARATION OF EMAIL EXCHANGE WITH TANIA RE: PLAN ISSUES; CONF WITH TANIA



    2136520    RB                                  595.00              $238.00              0.4

   2/9/2018 TELEPHONE CONFERENCE WITH FRANK RE: PLAN NEGOTIATIONS



    2136522    RB                                  595.00              $238.00              0.4

   2/9/2018 ANALYSIS OF REPLY TO PLAN OBJECTIONS; PREP OF REVISIONS; ANALYSIS OF FILE



    2136523    RB                                  595.00             $1,130.50             1.9

   2/9/2018 ANALYSIS OF MULTIPLE EMAILS RE: PLAN AND DTC AND FINRA ISSUES AND REVIEW



    2136526    RB                                  595.00               $119.00             0.2

   2/9/2018 ANALYSIS OF MULTIPLE EMAILS RE: DISCUSSIONS OVER POSSIBLE PLAN OBJECTION
            RESOLUTION WITH CORDES AISENBERG; CONF WITH TANIA; PREP OF RESPONSE

    2136529    RB                                  595.00              $535.50              0.9

   2/9/2018 PREPARATION OF FURTHER REVISED PLAN AND RELATED EMAIL EXCHANGE; ANALYSIS OF
            FILE; CONF WITH TANIA AND CLIENT

    2136530    RB                                  595.00              $714.00              1.2
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   2/9/2018 ANALYSIS OF EMAILS RE: SHAREHOLDER DISTRIBUTION ISSUES; CONF WITH TANIA



    2136531     RB                                 595.00               $119.00             0.2

   2/9/2018 PREPARATION OF FURTHER UPDATED TRUST AGREEMENT AND PLAN AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA; ANALYSIS OF FILE

    2136533     RB                                 595.00               $297.50             0.5

   2/9/2018 PREPARATION OF EMAIL EXCHANGE RE: PLAN DISPUTE WITH RADIANS AND POSSIBLE
            RESOLUTION; ANALYSIS OF FILE; CONF WITH TANIA

    2136535     RB                                 595.00               $238.00             0.4

   2/9/2018 PREPARATION OF FIRST SUPPLEMENT TO PLAN CONFIRMATION MOTION AND RELATED EMAIL
            EXCHANGE; ANALYSIS OF FILE; CONF WITH TANIA; ANALYSIS OF COMMENTS AND FILE

    2136536     RB                                 595.00              $1,547.00            2.6

  2/11/2018 PREPARATION OF PLAN CONFIRMATION ORDER; ANALYSIS OF FILE



    2136543     RB                                 595.00              $1,071.00            1.8

  2/12/2018   PREPARATION FOR AND APPEARANCE AT PLAN CONFIRMATION AND RELATED HEARINGS



    2130229     KJM                                565.00              $3,559.50            6.3

  2/12/2018 ANALYSIS OF CORRESPONDENCE REGARDING 8-K ANNOUNCEMENT AND ENTRY OF PLAN
            CONFIRMATION ORDER

    2130236     KJM                                565.00               $113.00             0.2

  2/12/2018 ANALYSIS OF PROPOSED PLAN CONFIRMATION ORDER AND CORRESPONDENCE RE SAME



    2130239     KJM                                565.00               $169.50             0.3

  2/12/2018 ANALYSIS OF CORRESPONDENCE REGARDING LIQUIDATING TRUSTEE INFORMATION AND
            ISSUES RE SAME

    2130243     KJM                                565.00                $56.50             0.1

  2/12/2018 PREPARATION OF MULTIPLE EMAIL EXCHANGE WITH TANIA AND CLAUDE TO PLAN FOR
            CONTESTED PLAN CONFIRMATION HEARING; CONF WITH TANIA

    2136549     RB                                 595.00               $238.00             0.4

  2/12/2018 PREPARATION OF ORDER APPROVING TRUSTEE AGREEMENT AND TRUST BOARD
             COMPENSATION AND RELATED EMAIL EXCHANGE; CONF WITH MATT AND TANIA; ANALYSIS OF
             FILE AND TRUST AGREEMENT
     2136550     RB                               595.00             $714.00              1.2

  2/12/2018 PREPARATION OF PLAN CONFIRMATION ORDER; ANALYSIS OF COMMENTS FROM DENTON;
            PREP OF RELATED EMAIL EXCHANGE; CONF WITH TANIA

    2136553     RB                                 595.00               $714.00             1.2
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  2/12/2018 APPEARANCE AT PLAN CONFIRMATION HEARING; ANALYSIS OF FILE AND PLAN OBJECTIONS IN
            PREP FOR HEARING

    2136562   RB                                  595.00            $3,451.00               5.8

  2/12/2018 PREPARATION OF FURTHER REVISED PLAN CONFIRMATION ORDER AND RELATED EMAIL
            EXCHANGE; CONF WITH TANIA AND CLIENT

    2136564   RB                                  595.00              $535.50               0.9

  2/13/2018 ANALYSIS OF PLAN CONFIRMATION ORDER, PROPOSED REVISIONS, AND MULTIPLE
            CORRESPONDENCE RE SAME

    2130266   KJM                                 565.00              $339.00               0.6

  2/13/2018 PREPARATION OF EMAIL EXCHANGE WITH WEISS RE: PLAN CONFIRMATION ORDER ISSUES
            AND REVIEW

    2137071   RB                                  595.00              $119.00               0.2

  2/13/2018 ANALYSIS OF CORDES AISENBERG CHANGES TO PLAN CONFIRMATION ORDER; PREP OF
            RELATED EMAIL EXCHANGE WITH COUNSEL TO OCEH; CONF WITH TANIA

    2137075   RB                                  595.00              $357.00               0.6

  2/13/2018 PREPARATION OF MEMO TO CLIENT RE: PLAN AND CONFIRMATION ISSUES AND REVIEW; PREP
            OF MULTIPLE RELATED EMAIL EXHANGE; CONF WITH GEOFF AND MATT; ANALYSIS OF FILE

    2137078   RB                                  595.00              $952.00               1.6

  2/13/2018 ANALYSIS OF RADIANS CHANGES TO PLAN CONFIRMATION ORDER; PREP OF RELATED EMAIL
            EXCHANGE; CONF WITH TANIA

    2137080   RB                                  595.00              $535.50               0.9

  2/13/2018 PREPARATION OF FURTHER REVISED PLAN CONFIRMATION ORDER AND MULTIPLE RELATED
            EMAIL EXCHANGE; ANALYSIS OF FILE; CONF WITH TANIA AND CLAUDE

    2137082   RB                                  595.00              $833.00               1.4

  2/13/2018 PREPARATION OF SUBMISSION NOTICE OF REVISED PLAN CONFIRMATION ORDER AND
            RELATED EMAIL EXCHANGE; CONF WITH TANIA

    2137083   RB                                  595.00              $238.00               0.4

  2/13/2018 TELEPHONE CONFERENCE WITH FRANK RE: PLAN CONFIRMATION DISPUTE



    2137084   RB                                  595.00              $238.00               0.4

  2/13/2018 ANALYSIS OF FURTHER COMMENTS TO PLAN CONFIRMATION ORDER; PREP OF FURTHER
            REVISED PLAN CONFIRMATION ORDER; CONF WITH TANIA

    2137085   RB                                  595.00              $833.00               1.4

  2/13/2018 APPEARANCE AT CONTINUED PLAN CONFIRMATION HEARING; PREP OF FURTHER REVISED OF
             PLAN CONFIRMATION ORDER AND MULTIPLE RELATED EMAIL EXCHANGE; CONF WITH
             MULTIPLE COUNSEL
     2137089    RB                                 595.00           $2,677.50           4.5
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  2/13/2018 PREPARATION OF EMAIL EXCHANGE RE: RECORD DATE AND CONFIRMATION ISSUES; CONF
            WITH TANIA

    2137091   RB                                   595.00             $178.50                0.3

  2/13/2018 PREPARATION OF PLEADING LODGE ORDER CONFIRMING MODIFIED PLAN



    2132702   SR                                   250.00             $100.00                0.4

  2/14/2018 ANALYSIS OF PROPOSED ORDER APPOINTING PLAN TRUSTEE AND CORRESPONDENCE RE
            SAME

    2130564   KJM                                  565.00              $56.50                0.1

  2/14/2018 ANALYSIS OF PLAN CONFIRMATION MEMORANDUM TO BOARD



    2130565   KJM                                  565.00              $56.50                0.1

  2/14/2018 ANALYSIS OF PROPOSED 8-K STATEMENT REGARDING PLAN CONFIRMATION; PROPOSED
            REVISIONS THERETO; AND MULTIPLE CORRESPONDENCE RE SAME

    2130610   KJM                                  565.00              $113.00               0.2

  2/14/2018 ANALYSIS OF NOTICE AND ORDERS CONFIRMING PLAN AND RELATED DISCUSSIONS



    2131382   MYK                                  580.00              $116.00               0.2

  2/14/2018 PREPARATION OF MEMO TO BOARD RE: PLAN AND CONFIRMATION; ANALYSIS OF FILE; PREP
            OF RELATED EMAIL EXCHANGE; CONF WITH CLIENT

    2137097   RB                                   595.00            $1,547.00               2.6

  2/15/2018 ANALYSIS OF PLAN ISSUES AND REVIEW; CONF WITH TANIA



    2137120   RB                                   595.00             $178.50                0.3

  2/16/2018 CONFERENCE CALL WITH TANIA AND MATT RE: PLAN IMPLEMENTATION ISSUES AND OVERALL
            PLANNING FOLLOWED BY CALL WITH MATT

    2137125   RB                                   595.00             $476.00                0.8

  2/18/2018 ANALYSIS OF PROPOSED REVISIONS TO TRUSTEE SERVICES AGREEMENT AND
            CORRESPONDENCE RE SAME

    2134897   KJM                                  565.00              $56.50                0.1

  2/19/2018 ANALYSIS OF PROPOSED REVISIONS TO TRUST AGREEMENT AND CORRESPONDENCE RE
            SAME

    2134886   KJM                                  565.00              $113.00               0.2

  2/19/2018 ANALYSIS OF CORRESPONDENCE REGARDING TRUST INDEMNIFICATION PROVISIONS



    2134903   KJM                                  565.00              $56.50                0.1
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  2/20/2018 ANALYSIS OF REVISIONS TO TRUST SERVICES AGREEMENT AND CORRESPONDENCE RE SAME



    2131613       KJM                               565.00                 $56.50              0.1

  2/23/2018 ANALYSIS OF CORRESPONDENCE FROM L WHARTON REGARDING PLAN EFFECTIVE DATE AND
            ISSUES RE SAME

    2134988       KJM                               565.00                 $56.50              0.1

  2/23/2018 ANALYSIS OF WHARTON EMAIL RE: DTC AND PROJECTED PLAN EFFECTIVE DATE; PREP OF
            RESPONSE; CONF WITH WHARTON

    2137507       RB                                595.00                $119.00              0.2

  2/26/2018    EMAIL EXCHANGE WITH L WHARTON REGARDING CERTIFICATION OF PLAN CONFIRMATION
               ORDER; PREPARATION OF RELATED CORRESPONDENCE

    2135057       KJM                               565.00                 $56.50              0.1

  2/26/2018 ANALYSIS OF LOUIS EMAIL RE: PLAN AND SEC; CONF WITH LOUIS



    2137535       RB                                595.00                 $59.50              0.1

  2/26/2018 ANALYSIS OF LOUIS EMAIL RE: PLAN CONFIRMATION ORDER AND RESPONSE



    2137538       RB                                595.00                 $59.50              0.1

  2/26/2018    OBTAIN CERTIFIED COPY OF PLAN CONFIRMATION ORDER



    2136586       SR                                250.00                 $25.00              0.1

   3/1/2018 PREPARATION OF FINAL VERSIONS OF TRUST AGREEMENT DOCUMENTS



    2135534       KJM                               565.00                 $56.50              0.1

                                                Total                $169,569.00           295.7
     20   -   OTHER LITIGATION

 11/21/2017 PREPARATION OF NOTICE OF HEARING ON MOTION TO CONFER STANDING



    2109885       KJM                               535.00                $107.00              0.2

 11/21/2017 PREPARATION OF MOTION TO CONFER STANDING ON EQUITY COMMITTEE



    2109886       KJM                               535.00                $321.00              0.6

 11/21/2017    MULTIPLE EMAIL EXCHANGES WITH COUNSEL TO EQUITY COMMITTEE REGARDING
               STIPULATION TO CONFER STANDING

    2109887       KJM                               535.00                 $53.50              0.1
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    2109888    KJM                                  535.00             $53.50               0.1

 11/21/2017 ANALYSIS OF CORRESPONDENCE TO EQUITY COMMITTEE RE INSURANCE POLICY ISSUES



    2109898    KJM                                  535.00             $53.50               0.1

 11/21/2017 ANALYSIS OF EQUITY COMMITTEE'S PROPOSED EDITS TO COMMON INTEREST AGREEMENT
            AND CORRESPONDENCE RE SAME

    2109927    KJM                                  535.00             $53.50               0.1

 11/22/2017 PREPARATION OF COMMON INTEREST AGREEMENT; CONFER WITH T MOYRON RE SAME;
            PREPARATION OF CORRESPONDENCE RE SAME

    2110133    KJM                                  535.00            $160.50               0.3

 11/22/2017 ANALYSIS OF SKADDEN REPORT RE OFFICER WRONGDOING AND CORRESPONDENCE RE
            SAME

    2110779    KJM                                  535.00            $374.50               0.7

 11/23/2017 ANALYSIS OF CORRESPONDENCE TO DEBTOR REPS REGARDING COMMON INTEREST
            AGREEMENT

    2110784    KJM                                  535.00             $53.50               0.1

  12/3/2017 ANALYSIS OF CORRESPONDENCE TO COUNSEL TO CORDES AND AISENBERG REGARDING
            D&O POLICIES

    2113397    KJM                                  535.00             $53.50               0.1

  12/3/2017 ANALYSIS OF EMAILS RE: CORDES AND AISENBERG AND D&OI INSURANCE DISPUTE



    2114948    RB                                   595.00             $59.50               0.1

  12/5/2017 ANALYSIS OF ADVERSARY COMPLIANT FILED BY EQUITY COMMITTEE AGAINST RADIANS



    2114102    KJM                                  535.00            $107.00               0.2

  12/5/2017 ANALYSIS OF CORRESPONDENCE REGARDING AND COMMENTS TO STIPULATION WITH
            FORMER OFFICERS RE D&O POLICY ACCESS

    2114119    KJM                                  535.00             $53.50               0.1

  12/6/2017 ANALYSIS OF CORRESPONDENCE FROM INSURANCE CARRIER RE COVERAGE ISSUES



    2114241    KJM                                  535.00             $53.50               0.1

  12/6/2017 ANALYSIS OF TANIA EMAIL RE: SPECIAL LITIGATION COUNSEL



    2115528    RB                                   595.00             $59.50               0.1
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CASE #       8300                                             From Date             11/21/2017
                                                                 To Date              5/1/2018
 12/14/2017 PREPARATION OF PROPOSED ORDER ON MOTION TO CONFER STANDING AND STIPULATION
            RE SAME; PREPARATION OF CORRESPONDENCE TO COUNSEL TO EQUITY COMMITTEE RE
            SAME
    2116402   KJM                                   535.00               $107.00             0.2

 12/14/2017 ANALYSIS OF QBE LETTER RE: SEC SUBPOENAS



    2116625   RB                                    595.00                $59.50             0.1

 12/21/2017 TELEPHONE CONFERENCE WITH KRIEGER RE: FOREIGN IP LAWSUIT ISSUES AND REVIEW OF
            POSSIBLE RESOLUTIONS

    2119140   RB                                    595.00               $178.50             0.3

  1/11/2018 ANALYSIS OF RADIANS 2004 STIP WITH OCEH; CONF WITH TANIA



    2129333   RB                                    595.00                $119.00            0.2

  1/23/2018 PREPARATION OF UPDATED CASE DATES AND DEADLINES CHART



    2124533   KJM                                   565.00                $56.50             0.1

  1/23/2018 ANALYSIS OF CORRESPONDENCE REGARDING AGENDA FOR CONFERENCE CALL



    2124534   KJM                                   565.00                $56.50             0.1

  1/26/2018 ANALYSIS OF COMPLAINT VS. CORDES AND AISENBERG



    2125693   KJM                                   565.00               $169.50             0.3

  1/29/2018 ANALYSIS OF OPPOSITION TO RADIANS MOTION TO DISMISS COMPLAINT



    2126223   KJM                                   565.00                $113.00            0.2

  2/12/2018 APPEARANCE AT HEARING ON RADIANS MOTION TO DISMISS LAWSUIT



    2136563   RB                                    595.00               $595.00             1.0

  2/13/2018 ANALYSIS OF EMAIL EXCHANGE WITH BOARD MEMBER REGARDING SHAREHOLDER
            LITIGATION

    2130275   KJM                                   565.00                $56.50             0.1

  2/22/2018 ANALYSIS OF EMAILS RE: CORDES AISENBERG CLAIMS AND D&O INSURANCE ISSUES



    2137466   RB                                    595.00                $59.50             0.1

                                               Total                   $3,187.50             5.7
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     99   -   MISCELLANEOUS

  12/4/2017 PREPARATION OF EMALI EXCHANGE WITH LOUIS RE: BLOG ISSUES



    2114968      RB                                 595.00                $59.50            0.1

  12/6/2017 PREPARATION OF EMAIL EXCHANGE RE: TIMING OF CAUSING STOCK TRADING AND METHOD
            OF ACCOMPLISHING IT; CONF WITH TANIA

    2115525      RB                                 595.00               $178.50            0.3

  12/6/2017 ANALYSIS OF QBE LETTER RE: SEC ISSUES



    2115676      RB                                 595.00                $59.50            0.1

  12/7/2017 PREPARATION OF EMAIL EXCHANGE RE: SEC ISSUES AND REVIEW



    2115712      RB                                 595.00               $119.00            0.2

   1/2/2018 PREPARATION OF EMAIL EXCHANGE RE: STOCK HALTING ISSUES AND FINRA



    2129151      RB                                 595.00               $119.00            0.2

   1/2/2018 PREPARATION OF FURTHER EMAIL EXCHANGE RE: STOCK TRADING HALT AND FINRA ISSUES
            AND REVIEW

    2129158      RB                                 595.00               $119.00            0.2

   1/3/2018 PREPARATION OF EMAIL EXCHANGE RE: STOCK OPTIONS ISSUES AND REVIEW; CONF WITH
            MATT

    2129167      RB                                 595.00               $178.50            0.3

   1/8/2018 ANALYSIS OF EMAILS RE: STOCK OPTION ISSUES AND REVIEW



    2129240      RB                                 595.00                $59.50            0.1

   1/9/2018 ANALYSIS OF EMAILS RE: STOCK TRADING HALT AND FINRA ISSUES



    2129250      RB                                 595.00                $59.50            0.1

   1/9/2018 ANALYSIS OF MULTIPLE EMAILS RE: STOCK OPTIONS ISSUES AND REVIEW; PREP OF
            RESPONSE

    2129251      RB                                 595.00               $119.00            0.2

   1/9/2018 TELEPHONE CONFERENCE WITH TANIA RE: STOCK OPTIONS ISSUES AND REVIEW



    2129261      RB                                 595.00               $178.50            0.3
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  1/10/2018 CONFERENCE CALL WITH MULTIPLE PARTIES TO REVIEW STOCK OPTION ISSUES AND
            POSSIBLE RESOLUTIONS

    2129275    RB                                   595.00                 $297.50            0.5

  1/10/2018 ANALYSIS OF EMAILS RE: STOCK RESTRICTIONS



    2129278    RB                                   595.00                  $59.50            0.1

  1/10/2018 ANALYSIS OF EMAILS RE: STOCK INCENTIVE PLAN; CONF WITH TANIA



    2129285    RB                                   595.00                 $119.00            0.2

  1/11/2018 PREPARATION OF EMAIL EXCHANGE RE: SHAREHOLDER ISSUES AND REVIEW



    2129301    RB                                   595.00                 $119.00            0.2

  1/11/2018 ANALYSIS OF 2006 STOCK INCENTIVE PLAN AND RELATED EMAILS; CONF WITH TANIA



    2129309    RB                                   595.00                 $297.50            0.5

  1/11/2018 PREPARATION OF EMAIL EXCHANGE RE: STOCKHOLDER ISSUES; CONF WITH MATT



    2129319    RB                                   595.00                 $119.00            0.2

  1/11/2018 ANALYSIS OF STOCK OPTION CANCELLATION MATTER AND BOARD CONSENT AND RELATED
            EMAILS; CONF WITH TANIA

    2129329    RB                                   595.00                 $297.50            0.5

  1/11/2018 ANALYSIS OF STOCK OPTION SPREAD SHEET AND RELATED EMAILS



    2129332    RB                                   595.00                 $178.50            0.3

  1/12/2018 ANALYSIS OF STOCK OPTION CANCELLATION NOTICE AND RELATED EMAILS



    2129346    RB                                   595.00                 $119.00            0.2

  1/17/2018 ANALYSIS OF MULTIPLE EMAILS AND DOCS RE: STOCK OPTION ISSUES AND REVIEW; CONF
            WITH CLIENT

    2129370    RB                                   595.00                 $178.50            0.3

  1/18/2018 ANALYSIS OF EMAILS RE: STOCK TRADING HALT ISSUES AND REVIEW; PREP OF RELATED
            EMAIL EXCHANGE

    2129387    RB                                   595.00                 $119.00            0.2

  1/18/2018 ANALYSIS OF LOUIS EMAIL RE: POSSIBLE 8-K RE: STOCK ISSUES



    2129394    RB                                   595.00                  $59.50            0.1
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  1/24/2018 ANALYSIS OF STOCK OPTION CANCELLATON NOTICE AND RELATED EMAILS AND 8-K



    2130068   RB                                   595.00             $357.00                0.6

  1/24/2018 ANALYSIS OF DRAFT OF PRESS RELEASE FOR PLAN AND HALT OF STOCK TRADING; CONF
            WITH TANIA

    2130069   RB                                   595.00             $238.00                0.4

  1/25/2018 ANALYSIS OF FURTHER STOCK OPTION AND CANCELLATION ISSUES AND REVIEW; CONF WITH
            CLIENT

    2130086   RB                                   595.00             $178.50                0.3

  1/25/2018 ANALYSIS OF STOCK DISTRIBUTION ISSUES TO HOLDERS; ANALYSIS OF RELATED EMAILS;
            CONF WITH TANIA

    2130089   RB                                   595.00             $178.50                0.3

  1/25/2018 ANALYSIS OF EMAILS RE: STOCK RECORD DATE ISSUES AND REVIEW; CONF WITH TANIA



    2130095   RB                                   595.00              $119.00               0.2

  1/26/2018 ANALYSIS OF WHARTON EMAIL RE: STOCK OPTION TERMINATION ISSUES



    2130108   RB                                   595.00              $59.50                0.1

  1/29/2018 ANALYSIS OF SHAREHOLDER DISTRIBUTION ISSUES AND RELATED EMAILS; CONF WITH TANIA



    2130129   RB                                   595.00              $119.00               0.2

  1/31/2018 ANALYSIS OF MULTIPLE EMAILS RE: DISTRIBUTIONS TO SHAREHOLDERS; CONF WITH TANIA



    2130156   RB                                   595.00              $119.00               0.2

   2/1/2018 ANALYSIS OF REVISED 8K AND PRESS RELEASE AND MULTIPLE RELATED EMAILS



    2136446   RB                                   595.00             $178.50                0.3

  2/28/2018 ANALYSIS OF FINRA AND DTC NOTICES AND RELATED EMAILS; CONF WITH LOUIS



    2137899   RB                                   595.00              $119.00               0.2

   3/7/2018 ANALYSIS OF EMAILS RE: SHAREHOLDER ISSUES AND REVIEW; CONF WITH MATT



    2141980   RB                                   595.00              $119.00               0.2

                                               Total               $4,998.00                 8.4
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        01 - ASSET ANALYSIS AND RECOVERY

RB                                 15.5      595.00                $9,222.50

     Total Hours                   15.5      Total Fees            $9,222.50
                    INDIVIDUAL
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         02 - ASSET DISPOSITION

KJM                                  5.4      535.00                $2,889.00

KJM                                  4.2      565.00                $2,373.00

MYK                                  1.6      575.00                 $920.00

RB                                   0.1      595.00                     $59.50

      Total Hours                   11.3      Total Fees            $6,241.50
                    INDIVIDUAL
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         03 - BUSINESS OPERATIONS

JAB                                  0.1      250.00                     $25.00

KJM                                  0.1      565.00                     $56.50

MYK                                  0.5      575.00                 $287.50

RB                                  18.2      595.00               $10,829.00

      Total Hours                   18.9      Total Fees           $11,198.00
                    INDIVIDUAL
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         04 - CASE ADMINISTRATION

KJM                                  6.7      535.00                $3,584.50

KJM                                  3.3      565.00                $1,864.50

LC                                   7.5      250.00                $1,875.00

MYK                                  1.7      575.00                 $977.50

MYK                                  2.7      580.00                $1,566.00

RB                                  14.7      595.00                $8,746.50

SR                                  13.5      250.00                $3,375.00

      Total Hours                   50.1      Total Fees           $21,989.00
                    INDIVIDUAL
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         05 - CLAIMS ADMIN. AND OBJECTIONS

JAB                                  2.2      250.00                 $550.00

JK                                   1.3      250.00                 $325.00

KJM                                 34.6      535.00               $18,511.00

KJM                                  5.3      565.00                $2,994.50

LC                                   1.1      250.00                 $275.00

MYK                                  1.9      575.00                $1,092.50

MYK                                  0.8      580.00                 $464.00

RB                                  34.6      595.00               $20,587.00

SR                                   5.5      250.00                $1,375.00

      Total Hours                   87.3      Total Fees           $46,174.00
                    INDIVIDUAL
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         07 - FEE / EMPLOYMENT APPLICATIONS

KJM                                 18.3      535.00                $9,790.50

KJM                                  8.1      565.00                $4,576.50

LC                                   7.2      250.00                $1,800.00

MYK                                  6.7      575.00                $3,852.50

MYK                                  0.3      580.00                 $174.00

RB                                  35.4      595.00               $21,063.00

SR                                   5.8      250.00                $1,450.00

      Total Hours                   81.8      Total Fees           $42,706.50
                    INDIVIDUAL
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         08 - FEE / EMPLOYMENT OBJECTIONS

KJM                                  2.2      535.00                $1,177.00

RB                                  17.1      595.00               $10,174.50

      Total Hours                   19.3      Total Fees           $11,351.50
                   INDIVIDUAL
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        09 - FINANCING

RB                                  0.2      595.00                 $119.00

     Total Hours                    0.2      Total Fees             $119.00
                    INDIVIDUAL
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         10 - RELIEF FROM STAY

KJM                                  1.5      535.00                 $802.50

KJM                                  5.0      565.00                $2,825.00

MYK                                  0.2      575.00                 $115.00

RB                                   2.8      595.00                $1,666.00

      Total Hours                    9.5      Total Fees            $5,408.50
                   INDIVIDUAL
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        11 - MEETINGS OF CREDITORS

RB                                  1.1      595.00                 $654.50

     Total Hours                    1.1      Total Fees             $654.50
                    INDIVIDUAL
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         12 - PLAN AND DISCLOSURE STATEMENT

JAB                                  0.9      250.00                 $225.00

JK                                   0.7      250.00                 $175.00

KJM                                 19.9      535.00               $10,646.50

KJM                                 36.0      565.00               $20,340.00

LC                                   7.0      250.00                $1,750.00

MYK                                  3.4      575.00                $1,955.00

MYK                                  1.9      580.00                $1,102.00

RB                                 222.9      595.00              $132,625.50

SR                                   3.0      250.00                 $750.00

      Total Hours                  295.7      Total Fees          $169,569.00
                    INDIVIDUAL
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         20 - OTHER LITIGATION

KJM                                  3.0      535.00                $1,605.00

KJM                                  0.8      565.00                 $452.00

RB                                   1.9      595.00                $1,130.50

      Total Hours                    5.7      Total Fees            $3,187.50
                   INDIVIDUAL
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        99 - MISCELLANEOUS

RB                                  8.4      595.00                $4,998.00

     Total Hours                    8.4      Total Fees            $4,998.00
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JAB                             3.2   Hours @       250.00                     $800.00
JK                              2.0   Hours @       250.00                     $500.00
KJM                            91.6   Hours @       535.00                  $49,006.00
KJM                            62.8   Hours @       565.00                  $35,482.00
LC                             22.8   Hours @       250.00                   $5,700.00
MYK                            16.0   Hours @       575.00                   $9,200.00
MYK                             5.7   Hours @       580.00                   $3,306.00
RB                            372.9   Hours @       595.00                 $221,875.50
SR                             27.8   Hours @       250.00                   $6,950.00

      Total Hours             604.8                        Total Fees      $332,819.50
                     ACTIVITY
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         DESCRIPTION                                                  FEES

        ASSET ANALYSIS AND RECOVERY                                $9,222.50

        ASSET DISPOSITION                                          $6,241.50

        BUSINESS OPERATIONS                                       $11,198.00

        CASE ADMINISTRATION                                      $21,989.00

        CLAIMS ADMIN. AND OBJECTIONS                             $46,174.00

        FEE / EMPLOYMENT                                         $42,706.50

        FEE / EMPLOYMENT OBJECTIONS                               $11,351.50

        FINANCING                                                   $119.00

        RELIEF FROM STAY                                           $5,408.50

        MEETINGS OF CREDITORS                                       $654.50

        PLAN AND DISCLOSURE                                     $169,569.00

        OTHER LITIGATION                                           $3,187.50

        MISCELLANEOUS                                              $4,998.00

                            TOTAL FEES                          $332,819.50
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 11/22/2017         TELEPHONIC COURT APPEARANCE                         117.50
 11/27/2017         WESTLAW RESEARCH                                    500.32
 11/30/2017         REPRODUCTION COSTS                                 5,302.80
 11/30/2017         POSTAGE                                            1,219.30
 11/30/2017         FEDERAL EXPRESS                                     632.50
 11/30/2017         WESTLAW RESEARCH                                    168.27
 11/30/2017         MESSENGER SERVICE                                      97.50
 11/22/2017         ATTORNEY SERVICE COSTS                                 97.50
 11/28/2017         ATTORNEY SERVICE COSTS                              907.50
 11/29/2017         ATTORNEY SERVICE COSTS                                 97.50
 11/30/2017         ATTORNEY SERVICE COSTS                              230.80
 11/30/2017         FILING FEE                                             31.00
 12/18/2017         Overnight Delivery                                     29.03
 12/6/2017          ATTORNEY SERVICE COSTS                                 65.00
 12/8/2017          ATTORNEY SERVICE COSTS                                 65.00
 12/11/2017         MESSENGER SERVICE                                      75.00
 12/12/2017         ATTORNEY SERVICE COSTS                                 97.50
 12/27/2017         FILING FEE                                             31.00
 12/27/2017         WESTLAW RESEARCH                                   2,140.91
 12/4/2017          Overnight Delivery                                     17.86
 12/4/2017          Overnight Delivery                                     17.86
 12/4/2017          Overnight Delivery                                     17.86
 12/4/2017          Overnight Delivery                                     17.86
 12/5/2017          Overnight Delivery                                     17.86
 12/5/2017          Overnight Delivery                                     17.86
 12/5/2017          Overnight Delivery                                     17.86
 12/7/2017          Overnight Delivery                                     17.86
 12/8/2017          Overnight Delivery                                     17.86
 12/8/2017          Overnight Delivery                                     17.86
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 12/11/2017         Overnight Delivery                                     20.94
 12/15/2017         Overnight Delivery                                     23.74
 12/28/2017         CONFERENCE CALL CHARGES                             108.24
 12/28/2017         CONFERENCE CALL CHARGES                             175.61
 12/11/2017         Overnight Delivery                                     20.94
 12/29/2017         REPRODUCTION COSTS                                 4,178.20
 12/29/2017         POSTAGE                                             917.21
 12/18/2017         CONFERENCE CALL CHARGES                             125.00
 12/18/2017         CONFERENCE CALL CHARGES                             117.50
 12/30/2017         ATTORNEY SERVICE COSTS                                 55.00
 12/31/2017         ATTORNEY SERVICE COSTS                                 65.00
 12/31/2017         MISCELLANEOUS                                       138.35
 12/31/2017         FEDERAL EXPRESS                                        73.50
 12/31/2017         FEDERAL EXPRESS                                        70.50
 12/31/2017         WESTLAW RESEARCH                                    732.42
 1/3/2018           ATTORNEY SERVICE COSTS                                 97.50
 1/4/2018           MESSENGER SERVICE                                      75.00
 1/12/2018          ATTORNEY SERVICE COSTS                                 97.50
 1/12/2018          ATTORNEY SERVICE COSTS                                 97.50
 1/12/2018          FEDERAL EXPRESS                                        30.73
 1/31/2018          REPRODUCTION COSTS                                  871.80
 1/31/2018          POSTAGE                                                98.00
 1/31/2018          FEDERAL EXPRESS                                        19.33
 1/31/2018          CONFERENCE CALL CHARGES                                88.76
 2/9/2018           ATTORNEY SERVICE COSTS                                 82.50
 2/9/2018           ATTORNEY SERVICE COSTS                                 97.50
 2/9/2018           MESSENGER SERVICE                                      75.00
 2/28/2018          REPRODUCTION COSTS                                 1,244.40
 2/28/2018          POSTAGE                                             797.85
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                COSTS
                    MainBREAKDOWN
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                                                                4/3/2018
Ironclad Performance Wear                From Date 11/21/2017
CASE # 8300                                To Date 5/1/2018

 2/20/2018          ATTORNEY SERVICE COSTS                                 65.00
 2/26/2018          MESSENGER SERVICE                                      67.50
 2/27/2018          ATTORNEY SERVICE COSTS                              149.50
 2/28/2018          WESTLAW RESEARCH                                    974.13
 2/28/2018          CONFERENCE CALL CHARGES                                21.29
 2/28/2018          CONFERENCE CALL CHARGES                                 7.46
 3/7/2018           MESSENGER SERVICE                                      75.00
 3/30/2018          REPRODUCTION COSTS                                     50.80
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                   COSTS   SUMMARY
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Ironclad Performance Wear                From Date 11/21/2017
FILEE # 8300                               To Date 5/1/2018


          CONFERENCE CALL CHARGES                                      643.86

          REPRODUCTION COSTS                                        11,648.00
          FEDERAL EXPRESS                                              826.56
          FILING FEE                                                      62.00
          MESSENGER SERVICE                                            465.00
          MISCELLANEOUS                                                138.35
          Overnight Delivery                                           273.25
          POSTAGE                                                    3,032.36
          ATTORNEY SERVICE COSTS                                     2,367.80
          TELEPHONIC COURT APPEARANCE                                    117.50
          WESTLAW RESEARCH                                           4,516.05

                               TOTAL COSTS                         $24,090.73
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                    EXHIBIT "3"
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Professional Resume

DAVID W. LEVENE, born March 24, 1945, New York, New York. A
founding partner of Levene, Neale, Bender, Yoo & Brill L.L.P.. Business
and Professional Experience: July, 1974 to Present, attorney specializing in
matters of bankruptcy, insolvency, business reorganization and commercial
financing. Education and Honors: University of Southern California, B.S.,
Business Administration, 1967; University of Southern California, M.B.A.,
finance and marketing, 1968; Loyola University of Los Angeles, J.D. magna
cum laude, 1974. Bar Admissions: California, United States District Court
for the Southern, Central, Eastern and Northern Districts of California;
and U.S. Court of Appeals, Ninth Circuit. Professional Memberships and
Associations: Los Angeles County (past member: Executive Committee,
Commercial Law and Bankruptcy Section; Bankruptcy Subcommittee);
Past chair of Bankruptcy Section of Beverly Hills Bar Association; Federal
and American Bar Associations; The State Bar of California; Financial                 David W. Levene
Lawyers Conference; American Bankruptcy Institute; Commercial Law                     dwl@lnbyb.com
League of America; and Turnaround Management Association. Guest
Lecturer: Frost & Sullivan, Inc., “Loan Workouts, LBOs and Bankruptcy”;
The Banking Law Institute, “Loan Workout, Restructure and Bankruptcy”;
Drexel Burnham Lambert, “Chapter 11”; Financial Lawyers Conference,
“Fraudulent Conveyances”; Los Angeles Bankruptcy Forum, “Out of Court
Reorganizations”; Orange County Bankruptcy Forum, “Restructuring
Financially Troubled Businesses”; Jewelers Board of Trade, “Consignment
Issues in Bankruptcy”; Turnaround Management Association, “Case Study
on Representation of Debtor in Out of Court Workouts and Chapter 11”;
National Conference of the Turnaround Management Association, “Gaining
Confidence of Lenders and Creditors in Workouts and Restructurings”;
Young Presidents’ Organization National Conference, “Acquisition and
Investment Opportunities in Bankruptcy Reorganization Cases”; The
Counselors of Real Estate Convention, “Chapter 11 and the Role of the
Real Estate Advisor”; Association of Insolvency Accountants: Valuation
Conference, “Valuation Issues in Chapter 11 Cases”, Moderator of seminar
on “Workouts” sponsored by Orange Country Bankruptcy Forum, “Role of
Appraisers in Bankruptcy & Reorganization Cases” presented at convention
of American Society of Appraisers, and guest lecturer on “Workouts and
Restructuring” presented nationally by Fulcrum Information Services. Twice
continued...                                                         pg 1 of 2


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David W. Levene
Professional Resume
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included in annual list of “100 most prominent business attorneys practicing
in Los Angeles County” in Los Angeles Business Journal’s annual list of
“Who’s Who in Law and Accounting.” Repeatedly listed as a “Southern
California Super Lawyer” in annual polls of his peers.




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Professional Resume

DAVID L. NEALE began his legal career in New York, with the law firm of
Kramer, Levin, Nessen, Kamin & Frankel, where he represented creditors
and creditors’ committees in large, complex cases such as Texaco Inc.,
LTV Steel and Charter Co. When Mr. Neale relocated to California in
1989, to join the law firm of Levene & Eisenberg, he brought with him an
understanding of creditors’ rights and remedies that he was able to apply
to the representation of debtors and other constituencies in bankruptcy and
workout situations.

His broad experience includes handling cases in a variety of areas
including: Manufacturing (successful Chapter 11 reorganization for
companies such as Future Media Productions, a manufacturer of blank
CDs and DVDs; California Aircraft & Engines, Inc., a manufacturer of
aircraft engine parts with claimants from around the world; DCC Compact
Classics, Inc., a manufacturer of specialty CDs and recordings; Fernandes               David L. Neale
Guitars, a manufacturer of electric and acoustic guitars for distribution               dln@lnbyb.com
around the world); the food and beverage industry (Chinois Restaurant,
successful Chapter 11 reorganization for a Las Vegas restaurant; Café-
Melisse Valencia, successful out-of court workout and orderly liquidation;
Galletti Brothers Foods, successful Chapter 11 reorganization for one of
the nation’s largest fresh seafood wholesalers); Construction (successful
Chapter 11 reorganization for Rock & Waterscape, Inc., builder of water-
themed features in Las Vegas and around the world); Real estate
(successful Chapter 11 cases for North Silver Lake Lodge, LLC, involving
one of the last undeveloped parcels of real property in the Deer Valley, Utah
ski resort area; IDM Corporation and its affiliates requiring the restructuring
of over $1 billion in debt; and Galletti Brothers Investments, a real estate
partnership with multiple properties. He has also represented Ritter Ranch
Development, the owner of an 11,000 acre development property in
Palmdale; and National Enterprises, Inc. and San Diego Investments, real
estate management and development companies with properties across the
United States); Energy (representing the California Independent System
Operator Corporation in connection with the bankruptcy cases of California
Power Exchange, Pacific Gas & Electric Co., Enron Inc. and Mirant and its
affiliates); Banking and finance (Imperial Credit Industries, Inc.); Trucking
(Consolidated Freightways and its affiliates, in which Mr. Neale
represented multi-employer pension funds that were the largest creditors

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David L. Neale
Professional Resume
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and went on to represent the post-confirmation Plan Oversight Committee
and serve as special counsel to the Liquidating Trust in certain litigation and
appellate matters, and The Penn Traffic Co. and its affiliates, in which Mr.
Neale represented certain multi-employer retirement, health and welfare
funds); Technology and communication (WCI Cable, Inc., a fiber optic
cable network located in Oregon and Alaska); and Retail (successful
Chapter 11 cases for Ortho Mattress, Inc., a manufacturer and retailer
of bedding products; Britches of Georgetowne, Inc., a clothing retailer
with outlets in several states). Mr. Neale has a particular expertise in the
entertainment industry. He has represented clients involved in publishing
(New Millennium Entertainment, Buzz Magazine); film exhibition (Resort
Theaters of America); film production (Franchise Pictures, LLC and its
affiliates); The Samuel Goldwyn Company in connection with its acquisition
of Heritage Entertainment); and artists (Gladys Knight, Mick Fleetwood,
Lynn Redgrave, among others).

Mr. Neale is both an experienced and aggressive litigator whose cases
have resulted in several notable published opinions, and a seasoned
negotiator who brings his skills to bear as a member of the Mediation
Panel for the Bankruptcy Court for the Central District of California. He
is a Member of the American Bar Association, Association of the Bar of
the City of New York, New York County Bar Association, Century City Bar
Association, Beverly Hills Bar Association, Financial Lawyers’ Conference,
Association of Trial Lawyers of America, Turnaround Management
Association, and the Commercial Law League of America. Mr. Neale serves
on the Board of Directors of the Financial Lawyers Conference and AIDS
Project Los Angeles.

Mr. Neale received his B.A., Summa Cum Laude from Princeton University
in 1984 and his J.D. from Columbia University School of Law in 1987.
He was admitted to the New York Bar in 1988 and the California Bar in
1989. He was admitted to the Ninth Circuit Court of Appeals in 1989, and
was admitted to the United States District Court for the Southern and
Eastern Districts of New York in 1988. In 1989, he was admitted to the
Central, Eastern, Northern and Southern Districts of California. He has also
practiced extensively in courts around the country, in venues as diverse
as Oregon, Arizona, Nevada, Texas, Arkansas, Utah, Florida, New York,
Deleware and Tennessee.
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David L. Neale
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Mr. Neale is the author of “Bankruptcy and Contractual Relations in the
Entertainment Industry – An Overview, “1990 Entertainment, Publishing
and the Arts Handbook;“ A Survey of Recent Bankruptcy Decisions
Impacting upon the Entertainment Industry,“ 1992 - 1993 Entertainment,
Publishing and the Arts Handbook;“ SEC Actions and Stays,” National
Law Journal, 2002; and “The Scope and Application of 11 U.S.C. § 1145,”
American Bankruptcy Institute Bankruptcy Battleground West, 2003. He
was featured as a “Mover & Shaker” by The Deal magazine in 2006, and
has been interviewed several times by, among others, KNX news radio in
Los Angeles, Variety magazine and the California Real Estate Journal on
bankruptcy topics.

Mr. Neale has appeared as a speaker on the following topics before
the following organizations: “Making the Best Better: Lessons From the
Battlefield,” Turnaround Management Association 6th Annual Spring
Meeting, 1998; “Litigation Issues in Bankruptcy,” Business Torts - An
Introduction and Primer, Consumer Attorneys Association of Los Angeles,
1998; “There Must Be Fifty Ways to Leave Your Troubles,” Turnaround
Management Association, 1998; “The Impact of State Court Decisions in
Bankruptcy Court,” Beverly Hills Bar Association, 2001. He has appeared as
a panelist, addressing issues relating to “Bankruptcy in the Dot-Com
Economy” and “Licensing Agreements: How to Draft and Enforce Them” for
Law.Com Seminars; “Public Company Debtors and the SEC,” American
Bankruptcy Institute Bankruptcy Battleground West, 2003; “The 2005
Amendments to Bankruptcy Code Sections 546(c) and 547 – The Early
Returns,” Financial Lawyers Conference, 2008; and “Transfers of
Intellectual Property,” Southwestern Law School, Bankruptcy in the New
Millennium, 2010.

Mr. Neale has consistently been named by Los Angeles magazine as one of
its 100 “Super Lawyers” in the bankruptcy field.




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Professional Resume

RON BENDER is a founding and co-managing partner of the firm. With a
large and diverse practice, Mr. Bender has successfully reorganized and
sold numerous companies and restructured the financial affairs of many
individuals. Mr. Bender is widely regarded as a highly creative, results
oriented bankruptcy attorney who is able to tackle complex problems and
develop and implement creative solutions. Mr. Bender has repeatedly been
listed by “Super Lawyers” as one of the top 100 lawyers in Southern Califor-
nia in regional surveys of his peers. Mr. Bender received his undergraduate
degree in Finance from the prestigious Wharton School of Business at the
University of Pennsylvania in 1986 where he graduated first in his class (B.S.,
summa cum laude), and then obtained his law degree from Stanford Univer-
sity Law School in 1989. During law school, Mr. Bender served as a judicial
extern for the Honorable Lloyd King, U.S. Bankruptcy Court, Northern District
of California Bankruptcy Court. Since graduating from law school, Mr. Bender
has worked solely in the areas of bankruptcy, insolvency and business                    Ron Bender
reorganization, and has developed one of the largest bankruptcy, insolvency              rb@lnbyb.com
and restructuring practices in Southern California, including the representa-
tion of debtors, creditors’ committees, creditors, purchasers of businesses,
and assignees in the context of assignments for the benefit of creditors. Mr.
Bender’s incredibly broad Chapter 11 and insolvency debtor experience
includes the the representation of Ironclad Performance Wear (a leading,
technology-focused developer and manufacturer of high-performance
task-specific gloves and apparel for the “industrial athlete” which was sold for
$25.25 million); representation of Rdio (a digital music service provider which
was sold to Pandora for $75 million); Country Villa (one of the largest owners
and operators of skilled nursing facilities with annual revenue of more than
$200 million which was sold for $62 million); Pebble ABC in a sale to Fitbit for
$20 million; Jawbone ABC in a sale of its Audio/Jambox line; Gamma Medica
(a manufacturer of imaging systems in the biotechnology field which was
sold); Matterhorn Group (a large manufacturer of novelty ice cream products
which was sold); Fat Burger (a well known chain of hamburger restaurants
which were sold); Westcliff Medical Laboratories (an owner and operator of
170 patient service center laboratories and labs throughout California with
$95 illion of annual revenue and 1,000 employees which was sold for $57.5
million); LifeMasters Supported Selfcare (a national disease management
company with annual revenue of $80 million which was sold); Bodies in
Motion (a chain of fitness facilities which was sold for approximately $10

continued...                                                             pg 1 of 3


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Ron Bender
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million); Max Equipment Rental (an equipment rental company which
successfully reorganized); Nelson & Associates (a manufacturers’ represen-
tative in the electrical industry which successfully restructured its debt);
Douglas Furniture (a large furniture manufacturer); Padilla Construction (a
plastering company which successfully reorganized); Lamas Beauty (a
manufacturer of beauty supply products which was sold); Paramount Scaf-
folding (a large scaffolding rental company which was sold); Alin Party
Supply (a retail chain of party supplies which successfully reorganized); Lake
San Marcos Resort & Country Club; Krystal Air (an aircraft leasing company
which was sold); Pacific High Reach (a large construction equipment rental
company which was sold for $17 million); Krystal Koach (a large manufactur-  -
er of limousines and shuttle buses which was sold); Small World Toys (a toy
company which was sold for approximately $16 million); Intervisual (a
children's book company which was sold for approximately $10 million);
LightPointe Communications (a manufacturer of wireless networking equip-
ment which successfully reorganized); Nicola (a large olive importer and
distributor which successfully reorganized); Krispy Kreme (an owner and
operator of Krispy Kreme Doughnut Stores which successfully reorganized);
Pleasant Care (an owner and operator of skilled nursing facilities with annual
revenue of approximately $200 million which was sold for approximately $17
million); Aura Systems (a publicly traded manufacturer of a mobile power
generator which successfully reorganized); Sega GameWorks (a retail
entertainment based company operating under the name of “GameWorks,”
with $60 million of annual revenue, which was sold for approximately $8
million); Alliant Protection Services (a commercial and residential alarm
services company with 16,000 customers, which was sold for $14.5 million);
The Walking Company (a national chain of 101 retail stores selling specialty
shoes and footwear, which successfully reorganized involving $22 million of
cash, debt and stock); Shoe Pavilion (a chain of 117 retail stores selling
off-price footwear with locations in the Western and Southwestern United
States which was sold); Gadzoox Networks (a publicly traded company
engaged in the business of providing networking infrastructure for storage
and data management, where one division was sold for $8.5 million and the
balance of the company successfully reorganized); State Line Hotel, State
Line Casino, Jim’s Enterprises (two hotels and casinos located in West
Wendover, Nevada known as the State Line Hotel and Casino and the Silver
Smith Hotel and Casino, which were sold for $55 million); Management

continued...                                                           pg 2 of 3


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Ron Bender
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Action Programs (a management consulting firm that successfully reorga-
nized); Easyrider and Paisano Publications (publicly traded publishers of
thirteen national magazines, which were sold for $12.3 million); Clifford
Electronics (a manufacturer of automotive aftermarket and original equipment
manufacturer security systems and components, primarily for automobiles,
with annual sales of $40 million, which was sold for $20 million); Chorus Line
Corporation and California Fashions Industries (one of the largest apparel
companies in the country with annual sales of $500 million which engaged in
a Chapter 11 liquidation); Avus (a distributor of computer systems with sales
of in excess of $100 million, which was sold); A.J. Markets (chain of super-
markets sold for $5 million); Trancas Town (owner of 35 acres of raw devel--
opable land in Malibu, California that successfully reorganized); Association
of Volleyball Professionals (professional beach volleyball league sold in
Chapter 11); Louise’s Trattoria (chain of 16 Italian food restaurants with $30
million in annual revenue sold in Chapter 11 for $7 million); Westward Ho
Markets (a supermarket chain with $50 million of annual revenue and $20
million of debt which was restructured through a confirmed Chapter 11
reorganization plan); Special Effects Unlimited (one of the largest providers of
special effects in the movie industry which was restructured through a
confirmed Chapter 11 reorganization plan); Santa Barbara Aerospace (a
heavy aircraft maintenance facility located at the former Norton Air Force
base in San Bernardino, California, which was restructured and sold);
Manchester Center (a 1.5 million square foot shopping center in Fresno,
California which was sold for $25 million); Marbella Golf and County Club (a
golf and country club located in San Juan Capistrano which successfully
reorganized); Southwest Hospital (an acute care hospital located in Riverside
which successfully reorganized); Servall Packaging Industries (a contract
packaging company which was sold); Polaris Networks (a telecommunica-
tions networks and software company which successfully reorganized); and
Prestige Products (a distributor of aftermarket automobile accessories which
was sold). A sampling of Mr. Bender’s representation of creditors’ commit-
tees includes the representation of the creditors’ committee in the Chapter 11
bankruptcy case of Trigem America (a wholly-owned subsidiary of one of the
largest computer manufacturers in the world located in Korea whose case is
currently pending) and Robinson Golf Holdings (the owner of a large golf
resort development project). Mr. Bender has also represented numerous real
estate related debtors in chapter 11. Mr. Bender is also one of California’s
leading lawyers in the arena of assignments for the benefit of creditors.
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Professional Resume

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Professional Resume

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//& RSHUDWLQJYLQH\DUGDQGZLQHU\LQ/RV$QJHOHV&RXQW\ &RSSHU.LQJ
0LQLQJ&RUSRUDWLRQDQG:HVWHUQ8WDK0LQLQJ&RPSDQ\ SXEOLFKROGLQJ
FRPSDQ\DQGLWVZKROO\RZQHGRSHUDWLQJVXEVLGLDU\LQWKHFRSSHUPLQLQJ
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FDVHVIRU&KLQR9DOOH\0HGLFDO&HQWHU&DQ\RQ5LGJH+RVSLWDO/LQFROQ
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'DHZRR0RWRU$PHULFD,QF 'DHZRRDXWRPRELOHGLVWULEXWRULQWKH86 
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Martin J. Brill
Professional Resume
FRQWLQXHGIURPSDJH




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Professional Resume

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Professional Resume

EDUCATION
University of Maryland (B.A., 1971)
University of Maryland School of Law (J.D., 1974)

BAR ADMISSIONS
Maryland, 1974
California, 1976

Gary E. Klausner joined LNBYB as a senior partner in May 2014, from a
senior shareholder position at Stutman, Treister & Glatt P.C. Mr. Klausner
has exclusively practiced in the field of corporate restructuring and bank-
ruptcy since 1976.

Mr. Klausner represents Chapter 11 debtors, secured and unsecured
creditors, creditors' committees, trustees and receivers, licensors and
franchisors, purchasers of assets out of bankruptcy cases and parties                  Gary E. Klausner
involved in litigation and appeals in connection with bankruptcy cases. He             gek@lnbyb.com
has handled cases involving a broad range of businesses and industries
including manufacturing, retail, real estate development, hospitality and
restaurants, aerospace, entertainment, health care, financial institutions,            Honors and Recognitions
and transportation.
                                                                                       Selected, Super Lawyers (Bankruptcy
Mr. Klausner also has expertise in Chapter 9 of the Bankruptcy Code, which             & Creditor/Debtor Rights) 2004-12
is designed for the reorganization of municipalities. He currently chairs the          Selected, Southern California's Best
American Bar Association's Chapter 9 Subcommittee.                                     Lawyers in America, 2011-12

Mr. Klausner's significant engagements as debtor's counsel include:
                                                                                       Publications/Press
Meruelo Maddux Properties, Inc. (Special Reorganization Counsel); Impe-
rial Capital Bancorp, Inc.; Colorep, Inc., International Union of Operating            "Section 1111(b) '" Look Before You
Engineers, Local 501, Mr. Gasket Co.; Prism Entertainment Corporation;                 Leap," 2 Bankruptcy Study Group
Packaging Corporation of America; Super Shops, Inc.; Cannon Pictures;                  Journal 15 (1986)
Maguire Thomas Partners, Fifth & Grand, Ltd.; ABC International Traders,               "Chapter 11 'The Bank of Last
Inc.; Maxicare and Watts Health Foundation, Inc., dba UHP Healthcare.                  Resort,'" The Business Lawyer,
                                                                                       November, 1989; Vol. 45, No. 1
Mr. Klausner was the lead lawyer in the Chapter 9 case of Valley Health                "The New Bankruptcy Rules," 4
System, in which he successfully confirmed a Chapter 9 Plan of Adjustment.             Bankruptcy Study Group Journal 64
                                                                                       (1987).
Mr. Klausner has represented creditors’ committees in cases such as
Consolidated Freightways, New Meatco, Westward Ho Markets, Naki
                                                                                       Speaking Engagements
Electronics, Prime Matrix, The Movie Group, American Restaurant Group
("Black Angus"), and Solidus Networks, Inc. Mr. Klausner has also repre-               Panelist, "Bank Holding Company
sented principals involved in significant chapter 11 cases, such as EZ Lube;           Bankruptcies," ABI Battleground West,
Rachel Ashwell Design, Inc. ("Shabby Chic"); and Comic Book Movies LLC.                2012
                                                                                       Panelist, "Municipal Bankruptcies,"
In addition to client matters, Mr. Klausner has been actively involved and             ABI Battleground West, 2011
has held prominent positions in local and national professional organiza-              Panelist, "Municipal Bankruptcies,"
tions and bar associations. Mr. Klausner is a member of the Board of                   ABA Fall Meeting Business Law
Governors of the Financial Lawyers Conference and served as its President              Section, 2010

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from 1993 through1994. He is a Board member of the Los Angeles Bankruptcy               KEY REPRESENTATIONS
Forum (serving as its President in 2003-2004), a member of the American Bar             Debtor Representations
Association, Section on Business Law, where he chaired a task force on The              Colorep, Inc.
Economics of Chapter 11 Practice, chaired the Subcommittee on Bankruptcy                International Union of Operating
Fraud, Crimes and Abuse of the Bankruptcy Process and currently chairs the              Engineers, Local 501
Chapter 9 Subcommittee. He is a member of the Los Angeles County Bar                    St. Tropez Capital, Inc.
Association, where he has served as a member of the Executive Committee of              Mr. Gasket Co.
the Commercial Law and Bankruptcy Section as well as being Vice-Chair of the            Prism Entertainment Corporation
Section's Bankruptcy Committee.                                                         Packaging Corporation of America
                                                                                        Super Shops, Inc.
In 2010, Mr. Klausner was elected as a Fellow of the American College of                Maguire Thomas Partners, Fifth &
Bankruptcy, and in 2012, Mr. Klausner was recognized as "Bankruptcy Lawyer              Grand, Ltd.
Of The Year" by the Century City Bar Association.                                       ABC International Traders, Inc.
                                                                                        Maxicare, HMO
Mr. Klausner has also served as a Lawyer Representative to The Ninth Circuit            Watts Health Foundation, Inc., dba UHP
                                                                                        Healthcare, HMO
Judicial Conference and currently chairs the United States District Court Stand-
                                                                                        Valley Health System, Healthcare
ing Committee On Attorney Discipline.                                                   District
                                                                                        Imperial Capital Bancorp, Inc.
Mr. Klausner speaks frequently on subjects involving bankruptcy and commercial          Mereulo Maddux Properties, Inc
law and has published numerous articles on bankruptcy-related topics.
                                                                                        Committee Representations
He is a member of the bar of the states of California and Maryland, and is
                                                                                        New Meatco
admitted to practice before the United States Supreme Court, the United States
                                                                                        Consolidated Freightway
Courts of Appeals for the Ninth Circuit, and the United States District and Bank-
                                                                                        Westward Ho Markets
ruptcy Courts for the Central District of California.
                                                                                        Naki Electronics
                                                                                        Prime Matrix
Mr. Klausner received his J.D., with honors, from the University of Maryland
                                                                                        Stan Lee Media
School of Law in 1974, where he served on the editorial staff of the University of
                                                                                        American Restaurant Group, Inc
Maryland Law Review from 1972-3. He received his B.A. from the University of
Maryland in 1971.
                                                                                        Significant Creditor/Party In Interest
                                                                                        Representations
PROFESSIONAL AFFILIATIONS
                                                                                        Cannon Pictures, Inc.
Financial Lawyers Conference (President, 1993 -1994; Member of the Board of
                                                                                        Georgia Pacific Corporation
Governors)
                                                                                        Cal Worthington
Los Angeles Bankruptcy Forum (President in 2003-2004)
                                                                                        Columbia Tristar
American Bar Association (Section on Business Law, Chair of the Subcommittee
                                                                                        Fox Family Worldwide
on Bankruptcy Crimes, Fraud and Abuse, 2005)
                                                                                        MCI Telecommunications Corporation
Ninth Circuit Judicial Conference (2007-2009)
                                                                                        Paramount Pictures
United States District Court, Central District, Standing Committee on Attorney
                                                                                        Saban Entertainment
Discipline, Chair 2011-Present
                                                                                        Sony Pictures, Inc.
American Bar Association Section on Business Law, Chair of the Subcommittee
                                                                                        The Walt Disney Company
on Chapter 9, 2011-Present
                                                                                        Victor Valley Community Hospital
Honors and Recognitions
                                                                                        Rachel Ashwell Design, Inc
Selected, Super Lawyers (Bankruptcy & Creditor/Debtor Rights) 2004-12
                                                                                        EZ Lube, Inc
Selected, Southern California's Best Lawyers in America, 2011-12
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Professional Resume

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Professional Resume

MONICA YOUNG KIM was admitted to the California Bar in 1995, after
graduating from the University of California at Berkeley (B.A., 1991) and
Hastings College of the Law (J.D., 1995). She was a Law Clerk to the
Honorable Jane Dickson McKeag, U.S. Bankruptcy Judge, Eastern District
of California, 1995-96. Ms. Kim has worked solely in the areas of bankruptcy,
insolvency and business reorganization, and commercial and real estate
transactions, representing debtors, creditors’ committees, creditors, sellers,
and purchasers. She joined Levene, Neale, Bender, Yoo & Brill L.L.P. in 1996,
and became a partner in 2004.


Ms. Kim is also involved in out-of-court restructuring transactions, including
assignments for creditors, representing sellers/assignors, assignees and
                                                                                        Monica
buyers. Her experience has included representation in retail, healthcare,
                                                                                        Young Kim
                                                                                        myk@lnbyb.com
entertainment, manufacturing, real estate, service and technology. She has
been named to the “Rising Star” listing of Southern California attorneys each
year since 2005, in annual surveys of her peers. Ms. Kim is a member of the
American Bar Association, Los Angeles County Bar Association, Century
City Bar Association, Women Lawyers Association of Los Angeles, and the
Korean American Bar Association, and is admitted to the Central, Eastern,
Northern and Southern Districts of California.




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Professional Resume

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Philip A. Gasteier
Professional Resume
FRQWLQXHGIURPSDJH




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Daniel H. Reiss
Professional Resume
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³%DQNUXSWF\%DWWOHJURXQGVLQ)UDQFKLVLQJ´)UDQFKLVH/DZ,QVLGHUUG
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Professional Resume

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Professional Resume

IRV M. GROSS has practiced law in California for over 30 years. After
graduating from the University of California at Los Angeles in 1968 (B.A.,
Cum Laude), Mr. Gross attended law school at Boalt Hall, University of
California at Berkeley (J.D., 1972). After graduation from law school, Mr.
Gross served as the law clerk for the Hon. Robert Firth, Judge of the United
States District Court for the Central District of California. Following his
clerkship, Mr. Gross joined the Los Angeles law firm of Simon & Sheridan, a
firm prominent for its expertise in federal litigation. After becoming a partner
at Simon & Sheridan, Mr. Gross joined Robinson, Wolas & Diamant, a highly
regarded Los Angeles law firm specializing in insolvency and creditors’
rights, and eventually became the head of the firm’s litigation department.
Mr. Gross’ litigation practice has always been broad-based: he has
represented individuals and major corporate clients, including McKesson
Corp., Chicago Title Insurance Company, 20th Century Fox Corp., Interstate
Bakeries Corp., Nutro Products, Inc. and Allstate Financial, in business,                Irv M. Gross
commercial, real estate and employment litigation, including jury and                    img@lnbyb.com
non-jury trials. These include a successful eight-week jury trial in the Los
Angeles Superior Court representing former bank directors sued for breach
of fiduciary duty, and a successful two-week jury trial in the United States
District Court defending a Fortune 100 company in a wrongful termination
case. A significant part of Mr. Gross’ practice involves the representation
of bankruptcy trustees, chapter 11 debtors, and creditor committees and
individual creditors in insolvency litigation, such as Mr. Gasket (public
company in the automotive parts industry), Qintex Entertainment, Inc.
(public company in the entertainment industry) and Condor Systems, Inc.
(public company in the defense industry). Mr. Gross has also represented
the prevailing parties in appeals in both state and federal courts. His
published decisions include In re Rossi, 86 B.R. 220 (9th Cir. BAP 1988);
First Pacific Bancorp, Inc. v. Bro, 847 F.2d 542 (9th Cir. 1988); In re Qintex
Entertainment, Inc., 950 F.2d 1492 (9th Cir. 1991); Bergman v. Rifkind &
Sterling, Inc., (1991) 227 Cal.App.3d 1380; In re Qintex Entertainment, Inc.,
8 F.3d 1353 (9th Cir. 1993); In re Advent Management Corp., 178 B.R. 480
(9th Cir. BAP 1995); American Sports Radio Network, Inc., et al. v. Krause,
546 F.3d 1070 (9th Cir. 2008). Mr. Gross is a member of the Litigation and
Prejudgment Remedies sections of the Los Angeles County Bar Association,
and the Litigation section of the American Bar Association. Mr. Gross has
also served as a judge pro tem of the Los Angeles Superior Court.

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Professional Resume

JACQUELINE L. RODRIGUEZ-JAMES is a partner at Levene, Neale,
Bender, Yoo & Brill L.L.P., where she specializes in representing debtors
and creditors in Chapter 11 bankruptcy cases and out-of-court restructurings
as well as plaintiffs and defendants in business and bankruptcy litigation.
A graduate of Loyola Marymount University, with an undergraduate degree
in International Business, and the University of Southern California School
of Law, Ms. James was an extern to the Honorable John Ryan of the
United States Bankruptcy Court and the Bankruptcy Appellate Panel in
1997. She was admitted to the California Bar in 1998, and joined the firm
in 2001. Her experience includes a wide range of industries, including but
not limited to, entertainment, restaurants, retail, general manufacturing,
construction, equipment rental, security, banking and health care. Her
casework includes FAO Schwarz, the Walking Company, Britches of
Georgetown, Inc., Stan Lee Media, Franchise Pictures, Les Deux Cafes,                 Jacqueline L.
LLC, Fatburger Restaurants, Alliant Protection Services, Inc., Pleasant               Rodriguez-James
Care Corporation, and Westcliff Medical Laboratories, Inc. She has also               jlj@lnbyb.com
represented several high profile clients in individual bankruptcy cases and
out-of-court restructurings. The published author of several legal articles,
Ms. James is a member of the American Bankruptcy Institute, the Financial
Lawyers Conference, the National Association of Trial Attorneys and several
bar associations. She has been voted a “Rising Star” in a poll of her peers
in Southern California each year since 2006. She is fluent in Spanish and
conversational in French.




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Professional Resume

JULIET Y. OH is a partner at Levene, Neale, Bender, Yoo & Brill L.L.P.
representing individuals and corporations in Chapter 11 bankruptcy
cases, out-of-court restructuring proceedings and bankruptcy litigation
proceedings. She has been voted a “Rising Star” in a poll of her peers in
Southern California each year since 2006. Ms. Oh has recently represented
Chapter 11 debtors Franchise Pictures LLC, et al., Fatburger Restaurants,
Shoe Pavilion, Central Metal, Inc., Bodies In Motion, Inc., and the Official
Committee of Unsecured Creditors of Halcyon Holding Group. Prior
to joining the firm in 2003, Ms. Oh specialized in the representation of
individuals in Chapter 7 and Chapter 13 cases and worked as an extern
with the Office of the U.S. Trustee, Central District of California. Ms. Oh is a
graduate of Stanford University and obtained her law degree from University
of California Los Angeles. She was admitted to the California Bar in 2000,
is a member of the Korean American Bar Association, California Bankruptcy                Juliet Y. Oh
Forum and Los Angeles Bankruptcy Forum.                                                  jyo@lnbyb.com




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Professional Resume

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Professional Resume

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Professional Resume

KURT RAMLO, a Los Angeles native, provides restructuring advice to business
organizations facing financial distress. His practice includes guiding organizations
through out-of-court and chapter 11 reorganizations, as well as related transac-
tions and litigation. He routinely provides advice on structuring cutting-edge
transactions on behalf of public and private debtors, foreign representatives,
receivers, shareholders, plan sponsors, third-party acquirers, secured and unse-
cured creditors, creditors' committees and post-petition lenders, as well as other
restructuring professionals. A former Assistant United States Attorney, Mr. Ramlo
also has extensive trial and commercial litigation experience in bankruptcy and
federal district courts. His representative chapter 11 matters include advising the
debtors in NexPrise, Inc.; Hingham Campus; Minor Family Hotels; Delphi Corpora-
tion; Refco; Blue Bird Body Company (prepackaged plan); Friedman's Jewelers;             Kurt Ramlo
First Virtual Communications; Kmart Corporation; ZiLOG, Inc. (prepackaged plan);         kr@lnbyb.com
Stone & Webster; Wilshire Center Marketplace (Ambassador Hotel); Washington
Group; and Furr's Supermarkets; the foreign representatives in Flightlease Hold-
ings and SunCal; the receiver in private equity management group; equity stock-
holders or plan sponsors in Charter Communications; Crescent Jewelers; Oregon
Arena Corporation; Old UGC; and Clift Holdings (The Clift Hotel); asset purchas-
ers and bidders in Medical Capital Holdings; Variety Arts Theatre; Chef Solutions
Holdings; People’s Choice Financial Corporation; Sun World; The Walking Com-
pany; Centis; and iSyndicate; estate professionals in General Growth Properties
and Leap Wireless; and creditors in Cocopah Nurseries; One Pelican Hill North,
L.P.; McMonigle Residential Group; Contessa Premium Foods; LBREP/L-Lehman
SunCal Master I, LLC; Phoenix Coyotes; GTS 900 F (Concerto); Cupertino
Square; American Home Mortgage; Trump Casinos; Consolidated Freightways;
Loral Space & Communications; Leap Wireless; DirecTV Latin American; North-
western Corporation; Airwalk; Centis; Regal Cinemas; eToys; Excite/At Home
Corporation; Paracelsus Healthcare; and the creditors’ committee in Hamakua
Sugar Company. Litigation matters include CanAm Capital Holdings (Ponzi
scheme fraudulent transfer action); Lyondell Chemical (New York LBO fraudulent
transfer action); Linens N Things (preference); patent holder (obtaining stay
pending appeal of $112 million judgment); S&W Bach (New York fraudulent
transfer action); One Pelican Hill North (California lender liability); Lost Lakes
(Washington lender liability); satellite dish provider (piracy and dischargeability);
Prium (lender liability); Spansion, Inc. (transfer pricing dispute); Delphi (Michigan
state tax litigation; vendor litigation); Refco (Swiss securities litigation); Old UGC
($3.7 billion breach of merger action); Airwalk (debt recharacterization trial);

continued...                                                             pg 1 of 2


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Professional Resume                continued...


various action representing the United States (Medicare fraud and dischargeability;
surety bond enforcement; loan and guaranty enforcement; wrongful foreclosure
litigation; enforcement of criminal fines and restitution orders). Published decisions
issued in matters litigated by Mr. Ramlo include United States Pac. Ins. Co. v.
United States Dep’t of Interior, 70 F. Supp. 2d 1089 (C.D. Cal. 1999); Secretary of
HUD v. Sky Meadow Assoc., 117 F. Supp. 2d 970 (C.D. Cal. 2000); Yunis v.
United States, 118 F. Supp. 2d 1024 (C.D. Cal. 2000); and United States Dep’t of
Educ. v. Wallace (In re Wallace), 259 B.R. 170 (C.D. Cal. 2000).

He is a co-author of "American Bankruptcy Reform and Creativity Prompt the In re
Blue Bird Body Company One-Day Prepackaged Plan of Reorganization," Interna-
tional Corporate Rescue, Kluwer Law International (London) (December 2006),              Kurt Ramlo
included in Expedited Debt Restructuring: An International Comparative Analysis,         kr@lnbyb.com
Rodrigo Olivares-Caminal ed., Kluwer Law International (The Netherlands) (2007).
In 1993, Mr. Ramlo obtained his law degree from the University of California, Davis
and in 1990 a Bachelor of Music degree, with a concentration on music perfor-
mance on bassoon, from California State University, Northridge.




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Professional Resume

EVE H. KARASIK is a business restructuring and bankruptcy attorney who
focuses her practice on the representation of business entities in a variety of
industries. In addition to representing corporate debtors, Ms. Karasik has
represented creditors’ committees, equity committees, post-confirmation
liquidating trusts and Bankruptcy Code section 524(g) trusts, and significant
creditors and litigation parties in cases pending around the country. She
began her legal career at Stutman, Treister & Glatt P.C., a nationally-
recognized bankruptcy boutique where she practiced until May 1, 2014
when the firm had to close its doors. She spent one year thereafter manag-
ing the Los Angeles office of Gordon Silver, a multi-practice firm with
primary offices in Nevada.

Ms. Karasik has a breadth of experience representing entities in wide
variety of industries, with significant expertise in gaming, retail, and the food
and beverage industry, among others. Some of her Debtor representations
of note include: Imperial Capital Bancorp, Inc. (San Diego, CA, Bank                       Eve H. Karasik
Holding Company), Utah 7000, LLC, et al (Salt Lake City, UT, Luxury Real                   ehk@lnbyb.com
Estate Development), Resort at Summerlin, et al (Las Vegas Nevada,
Gaming); Gold River Hotel & Casino, et al (Las Vegas, Nevada, Gaming),
Falcon Products, Inc., et al (St. Louis, MO, Furniture Manufacturer), Clark                Ms. Karasik is active in various
Retail Group, et al (Chicago, IL, Gas Station and Convenience Stores), MJ                  organizations, including:
Research, Inc. (Reno, NV, Bio Tech), Cell Pro, (Seattle, Washington, Bio
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Tech); and U.S. Aggregates, Inc., et al (Reno, NV, Mining). Her creditor                   of Directors (2015); Bankruptcy Battle-
and equity committee representations include Circus and Eldorado Joint                     ground West Conference, Co-Chair,
Venture, et al. (Reno, NV, Gaming), Riviera Holdings Corporation, et al.                   2012-2015; Ethics and Compensation
(Las Vegas, NV. Gaming), Eurofresh, Inc., et al (Phoenix, AZ, Food                         Subcommittee, Education Director,
Producer and Distributer), USA Capital First Trust Deed Fund (Las Vegas,                   2014-15, Newsletter Editor, 2012-2014
NV, Real Estate Investment Fund), Aladdin Gaming, Inc. (Las Vegas, NV,                            
Gaming), New Meatco Provisions, LLC. (Los Angeles, CA, Protein Distribu-                   Member 2014-2015, Membership
tion) and Amerco (Reno, NV, Retail/Trucking).                                              Committee
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Ms. Karasik has also served as counsel to the Trustee in the Securities                    Section, Member
Investor Protection Corporation liquidation proceeding of W.S. Clearing, Inc.                     !    
(Los Angeles, CA, Securities Clearinghouse), counsel to the Examiner in                    Committee, Member, 2005-2006
the Fontainebleau Las Vegas Holdings, LLC., et al. (Miami, FL, Gaming),                          -
and counsel to the J.T. Thorpe Settlement Trust, the Thorpe Insulation                     cial Law and Bankruptcy Section,
Company Settlement Trust, Plant Insulation Settlement Trust, and the                       Member
Western Asbestos Settlement Trust (Reno, NV, Section 524(g) Bankruptcy                         " # !  
Trusts).                                                                                   Restructuring Confederation (IWIRC),
                                                                                           Member
Ms. Karasik has received several awards in her field, including the Century                 "     
City Bar Association Bankruptcy Attorney of the Year for 2015, and the                     Angeles, Former Executive Committee
Turnaround Managers Association “2007 Large Company Transaction of                         Member
the Year” award for her work on the U.S.A. Commercial Mortgage Company                      $  %      
Chapter 11 Cases. She is also been named as a Southern California States                   (“TMA”) Awards Committee, Member,
Super Lawyers®, 2012-2015 for Bankruptcy & Creditor/Debtor Rights; Best                    2009-2011
Lawyers in America®, Bankruptcy and Creditor-Debtor Rights Law – 2007-                      $%' !   
2015; and AV/Preeminent Attorney® as rated by Martindale-Hubbell®, 5.0                     Planning Committee, Member, 2013-
out of 5.0.                                                                                2014
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Professional Resume, cont...

Ms. Karasik has appeared as a speaker on the following topics before the
following organizations:
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Election, Plan Feasibility and Cramdown Issues
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Great Debates – Third Party Injunctions in Chapter 11 Plans
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Great Debates – Administration of Administratively Insolvent Estate for the
Benefit of a Secured Creditor
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Claims Trading, Fiduciary Duties and Other Pesky Committee Issues
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– New Duties and Beyond – Ethical Problems of Committee Membership and
Representation in a Hedge Fund World
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Revisited – Recent Developments and Trends

Ms. Karasik received her B.A., with High Honors in History, from the University of
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nia Law School (Gould School of Law), Order of the Coif, 1991. She was admit-
ted to the California Bar in 1991. She was admitted to the Ninth Circuit Court of
Appeals in 1991, the United States District Court for the Central and Northern
Districts of California in 1991 and 1992, and the Southern and Eastern Districts
of California in 1994. She has also practiced extensively in Federal Courts
throughout the country including in Nevada, Arizona, Utah, Delaware, Washing-
ton, Illinois, Missouri, Arizona and Florida.




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Professional Resume

CARMELA T. PAGAY, a partner at LNBY&B, specializes in
representation of debtors in reorganizations and liquidations, creditor
committees, and Chapter 7 and Chapter 11 trustees, and bankruptcy
litigation. Ms. Pagay received her Bachelor of Arts Degree in Political
Science from the University of California, Los Angeles in 1994, and her
Juris Doctor from Loyola Law School, Los Angeles in 1997, where she
was Senior Production Editor of the Loyola of Los Angeles International
and Comparative Law Journal. Ms. Pagay is admitted to practice before
the United States District Court, Central, Eastern, Northern, and Southern
Districts, the Ninth Circuit Court of Appeals, and the United States Supreme
Court. She is currently a member of the Beverly Hills Bar Association,
Bankruptcy Section Executive Committee, the Los Angeles County Bar
Association, and the Women Lawyers Association of Los Angeles, and is
also an editorial board member of the Los Angeles Lawyer magazine.                    Carmela T.
                                                                                      Pagay
                                                                                      ctp@lnbyb.com




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Professional Resume

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Professional Resume

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Professional Resume

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Professional Resume

JEFFREY S. KWONG joined LNBYB as an associate in 2014. Prior to
joining the firm, Mr. Kwong served for two years as law clerk to the
Honorable Deborah J. Saltzman, United States Bankruptcy Judge for the
Central District of California. Mr. Kwong obtained his J.D. in 2012 from
the University of California, Berkeley, Boalt Hall School of Law, where he
served as an editor for the Berkeley Journal of International Law and a
Senior Articles Editor for the Asian American Law Journal. He received
his undergraduate degree, summa cum laude, from the University of
California, San Diego. He is a member of the Beverly Hills Bar Associa-
tion, the Financial Lawyers Conference, and the Los Angeles Bank-
ruptcy Forum.




                                                                                      Jeffrey S. Kwong
                                                                                      jsk@lnbyb.com




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                                  PARAPROFESSIONALS


   JASON KLASSI (JK) received his Bachelors of Arts degree from the University of
   California at Los Angeles graduating Magna Cum Laude in 1979. He has over 20 years
   of paralegal experience within the State of California currently working at the law firm of
   Levene, Neale, Bender, Yoo & Brill L.L.P. since its inception in 1995. Mr. Klassi
   maintains compliance for paralegal qualification under Business & Professions Code
   6450(c)(3) and (d). He also is an active member of the Los Angeles Paralegal
   Association.


   JOHN A. BERWICK (JAB) received his bachelor’s degree in Fine Arts and English
   from the University of Texas at Austin in 1973. In 1981, Mr. Berwick joined the
   American College of Trial Lawyers, a nationwide association, wherein he worked for
   such luminaries as Supreme Court Justices Lewis F. Powell, John Paul Stevens and
   Sandra Day O’Connor, former Attorney General Griffin Bell, Cabinet Members,
   Senators, Members of Congress, United States Ambassadors, heads of state, and a
   significant array of top trial attorneys from across the country. Mr. Berwick’s 23 years of
   paralegal experience in bankruptcy began in 1989 when he joined the firm of Coskey,
   Coskey & Boxer, followed by Haight, Brown & Bonesteel in 2000. In 2002, Mr.
   Berwick joined the firm of Levene, Neale, Bender, Yoo & Brill L.L.P. Mr. Berwick
   maintains his paralegal qualification under Business & Professions Code 6450(c)(3) and
   (d).


   LOURDES CRUZ (LC) is a bankruptcy paralegal/legal assistant who received her
   Associate of Arts degree in computer science from the Institute of Computer Technology
   College graduating with honors in 1996. Ms. Cruz has been working with law firms
   specializing in bankruptcy for over 15 years. From 1999 to 2003 she worked for
   Weinstein, Eisen & Weiss LLP. From 2003 to 2005 she worked for Jeffer, Mangels,
   Butler & Marmaro LLP. Since August 2005 she has been working with Levene, Neale,
   Bender, Yoo & Brill L.L.P. Ms. Cruz continues her paralegal education by staying in
   compliance with MCLE requirements under Business and Professions Code 6450(c)(3)
   and (d).


   STEPHANIE REICHERT (SR) Stephanie Reichert is a bankruptcy paralegal/legal
   assistant who received her bachelor’s degree in Communications from the University of
   Pennsylvania in 2007. From 2008 through 2010 she worked for Togut, Segal & Segal,
   LLP, a bankruptcy firm in New York City. Since October 2010 she has been working
   with Levene, Neale, Bender, Yoo & Brill L.L.P.
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   LISA  MASSE received
   LISA MASSE      (LM) received     her Associates
                             her Bachelor            of ArtsinDegree
                                           of Arts Degree              in LiberalStudies
                                                               Communication      Arts from
                                                                                         at Santa
   Monica College, graduating with honors in 2012, and is currently attending California
   California
   State      State University
         University, Northridge,Northridge,
                                    majoring graduating  with honors.
                                             in Communication            Ms. Ms.
                                                                   Studies.   Masse  has been
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                                                                          educationbybymaintaining
                                                                                        staying in
   compliance with MCLE requirements under Business and Professions Code 6450(c)(3)
   MCLE compliance.
   and (d).

   MEGAN WERTZ (MW) has over 7 years of paralegal experience within the State of
   California. Ms. Wertz has been working with law firms specializing in bankruptcy and
   real estate for over 15 years. From 1999 to 2007 she worked for Blanco Tackabery
   Combs & Matamoros P.A. in Winston-Salem, North Carolina. From 2007 to 2015 she
   worked for Pachulski Stang Ziehl & Jones LLP. Since September 2015 she has been
   working with the firm of Levene, Neale, Bender, Yoo & Brill L.L.P. Ms. Wertz
   continues her paralegal education by staying in compliance with MCLE requirements
   under Business and Professions Code 6450(c)(3) and (d).

   CONNIE
   CONNIE RAY RAY (CR)
                     (CR) is is aa Trustee
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   California,
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                                                Judicial Assistant
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                        EXHIBIT "4"
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                                    LAW OFFICES
                     LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
                        10250 Constellation Boulevard, Suite 1700
                             Los Angeles, California 90067
                             Telephone No. (310) 229-1234
                             Telecopier No. (310) 229-1244

                        SCHEDULE OF HOURLY BILLING RATES
                             (Effective January 1, 2018)

ATTORNEYS                                                 Rates

DAVID W. LEVENE                                            595

DAVID L. NEALE                                             595

RON BENDER                                                 595

MARTIN J. BRILL                                            595

TIMOTHY J. YOO                                             595

GARY E. KLAUSNER                                           595

EDWARD M. WOLKOWITZ                                        595

DAVID B. GOLUBCHIK                                         595

BETH ANN R. YOUNG                                          580

MONICA Y. KIM                                              580

DANIEL H. REISS                                            580

IRVING M. GROSS                                            580

PHILIP A. GASTEIER                                         580

EVE H. KARASIK                                             580

TODD A. FREALY                                             580

KURT RAMLO                                                 580

JACQUELINE L. RODRIGUEZ                                    565

JULIET Y. OH                                               565

TODD M. ARNOLD                                             565

CARMELA T. PAGAY                                           565
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ANTHONY A. FRIEDMAN                                   565

KRIKOR J. MESHEFEJIAN                                 565

JOHN-PATRICK M. FRITZ                                 565

LINDSEY L. SMITH                                      495

JEFFREY KWONG                                         425

PARAPROFESSIONALS                                     250
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled FINAL APPLICATION OF LEVENE, NEALE,
      BENDER, YOO & BRILL L.L.P. FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
  4   DECLARATION OF RON BENDER, ESQ. will be served or was served (a) on the judge in chambers in
      the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On April 3, 2018, I checked the CM/ECF docket for this bankruptcy case or
  7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
  9         Ron Bender rb@lnbyb.com
            Cathrine M Castaldi ccastaldi@brownrudnick.com
 10         Russell Clementson russell.clementson@usdoj.gov
            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 11         Matthew A Gold courts@argopartners.net
            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 12         Jeffrey A Krieger jkrieger@ggfirm.com,
            kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
 13         Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kath
 14         ryn.howard@dentons.com
            Krikor J Meshefejian kjm@lnbrb.com
 15         Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
            S Margaux Ross margaux.ross@usdoj.gov
 16         Susan K Seflin sseflin@brutzkusgubner.com
            John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 17         United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
            Sharon Z. Weiss sharon.weiss@bryancave.com,
 18         raul.morales@bryancave.com;geri.anderson@bryancave.com
            Douglas Wolfe dwolfe@asmcapital.com
 19
 20   2. SERVED BY UNITED STATES MAIL: On April 3, 2018, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 21   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 22
      Russell Clementson
 23   S Margaux Ross
      Office of the U.S. Trustee
 24   915 Wilshire Blvd., Suite 1850
      Los Angeles, CA 90017
 25                                                                           Service information continued on attached page
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  1   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on April 3, 2018, I served the following persons and/or entities by personal delivery, overnight mail
  2   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  3   mail to, the judge will be completed no later than 24 hours after the document is filed.

  4   Served via Attorney Service
      Hon. Martin R. Barash
  5   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  6   Woodland Hills, CA 91367

  7   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  8
       April 3, 2018                         Lourdes Cruz                                /s/ Lourdes Cruz
  9    Date                                  Type Name                                   Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
